Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 1 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



REGIONS FACILITY SERVICES INC                    Claim Number: 1
ATTN CARL BOLTER                                 Claim Date: 10/13/2020
2314 CIRCUIT WAY                                 Debtor: RTI HOLDING COMPANY, LLC
BROOKSVILLE, FL 34604


SECURED                    Claimed:                     $50,832.04
UNSECURED                                                                     Scheduled:           $50,832.04
RESOURSCEONE INTERNATIONAL INC                   Claim Number: 2
ATTN ANDREW O'TOOLE                              Claim Date: 10/16/2020
469 SAWYER DR                                    Debtor: RTI HOLDING COMPANY, LLC
CUDJOE KEY, FL 33042


PRIORITY                   Claimed:                      $4,000.00
JEFFERSON ASSOCIATES LP                          Claim Number: 3
C/O MITCHELL B WEITZMAN, ESQ                     Claim Date: 10/16/2020
2300 N ST NW, STE 300                            Debtor: RTI HOLDING COMPANY, LLC
WASHINGTON, DC 20036


UNSECURED                  Claimed:                 $299,775.49
IONIC DEZIGN STUDIOS INC                         Claim Number: 4
ATTN GIDEON THOMPSON                             Claim Date: 10/19/2020
293 INDEPENDENCE BLVD, STE 308                   Debtor: RTI HOLDING COMPANY, LLC
VIRGINIA BEACH, VA 23462


UNSECURED                  Claimed:                      $2,500.00
HONEY LOCUST FARMS LLC                           Claim Number: 9
181 LIBBY ANN DR                                 Claim Date: 10/22/2020
BUNKER HILL, WV 25413                            Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $1,494.15




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 2 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CLEAR CHANNEL OUTDOOR LLC                        Claim Number: 10
ATTN BRIAN TEGELER                               Claim Date: 10/22/2020
4830 N LOOP 1604W, STE 111                       Debtor: RTI HOLDING COMPANY, LLC
SAN ANTONIO, TX 78249


SECURED                    Claimed:                     $6,766.18
HILL, KENNETH O                                  Claim Number: 11
6360 67TH CT                                     Claim Date: 10/23/2020
RIVERDALE, MD 20737                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $2,200.00
ASAP GLASS & DOOR LLC                            Claim Number: 12
512 N LOCUST ST                                  Claim Date: 10/23/2020
DENTON, TX 76201                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,281.22
INTEGRITY REAL ESTATE INC                        Claim Number: 15
ATTN ERIN LEMMONS                                Claim Date: 10/23/2020
11229 E 25TH DR                                  Debtor: RTI HOLDING COMPANY, LLC
AURORA, CO 80010                                 Comments: POSSIBLY AMENDED BY 336


UNSECURED                  Claimed:                     $6,489.00
LEVEL UP INC                                     Claim Number: 16
D/B/A FISH WINDOW CLEANING                       Claim Date: 10/26/2020
PO BOX 2611                                      Debtor: RTI HOLDING COMPANY, LLC
WARMINSTER, PA 18974


UNSECURED                  Claimed:                       $95.40




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 2
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 3 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



TOTAL EQUIPMENT MAINTENANCE CO                   Claim Number: 17
C/O TEMCO INC                                    Claim Date: 10/26/2020
550 PEARL PARK PLAZA                             Debtor: RTI HOLDING COMPANY, LLC
PEARL, MS 39208


UNSECURED                  Claimed:                     $3,767.65
RUNYAN, MICHAEL                                  Claim Number: 19
5481 HICKORY VALLEY RD                           Claim Date: 10/27/2020
HEISKELL, TN 37754                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 CROSS-CASE DUPLICATE OF CLAIM # 296

UNSECURED                  Claimed:                      $878.00
PACK'S LAWN CARE LLC                             Claim Number: 20
PO BOX 214                                       Claim Date: 10/27/2020
HARTFORD, AL 36344                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,350.00
HILLSBOROUGH COUNTY TAX COLLECTOR                Claim Number: 23
ATTN DOUG BELDEN, TAX COLLECTOR                  Claim Date: 10/23/2020
PO BOX 30012                                     Debtor: RTI HOLDING COMPANY, LLC
TAMPA, FL 33630-3012                             Comments:
                                                 DUPLICATE OF CLAIM # 31

SECURED                    Claimed:                     $3,198.00
SOUTHWEST GAS CORPORATION                        Claim Number: 24
ATTN BANKRUPTCY DESK                             Claim Date: 10/23/2020
PO BOX 1498                                      Debtor: RTI HOLDING COMPANY, LLC
VICTORVILLE, CA 92393


UNSECURED                  Claimed:                     $1,368.23




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 3
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 4 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



SPIRE MISSOURI                                   Claim Number: 29
F/K/A LACLEDE GAS COMPANY                        Claim Date: 10/29/2020
C/O MGE BANKRUPTCY                               Debtor: RTI HOLDING COMPANY, LLC
700 MARKET ST
SAINT LOUIS, MO 63101

UNSECURED                  Claimed:                     $4,069.32
HILLSBOROUGH COUNTY TAX COLLECTOR                Claim Number: 31
C/O DOUG BELDEN, TAX COLLECTOR                   Claim Date: 10/21/2020
PO BOX 30012                                     Debtor: RTI HOLDING COMPANY, LLC
TAMPA, FL 33630-3012                             Comments: POSSIBLE DUPLICATE OF 23


SECURED                    Claimed:                     $3,198.00 UNLIQ
CENTERPOINT ENERGY                               Claim Number: 32
PO BOX 1700                                      Claim Date: 10/26/2020
HOUSTON, TX 77251                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 177


UNSECURED                  Claimed:                     $3,944.11
MOBILE AREA WATER & SEWER SYSTEM                 Claim Number: 34
4725 A MOFFETT RD                                Claim Date: 11/02/2020
MOBILE, AL 36618                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,432.83
ROBERTS, PRESTON M                               Claim Number: 35
D/B/A PETE'S LANDSCAPING                         Claim Date: 11/02/2020
1399 S ELIZABETH ST EXT                          Debtor: RTI HOLDING COMPANY, LLC
SAINT PAULS, NC 28384


UNSECURED                  Claimed:                      $400.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 4
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876   Filed 01/15/21   Page 5 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



EVERGREEN TREE SERVICE INC                       Claim Number: 36
206 SPRING ST                                    Claim Date: 11/02/2020
WINDSOR LOCKS, CT 06096                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $4,584.46
MAGRANE, DANIEL W                                Claim Number: 37
D/B/A RIVERSIDE LAWNS                            Claim Date: 11/02/2020
7922 134TH ST                                    Debtor: RTI HOLDING COMPANY, LLC
SEBASTIAN, FL 32958


PRIORITY                   Claimed:                     $3,525.00
TOMLINSON PLUMBING INC                           Claim Number: 39
1801 W JACKSON ST                                Claim Date: 11/02/2020
MUNCIE, IN 47303                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $140.26
TOMLINSON PLUMBING INC                           Claim Number: 40
1801 W JACKSON ST                                Claim Date: 11/02/2020
MUNCIE, IN 47303                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $105.00
TOMLINSON PLUMBING INC                           Claim Number: 41
1801 W JACKSON ST                                Claim Date: 11/02/2020
MUNCIE, IN 47303                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $129.06




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 5
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 6 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MATTY'S MAINTENANCE & REPAIR LLC                 Claim Number: 42
ATTN MATTHEW MCGUIRK                             Claim Date: 11/02/2020
156 DORRANCE ST                                  Debtor: RTI HOLDING COMPANY, LLC
HAMDEN, CT 06518


UNSECURED                  Claimed:                      $2,827.48
MAINTENX INTERNATIONAL                           Claim Number: 43
2202 N HOWAND ST                                 Claim Date: 11/02/2020
TAMPA, FL 33607                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $49,533.55
PRECISION LAWN MOWING INC                        Claim Number: 45
PO BOX 484                                       Claim Date: 11/03/2020
LITCHFIELD, IL 62056                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $301.00
MORELAND SIGNS INC                               Claim Number: 48
PO BOX 448                                       Claim Date: 11/06/2020
CHATTANOOGA, TN 37401                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 48

UNSECURED                  Claimed:                      $2,500.00
A ROYAL FLUSH INC                                Claim Number: 52
PO BOX 2808                                      Claim Date: 11/09/2020
GULFPORT, MS 39505                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $540.35             Scheduled:               $540.35




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 6
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876   Filed 01/15/21   Page 7 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PRESTON'S GENUINE ENTERPRISES LLC                Claim Number: 53
D/B/A FISH WINDOW CLEANING OF TALLAHASEE         Claim Date: 11/09/2020
PO BOX 14095                                     Debtor: RTI HOLDING COMPANY, LLC
TALLAHASSEE, FL 32317


UNSECURED                  Claimed:                       $545.58
DIVERSIFIED SERVICES SOUTH LLC                   Claim Number: 54
ATTN DEBBIE LONG                                 Claim Date: 11/09/2020
1305 BOWENS MILL RD SW                           Debtor: RTI HOLDING COMPANY, LLC
DOUGLAS, GA 31533


UNSECURED                  Claimed:                      $1,065.00
PULASKI COUNTY COLLECTOR                         Claim Number: 55
C/O TERRI L MITCHELL                             Claim Date: 11/09/2020
301 HISTORIC RTE 66 E, STE 110                   Debtor: RTI HOLDING COMPANY, LLC
WAYNESVILLE, MO 65583


PRIORITY                   Claimed:                      $1,041.06
PULASKI COUNTY COLLECTOR                         Claim Number: 56
C/O TERRI L MITCHELL                             Claim Date: 11/09/2020
301 HISTORIC RTE 66 E, STE 110                   Debtor: RTI HOLDING COMPANY, LLC
WAYNESVILLE, MO 65583


SECURED                    Claimed:                     $13,993.35
JC BEERTECH LTD                                  Claim Number: 57
4125 LORAIN AVE                                  Claim Date: 11/09/2020
CLEVELAND, OH 44113                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,013.70




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 7
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876   Filed 01/15/21   Page 8 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY OF WINTER HAVEN                             Claim Number: 59
PO BOX 2277                                      Claim Date: 11/12/2020
WINTER HAVEN, FL 33881                           Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $4,235.41
INDEMAND LANDSCAPE SYSTEMS INC                   Claim Number: 60
PO BOX 1517                                      Claim Date: 11/12/2020
BLACK MOUNTAIN, NC 28711                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,664.00
CONN CORP LLC                                    Claim Number: 61
D/B/A THOMPSON NURSERY                           Claim Date: 11/12/2020
810 CARTER ST                                    Debtor: RTI HOLDING COMPANY, LLC
ROCKY MOUNT, NC 27804


UNSECURED                  Claimed:                     $2,600.00
KATHERINE ROSS                                   Claim Number: 62
51 CREEKVIEW LN                                  Claim Date: 11/12/2020
YARDLEY, PA 19067                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $2,850.00
UNSECURED                  Claimed:                     $2,150.00
FRONTIER COMMUNICATIONS                          Claim Number: 63
ATTN BANKRUPTCY DEPT                             Claim Date: 11/12/2020
19 JOHN ST                                       Debtor: RTI HOLDING COMPANY, LLC
MIDDLETOWN, NY 10940


UNSECURED                  Claimed:                      $632.03




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 8
Name of proof of claims where to
                                                 Case 20-12456-JTD        Doc 876   Filed 01/15/21   Page 9 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



EVERSOURCE GAS OF MA                             Claim Number: 69
PO BOX 2025                                      Claim Date: 11/12/2020
SPRINGFIELD, MA 01102                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,184.24
GULF POWER COMPANY                               Claim Number: 70
ATTN RRD/LFO                                     Claim Date: 11/12/2020
4200 W FLAGLER ST                                Debtor: RTI HOLDING COMPANY, LLC
CORAL GABLES, FL 33134


UNSECURED                  Claimed:                     $36,305.77
GREENSFEE LANDSCAPING LLC                        Claim Number: 73
2225 RESERVOIR AVE                               Claim Date: 11/16/2020
TRUMBULL, CT 06611                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 245

UNSECURED                  Claimed:                      $3,117.60
EVERGREEN                                        Claim Number: 74
PO BOX 420                                       Claim Date: 11/16/2020
GLOUCESTER, VA 23061                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,500.00
JACKSON EMC                                      Claim Number: 75
PO BOX 38                                        Claim Date: 11/16/2020
JEFFERSON, GA 30549                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $7,504.17




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 9
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 10 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



JBK INC                                          Claim Number: 76
PO BOX 466                                       Claim Date: 11/16/2020
CORBIN, KY 40702                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $432.50
ENTERPRISE TARPAULIN PRODUCTS INC                Claim Number: 77
2350 PLAZA DR                                    Claim Date: 11/16/2020
ENTERPRISE, AL 36330                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,675.00
PEREZ, EVELYN                                    Claim Number: 78
C/O MICHAEL GIBSON, ESQ                          Claim Date: 11/16/2020
3120 FIRE RD, STE 100                            Debtor: RTI HOLDING COMPANY, LLC
EGG HARBOR TOWNSHIP, NJ 08234


UNSECURED                  Claimed:                 $350,000.00
FCPT HOLDINGS LLC                                Claim Number: 81
C/O THOMPSON COBURN LLP                          Claim Date: 11/16/2020
ATTN LAUREN NEWMAN                               Debtor: RTI HOLDING COMPANY, LLC
55 E MONROE ST, 37TH FL
CHICAGO, IL 60603

UNSECURED                  Claimed:                 $158,689.00
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 82
445 LOWER LANDING RD                             Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $731.71




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 10
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 11 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 83
445 LOWER LANDING RD                             Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 82


UNSECURED                  Claimed:                     $731.71
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 84
445 LOWER LANDING RD                             Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $371.85
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 85
445 LOWER LANDING RD                             Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $623.76
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 86
445 LOWER LANDING RD                             Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $620.10
REAL PROPERTY MAINTENANCE LLC                    Claim Number: 87
700 EASTERN SHORE DR                             Claim Date: 11/16/2020
SALISBURY, MD 21804                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $883.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 11
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 12 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



REAL PROPERTY MAINTENANCE LLC                    Claim Number: 88
700 EASTERN SHORE DR                             Claim Date: 11/16/2020
SALISBURY, MD 21084                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $541.82
WITT, MISTY                                      Claim Number: 89
1009 GLASOW ST                                   Claim Date: 11/18/2020
MARYVILLE, TN 37801                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $5,758.00
EASTON SUBURBAN WATER AUTHORITY                  Claim Number: 144
3700 HURTLEY AVE                                 Claim Date: 11/09/2020
EASTON, PA 18045                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $468.05
ACTION PLUMBING INC                              Claim Number: 145
7 E STOW RD                                      Claim Date: 11/10/2020
MARLTON, NJ 08053                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $181.26
KENTUCKY UTILITIES COMPANY                       Claim Number: 146
820 W BROADWAY                                   Claim Date: 11/10/2020
LOUISVILLE, KY 40202                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $25,841.26




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 12
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 13 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



COLUMBUS WATER WORKS                             Claim Number: 148
1421 VETERANS PKWY                               Claim Date: 11/13/2020
COLUMBUS, GA 31902                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $257.93
BRIGHTRIDGE                                      Claim Number: 150
PO BOX 1636                                      Claim Date: 11/19/2020
JOHNSON CITY, TN 37605                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $7,882.41
CLAY ELECTRIC COOPERATIVE INC                    Claim Number: 151
PO BOX 308                                       Claim Date: 11/06/2020
KEYSTONE HEIGHTS, FL 32656                       Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $5,626.46
CITY OF DUBLIN                                   Claim Number: 154
PO BOX 690                                       Claim Date: 11/20/2020
DUBLIN, GA 31040                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $3,026.49
TRIUMPH GROUP INC                                Claim Number: 155
D/B/A DETAILED SERVICES                          Claim Date: 11/20/2020
PO BOX 819                                       Debtor: RTI HOLDING COMPANY, LLC
ANOKA, MN 55303


UNSECURED                  Claimed:                      $450.71




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 13
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 14 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



LIBERTY LAWN AND LANDSCAPE LLC                   Claim Number: 156
181 FLETCHER RD                                  Claim Date: 11/20/2020
HINESVILLE, GA 31313                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $375.00
PANICHI HOLDING CORP                             Claim Number: 157
D/B/A ROYAL CARTING SERVICE CO                   Claim Date: 11/20/2020
PO BOX 1209                                      Debtor: RTI HOLDING COMPANY, LLC
HOPEWELL JUNCTION, NY 12533


UNSECURED                  Claimed:                     $1,449.59
DELCOR INC                                       Claim Number: 159
1905 TURNBURY DR                                 Claim Date: 11/23/2020
GREENVILLE, NC 27858                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,969.58
MANATEE COUNTY TAX COLLECTOR                     Claim Number: 161
1001 3RD AVE W, STE 240                          Claim Date: 11/23/2020
BRADENTON, FL 34205                              Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $2,299.61
MANATEE COUNTY TAX COLLECTOR                     Claim Number: 162
1001 3RD AVE W, STE 240                          Claim Date: 11/23/2020
BRADENTON, FL 34205                              Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $1,869.55




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 14
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876      Filed 01/15/21    Page 15 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



DRAFT DOCTORS LLC                                Claim Number: 163
1885 NEW HOPE RD                                 Claim Date: 11/23/2020
JOELTON, TN 37080                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLCIATE OF CLAIM # 463

UNSECURED                  Claimed:                       $294.00
CITY OF LUMBERTON                                Claim Number: 164
ATTN LEGAL DEPARTMENT                            Claim Date: 11/23/2020
500 N CEDAR ST                                   Debtor: RTI HOLDING COMPANY, LLC
LUMBERTON, NC 28358


UNSECURED                  Claimed:                      $6,271.78
COX BROTHERS HEATING & COOLING LLC               Claim Number: 165
PO BOX 996                                       Claim Date: 11/23/2020
ROLLA, MO 65402                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $837.02             Scheduled:               $1,551.72
OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 166
PO BOX 15567                                     Claim Date: 11/23/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 202

UNSECURED                  Claimed:                 $241,884.17 CONT
OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 167
PO BOX 15567                                     Claim Date: 11/23/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 202

PRIORITY                   Claimed:                     $10,538.34




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 15
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 16 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



REAL PROPERTY MAINTENANCE LLC                    Claim Number: 168
700 EASTERN SHORE DR                             Claim Date: 11/23/2020
SALISBURY, MD 21804                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $420.00
AMEREN MISSOURI                                  Claim Number: 172
ATTN BANKRUPTCY DESK MC 310                      Claim Date: 11/16/2020
PO BOX 66881                                     Debtor: RTI HOLDING COMPANY, LLC
SAINT LOUIS, MO 63166


UNSECURED                  Claimed:                     $21,209.60
ATLANTIC CITY ELECTRIC COMPANY                   Claim Number: 173
ATTN BANKRUPTCY DIVISION                         Claim Date: 11/16/2020
MAIL STOP 84CP42                                 Debtor: RTI HOLDING COMPANY, LLC
5 COLLINS DR, STE 2133
CARNEYS POINT, NJ 08069

UNSECURED                  Claimed:                     $23,285.23
CITY OF OCALA                                    Claim Number: 174
201 SE 3RD ST                                    Claim Date: 11/17/2020
OCALA, FL 34470                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $9,980.38
TAUNTON MUNICIPAL LIGHTING PLANT                 Claim Number: 175
33 WEIR ST                                       Claim Date: 11/18/2020
TAUNTON, MA 02780                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                          $0.00
SECURED                    Claimed:                      $7,411.29




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 16
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 17 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



TOWN OF WINDHAM REVENUE DEPARTMENT               Claim Number: 176
PO BOX 195                                       Claim Date: 11/23/2020
WILLIMANTIC, CT 06226                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPCLICATE OF CLAIM # 183

PRIORITY                   Claimed:                     $3,978.28
CENTERPOINT ENERGY                               Claim Number: 177
PO BOX 1700                                      Claim Date: 11/23/2020
HOUSTON, TX 77251                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM #32

UNSECURED                  Claimed:                     $3,969.46
CENTERPOINT ENERGY                               Claim Number: 178
PO BOX 1700                                      Claim Date: 11/23/2020
HOUSTON, TX 77251                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 177
                                                 AMENDS CLAIM #32

UNSECURED                  Claimed:                     $3,969.46
CITY OF PENSACOLA                                Claim Number: 179
ATTN JOHN MADDEN, CUSTOMER SERVICE MGR           Claim Date: 11/23/2020
222 W MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
PENSACOLA, FL 32502                              Comments:
                                                 DUPLICATE OF CLAIM # 185

UNSECURED                  Claimed:                      $956.88
CITY OF PENSACOLA                                Claim Number: 180
ATTN JOHN MADDEN, CUSTOMER SERVICE MGR           Claim Date: 11/23/2020
222 W MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
PENSACOLA, FL 32502                              Comments:
                                                 DUPLICATE OF CLAIM # 184

UNSECURED                  Claimed:                     $1,170.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 17
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 18 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HAL MARANTO INC                                  Claim Number: 181
D/B/A MARANTO REFRIGERATION/HVAC                 Claim Date: 11/23/2020
339 SE COUNTRY CLUB RD                           Debtor: RTI HOLDING COMPANY, LLC
LAKE CITY, FL 32025


PRIORITY                   Claimed:                       $350.00
UNSECURED                  Claimed:                        $66.00
FPL ENERGY SERVICES INC                          Claim Number: 182
ATTN SCS                                         Claim Date: 11/23/2020
4200 W FLAGLER ST                                Debtor: RTI HOLDING COMPANY, LLC
MIAMI, FL 33134


UNSECURED                  Claimed:                     $13,561.51
TOWN OF WINDHAM REVENUE DEPARTMENT               Claim Number: 183
PO BOX 195                                       Claim Date: 11/24/2020
WILLIMANTIC, CT 06226                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 176


PRIORITY                   Claimed:                      $3,978.28
CITY OF PENSACOLA                                Claim Number: 184
ATTN JOHN MADDEN, CUSTOMER SERVICE MGR           Claim Date: 11/24/2020
222 W MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
PENSACOLA, FL 32502                              Comments: POSSIBLE DUPLICATE OF 180


UNSECURED                  Claimed:                      $1,170.00
CITY OF PENSACOLA                                Claim Number: 185
ATTN JOHN MADDEN, CUSTOMER SERVICE MGR           Claim Date: 11/24/2020
222 W MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
PENSACOLA, FL 32502                              Comments: POSSIBLE DUPLICATE OF 179


UNSECURED                  Claimed:                       $956.88




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 18
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 19 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



NEW JERSEY NATURAL GAS COMPANY                   Claim Number: 186
ATTN FRANK TORELLO                               Claim Date: 11/18/2020
1415 WYKOFF RD                                   Debtor: RTI HOLDING COMPANY, LLC
PO BOX 1378
WALL, NJ 07719

UNSECURED                  Claimed:                      $820.42
ZURICH AMERICAN INSURANCE                        Claim Number: 187
PO BOX 68549                                     Claim Date: 11/24/2020
SCHAUMBURG, IL 60196                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $1.00
METRO GOVERNMENT OF NASHVILLE & DAVIDSON Claim Number: 188
COUNTY TENNESSEE                         Claim Date: 11/24/2020
ATTN LEGAL DEPT                          Debtor: RTI HOLDING COMPANY, LLC
PO BOX 196300
NASHVILLE, TN 37219

SECURED                    Claimed:                     $1,509.02
METRO GOVERNMENT OF NASHVILLE & DAVIDSON Claim Number: 189
COUNTY TENNESSEE                         Claim Date: 11/24/2020
ATTN LEGAL DEPARTMENT                    Debtor: RTI HOLDING COMPANY, LLC
PO BOX 196300
NASHVILLE, TN 37219

SECURED                    Claimed:                     $2,134.77
CITY OF GASTONIA                                 Claim Number: 190
PO BOX 1748                                      Claim Date: 11/27/2020
GASTONIA, NC 28052                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $9,438.69




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 19
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 20 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HAIYANG INC                                      Claim Number: 195
1526 SANDYBROOK LN                               Claim Date: 12/02/2020
WAKE FOREST, NC 27587                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 474


UNSECURED                  Claimed:                 $350,511.85
WILBON, CHARLES                                  Claim Number: 196
C/O CHUCKS TOP TO BOTTOM HANDYMAN SVC            Claim Date: 12/03/2020
244 KNIGHTS LN                                   Debtor: RTI HOLDING COMPANY, LLC
BLACKSTONE, VA 23824


UNSECURED                  Claimed:                      $762.00
ADAMS FAMILY TRUST, THE                          Claim Number: 197
KEITH E AND KIM D ADAMS, TRUSTEES                Claim Date: 12/03/2020
C/O C JAY ROBBINS IV, ESQ                        Debtor: RTI HOLDING COMPANY, LLC
8003 FRANKLIN FARMS RD, STE 233
RICHMOND, VA 23229

SECURED                    Claimed:                 $250,883.49
UNSECURED                  Claimed:                 $145,888.59
YORK COUNTY TREASURER                            Claim Number: 199
1070 HECKLE BLVD, STE 1100                       Claim Date: 11/24/2020
ROCK HILL, SC 29732                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $6,696.90
SECURED                    Claimed:                     $6,696.90
TOTAL                      Claimed:                     $6,696.90
LACKAWANNA RIVER BASIN SEWER AUTHORITY           Claim Number: 200
PO BOX 280                                       Claim Date: 11/24/2020
OLYPHANT, PA 18447                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $8,198.28




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 20
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 21 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 201
PO BOX 15567                                     Claim Date: 11/24/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 166


UNSECURED                  Claimed:                 $241,884.17
OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 202
PO BOX 15567                                     Claim Date: 11/24/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 167


PRIORITY                   Claimed:                     $10,538.34 UNLIQ
CHARLESTON COUNTY REVENUE COLLECTIONS            Claim Number: 203
4045 BRIDGEVIEW DR                               Claim Date: 11/25/2020
NORTH CHARLESTON, SC 29405                       Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $5,330.18
DTE ENERGY                                       Claim Number: 204
ONE ENERGY PLAZA, WCB 735                        Claim Date: 11/30/2020
DETROIT, MI 48206                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $8,711.36
POLK COUNTY TAX COLLECTOR                        Claim Number: 205
C/O JOE G TEDDER, CFC TAX COLLECTOR              Claim Date: 11/30/2020
PO BOX 2016                                      Debtor: RTI HOLDING COMPANY, LLC
BARTOW, FL 33831


SECURED                    Claimed:                     $1,629.22




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 21
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 22 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



POLK COUNTY TAX COLLECTOR                        Claim Number: 206
C/O JOE G TEDDER, CFC TAX COLLCTOR               Claim Date: 11/30/2020
COLLECTOR                                        Debtor: RTI HOLDING COMPANY, LLC
PO BOX 2016
BARTOW, FL 33831

SECURED                    Claimed:                     $2,768.19
PRECISION LAWN CARE & LANDSCAPING                Claim Number: 209
ATTN JACQUELINE L KING                           Claim Date: 12/07/2020
2244 DARK HOLLOW RD                              Debtor: RTI HOLDING COMPANY, LLC
COSBY, TN 37722


UNSECURED                  Claimed:                       $675.00
PRECISION LAWN CARE & LANDSCAPING                Claim Number: 210
ATTN JACQUELINE L KING                           Claim Date: 12/07/2020
2244 DARK HOLLOW RD                              Debtor: RTI HOLDING COMPANY, LLC
COSBY, TN 37722


UNSECURED                  Claimed:                       $250.00
NEW CASTLE SANITATION AUTHORITY                  Claim Number: 211
ATTN ANTHONY CIALELLA                            Claim Date: 12/07/2020
102 E WASHINGTON ST                              Debtor: RTI HOLDING COMPANY, LLC
NEW CASTLE, PA 16101


SECURED                    Claimed:                       $423.00
WILLIAMS, AZJNAE C                               Claim Number: 214
C/O BARRY I BAKER, ESQ                           Claim Date: 12/07/2020
PO BOX 31265                                     Debtor: RTI HOLDING COMPANY, LLC
CHARLESTON, SC 29417


UNSECURED                  Claimed:                     $50,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 22
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 23 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PARADISE LAWNS & LANDSCAPING LLC                 Claim Number: 216
780 MILLER RD                                    Claim Date: 12/07/2020
MAHAFFEY, PA 15757                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,396.32
POLIZZANO, JOHN K                                Claim Number: 217
1917 PEACH TREE LN                               Claim Date: 12/07/2020
BETHLEHEM, PA 18015                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 501


PRIORITY                   Claimed:                     $22,455.49
GREENWOOD PROPERTIES LLC                         Claim Number: 219
C/O LINDA B THOMAS, ESQ                          Claim Date: 12/07/2020
996 WILKINSON TRACE, STE A1                      Debtor: RTI HOLDING COMPANY, LLC
BOWLING GREEN, KY 42103                          Comments:
                                                 Claim amount is $432.00 Per Month

UNSECURED                  Claimed:                         $0.00 UNLIQ
PREMIER LANDSCAPES LLC                           Claim Number: 220
PO BOX 967                                       Claim Date: 12/07/2020
BRANSON, MD 65615                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $307.00
PREMIER LANDSCAPES LLC                           Claim Number: 221
PO BOX 967                                       Claim Date: 12/07/2020
BRANSON, MD 65615                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $59.42




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 23
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 24 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PREMIER LANDSCAPES LLC                           Claim Number: 222
PO BOX 967                                       Claim Date: 12/07/2020
BRANSON, MO 65615                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $55.00
A & E KITCHEN SERVICE LLC                        Claim Number: 223
C/O TWIN OAKS RECOVERY LLC                       Claim Date: 12/07/2020
PO BOX 3431                                      Debtor: RTI HOLDING COMPANY, LLC
SPRINGFIELD, MO 65808


UNSECURED                  Claimed:                     $1,033.23
A & E KITCHEN SERVICE LLC                        Claim Number: 224
C/O TWIN OAKS RECOVERY LLC                       Claim Date: 12/07/2020
PO BOX 3431                                      Debtor: RTI HOLDING COMPANY, LLC
SPRINGFIELD, MO 65808


UNSECURED                  Claimed:                     $2,494.69
BOWIE CENTRAL APPRAISAL DISTRICT, ET AL          Claim Number: 225
C/O MCCREARY VESELKA BRAGG & ALLEN PC            Claim Date: 12/03/2020
ATTN TARA LEDAY                                  Debtor: RTI HOLDING COMPANY, LLC
PO BOX 1269
ROUND ROCK, TX 78680-1269

SECURED                    Claimed:                     $3,499.37
HORIZON LAWN CARE                                Claim Number: 227
PO BOX 1665                                      Claim Date: 12/07/2020
RADFORD, VA 24143                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 24
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 25 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HORIZON LAWN CARE                                Claim Number: 228
PO BOX 1665                                      Claim Date: 12/07/2020
RADFORD, VA 24143                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $75.00
HORIZON LAWN CARE                                Claim Number: 229
PO BOX 1665                                      Claim Date: 12/07/2020
RADFORD, VA 24143                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $75.00
CRAVEN COUNTY                                    Claim Number: 232
ATTN TAX COLLECTOR                               Claim Date: 12/08/2020
PO BOX 1128                                      Debtor: RTI HOLDING COMPANY, LLC
NEW BERN, NC 28563-1128


PRIORITY                   Claimed:                     $1,029.71
R&R CARPET CLEANING SERVICES LLC                 Claim Number: 236
2215-C W PALMETTO ST, STE 100                    Claim Date: 12/08/2020
FLORENCE, SC 29501                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $500.00
SMITH, TRENA                                     Claim Number: 238
844 FOLLY CREEK RD                               Claim Date: 12/08/2020
GREEN POND, SC 29446                             Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 25
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 26 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



GARNETTO, SIOBHAN                                Claim Number: 239
527 WOODSONG TRAIL, APT 101                      Claim Date: 12/08/2020
SMYRNA, GA 30082                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
VALLEY RESTAURANT REPAIR INC                     Claim Number: 241
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                      $3,082.86
VALLEY RESTAURANT REPAIR INC                     Claim Number: 242
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                      $9,268.29
VALLEY RESTAURANT REPAIR INC                     Claim Number: 243
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                     $15,650.07
GREENSFEE LANDSCAPING LLC                        Claim Number: 245
2225 RESERVOIR AVENUE                            Claim Date: 12/08/2020
TRUMBULL, CT 06611                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 73


UNSECURED                  Claimed:                      $3,117.60




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 26
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 27 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



YORK WATER CO, THE                               Claim Number: 247
130 E MARKET ST                                  Claim Date: 12/08/2020
YORK, PA 17401                                   Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $379.97
STARKEY'S REFRIGERATION AND A/C                  Claim Number: 249
434 BRANNON AVE                                  Claim Date: 12/08/2020
CLARKSBURG, WV 26301-2206                        Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLCIATE OF CLAIM # 250

UNSECURED                  Claimed:                     $519.62
STARKEY'S REFRIGERATION AND A/C                  Claim Number: 250
434 BRANNON AVE                                  Claim Date: 12/08/2020
CLARKSBURG, WV 26301-2206                        Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 249


UNSECURED                  Claimed:                     $519.62
BRYAN'S LAWN CARE SERVICE INC                    Claim Number: 260
145 SWEETWATER CIR                               Claim Date: 12/09/2020
CRAWFORDVILLE, FL 32327                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $615.00
HARRISON, JAMESHIA L                             Claim Number: 268
401 N LEE ST, APT 3                              Claim Date: 12/10/2020
VALDOSTA, GA 31601                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 101


UNSECURED                  Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 27
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 28 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MORELAND SIGNS INC                               Claim Number: 271
PO BOX 448                                       Claim Date: 12/10/2020
CHATTANOOGA, TN 37401                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 48


UNSECURED                  Claimed:                     $2,500.00
PLYMOUTH MARKETPLACE LLC                         Claim Number: 272
600 S HWY 169, #1660                             Claim Date: 12/10/2020
SAINT LOUIS PARK, MN 55426                       Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,314.34
CITY OF MIDLAND                                  Claim Number: 281
333 W ELLSWORTH ST                               Claim Date: 12/07/2020
MIDLAND, MI 48640                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $2,038.23
UNITIL CORP                                      Claim Number: 285
ATTN CREDIT DEPARTMENT                           Claim Date: 12/07/2020
5 MCGUIRE ST                                     Debtor: RTI HOLDING COMPANY, LLC
CONCORD, NH 03301


UNSECURED                  Claimed:                     $1,369.78
BALTIMORE GAS AND ELECTRIC CO                    Claim Number: 289
PO BOX 1475                                      Claim Date: 12/08/2020
BALTIMORE, MD 21201                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $7.64




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 28
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 29 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



BALTIMORE GAS AND ELECTRIC CO                    Claim Number: 293
PO BOX 1475                                      Claim Date: 12/08/2020
BALTIMORE, MD 21201                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $4,346.28
CITY OF ATHENS, TENNESSEE                        Claim Number: 294
815 N JACKSON ST                                 Claim Date: 12/09/2020
ATHENS, TN 37303                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $641.00
JAMES, NELSON III                                Claim Number: 295
2923 BALLPARK RD                                 Claim Date: 12/11/2020
EFFINGHAM, SC 29541                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,000.00
DECICCO, NATALIE                                 Claim Number: 298
598 WINDING RIVER RD                             Claim Date: 12/11/2020
BRICK, NJ 08724                                  Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $45.62
ADAMS, JAIME                                     Claim Number: 302
1846 7TH AVE SW                                  Claim Date: 12/11/2020
VERO BEACH, FL 32962                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 29
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 30 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



WITTENBERG, CHRIS                                Claim Number: 305
158 S VILLAGE RD                                 Claim Date: 12/11/2020
LOUDON, NH 03307                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $100.00
ROBINSON PLUMBING & HOME IMPROVEMENTS            Claim Number: 307
9048 WHITE SHOP RD                               Claim Date: 12/11/2020
CULPEPER, VA 22701                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $290.00
CITY OF LENOIR CITY                              Claim Number: 310
C/O TREASURERS OFFICE                            Claim Date: 12/11/2020
530 HEY 321 N                                    Debtor: RTI HOLDING COMPANY, LLC
LENOIR CITY, TN 37771


PRIORITY                   Claimed:                     $337.00
ALLEY, DESIRAI                                   Claim Number: 316
840-C N 10TH ST                                  Claim Date: 12/11/2020
WYTHEVILLE, VA 24382                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $100.00
NORTH BALDWIN UTILITIES                          Claim Number: 319
25 HAND AVE                                      Claim Date: 12/11/2020
BAY MINETTE, AL 36507                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 10254


UNSECURED                  Claimed:                     $125.02




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 30
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 31 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MKED ENTERPRISES INC                             Claim Number: 323
D/B/A CREATIVE BEVERAGE SYSTEMS                  Claim Date: 12/11/2020
PO BOX 348                                       Debtor: RTI HOLDING COMPANY, LLC
EAST TROY, WI 53120


UNSECURED                  Claimed:                      $454.08
CHEMDRY OF CHARLESTON                            Claim Number: 325
1038 JENKINS RD, UNIT 108                        Claim Date: 12/11/2020
CHARLESTON, SC 29407                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $402.60
PETE'S LANDSCAPING                               Claim Number: 326
ATTN PRESTON M ROBERTS                           Claim Date: 12/11/2020
1399 S ELIZABETH ST EXT                          Debtor: RTI HOLDING COMPANY, LLC
SAINT PAULS, NC 28384


UNSECURED                  Claimed:                        $0.00 UNDET
DAWSON COUNTY TAX COMMISSIONER                   Claim Number: 333
25 JUSTICE WAY, STE 1222                         Claim Date: 12/11/2020
DAWSONVILLE, GA 30534                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                         $0.00
PRIORITY                   Claimed:                     $1,929.41
SECURED                    Claimed:                     $1,929.41
TOTAL                      Claimed:                     $1,929.41
MARTIN DOWNS BUSINESS PARK ASSOC INC             Claim Number: 334
C/O ROSS EARLE BONAN & ENSOR PA                  Claim Date: 12/11/2020
PO BOX 2401                                      Debtor: RTI HOLDING COMPANY, LLC
STUART, FL 34995


SECURED                    Claimed:                     $4,189.90




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 31
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876     Filed 01/15/21    Page 32 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



INTEGRITY REAL ESTATE INC                        Claim Number: 336
ATTN ERIN LEMMONS                                Claim Date: 12/11/2020
11229 E 25TH DR                                  Debtor: RTI HOLDING COMPANY, LLC
AURORA, CO 80010                                 Comments:
                                                 AMENDS CLAIM #15

UNSECURED                  Claimed:                      $6,489.00
INTEGRITY REAL ESTATE INC                        Claim Number: 337
ATTN ERIN LEMMONS                                Claim Date: 12/11/2020
11229 E 25TH DR                                  Debtor: RTI HOLDING COMPANY, LLC
AURORA, CO 80010                                 Comments:
                                                 AMENDS CLAIM #15

UNSECURED                  Claimed:                      $6,489.00            Scheduled:               $6,300.00
RAMAGE, KEITH                                    Claim Number: 341
100 MARK DR, APT 4                               Claim Date: 12/14/2020
SMITHFIELD, PA 15478                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
IMAGES LANDSCAPE SERVICE INC                     Claim Number: 353
PO BOX 28024                                     Claim Date: 12/14/2020
CHATTANOOGA, TN 37424                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $3,455.00
SOHN, JENNIFER                                   Claim Number: 359
75 WOODBRIDGE DR                                 Claim Date: 12/14/2020
SPRING LAKE, NC 28390                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance

PRIORITY                   Claimed:                     $16,675.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 32
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 33 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CROUCH, ELYSE                                    Claim Number: 360
504 AYRLEE AVE NW                                Claim Date: 12/14/2020
LEESBURG, VA 20176                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                        $0.00 UNDET
BACKFISCH, ROSE (SEMO WINDOW CLEANING)           Claim Number: 366
3633 COLLINS MILL RD                             Claim Date: 12/14/2020
CAPE GIRARDEAU, MO 63701                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $360.00
OKALOOSA GAS DISTRICT                            Claim Number: 372
364 VALPARAISO PKWY                              Claim Date: 12/14/2020
VALPARAISO, FL 32580                             Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                       $652.79
UNSECURED                  Claimed:                     $1,114.26
A L GEORGE LLC                                   Claim Number: 375
ATTN DIANE M BLANCHARD                           Claim Date: 12/14/2020
7655 EDGECOMB DR                                 Debtor: RTI HOLDING COMPANY, LLC
LIVERPOOL, NY 13088                              Comments: POSSIBLE DUPLICATE OF 376


UNSECURED                  Claimed:                        $0.00
A L GEORGE LLC                                   Claim Number: 376
D/B/A ONONDAGA BEVERAGE                          Claim Date: 12/14/2020
ATTN DIANE M BLANCHARD                           Debtor: RTI HOLDING COMPANY, LLC
7655 EDGECOMB DR                                 Comments:
LIVERPOOL, NY 13088                              DUPLICATE OF CLAIM # 376

UNSECURED                  Claimed:                        $0.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 33
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 34 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MORRISTOWN UTILITIES                             Claim Number: 377
433 W 1ST NORTH ST                               Claim Date: 12/14/2020
MORRISTOWN, TN 37814                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 378

UNSECURED                  Claimed:                     $3,134.66
MORRISTOWN UTILITIES                             Claim Number: 378
433 W 1ST NORTH ST                               Claim Date: 12/14/2020
MORRISTOWN, TN 37814                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 377


UNSECURED                  Claimed:                     $3,134.66
LAKELAND ELECTRIC                                Claim Number: 384
ATTN JERROD D SIMPSON, ESQ                       Claim Date: 12/14/2020
228 S MASSACHUSETTS AVE                          Debtor: RTI HOLDING COMPANY, LLC
LAKELAND, FL 33801


UNSECURED                  Claimed:                     $6,345.46
LAKELAND ELECTRIC                                Claim Number: 385
ATTN JERROD D SIMPSON, ESQ                       Claim Date: 12/14/2020
228 S MASSACHUSETTS AVE                          Debtor: RTI HOLDING COMPANY, LLC
LAKELAND, FL 33801


UNSECURED                  Claimed:                       $44.16
LAKELAND ELECTRIC                                Claim Number: 386
ATTN JERROD D SIMPSON, ESQ                       Claim Date: 12/14/2020
228 S MASSACHUSETTS AVE                          Debtor: RTI HOLDING COMPANY, LLC
LAKELAND, FL 33801


UNSECURED                  Claimed:                      $724.04




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 34
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 35 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



BRANCATO, LINDA                                  Claim Number: 390
55 THOMPSON ST, #10D                             Claim Date: 12/14/2020
EAST HAVEN, CT 06513                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $180.00
MIDDLE TENNESSEE NATURAL GAS (MTNG)              Claim Number: 391
PO BOX 720                                       Claim Date: 12/14/2020
SMITHVILLE, TN 37166                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $771.68
WASP, RHYAN                                      Claim Number: 394
6405 PONDER RD                                   Claim Date: 12/14/2020
FAIRHOPE, AL 36532                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
STARK COUNTY METROPOLITAN SEWER DISTRICT         Claim Number: 395
PO BOX 9972                                      Claim Date: 12/14/2020
CANTON, OH 44711-0972                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $297.89
NATIONAL FUEL GAS DISTRIBUTION CORP              Claim Number: 396
6363 MAIN ST                                     Claim Date: 12/14/2020
WILLIAMSVILLE, NY 14221                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $464.64




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 35
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 36 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MAIETTA, PETER                                   Claim Number: 399
C/O CHARLES P SAPIENZA JR                        Claim Date: 12/14/2020
713 WILMINGTON RD                                Debtor: RTI HOLDING COMPANY, LLC
NEW CASTLE, PA 16161


UNSECURED                  Claimed:                 $300,000.00 UNLIQ
MCFARLAND, CALVIN                                Claim Number: 403
18 PARADISE DR                                   Claim Date: 12/14/2020
SAVANNAH, GA 31406                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $250.00
VILLAGE OF ST BERNARD                            Claim Number: 407
C/O LEIGHANNE HELMES                             Claim Date: 12/14/2020
110 WASHINGTON AVE                               Debtor: RTI HOLDING COMPANY, LLC
SAINT BERNARD, OH 45217


PRIORITY                   Claimed:                       $0.00
BROWNING, BREANNE                                Claim Number: 409
624 TITLOW AVE                                   Claim Date: 12/14/2020
OAK HILL, WV 25901                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
GEORGE ALARM CO                                  Claim Number: 412
202 W MAIN ST, STE B                             Claim Date: 12/14/2020
GLEN CARBON, IL 62034                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $240.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 36
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 37 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



DRAFT DOCTORS LLC                                Claim Number: 417
1885 NEW HOPE RD                                 Claim Date: 12/14/2020
JOELTON, TN 37080                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 163


UNSECURED                  Claimed:                      $294.00
MONTGOMERY WATER WORKS & SANITARY                Claim Number: 422
SEWER BOARD                                      Claim Date: 12/14/2020
PO BOX 1670                                      Debtor: RTI HOLDING COMPANY, LLC
MONTGOMERY, AL 36102-1670


UNSECURED                  Claimed:                      $299.37
ALLEN MORGAN TAX COLLECTOR                       Claim Number: 423
101 E MAIN ST, STE 103                           Claim Date: 12/14/2020
STARKVILLE, MS 39759-2927                        Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $4,025.69
NEA CLIENT SERVICES LLC                          Claim Number: 424
ATTN STEVEN SCOTT                                Claim Date: 12/14/2020
PO BOX 16297                                     Debtor: RTI HOLDING COMPANY, LLC
JONESBORO, AR 72403


UNSECURED                  Claimed:                      $629.30
WILLIAMS, RANADA MARIE                           Claim Number: 425
900 INEZ AVE                                     Claim Date: 12/14/2020
NEW IBERIA, LA 70560                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 10436


PRIORITY                   Claimed:                     $2,676.52




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 37
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 38 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY OF CAMBRIDGE UTILITIES                      Claim Number: 426
828 WHEELING AVE                                 Claim Date: 12/14/2020
CAMBRIDGE, OH 43725                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $813.68
JOHNSON, MARY B                                  Claim Number: 430
8703 INDIANWOODS DR                              Claim Date: 12/14/2020
CINCINNATI, OH 45251                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
DOWLING, SANDRA                                  Claim Number: 432
604 E CUMBERLAND RD                              Claim Date: 12/14/2020
MOBILE, AL 36608                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                 $130,543.92
GAJE LLC                                         Claim Number: 439
C/O DAVID C SKINNER                              Claim Date: 12/14/2020
1025 23RD ST S, STE 103                          Debtor: RTI HOLDING COMPANY, LLC
BIRMINGHAM, AL 35205


UNSECURED                  Claimed:               $2,535,363.59
BURNETT FAMILY TRUST DATED 3-7-2005              Claim Number: 440
501 E AVENIDA SAN JUAN                           Claim Date: 12/14/2020
SAN CLEMENTE, CA 92672                           Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                  $13,000.00
UNSECURED                  Claimed:               $3,197,593.90




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 38
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 39 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



REYNOLDS, TARNISHA                               Claim Number: 444
915 SUPERIOR AVE                                 Claim Date: 12/15/2020
DAYTON, OH 45406                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $7,680.00
MONTAGE SEWER DISTRICT (LRBSA)                   Claim Number: 447
PO BOX 280                                       Claim Date: 12/15/2020
OLYPHANT, PA 18447-0280                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $7,058.52
BORELLA, DIANE M                                 Claim Number: 448
2903 BOWERS LN                                   Claim Date: 12/15/2020
MURFREESBORO, TN 37129                           Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $1,000.00
BENNETT, ALYSON                                  Claim Number: 457
175 S PINE AVE                                   Claim Date: 12/15/2020
ALBANY, NY 12208                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $11,000.00
SMITH, MATTHEW A                                 Claim Number: 458
1306 20TH ST                                     Claim Date: 12/15/2020
VIENNA, WV 26105                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 39
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 40 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HENDERSON COUNTY TAX COLLECTOR                   Claim Number: 459
200 N GROVE ST, STE 66                           Claim Date: 12/15/2020
HENDERSONVILLE, NC 28792-5027                    Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,036.28
ALDRIDGE & SONS PLUMBING CONTRACTORS             Claim Number: 461
PO BOX 600921                                    Claim Date: 12/15/2020
JACKSONVILLE, FL 32260                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $277.50
BAPTIST, SIERA                                   Claim Number: 466
182 LODGE ST, APT 8                              Claim Date: 12/15/2020
CRAWFORD, MS 39743                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
NEW CASTLE SANITATION AUTHORITY                  Claim Number: 469
102 E WASHINGTON ST                              Claim Date: 12/15/2020
NEW CASTLE, PA 16101                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $423.18
DENNY L KAGASOFF REVOCABLE TRUST, THE            Claim Number: 476
C/O DENNY KAGASOFF                               Claim Date: 12/15/2020
4150 CHESTNUT AVE                                Debtor: RTI HOLDING COMPANY, LLC
LONG BEACH, CA 90807


UNSECURED                  Claimed:                 $549,875.42




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 40
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 41 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



T&M LLC                                          Claim Number: 477
PO BOX 1109                                      Claim Date: 12/15/2020
BECKLEY, WV 25802                                Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                     $47,141.33
KING, CHRISTOPHER W SR                           Claim Number: 479
905 LOMBARD ST                                   Claim Date: 12/16/2020
NEW IBERIA, LA 70560                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $10,500.00
SECURED                    Claimed:                     $10,500.00
TOTAL                      Claimed:                     $10,500.00
JACKSON, CYNTHIA                                 Claim Number: 491
1525 BRIDGEWOOD DR, UNIT 5                       Claim Date: 12/16/2020
FLORENCE, SC 29501                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                  $38,000.00
UNSECURED                  Claimed:                 $112,000.00
TRALIANT LLC                                     Claim Number: 492
1600 ROSECRANS AVE, 4TH FL, MEDIA CTR            Claim Date: 12/16/2020
MANHATTAN BEACH, CA 90266                        Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 10145


UNSECURED                  Claimed:                      $6,495.00
STROECKER, DOROTHY                               Claim Number: 493
665 YNESTRA DR                                   Claim Date: 12/16/2020
MOBILE, AL 36609                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $23,355.55




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 41
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 42 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY OF SANFORD                                  Claim Number: 506
225 E WEATHERSPOON ST                            Claim Date: 12/17/2020
SANFORD, NC 27331                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,388.58
BEST KITCHEN SERVICE AND PARTS INC               Claim Number: 507
1011 CALVARY ST                                  Claim Date: 12/17/2020
INDIANAPOLIS, IN 46203                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $307.12
MCDANIEL, CHERYL                                 Claim Number: 508
10 SULKY LN                                      Claim Date: 12/17/2020
PINEHURST, NC 28374                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                        $0.00 UNDET
SECURED                    Claimed:                        $0.00 UNDET
ROBERTS, WILLIAM T                               Claim Number: 511
8334 HERITAGE CROSSING CT                        Claim Date: 12/17/2020
MANASSAS, VA 20109                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
DALLEY, ELAINE                                   Claim Number: 512
6 MORELLO CT                                     Claim Date: 12/17/2020
FARMINGDALE, NJ 07727                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $25.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 42
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 43 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



ALCANTARA, MARIBEL RUIZ                          Claim Number: 513
2737 W WASHINGTON CENTER RD, LOT 229             Claim Date: 12/17/2020
FORT WAYNE, IN 46818                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $49,000.00
NORTHERN INDIANA PUBLIC SERVICE COMPANY          Claim Number: 514
801 E 86TH AVE                                   Claim Date: 12/17/2020
MERRILLVILLE, IN 46410                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $11,091.92
IMAGE MAKER LMS LLC                              Claim Number: 515
1321 ROLLING WOODS LN                            Claim Date: 12/17/2020
LAKELAND, FL 33813                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $5,200.00
FROST BROWN TODD LLC                             Claim Number: 518
PO BOX 70087                                     Claim Date: 12/17/2020
LOUISVILLE, KY 40285                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $11,632.61
OPERATION COMFORT CONTROL LLC                    Claim Number: 539
ATTN ANTONIO FLINT                               Claim Date: 12/17/2020
27 GROVE ST                                      Debtor: RTI HOLDING COMPANY, LLC
HAZLEHURST, GA 31539


PRIORITY                   Claimed:                      $1,742.57




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 43
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 44 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



ORLOWSKY, SCOTT                                  Claim Number: 540
5870 N POINTE LN                                 Claim Date: 12/17/2020
BOYNTON BEACH, FL 33437-3545                     Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $13,846.00
TRAVELERS INDEMNITY CO, ET AL                    Claim Number: 542
ATTN ACCOUTN RESOLUTION                          Claim Date: 12/17/2020
ONE TOWER SQUARE, 0000-FP15                      Debtor: RTI HOLDING COMPANY, LLC
HARTFORD, CT 06183                               Comments:
                                                 DUPLICATE OF CLIAM # 542

ADMINISTRATIVE             Claimed:                          $0.00 UNLIQ
GOODRIDGES LAWN CARE LLC                         Claim Number: 544
118 CLOVER LEAF CIR                              Claim Date: 12/18/2020
LONDON, AR 72847                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $500.00
CITRUS COUNTY TAX COLLECTOR                      Claim Number: 547
ATTN JANICE A WARREN, CFC                        Claim Date: 12/18/2020
210 N APOPKA AVE, STE 100                        Debtor: RTI HOLDING COMPANY, LLC
INVERNESS, FL 34450


SECURED                    Claimed:                      $2,680.39
REGIONAL WATER AUTHORITY                         Claim Number: 552
ATTN LOUISE D'AMICO                              Claim Date: 12/10/2020
90 SARGENT DR                                    Debtor: RTI HOLDING COMPANY, LLC
NEW HAVEN, CT 06511


SECURED                    Claimed:                      $2,113.41




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 44
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 45 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



FRALUISAL LLC                                    Claim Number: 554
4211 RIDGE TOP RD, APT 3306                      Claim Date: 12/14/2020
FAIRFAX, VA 22030                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $69,526.94
FILION, MITCHELL                                 Claim Number: 561
32 CROSSLEY RD                                   Claim Date: 12/21/2020
BARRINGTON, NH 03825                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
AGERTON, TIMOTHY                                 Claim Number: 562
4637 CHUMUCKLA HWY                               Claim Date: 12/21/2020
PACE, FL 32571                                   Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $2,500.00
DINGLER, BRANDY                                  Claim Number: 563
173 COUNTY RD 1651                               Claim Date: 12/21/2020
CULLMAN, AL 35058                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $16,057.00
SECURED                    Claimed:                     $16,057.00
TOTAL                      Claimed:                     $16,057.00
BANGOR NATURAL GAS COMPANY                       Claim Number: 565
498 MAINE AVE                                    Claim Date: 12/21/2020
BANGOR, ME 04401                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $630.97




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 45
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 46 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



JACKSON, YUNAI                                   Claim Number: 568
4804 CLAYTONS PL                                 Claim Date: 12/21/2020
LAGRANGE, NC 28551                               Debtor: RTI HOLDING COMPANY, LLC
LENOIR


UNSECURED                  Claimed:                        $0.00 UNDET
WHITE TOWNSHIP SUPERVISORS                       Claim Number: 569
950 INDIAN SPRINGS RD                            Claim Date: 12/21/2020
INDIANA, PA 15701                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $451.96
LENOIR CITY UTILITIES BOARD                      Claim Number: 570
PO BOX 449                                       Claim Date: 12/21/2020
LENOIR CITY, TN 37771                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $9,095.41
FROM THE VINE PRODUCE DISTRIBUTORS               Claim Number: 572
ATTN TAMMY SINKHORN                              Claim Date: 12/21/2020
PO BOX 462                                       Debtor: RTI HOLDING COMPANY, LLC
FERGUSON, KY 42533


UNSECURED                  Claimed:                      $202.68
MATOUSEK, CARL                                   Claim Number: 573
1229 SUNSET AVE                                  Claim Date: 12/21/2020
LAKELAND, FL 33801                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,400.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 46
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 47 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



THOMAS COUNTY TAX COMMISSIONER                   Claim Number: 575
225 N BROAD ST                                   Claim Date: 12/21/2020
PO BOX 2175                                      Debtor: RTI HOLDING COMPANY, LLC
THOMASVILLE, GA 31799


PRIORITY                   Claimed:                       $904.57
CLARKSVILLE GAS & WATER                          Claim Number: 576
2215 MADISON ST                                  Claim Date: 12/21/2020
CLARKSVILLE, TN 37043                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,722.07
CITY OF HICKORY                                  Claim Number: 577
76 N CENTER ST                                   Claim Date: 12/21/2020
HICKORY, NC 28601                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $788.60
JACKSON, KORINA FEKERE                           Claim Number: 581
52 TOWN SQUARE CIR, #303                         Claim Date: 12/21/2020
STAFFORD, VA 22554                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $13,740.00
WELLINGTON, RONNIE LEE JR                        Claim Number: 582
49 SARATOGA AVE                                  Claim Date: 12/21/2020
BATTLE CREEK, MI 49037                           Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 47
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 48 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



SABER SERVICES LLC                               Claim Number: 586
196 BROUGHTON ST                                 Claim Date: 12/21/2020
ORANGEBURG, SC 29115                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $575.00
BRISCO, JOHN                                     Claim Number: 590
3361 SAINT KILDA                                 Claim Date: 12/21/2020
SANIBEL, FL 33957                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim amount is $2,072.00 Per Month

UNSECURED                  Claimed:                         $0.00 UNLIQ
HERRING, JOY                                     Claim Number: 591
5385 WOMACK RD                                   Claim Date: 12/21/2020
COTTONWOOD, AL 36320                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
ABDUL-BAQI, CHINA MONAY                          Claim Number: 592
160 CHAUTAUQUA AVE                               Claim Date: 12/21/2020
PORTSMOUTH, VA 23707                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $13,000.00
TOTAL                      Claimed:                      $2,850.00
JENKINS, DONALD                                  Claim Number: 597
776 FAIRBORN RD                                  Claim Date: 12/21/2020
CINCINNATI, OH 45240                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $8,801.48




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 48
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 49 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



KROGER FOOD STORES                               Claim Number: 598
C/O FAST COLLECTIONS                             Claim Date: 12/21/2020
8300 KINGSTON PIKE                               Debtor: RTI HOLDING COMPANY, LLC
KNOXVILLE, TN 37919


UNSECURED                  Claimed:                       $761.24
KROGER FOOD STORES                               Claim Number: 599
C/O FAST COLLECTIONS                             Claim Date: 12/21/2020
8300 KINGSTON PIKE                               Debtor: RTI HOLDING COMPANY, LLC
KNOXVILLE, TN 37919


UNSECURED                  Claimed:                       $463.95
MCFEE, AZURE                                     Claim Number: 600
2159 OLD INDIAN RD                               Claim Date: 12/21/2020
RICHMOND, VA 23235                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $2,370.00
SCOTTSBORO ELECTRIC POWER BOARD                  Claim Number: 601
ATTN STACY RADON                                 Claim Date: 12/21/2020
404 E WILLOW ST                                  Debtor: RTI HOLDING COMPANY, LLC
SCOTTSBORO, AL 35768


UNSECURED                  Claimed:                     $10,594.55
MIDWEST FIBRE SALES CORPORATION                  Claim Number: 607
ATTN PEGGY WILCOX                                Claim Date: 12/22/2020
PO BOX 1901                                      Debtor: RTI HOLDING COMPANY, LLC
SPRINGFIELD, MO 65801


UNSECURED                  Claimed:                       $407.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 49
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 50 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



ROANOKE RAPIDS SANITARY DISTRICT                 Claim Number: 609
1000 JACKSON ST                                  Claim Date: 12/22/2020
ROANOKE RAPIDS, NC 27870                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $926.65
VANOVER, GRACE L                                 Claim Number: 611
556 5TH AVE                                      Claim Date: 12/22/2020
CHICKASAW, AL 36611                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
HUNTSVILLE UTILITIES                             Claim Number: 612
ATTN WANDA WALLACE                               Claim Date: 12/22/2020
PO BOX 2048                                      Debtor: RTI HOLDING COMPANY, LLC
112 SPRAGINS ST NW
HUNTSVILLE, AL 35804

UNSECURED                  Claimed:                     $6,544.44
ST CLAIR COUNTY REVENUE OFFICE                   Claim Number: 613
ATTN KENNETH L CROWE, REV COMMISSIONER           Claim Date: 12/22/2020
1815 COGSWELL AVE, STE 205                       Debtor: RTI HOLDING COMPANY, LLC
PELL CITY, AL 35125


UNSECURED                  Claimed:                     $1,602.72
HARPER, ANTWANNA                                 Claim Number: 614
1009 WILCOX ST                                   Claim Date: 12/22/2020
PORTSMOUTH, VA 23704                             Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 50
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 51 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



COWLEY, PATRICK                                  Claim Number: 620
2034 RICHELIEU CT                                Claim Date: 12/22/2020
HOOVER, AL 35216                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
DENSON, EARNESTINE                               Claim Number: 621
1022 SUMMIT DR                                   Claim Date: 12/22/2020
ALBANY, GA 31707                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,500.00
SECURED                    Claimed:                         $0.00
TOWN OF BEDFORD VA                               Claim Number: 623
215 E MAIN ST                                    Claim Date: 12/22/2020
BEDFORD, VA 24523                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $6,531.16
PRECISION LAWN MOWING INC                        Claim Number: 625
PO BOX 484                                       Claim Date: 12/22/2020
LITCHFIELD, IL 62056                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $660.26
JLC LANDSCAPING INC                              Claim Number: 626
8893 EAST AVE                                    Claim Date: 12/22/2020
MENTOR, OH 44060                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $875.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 51
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 52 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



DAWSON, EBONY                                    Claim Number: 627
B611 E 103RD ST                                  Claim Date: 12/22/2020
CLEVELAND, OH 44105                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 CLAIM AMOUNT IS $10.50 PER HOUR

PRIORITY                   Claimed:                          $0.00 UNLIQ
WRIGHT, MICHELE                                  Claim Number: 631
111 MIMOSA CIR                                   Claim Date: 12/22/2020
MARYVILLE, TN 37801                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $361.68
CITY OF ST ROBERT                                Claim Number: 635
C/O CARRIE B WILLIAMSON                          Claim Date: 12/22/2020
PO BOX 494                                       Debtor: RTI HOLDING COMPANY, LLC
WAYNESVILLE, MO 65583


UNSECURED                  Claimed:                     $16,157.41
DAVIDSON, SARAH                                  Claim Number: 639
2305 DEBRA DR                                    Claim Date: 12/22/2020
WEST PLAINS, MO 65775                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
DOMINION HOPE GAS                                Claim Number: 645
48 COLUMBIA BLVD                                 Claim Date: 12/22/2020
CLARKSBURG, WV 26301                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $572.35




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 52
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 53 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MALA LLC                                         Claim Number: 646
C/O RICHARD KONDLA PA                            Claim Date: 12/22/2020
17071 W DIXIE HWY                                Debtor: RTI HOLDING COMPANY, LLC
NORTH MIAMI BEACH, FL 33160


PRIORITY                   Claimed:                 $434,976.09
DOWN EAST ENTERPRISES INC                        Claim Number: 649
C/O HOBART SALES & SERVICE                       Claim Date: 12/23/2020
1311 E NEW BERN RD                               Debtor: RTI HOLDING COMPANY, LLC
KINSTON, NC 28501


UNSECURED                  Claimed:                     $1,915.88
HOPKINS, SHEILIA I                               Claim Number: 650
293 HEATHERWOOD TRL                              Claim Date: 12/23/2020
MONROE, MI 48161                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $25.00
AQUATICS SALES & SERVICE LLC                     Claim Number: 653
11429 CENTER RD                                  Claim Date: 12/23/2020
FENTON, MI 48430                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $628.30
HUDGINS, TIFFANY                                 Claim Number: 655
2056 MEADOW COUNTRY RD                           Claim Date: 12/23/2020
SUFFOLK, VA 23434                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,000.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 53
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 54 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



GABREAL BUNETA                                   Claim Number: 657
226 JOE ST                                       Claim Date: 12/24/2020
COLLINSVILLE, IL 62234                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
NICOLE BROWN                                     Claim Number: 659
9 PINE AVE                                       Claim Date: 12/24/2020
FREDERICKSBURG, PA 17026                         Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $1,061.25
TROY ALSTON                                      Claim Number: 660
1826 NORTH GRIMBALL RD                           Claim Date: 12/24/2020
CHES, SC 29412                                   Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $10,000.00
PAT BEAUSANG                                     Claim Number: 665
8 POLAND PLACE                                   Claim Date: 12/24/2020
POLAND, ME 04274                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $50.00
DURHAM COUNTY TAX ADMINISTRATION                 Claim Number: 668
PO BOX 3397                                      Claim Date: 12/24/2020
DURHAM, NC 27703                                 Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance

PRIORITY                   Claimed:                      $2,045.41
UNSECURED                  Claimed:                      $2,045.41
TOTAL                      Claimed:                      $2,045.41




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 54
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 55 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



JACK WALKER III                                  Claim Number: 670
3920 REBEL RUN #2199                             Claim Date: 12/24/2020
ORLANDO, FL 32822                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $10,000.00
SNOWMAN                                          Claim Number: 673
LORI ALTHEIDE                                    Claim Date: 12/24/2020
207 E 5TH                                        Debtor: RTI HOLDING COMPANY, LLC
ATLANTIC, IA 50022


UNSECURED                  Claimed:                       $660.00
KEITHS HOUSE OF PLUMBING                         Claim Number: 674
KEVIN SEITH                                      Claim Date: 12/24/2020
KEITHS HOUSE OF PLUMBING                         Debtor: RTI HOLDING COMPANY, LLC
725 BLUE SPRINGS RD
ELIZABETHTON, TN 37643

UNSECURED                  Claimed:                      $1,200.00
DICKSON ELECTRIC SYSTEM                          Claim Number: 676
PO BOX 627                                       Claim Date: 12/24/2020
DICKSON, TN 37056                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $3,451.25
COUNTY OF FAIRFAX                                Claim Number: 677
FAIRFAX COUNTY                                   Claim Date: 12/24/2020
OFFICE OF THE COUNTY ATTORNEY                    Debtor: RTI HOLDING COMPANY, LLC
12000 GOVT CENTER PARKWAY SUITE 549
FAIRFAX, VA 22035

PRIORITY                   Claimed:                      $4,926.17




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 55
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 56 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY UTILITIES OF SPRINGFIELD, MISSOURI          Claim Number: 678
301 E CENTRAL ST                                 Claim Date: 12/21/2020
SPRINGFIELD, MO 65802                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $6,306.70
RICHLAND COUNTY TREASURY                         Claim Number: 679
POST OFFICE BOX 11947                            Claim Date: 12/21/2020
COLUMBIA, SC 29211                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $7,192.55
ETOWAH COUNTY REVENUE COMMISSION [MORE] Claim Number: 680
REVENUE COMMISSION PROPERTY TAX         Claim Date: 12/28/2020
800 FORREST AVENUE                      Debtor: RTI HOLDING COMPANY, LLC
ROOM 5
GADSDEN, AL 35901

UNSECURED                  Claimed:                     $2,839.31
APRIL WILKINS                                    Claim Number: 682
2833 CAMPUS POINTE CIR                           Claim Date: 12/28/2020
GAINESVILLE, GA 30504                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance

ADMINISTRATIVE             Claimed:                         $0.00
PRIORITY                   Claimed:                     $2,000.00
TOTAL                      Claimed:                     $1,500.00
ANTWAN MAURICE GASKINS                           Claim Number: 683
10072 MOXLEYS FORD LANE                          Claim Date: 12/28/2020
BRISTOW, VA 20136                                Debtor: RTI HOLDING COMPANY, LLC
PRINCE WILLIAM


UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 56
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 57 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



JOSHUA R BROWN                                   Claim Number: 687
14509 CRIMSTATION RD                             Claim Date: 12/28/2020
CENTERVILLE, VA 20121                            Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                        $97.47
ELION LOUIS JONES                                Claim Number: 689
ELISA JONES                                      Claim Date: 12/28/2020
14900 STRATH MOOR ST                             Debtor: RTI HOLDING COMPANY, LLC
DETROIT, MI 48227


PRIORITY                   Claimed:                     $13,650.00
UNSECURED                  Claimed:                      $6,350.00
GRESHAM'S SEASONAL SERVICES                      Claim Number: 690
JAMES GRESHAM                                    Claim Date: 12/28/2020
18501 HENRY CT                                   Debtor: RTI HOLDING COMPANY, LLC
RAY, MI 48096


UNSECURED                  Claimed:                      $5,556.32
IEM, INC.                                        Claim Number: 691
PO BOX 93538                                     Claim Date: 12/28/2020
LAS VEGAS, NV 89193                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,857.71
GLENMAURA CORP CENTER ASSOCIATION                Claim Number: 692
GLENMAURA CORP. CENTER ASSOC.                    Claim Date: 12/28/2020
2 GLENMAURA NATL BLVD                            Debtor: RTI HOLDING COMPANY, LLC
MOOSIC, PA 18507


SECURED                    Claimed:                       $400.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 57
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 58 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



ALLIE POLOHANKI (MAIDEN NAME) [MORE]             Claim Number: 694
ALLIE POLOHANKI SCHWARTZ                         Claim Date: 12/28/2020
620 TULIP COURT                                  Debtor: RTI HOLDING COMPANY, LLC
STEDMAN, NC 28391


UNSECURED                  Claimed:                        $0.00 UNDET
CITY OF NICEVILLE                                Claim Number: 696
208 N PARTIN DR                                  Claim Date: 12/28/2020
NICEVILLE, FL 32578                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,749.58
SEBRING GAS SYSTEM, INC                          Claim Number: 699
3515 US HWY 275                                  Claim Date: 12/28/2020
SEBRING, FL 33870                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,559.68
SHERMAN O. CROOK                                 Claim Number: 703
7370 ALLEN RD                                    Claim Date: 12/28/2020
FAIRHOPE, AL 36532                               Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                        $0.00 UNDET
PRIORITY                   Claimed:                        $0.00 UNDET
CHARLES TOWN UTILITY BOARD                       Claim Number: 708
661 S GEORGE STREET STE 100                      Claim Date: 12/28/2020
CHARLES TOWN, WV 25414                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,787.89




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 58
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 59 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



RODNEY STEVEN DAVIS                              Claim Number: 709
RODNEY DAVIS                                     Claim Date: 12/28/2020
901 EFLAND CEDAR GROVE ROAD                      Debtor: RTI HOLDING COMPANY, LLC
EFLAND, NC 27243


PRIORITY                   Claimed:                       $96.77
K & D FACTORY SERVICE INC                        Claim Number: 715
1833 N CAMERON STREET                            Claim Date: 12/28/2020
HARRISBURG, PA 17103                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,338.63
IEM INC                                          Claim Number: 723
PO BOX 93538                                     Claim Date: 12/30/2020
LAS VEGAS, NV 89193                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $817.56
SHAWNNA DESERSA                                  Claim Number: 724
9145 OBERON RD APT #212                          Claim Date: 12/30/2020
ARVADA, CO 80004                                 Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance

UNSECURED                  Claimed:                        $0.00
TOTAL                      Claimed:                      $400.00
COPLAY WHITEHALL SEWER AUTHORITY                 Claim Number: 729
3213 MACARTHUR RD                                Claim Date: 12/31/2020
WHITEHALL, PA 18052                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $370.66




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 59
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 60 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



GREGORY P VILLARAN                               Claim Number: 732
GREGORY VILLARAN                                 Claim Date: 12/31/2020
JOHNS CREEK, GA 30097                            Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $50,169.28
UNSECURED                  Claimed:                        $600.00
CITY OF NEWPORT NEWS VIRGINIA                    Claim Number: 734
CITY ATTORNEYS OFFICE CO JOSEPH M DURANT         Claim Date: 12/23/2020
2400 WASHINGTON AVE                              Debtor: RTI HOLDING COMPANY, LLC
9TH FLOOR
NEWPORT NEWS, VA 23607

UNSECURED                  Claimed:                      $1,540.00
LIBERTY COUNTY TAX COMMISSIONER                  Claim Number: 736
LBERTY COUNTY TAX COMMISSIONER                   Claim Date: 01/04/2021
100 MAIN STREET SUITE 1545                       Debtor: RTI HOLDING COMPANY, LLC
HINESVILLE, GA 31313


PRIORITY                   Claimed:                      $3,750.44
DANIEL CAMPBELL DBA EMERALD CITY [MORE]          Claim Number: 737
DAN CAMPBELL                                     Claim Date: 01/04/2021
6181 THOMPSON ROAD SUITE 802                     Debtor: RTI HOLDING COMPANY, LLC
SYRACUSE, NY 13206


UNSECURED                  Claimed:                       $214.92
RUBY TUESDAY - INDEPENDENCE, MO                  Claim Number: 739
GASKET GUY - KC                                  Claim Date: 01/04/2021
10645 WIDMER RD                                  Debtor: RTI HOLDING COMPANY, LLC
LENEXA, KS 66215


UNSECURED                  Claimed:                       $522.32




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 60
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 61 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PASQUOTANK COUNTY TAX COLLECTOR                  Claim Number: 740
203 E MAIN ST                                    Claim Date: 01/04/2021
ELIZABETH CITY, NC 27907                         Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance

PRIORITY                   Claimed:                      $3,174.62
SECURED                    Claimed:                     $11,100.55
UNSECURED                  Claimed:                      $3,174.62
TOTAL                      Claimed:                     $14,355.17
SCHLECTY PROPERTY MANAGEMENT LLC                 Claim Number: 752
BEYOND THE LAWN                                  Claim Date: 01/04/2021
7085 S STATE ROUTE 202                           Debtor: RTI HOLDING COMPANY, LLC
TIPP CITY, OH 45371


UNSECURED                  Claimed:                      $2,147.62
DECHANTE BUCKMON                                 Claim Number: 755
DECHANTE BUCKMAN                                 Claim Date: 01/04/2021
1103 WOODBURY ST                                 Debtor: RTI HOLDING COMPANY, LLC
SHELBYVILLE, TN 37160


UNSECURED                  Claimed:                         $0.00 UNDET
G AND R MECHANICAL INC                           Claim Number: 756
G & R MECHANICAL INC                             Claim Date: 01/04/2021
3220 BERGEY ROAD                                 Debtor: RTI HOLDING COMPANY, LLC
HATFIELD, PA 19440


UNSECURED                  Claimed:                       $476.81
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 757
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $35,416.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 61
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 62 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 758
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $597.21
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 759
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $549.86
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 760
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $848.36
MCCLOSKEY MECHANICAL CONTRACTORS INC             Claim Number: 761
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Date: 01/04/2021
445 LOWER LANDING ROAD                           Debtor: RTI HOLDING COMPANY, LLC
BLACKWOOD, NJ 08012


UNSECURED                  Claimed:                     $1,376.44
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 762
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $937.34




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 62
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 63 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 763
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,132.64
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 764
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $968.58
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 765
445 LOWER LANDING RD                             Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $4,804.48
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 766
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $335.87
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 767
445 LOWER LANDING RD                             Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $24.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 63
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 64 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 768
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $740.75
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 769
445 LOWER LANDING ROAD                           Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,494.46
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 770
445 LOWER LANDING RD                             Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $545.60
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 771
445 LOWER LANDING RD                             Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,474.42
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 772
445 LOWER LANDING RD                             Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $882.43




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 64
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 65 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



KIM MARIE MONK                                   Claim Number: 773
73 B S EVERGREEN AVE                             Claim Date: 01/05/2021
WOODBURY, NJ 08096                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                          $0.00 UNDET
ZAVIER LAMAR SLEDGE                              Claim Number: 774
ZAVIER L. SLEDGE                                 Claim Date: 01/05/2021
128 SOUTH SYCAMORE ST APT 301                    Debtor: RTI HOLDING COMPANY, LLC
PETERSBURG, VA 23803


UNSECURED                  Claimed:                         $0.00 UNDET
WATER REVENUE BUREAU                             Claim Number: 10007
ATTN CITY OF PA LAW-TAX & REVENUE UNIT           Claim Date: 10/15/2020
1401 JFK BLVD, 5TH FL                            Debtor: RTI HOLDING COMPANY, LLC
PHILADELPHIA, PA 19102


UNSECURED                  Claimed:                       $896.75
STEFANOU, PETER S AND BILJANA                    Claim Number: 10012
5926 BEECHHOLLOW CT                              Claim Date: 10/18/2020
CINCINNATI, OH 45233                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $55,981.47
UNSECURED                  Claimed:                     $57,082.81
GUYS WELDING & DESIGNS                           Claim Number: 10015
1385 SW 29TH AVE                                 Claim Date: 10/20/2020
DEERFIELD BEACH, FL 33442                        Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $950.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 65
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 66 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



L&W OUTDOOR ADVERTISING INC                      Claim Number: 10016
6102 W 400 N                                     Claim Date: 10/20/2020
GREENFIELD, IN 46140                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,250.00
FOREVERGREEN COMPLETE GROUND CARE                Claim Number: 10017
7582 HARRISON AVE                                Claim Date: 10/20/2020
CINCINNATI, OH 45247                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 10860


UNSECURED                  Claimed:                       $625.95
GRACE OUTDOOR ADVERTISING LLC                    Claim Number: 10019
ATTN DIANA STEVENSON, CEO                        Claim Date: 10/21/2020
1201 LINCOLN ST, STE 300                         Debtor: RTI HOLDING COMPANY, LLC
COLUMBIA, SC 29201


UNSECURED                  Claimed:                      $4,200.00
CROSS CREEK PLAZA LLC                            Claim Number: 10026
C/O GFD MANAGEMENT INC (CCP)                     Claim Date: 10/23/2020
6350 QUADRANGLE DR, STE 205                      Debtor: RTI HOLDING COMPANY, LLC
CHAPEL HILL, NC 27519


UNSECURED                  Claimed:                     $66,602.49
QRC INC                                          Claim Number: 10027
215 CASSELL ST                                   Claim Date: 10/23/2020
WINSTON SALEM, NC 27127                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $6,961.60




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 66
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 67 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



AWNCLEAN INC                                     Claim Number: 10030
5060 E 62ND ST, STE 132                          Claim Date: 10/26/2020
INDIANAPOLIS, IN 46220                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,400.00
CITY OF MARYVILLE TENNESSEE                      Claim Number: 10033
ATTN DEBBIE RYAN                                 Claim Date: 10/27/2020
412 W BROADWAY AVE                               Debtor: RTI HOLDING COMPANY, LLC
MARYVILLE, TN 37801


PRIORITY                   Claimed:                     $34,657.00
UGI UTILITIES INC                                Claim Number: 10034
PO BOX 13009                                     Claim Date: 10/28/2020
READING, PA 19612                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $6,974.33
PROFICIENT POOL & LAWN SERVICE INC               Claim Number: 10035
1420 GORNTO RD                                   Claim Date: 10/28/2020
VALDOSTA, GA 31602                               Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                       $275.00
WILKINSON, JAMES                                 Claim Number: 10042
6230 E METZ RD                                   Claim Date: 10/28/2020
ANGOLA, IN 46703                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $298.80




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 67
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 68 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CONNECTICUT LIGHT & POWER                        Claim Number: 10043
D/B/A EVERSOURCE                                 Claim Date: 10/29/2020
ATTN HONOR HEALTH                                Debtor: RTI HOLDING COMPANY, LLC
104 SELDEN AVE
BERLIN, CT 06037

UNSECURED                  Claimed:                     $29,678.34
YANKEE GAS COMPANY                               Claim Number: 10044
D/B/A EVERSOURCE                                 Claim Date: 10/29/2020
ATTN HONOR HEALTH                                Debtor: RTI HOLDING COMPANY, LLC
104 SELDEN AVE
BERLIN, CT 06037

UNSECURED                  Claimed:                      $6,094.78
WINDSTREAM                                       Claim Number: 10045
ATTN BETH RENAE WISE                             Claim Date: 10/29/2020
1450 N CENTER POINT RD                           Debtor: RTI HOLDING COMPANY, LLC
HIAWATHA, IA 52233


UNSECURED                  Claimed:                       $821.99             Scheduled:               $147.14
COMFORT CONTROL INC                              Claim Number: 10054
PO BOX 427                                       Claim Date: 11/02/2020
MORRISTOWN, TN 37815                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $6,271.91
DEEP CLEANING SOLUTIONS LLC                      Claim Number: 10057
PO BOX 2204                                      Claim Date: 11/02/2020
HUDSON, OH 44236                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $518.95




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 68
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 69 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



TURF MAGIC LLC                                   Claim Number: 10058
4141 METAURO DR                                  Claim Date: 11/03/2020
LIVERPOOL, NY 13090                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $745.20
PINNACLE LAND MAINTENANCE INC                    Claim Number: 10060
850 W BERESFORD RD                               Claim Date: 11/03/2020
DELAND, FL 32720                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $512.00
AIRMASTERS                                       Claim Number: 10061
C/O SOUTHWEST TOWN MECHANICAL                    Claim Date: 11/03/2020
ATTN ANGIE DILLARD                               Debtor: RTI HOLDING COMPANY, LLC
22349 S COMMERCE PKWY
FRANKFORT, IL 60423

UNSECURED                  Claimed:                       $596.25
ALLEN KUSHYNSKI TR & MIRIAM CYWAN TR             Claim Number: 10062
ATTN ALLEN KUSHYNSKI                             Claim Date: 11/03/2020
4835 MARY ELLEN AVE                              Debtor: RTI HOLDING COMPANY, LLC
SHERMAN OAKS, CA 91423


UNSECURED                  Claimed:                 $383,944.40
EASTON UTILITIES - 1189                          Claim Number: 10063
201 N WASHINGTON ST                              Claim Date: 11/03/2020
EASTON, MD 21601                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $11,357.62 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 69
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 70 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



A BETTER CLEAN LLC                               Claim Number: 10066
624 GILMORE RD                                   Claim Date: 11/04/2020
BROCKPORT, NY 14420                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $750.00
PRINCE EDWARD COUNTY TREASURER                   Claim Number: 10070
PO BOX 522                                       Claim Date: 11/05/2020
FARMVILLE, VA 23901                              Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                      $3,820.10
HOWARD, KELSIE                                   Claim Number: 10083
123 FRANK ST                                     Claim Date: 11/07/2020
LEXINGTON, SC 29073                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
PIEDMONT NATURAL GAS                             Claim Number: 10084
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 11/09/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RTI HOLDING COMPANY, LLC
PO BOX 11889                                     Comments:
COLUMBIA, SC 29211-1889                          Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $21,196.72
TOTAL                      Claimed:                     $13,306.75
JEWELL MECHANICAL LLC                            Claim Number: 10085
1000 ELM HILL PIKE                               Claim Date: 11/09/2020
NASHVILLE, TN 37210                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $575.00




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 70
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 71 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



WHITEHEAD, ERIC J                                Claim Number: 10087
2503 HEATH LN                                    Claim Date: 11/09/2020
TARBORO, NC 27886                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
BRITTNEY RODGERS                                 Claim Number: 10088
406 S AURORA ST                                  Claim Date: 11/09/2020
COLLINSVILLE, IL 62234                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
J AND L COMMERCIAL APPLIANCE                     Claim Number: 10089
810 CENTER RD                                    Claim Date: 11/10/2020
DOUGLAS, GA 31533                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $180.00 UNLIQ
MARTINEZ, BRAND                                  Claim Number: 10092
528 CANDLEWYCK RD                                Claim Date: 11/10/2020
LANCASTER, PA 17601                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
CITY OF MARIETTA TAX DEPARTMENT                  Claim Number: 10094
C/O DOUGLAS R HAYNIE                             Claim Date: 11/10/2020
222 WASHINGTON AVE NE                            Debtor: RTI HOLDING COMPANY, LLC
MARIETTA, GA 30060


PRIORITY                   Claimed:                     $1,644.26




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 71
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 72 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10095
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 11/10/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments: POSSIBLY AMENDED BY 10537
WASHINGTON, DC 20005                             MINIMUM FUNDING CONTRIBUTIONS

ADMINISTRATIVE             Claimed:                       $0.00 UNLIQ
PRIORITY                   Claimed:                       $0.00 UNLIQ
PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10096
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 11/10/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments: POSSIBLY AMENDED BY 10538
WASHINGTON, DC 20005                             PENSION INSURANCE PREMIUMS

ADMINISTRATIVE             Claimed:                       $0.00 UNLIQ
PRIORITY                   Claimed:                       $0.00 UNLIQ
PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10097
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 11/10/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments: POSSIBLY AMENDED BY 10541
WASHINGTON, DC 20005                             UNFUNDED BENEFIT LIABILITIES

ADMINISTRATIVE             Claimed:                       $0.00 UNLIQ
PRIORITY                   Claimed:                       $0.00 UNLIQ
LIVING CANVAS OUTDOOR ROOMS                      Claim Number: 10100
515 S BAILEY AVE                                 Claim Date: 11/10/2020
NORTH PLATTE, NE 69101                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $850.00
JOSEY, BRIAN                                     Claim Number: 10101
50 LEDGEVIEW WAY, UNIT 2313                      Claim Date: 11/10/2020
WRENTHAM, MA 02093                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 72
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 73 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



JASONPUGH                                        Claim Number: 10102
15304 STANAFORD RD                               Claim Date: 11/10/2020
DANESE, WV 25831                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $371.00
QUADRE INVESTMENTS LP                            Claim Number: 10103
2100 N OCEAN BLVD, #2003                         Claim Date: 11/11/2020
FORT LAUDERDALE, FL 33305                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $96,478.00
QUADRE INVESTMENTS LP                            Claim Number: 10104
2100 N OCEAN BLVD, #2003                         Claim Date: 11/11/2020
FORT LAUDERDALE, FL 33305                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:              $11,616,478.00
QUADRE INVESTMENTS LP                            Claim Number: 10105
2100 N OCEAN BLVD, #2003                         Claim Date: 11/11/2020
FORT LAUDERDALE, FL 33305                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:               $7,200,000.00
BLOODWORTH, SALEEM                               Claim Number: 10113
120 BRADFORD ST                                  Claim Date: 11/11/2020
SYRACUSE, NY 13207                               Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                          $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 73
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 74 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MILLER, PERRY                                    Claim Number: 10114
4067 FALLING CREEK RD                            Claim Date: 11/12/2020
LAGRANGE, NC 28551                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,500.00
MIDWEST ALARM SERVICES                           Claim Number: 10116
1910 E KIMBERLY RD                               Claim Date: 11/12/2020
DAVENPORT, IA 52807                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $251.15
ATMOS ENERGY CORPORATION                         Claim Number: 10122
ATTN BANKRUPTCY GROUP                            Claim Date: 11/13/2020
PO BOX 650205                                    Debtor: RTI HOLDING COMPANY, LLC
DALLAS, TX 75265-0205


UNSECURED                  Claimed:                     $6,203.36
LAWN CARE PROFESSIONALS                          Claim Number: 10123
PO BOX 5483                                      Claim Date: 11/13/2020
VIRGINIA BEACH, VA 23471                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,462.50
VMC FACILITIES LLC                               Claim Number: 10124
3119 NW PARK DR                                  Claim Date: 11/13/2020
KNOXVILLE, TN 37921                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $749.24




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 74
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 75 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



KING, RAQUEL                                     Claim Number: 10128
210 ANNA ST                                      Claim Date: 11/14/2020
LILLINGTON, NC 27546                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
PPL ELECTRIC UTILITIES                           Claim Number: 10130
827 HAUSMAN RD                                   Claim Date: 11/16/2020
ALLENTOWN, PA 18104                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $3,154.32
TODD'S QUALITY TOMATOES INC                      Claim Number: 10131
2350 N BEARDALL AVE                              Claim Date: 11/16/2020
SANFORD, FL 32771                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $795.74
CREATIVE CARPET CLEANING LLC                     Claim Number: 10132
3605 MATLOCK PL                                  Claim Date: 11/16/2020
WALDORF, MD 20602                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $950.00
HARRISON, JAMESHIA                               Claim Number: 10133
401 N LEE ST, APT 3                              Claim Date: 11/16/2020
VALDOSTA, GA 31601                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 269

UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 75
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 76 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HERRON, CRAIG                                    Claim Number: 10134
271 S STREET                                     Claim Date: 11/17/2020
ALEXANDER CITY, AL 35010                         Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                          $0.00
PRIORITY                   Claimed:                      $6,255.00
SECURED                    Claimed:                          $0.00
SLATER, KEITH A                                  Claim Number: 10135
2018 HORNSBY DR                                  Claim Date: 11/17/2020
FRANKLIN, TN 37064                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 10202


UNSECURED                  Claimed:                 $314,780.67
A LOT A CLEAN LLC                                Claim Number: 10137
416 SE FLEETWAY CIR                              Claim Date: 11/17/2020
LEES SUMMIT, MO 64081                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $570.00
FRONTIER NATURAL GAS COMPANY                     Claim Number: 10139
110 PGW DR                                       Claim Date: 11/17/2020
ELKIN, NC 28621                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $3,092.16
CLARKSVILLE DEPARTMENT OF ELECTRICITY            Claim Number: 10141
PO BOX 31509                                     Claim Date: 11/17/2020
CLARKSVILLE, TN 37040-0026                       Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $14,676.73




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 76
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 77 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



TRALIANT LLC                                     Claim Number: 10145
1600 ROSECRANS AVE, MEDIA CENTER, 4TH FL         Claim Date: 11/18/2020
MANHATTAN BEACH, CA 90266                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $6,495.00
HERRON, CRAIG                                    Claim Number: 10147
271 SOUTH ST                                     Claim Date: 11/19/2020
ALEXANDER CITY, AL 35010                         Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM 00146516561

ADMINISTRATIVE             Claimed:                        $0.00 UNDET
PRIORITY                   Claimed:                        $0.00 UNDET
SECURED                    Claimed:                        $0.00 UNDET
COMMERCIAL KITCHEN INSTALLERS INC                Claim Number: 10150
224 BROWN INDUSTRIAL PKWY, UNIT 107              Claim Date: 11/19/2020
CANTON, GA 30114                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,270.29
SUCHOVSKY, JAMES                                 Claim Number: 10151
C/O DAVID ELKIN, ESQ                             Claim Date: 11/19/2020
31731 NORTHWESTERN HWY, STE 333                  Debtor: RTI HOLDING COMPANY, LLC
FARMINGTON HILLS, MI 48334


UNSECURED                  Claimed:                        $0.00 UNDET
BUFFALO'S EXPERT SERVICE TECHNICIANS INC         Claim Number: 10153
3003 GENESEE ST                                  Claim Date: 11/19/2020
BUFFALO, NY 14225                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,659.78




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 77
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 78 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



DGD SERVICES INC                                 Claim Number: 10154
5848 ZANG WAY                                    Claim Date: 11/19/2020
ARVADA, CO 80004                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $5,475.00
CLARK COUNTY ASSESSOR'S OFFICE                   Claim Number: 10159
ATTN BANKRUPTCY CLERK                            Claim Date: 11/19/2020
PO BOX 551401                                    Debtor: RTI HOLDING COMPANY, LLC
500 S GRAND CENTRAL PKWY
LAS VEGAS, NV 89155

SECURED                    Claimed:                     $4,093.21
VAN HOOK SERVICE CO INC                          Claim Number: 10169
C/O HARRIS BEACH PLLC                            Claim Date: 11/23/2020
ATTN KEVIN TOMPSETT                              Debtor: RTI HOLDING COMPANY, LLC
99 GARNSEY RD
PITTSFORD, NY 14534

UNSECURED                  Claimed:                      $949.73
DANDRIDGE WATER MANAGEMENT FACILITY              Claim Number: 10174
1114 WASTEWATER RD                               Claim Date: 11/23/2020
PO BOX 68                                        Debtor: RTI HOLDING COMPANY, LLC
DANDRIDGE, TN 37725


UNSECURED                  Claimed:                     $2,245.87
DANDRIDGE WATER MANAGEMENT FACILITY              Claim Number: 10175
1114 WASTEWATER RD                               Claim Date: 11/23/2020
PO BOX 68                                        Debtor: RTI HOLDING COMPANY, LLC
DANDRIDGE, TN 37725


UNSECURED                  Claimed:                       $64.05




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 78
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 79 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



COR ROUTE 7 COMPANY LLC                          Claim Number: 10178
540 TOWNE DR                                     Claim Date: 11/24/2020
FAYETTEVILLE, NY 13066                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $236,680.06
PROFICIENT POOL & LAWN SERVICE INC               Claim Number: 10181
1420 GORNTO RD                                   Claim Date: 11/24/2020
VALDOSTA, GA 31602                               Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                       $53.23
SUMMIT ENERGY SERVICES INC                       Claim Number: 10184
ATTN KATE LILLY                                  Claim Date: 11/30/2020
10350 ORMSBY PARK PL                             Debtor: RTI HOLDING COMPANY, LLC
LOUISVILLE, KY 40223


UNSECURED                  Claimed:                     $3,332.00
PRO KITCHEN LLC                                  Claim Number: 10188
2115 COMMERCE DR                                 Claim Date: 12/01/2020
CAYCE, SC 29033                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $633.53
CITY OF WINDER                                   Claim Number: 10189
C/O STELL SMITH & MATTISON PC                    Claim Date: 12/01/2020
ATTN JOHN E STELL, JR                            Debtor: RTI HOLDING COMPANY, LLC
PO BOX 644
WINDER, GA 30680

UNSECURED                  Claimed:                     $5,161.29




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 79
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 80 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



BLOUNT COUNTY TRUSTEE                            Claim Number: 10190
ATTN ROBIN HICKS                                 Claim Date: 12/01/2020
347 COURT ST                                     Debtor: RTI HOLDING COMPANY, LLC
MARYVILLE, TN 37804                              Comments:
                                                 Claim out of balance

PRIORITY                   Claimed:                     $77,481.00
SECURED                    Claimed:                     $77,481.00
TOTAL                      Claimed:                     $77,481.00
CITY OF STREETSBORO                              Claim Number: 10194
9184 STATE RTE 43                                Claim Date: 12/02/2020
STREETSBORO, OH 44241                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,144.89
GORDON COUNTY TAX COMMISSIONER                   Claim Number: 10195
215 N WALL ST                                    Claim Date: 12/02/2020
CALHOUN, GA 30701                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $846.81
SLATER, KEITH                                    Claim Number: 10202
2018 HORNSBY DR                                  Claim Date: 12/03/2020
FRANKLIN, TN 37064                               Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM #10135

UNSECURED                  Claimed:                 $326,725.60
DUFFY'S EQUIPMENT SERVICES INC                   Claim Number: 10205
3138 ONEIDA ST                                   Claim Date: 12/03/2020
SAUQUOIT, NY 13456                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $960.30




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 80
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 81 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



WILSON COUNTY TAX COLLECTOR                      Claim Number: 10213
PO BOX 1162                                      Claim Date: 12/04/2020
WILSON, NC 27894                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $2,397.39
GEORGE A KINT INC                                Claim Number: 10214
ATTN BRUCE WHITE                                 Claim Date: 12/04/2020
1300 CROOKED HILL RD                             Debtor: RTI HOLDING COMPANY, LLC
HARRISBURG, PA 17110


UNSECURED                  Claimed:                      $2,593.46 UNLIQ
J&M LAWN CARE                                    Claim Number: 10217
C/O JEREMY FARMER                                Claim Date: 12/04/2020
210 BELLINGHAM DR NE                             Debtor: RTI HOLDING COMPANY, LLC
CLEVELAND, TN 37312


UNSECURED                  Claimed:                        $77.42
STOVER, MELENY                                   Claim Number: 10218
840 N ATLANTIC AVE, APT C403                     Claim Date: 12/04/2020
COCOA BEACH, FL 32931                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $13,419.71
SIMPSON, PATRICIA                                Claim Number: 10221
881 LLEWELYN RD                                  Claim Date: 12/04/2020
BERWYN, PA 19312                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $31,250.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 81
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 82 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



COLE COUNTY COLLECTOR                            Claim Number: 10222
C/O LARRY VINCENT                                Claim Date: 12/04/2020
311 E HIGH ST, RM 100                            Debtor: RTI HOLDING COMPANY, LLC
JEFFERSON CITY, MO 65101


PRIORITY                   Claimed:                     $1,607.58
SLATER, KEITH                                    Claim Number: 10225
2018 HORNSBY DR                                  Claim Date: 12/05/2020
FRANKLIN, TN 37064                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $288,939.27 UNLIQ
MACK, TYRONE                                     Claim Number: 10228
6104 LUKE ST                                     Claim Date: 12/05/2020
COLUMBIA, SC 29203-5068                          Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $5,249.50
SANCHEZ, DANIEL                                  Claim Number: 10231
PO BOX 2802                                      Claim Date: 12/05/2020
ONECO, FL 34264                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $930.96
COE, ARMY                                        Claim Number: 10235
124 RIVER SHORES RD                              Claim Date: 12/05/2020
GREEN COVE SPRINGS, FL 32043                     Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $2,500.00 UNLIQ
TOTAL                      Claimed:                     $2,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 82
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 83 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



REDDICK, MUSTAFA                                 Claim Number: 10236
5040 RIVER OVERLOOK WAY                          Claim Date: 12/05/2020
LITHONIA, GA 30038                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $348.79
BENWARE, JACOB M                                 Claim Number: 10242
260 S FOREST RD                                  Claim Date: 12/06/2020
AMHERST, NY 14221                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,153.85
COFFEE COUNTY TRUSTEE                            Claim Number: 10247
PO BOX 467                                       Claim Date: 12/07/2020
MANCHESTER, TN 37349                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $945.00
CITY OF MUSCLE SHOALS MUNICIPAL                  Claim Number: 10248
ATTN ELECTRIC BOARD                              Claim Date: 12/07/2020
PO BOX 2547                                      Debtor: RTI HOLDING COMPANY, LLC
MUSCLE SHOALS, AL 35662


UNSECURED                  Claimed:                     $8,577.43 UNLIQ
WENDOVER ZS LLC AND HASSAN A HASSAN              Claim Number: 10249
130 BREEZY PENT DR                               Claim Date: 12/07/2020
YORKTOWN, VA 23692                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:               $2,346,580.55




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 83
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 84 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



NORTH BALDWIN UTILITIES                          Claim Number: 10254
25 HAND AVE                                      Claim Date: 12/07/2020
BAY MINETTE, AL 36507                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 319

UNSECURED                  Claimed:                       $125.02
HORNACEK, JAY                                    Claim Number: 10260
1012 S WAIOLA AVE                                Claim Date: 12/07/2020
LA GRANGE, IL 60525                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $13,650.00
UNSECURED                  Claimed:                     $12,311.22
SLATER, HEIDI                                    Claim Number: 10262
328 AMERINE RD                                   Claim Date: 12/07/2020
MARYVILLE, TN 37804                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $5,456.95
FUHRMAN, MIKE                                    Claim Number: 10263
40 ROYAL POINTE DR                               Claim Date: 12/07/2020
HILTON HEAD, SC 29926                            Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $12,981.00
UNSECURED                  Claimed:                     $17,307.00
ELDER, SHAQUILLE DEVAUGHN                        Claim Number: 10268
410 WOODCLIFF DR                                 Claim Date: 12/07/2020
SAVANNAH, GA 31406                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 84
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 85 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



HAYNES, SHANNON                                  Claim Number: 10277
16423 37TH DR                                    Claim Date: 12/08/2020
WELLBORN, FL 32094                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                          $0.00 UNDET
POPULAR PLUMBING & HEATING CORP                  Claim Number: 10283
C/O RHK RECOVERY GROUP                           Claim Date: 12/08/2020
1670 OLD COUNTRY RD, STE 202                     Debtor: RTI HOLDING COMPANY, LLC
PLAINVIEW, NY 11803


UNSECURED                  Claimed:                     $14,168.11
DAY & NITE REFRIGERATION SERVICE CORP            Claim Number: 10284
C/O RHK RECOVERY GROUP                           Claim Date: 12/08/2020
1670 OLD COUNTRY RD, STE 202                     Debtor: RTI HOLDING COMPANY, LLC
PLAINVIEW, NY 11803


UNSECURED                  Claimed:                     $10,122.05
RIDDLE, RICKIE                                   Claim Number: 10287
10115 41ST CT E                                  Claim Date: 12/08/2020
PARRISH, FL 34219                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $2,500.00
FLAWLESS CARPET TILE AND GROUT CLEANING          Claim Number: 10294
12726 SHADE TREE CT                              Claim Date: 12/08/2020
HUDSON, FL 34669                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,545.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 85
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 86 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY OF EDEN                                     Claim Number: 10295
PO BOX 70                                        Claim Date: 12/08/2020
EDEN, NC 27289                                   Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,038.07
COLQUITT ELECTRIC MBRSP CORP                     Claim Number: 10297
16 ROWLAND DR NE                                 Claim Date: 12/08/2020
MOULTRIE, GA 31768                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $68.19
GRAVES, BIANCA                                   Claim Number: 10299
603 CARROLL ST                                   Claim Date: 12/08/2020
BAY MINETTE, AL 36507                            Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                        $0.00 UNDET
NASH COUNTY TAX COLLECTOR                        Claim Number: 10305
120 W WASHINGTON ST, STE 2058                    Claim Date: 12/08/2020
NASHVILLE, NC 27856-1376                         Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                     $1,169.73
AMEREN ILLINOIS                                  Claim Number: 10309
2105 E STATE RTE 104                             Claim Date: 12/08/2020
PAWNEE, IL 62540                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,821.48




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 86
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 87 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CITY OF CROSSVILLE                               Claim Number: 10310
ATTN MALENA FISHER                               Claim Date: 12/08/2020
392 N MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
CROSSVILLE, TN 38555


UNSECURED                  Claimed:                      $778.74
CITY OF CROSSVILLE                               Claim Number: 10311
ATTN MALENA FISHER                               Claim Date: 12/08/2020
392 N MAIN ST                                    Debtor: RTI HOLDING COMPANY, LLC
CROSSVILLE, TN 38555


PRIORITY                   Claimed:                     $2,062.90
CRAWFORD, MICHAEL                                Claim Number: 10312
6805 CREEKWATCH RD, UNIT 103                     Claim Date: 12/08/2020
MYRTLE BEACH, SC 29588                           Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                        $0.00 UNDET
LAWSON, JESSICA                                  Claim Number: 10349
6036 NINE MILE RD                                Claim Date: 12/09/2020
MARYVILLE, TN 37801                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,600.00
LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10369
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RTI HOLDING COMPANY, LLC
NASHVILLE, TN 37203


SECURED                    Claimed:               $3,800,000.00
UNSECURED                  Claimed:               $2,454,005.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 87
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 88 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CLEMONS-KIRBY, STEPHANIE                         Claim Number: 10381
1957 BRECKENRIDGE BLVD                           Claim Date: 12/10/2020
MIDDLEBURG, FL 32068                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $229.58
LEWIS, JAVONTE                                   Claim Number: 10382
4977 UNION RD, LOT 42                            Claim Date: 12/10/2020
TIFTON, GA 31794                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $382.78
WILLIAMSON, DARYL                                Claim Number: 10384
40 KOLB DR                                       Claim Date: 12/10/2020
MOREHEAD, KY 40351                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $22,100.47 UNLIQ
BURNETT, MOLLY                                   Claim Number: 10385
8442 GLADIOLA ST                                 Claim Date: 12/11/2020
ARVADA, CO 80005                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $98,166.67
CORSEY, TYKESHA                                  Claim Number: 10391
587 LAFAYETTE AVE                                Claim Date: 12/11/2020
WOODBURY, NJ 08096                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $1,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 88
Name of proof of claims where to
                                                Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 89 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



IRON MOUNTAIN INFORMATION MANAGEMENT LLC Claim Number: 10395
ONE FEDERAL ST, 7TH FL                   Claim Date: 12/11/2020
BOSTON, MA 02110                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $5,563.07
WIGGINS INCORPORATED                             Claim Number: 10396
C/O H DEAN MOOTY JR                              Claim Date: 12/11/2020
600 CLAY ST                                      Debtor: RTI HOLDING COMPANY, LLC
MONTGOMERY, AL 36104


UNSECURED                  Claimed:                      $7,900.23
CITY OF HENDERSON                                Claim Number: 10401
134 ROSE AVE                                     Claim Date: 12/11/2020
PO BOX 1434                                      Debtor: RTI HOLDING COMPANY, LLC
HENDERSON, NC 27536


UNSECURED                  Claimed:                       $547.96
HOLCOMB, MELISHA                                 Claim Number: 10406
182 GRAHAM LP                                    Claim Date: 12/12/2020
TELLICO PLAINS, TN 37385                         Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $10,000.00
SPELLER, THERESA                                 Claim Number: 10416
175 BARK AVE                                     Claim Date: 12/13/2020
CENTRAL ISLIP, NY 11722                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 89
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 90 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



MURPHY, ANGELA                                   Claim Number: 10420
4525 FELIX CT                                    Claim Date: 12/13/2020
MARYVILLE, TN 37803                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $3,608.75
LEBOW, JONATHAN                                  Claim Number: 10421
4625 FOREST AVE SE                               Claim Date: 12/13/2020
MERCER ISLAND, WA 98040                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $697,375.90
LEBOW, JONATHAN                                  Claim Number: 10422
4625 FOREST AVE SE                               Claim Date: 12/13/2020
MERCER ISLAND, WA 98040                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $432,240.00
ROTH, MIRIAM D                                   Claim Number: 10423
4625 FOREST AVE SE                               Claim Date: 12/13/2020
MERCER ISLAND, WA 98040                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $394,960.25
ROTH, MIRIAM D                                   Claim Number: 10424
4625 FOREST AVE SE                               Claim Date: 12/13/2020
MERCER ISLAND, WA 98040                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $244,800.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 90
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 91 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



LEBOW, LAWRENCE N                                Claim Number: 10425
3748 WOODLANE RD                                 Claim Date: 12/13/2020
GAINESVILLE, GA 30506                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:               $2,015,958.44
LEBOW, LAWRENCE N                                Claim Number: 10426
3748 WOODLANE RD                                 Claim Date: 12/13/2020
GAINESVILLE, GA 30506                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:               $1,249,509.60
TULLAHOMA UTILITIES AUTHORITY                    Claim Number: 10433
ATTN MARY MEALER                                 Claim Date: 12/14/2020
PO BOX 788                                       Debtor: RTI HOLDING COMPANY, LLC
TULLAHOMA, TN 37388


UNSECURED                  Claimed:                      $4,852.88
WILLIAMS, RANADA MARIE                           Claim Number: 10436
900 INEZ AVE                                     Claim Date: 12/14/2020
NEW IBERIA, LA 70560                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM #425

PRIORITY                   Claimed:                      $2,676.52
PSE&G                                            Claim Number: 10440
ATTN MATTHEW J COONEY, BANKRUPTCY DEPT           Claim Date: 12/14/2020
PO BOX 709                                       Debtor: RTI HOLDING COMPANY, LLC
NEWARK, NJ 07101-0709


UNSECURED                  Claimed:                     $17,070.36




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 91
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 92 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CAMDEN COMMERCIAL MICROWAVE SERVICE LLC          Claim Number: 10451
3001 KERSHAW HWY                                 Claim Date: 12/14/2020
WESTVILLE, SC 29175                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,539.37
RIGDON FAMILY CORP                               Claim Number: 10455
601 E BARTON AVE                                 Claim Date: 12/14/2020
WEST MEMPHIS, AR 72301                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,937.47
UNION SQUARE NEWCASTLE JOINT VENTURE             Claim Number: 10469
C/O MOSITES DEVELOPMENT CO                       Claim Date: 12/15/2020
400 MOSITES WAY, STE 100                         Debtor: RTI HOLDING COMPANY, LLC
PITTSBURGH, PA 15205


UNSECURED                  Claimed:                     $3,287.79
PALM BEACH COUNTY WATER UTILITIES DEPT           Claim Number: 10472
PO BOX 24740                                     Claim Date: 12/15/2020
WEST PALM BEACH, FL 33416                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,264.95
RIVERA, ALEJANDRO                                Claim Number: 10473
283 CONSTITUTION AVE                             Claim Date: 12/15/2020
WORCESTER, MA 01605                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 92
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 93 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



SUPERIOR ENERGY SOLUTIONS                        Claim Number: 10475
195 WHITE OAK HILL RD                            Claim Date: 12/15/2020
POLAND, ME 04274                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $3,944.25
BATTLEFIELD MALL LLC                             Claim Number: 10478
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204-3438

ADMINISTRATIVE             Claimed:                     $100.00
UNSECURED                  Claimed:                 $109,408.68
TYRONE SQUARE/SIMON CAPITAL GP                   Claim Number: 10479
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204

ADMINISTRATIVE             Claimed:                     $100.00
UNSECURED                  Claimed:                 $233,011.06
LEHIGH VALLEY MALL LLC                           Claim Number: 10481
C/O SIMON COMPANY GROUP                          Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204-3438

ADMINISTRATIVE             Claimed:                       $100.00
UNSECURED                  Claimed:                     $7,779.40
LEHIGH VALLEY MALL LLC                           Claim Number: 10482
C/O SIMON PROPERTY GROUP INC                     Claim Date: 12/15/2020
225 W WASHINGTON ST                              Debtor: RTI HOLDING COMPANY, LLC
INDIANAPOLIS, IN 46204


ADMINISTRATIVE             Claimed:                      $100.00
UNSECURED                  Claimed:                      $659.32




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 93
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 94 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PHILADELPHIA PREMIUM OUTLET LLC                  Claim Number: 10489
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204

ADMINISTRATIVE             Claimed:                   $1,150.95
UNSECURED                  Claimed:                 $639,938.18
SOUTHDALE CENTER LLC                             Claim Number: 10490
C/O SIMON PROPERTY GROUP INC                     Claim Date: 12/15/2020
ATTN MICHAEL C DART                              Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204

ADMINISTRATIVE             Claimed:                       $100.00
PRIORITY                                                                           Scheduled:                 $93.22
UNSECURED                  Claimed:                 $370,236.01
AVENUES MALL LLC                                 Claim Number: 10493
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204-3438

ADMINISTRATIVE             Claimed:                        $100.00
UNSECURED                  Claimed:                     $24,230.13
JERSEY GARDENS CENTER LLC                        Claim Number: 10496
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST                              Comments:
INDIANAPOLIS, IN 46204                           Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $20,406.35
TOTAL                      Claimed:                     $12,654.17
WRENTHAM VILLAGE PREMIUM OUTLETS                 Claim Number: 10499
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN PREMIUM OUTLETS                             Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204-3438

ADMINISTRATIVE             Claimed:                  $29,097.94
UNSECURED                  Claimed:                 $295,635.11




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 94
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 95 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



GILMER COUNTY TAX COMMISSIONER                   Claim Number: 10502
1668 PLEASANT HILL RD                            Claim Date: 12/15/2020
ELLIJAY, GA 30540                                Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $1,384.21
SECURED                    Claimed:                      $1,384.21
TOTAL                      Claimed:                      $1,384.21
MARSHMON, FRANKIE                                Claim Number: 10503
860 EVERGREEN RD                                 Claim Date: 12/15/2020
ROCKY MOUNT, NC 27803                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
WEIS MARKETS INC                                 Claim Number: 10504
1000 S SECOND ST                                 Claim Date: 12/15/2020
SUNBURY, PA 17801                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $43,938.52
TREASURE COAST -JCP ASSOCIATES LTD               Claim Number: 10507
C/O SIMON PROPERTY GROUP                         Claim Date: 12/15/2020
ATTN BANKRUPTCY                                  Debtor: RTI HOLDING COMPANY, LLC
225 W WASHINGTON ST
INDIANAPOLIS, IN 46204-3438

ADMINISTRATIVE             Claimed:                  $25,001.25
UNSECURED                  Claimed:                 $254,012.70
ANDREWS, CHRISTOPHER R                           Claim Number: 10526
6862 DERBY AVE                                   Claim Date: 12/15/2020
FAIRBURN, GA 30213                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $562.05




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 95
Name of proof of claims where to
                                                Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 96 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10537
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 12/16/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments:
WASHINGTON, DC 20005                             AMENDS CLAIM #10095

UNSECURED                  Claimed:                 $233,356.00
PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10538
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 12/16/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments:
WASHINGTON, DC 20005                             AMENDS CLAIM #10096

UNSECURED                  Claimed:                 $905,409.00
INTERNATIONAL FIDELITY INSURANCE COMPANY         Claim Number: 10540
C/O SMTD LAW LLP                                 Claim Date: 12/16/2020
2001 E CAMPBELL AVE, STE 201                     Debtor: RTI HOLDING COMPANY, LLC
PHOENIX, AZ 85016                                Comments:
                                                 Claim out of balance

SECURED                    Claimed:                 $900,000.00
TOTAL                      Claimed:                 $687,110.87
PENSION BENEFIT GUARANTY CORPORATION             Claim Number: 10541
C/O OFFICE OF GENERAL COUNSEL                    Claim Date: 12/16/2020
ATTN COURTNEY MORGAN                             Debtor: RTI HOLDING COMPANY, LLC
1200 K ST NW, STE 340                            Comments:
WASHINGTON, DC 20005                             AMENDS CLAIM #10097

ADMINISTRATIVE             Claimed:                       $0.00 UNLIQ
PRIORITY                   Claimed:                       $0.00 UNLIQ
UNSECURED                  Claimed:               $2,244,503.00 UNLIQ
WASTE MANAGEMENT INC                             Claim Number: 10548
2625 W GRANDVIEW RD, STE 150                     Claim Date: 12/16/2020
PHOENIX, AZ 85023                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $2,723.14




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 96
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 97 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



ANYTIME PLUMBER                                  Claim Number: 10549
175 W AIRPORT BLVD                               Claim Date: 12/16/2020
PENSACOLA, FL 32505                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $250.00
CISCOS HEATING AND AIR CONDITIONING INC          Claim Number: 10574
8310 PARC PL                                     Claim Date: 12/16/2020
CHALMETTE, LA 70043                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $4,108.07
GOLDMAN SACHS SPECIALTY LENDING GROUP            Claim Number: 10578
ATTN RUBY TUESDAY ACCOUNT MANAGER                Claim Date: 12/16/2020
2001 ROSS AVE, STE 2800                          Debtor: RTI HOLDING COMPANY, LLC
DALLAS, TX 75201


SECURED                    Claimed:                         $0.00 UNDET
D'AMICO, MICHAEL                                 Claim Number: 10581
8524 CRANE DANCE TRL                             Claim Date: 12/16/2020
EDEN PRAIRIE, MN 55344                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $27,967.18 UNLIQ
TANEY COUNTY COLLECTOR                           Claim Number: 10582
PO BOX 278                                       Claim Date: 12/16/2020
FORSYTH, MO 65653                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,754.54




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 97
Name of proof of claims where to
                                                Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 98 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



AETNA LIFE INSURANCE CO                          Claim Number: 10584
C/O MCGUIREWOODS LLP                             Claim Date: 12/16/2020
ATTN AARON MCCOLLOUGH                            Debtor: RTI HOLDING COMPANY, LLC
77 W WACKER DR, STE 4100                         Comments:
CHICAGO, IL 60601                                CROSS CASE DUPLICATE OF CLAIM # 10589

UNSECURED                  Claimed:                     $44,029.00 UNLIQ
SELM INC                                         Claim Number: 10594
ATTN CURTIS HOWELL, PRESIDENT                    Claim Date: 12/16/2020
7807 E GREEWAY RD, STE 7B                        Debtor: RTI HOLDING COMPANY, LLC
SCOTTSDALE, AZ 85260


UNSECURED                  Claimed:                      $1,667.52
SONORAN ENVIRONMENTS                             Claim Number: 10605
C/O LANDSCAPING & MAINTENANCE                    Claim Date: 12/16/2020
ATTN CURTIS HOWELL, PRESIDENT                    Debtor: RTI HOLDING COMPANY, LLC
7807 E GREENWAY RD, STE 7B
SCOTTSDALE, AZ 85260

UNSECURED                  Claimed:                      $1,667.52
SONORAN ENVIRONMENTS                             Claim Number: 10607
C/O LANDSCAPE AND MAINTENANCE                    Claim Date: 12/16/2020
7807 E GREENWAY RD, STE 7B                       Debtor: RTI HOLDING COMPANY, LLC
SCOTTSDALE, AZ 85260


UNSECURED                  Claimed:                      $1,667.52
VACCARO, MICHAEL J                               Claim Number: 10610
5 COMMERCIAL DR, BLDG 2, APT 1L                  Claim Date: 12/16/2020
LAKEVILLE, MA 02347                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $32,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 98
Name of proof of claims where to
                                                Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 99 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



DUKE ENERGY OHIO                                 Claim Number: 10621
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 12/17/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RTI HOLDING COMPANY, LLC
PO BOX 11889
COLUMBIA, SC 29211-1889

UNSECURED                  Claimed:                     $3,120.60
CITY AND COUNTY OF DENVER                        Claim Number: 10641
C/O MANAGER OF FINANCE                           Claim Date: 12/17/2020
ATTN TREASURY/SPECIALIZED AUDIT SUPPORT          Debtor: RTI HOLDING COMPANY, LLC
201 W COLFAX AVE, MC 1001, DEPT 1009
DENVER, CO 80202

SECURED                    Claimed:                     $11,001.66 UNLIQ
A&E KITCHEN SERVICE LLC                          Claim Number: 10665
1651 S EMPIRE AVE                                Claim Date: 12/17/2020
SPRINGFIELD, MO 65802                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $3,527.92
RIVAS, PRISCILLA N                               Claim Number: 10668
402 PINE ST                                      Claim Date: 12/17/2020
GREENVILLE, NC 27834                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                       $616.96
SECURED                    Claimed:                       $616.98
TOTAL                      Claimed:                       $616.96
COMMERCIAL SERVICE SOUTHEAST LLC                 Claim Number: 10675
PO BOX 15256                                     Claim Date: 12/17/2020
CHATTANOOGA, TN 37415                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $6,328.02




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 99
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 100 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



NATIONAL GRID                                    Claim Number: 10685
300 ERIE BLVD W                                  Claim Date: 12/17/2020
SYRACUSE, NY 13202                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $21,298.89
DUKE ENERGY PROGRESS                             Claim Number: 10693
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 12/17/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RTI HOLDING COMPANY, LLC
PO BOX 11889
COLUMBIA, SC 29211-1889

ADMINISTRATIVE             Claimed:                     $19,771.06
UNSECURED                  Claimed:                     $36,650.25
CONSTELLATION NEWENERGY INC                      Claim Number: 10696
1310 POINT ST, 12TH FL                           Claim Date: 12/17/2020
BALTIMORE, MD 21231                              Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                     $23,172.28
UNSECURED                  Claimed:                     $66,635.80
HAMBRIGHT, BRIAN                                 Claim Number: 10713
304 28TH ST, #104                                Claim Date: 12/17/2020
VIRGINIA BEACH, VA 23451                         Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                 $129,218.38
COLUMBIA GAS OF VIRGINIA                         Claim Number: 10745
PO BOX 117                                       Claim Date: 12/17/2020
COLUMBUS, OH 43216                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $4,441.86




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 100
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 101 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



COLUMBIA GAS OF PENNSYLVANIA                     Claim Number: 10749
PO BOX 117                                       Claim Date: 12/17/2020
COLUMBUS, OH 43216                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,973.20
CONSTELLATION NEWENERGY-GAS DIVISION LLC         Claim Number: 10759
1310 POINT ST, 12TH FL                           Claim Date: 12/17/2020
BALTIMORE, MD 21231                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 10765


ADMINISTRATIVE             Claimed:                      $9,275.79
UNSECURED                  Claimed:                     $16,239.94
CONSTELLATION NEWENERGY-GAS DIVISION LLC         Claim Number: 10765
1310 POINT ST, 12TH FL                           Claim Date: 12/17/2020
BALTIMORE, MD 21231                              Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM #10759

ADMINISTRATIVE             Claimed:                      $9,275.79
UNSECURED                  Claimed:                     $16,239.94
MUNIZ, ANGELA                                    Claim Number: 10812
525 GEORGETOWN AVE, APT F21                      Claim Date: 12/17/2020
ELYRIA, OH 44035                                 Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $731.39
SERVICE EXPERTS LLC                              Claim Number: 10826
ATTN MATHEW SAMUEL                               Claim Date: 12/17/2020
3820 AMERICAN DR, STE 200                        Debtor: RTI HOLDING COMPANY, LLC
PLANO, TX 75075


UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 101
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 102 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



THIBODEAUX, JADE                                 Claim Number: 10830
508 RYNELLA RD                                   Claim Date: 12/18/2020
NEW IBERIA, LA 70560                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
ANDERSON, STEVEN                                 Claim Number: 10835
1112 SUNSET CT                                   Claim Date: 12/18/2020
GRAFTON, WI 53024                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
TN DEPT OF LABOR - BOILER/ELEVATOR DIV           Claim Number: 10842
C/O TN ATTORNEY GENERAL, BANKRUPTCY DIV          Claim Date: 12/18/2020
PO BOX 20207                                     Debtor: RTI HOLDING COMPANY, LLC
NASHVILLE, TN 37202-0207


UNSECURED                  Claimed:                     $225.00
RAY, KRISTOPHER                                  Claim Number: 10847
PO BOX 204831                                    Claim Date: 12/20/2020
AUGUSTA, GA 30917                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
CLA LANDSCAPING INC                              Claim Number: 10854
5685 YOUNGQUIST RD                               Claim Date: 12/21/2020
FORT MYERS, FL 33912                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $830.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 102
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 103 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



CAMDEN COUNTY                                    Claim Number: 10856
ATTN TAX COMMISSIONER                            Claim Date: 12/21/2020
PO BOX 698                                       Debtor: RTI HOLDING COMPANY, LLC
WOODBINE, GA 31569


PRIORITY                   Claimed:                     $13,878.22
FOREVERGREEN COMPLETE GROUND CARE                Claim Number: 10860
7582 HARRISON AVE                                Claim Date: 12/21/2020
CINCINNATI, OH 45247                             Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 AMENDS CLAIM #10017

UNSECURED                  Claimed:                       $680.20
INTERSTATE OUTDOOR INC                           Claim Number: 10867
PO BOX 124                                       Claim Date: 12/22/2020
SELMA, NC 27576                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $2,440.00
POWELL ANDERSON CAPITAL, L.P.                    Claim Number: 10877
5532 LILLEHAMMER LANE, SUITE 200                 Claim Date: 12/24/2020
ATTN: R ADAM LINDSAY                             Debtor: RTI HOLDING COMPANY, LLC
PARK CITY, UT 84098


UNSECURED                  Claimed:                 $177,600.00
POWELL ANDERSON CAPITAL, L.P.                    Claim Number: 10878
5532 LILLEHAMMER LANE, SUITE 200                 Claim Date: 12/24/2020
ATTN: R ADAM LINDSAY                             Debtor: RTI HOLDING COMPANY, LLC
PARK CITY, UT 84098


UNSECURED                  Claimed:                 $286,539.79




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 103
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 104 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



WEDDINGTON, ELIESHA                              Claim Number: 10883
11300 BRIARMONT ROAD                             Claim Date: 12/25/2020
201                                              Debtor: RTI HOLDING COMPANY, LLC
CHESTERFIELD, VA 23235


UNSECURED                  Claimed:                      $0.00 UNDET
LOWERY, TIASHAWN                                 Claim Number: 10885
415 MIDDLESEX ST APT#2                           Claim Date: 12/27/2020
NORFOLK, VA 23523                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $0.00 UNDET
COOPER, LINDA                                    Claim Number: 10888
101 MURPHY'S RUN                                 Claim Date: 12/28/2020
LEXINGTON, KY 40508                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $0.00 UNDET
PARTIN, DUSTIN                                   Claim Number: 10889
703 WEST HICKORY ST                              Claim Date: 12/28/2020
KIRKSVILLE, MO 63501                             Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                      $0.00 UNDET
PRIORITY                   Claimed:                      $0.00 UNDET
SECURED                    Claimed:                      $0.00 UNDET
COOPER, LINDA                                    Claim Number: 10890
631 MURPHY'S RUN                                 Claim Date: 12/28/2020
#101                                             Debtor: RTI HOLDING COMPANY, LLC
LEXINGTON, KY 40508


PRIORITY                   Claimed:                      $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 104
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 105 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)



UGI UTILITIES, INC.                              Claim Number: 10894
P.O. BOX 13009                                   Claim Date: 12/29/2020
READING, PA 19612                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $6,385.09
SCHMEER, BRANDON                                 Claim Number: 10898
1068 EMERALD CT.                                 Claim Date: 12/29/2020
HAZLETON, PA 18202                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 105
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 106 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12456)




                                                                Summary Page

                Total Number of Filed Claims:           522                                            Claimed Amount      Allowed Amount

                                                                    Administrative:                          $207,070.48              $0.00
                                                                    Priority:                              $1,355,375.71              $0.00
                                                                    Secured:                               $5,222,464.62              $0.00
                                                                    Unsecured:                            $46,259,093.08              $0.00
                                                                    Total:                                $53,044,003.89              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 107 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WIDEWATERS UNIONTOWN COMPANY LLC                 Claim Number: 5
C/O THE WIDEWATERS GROUP INC                     Claim Date: 10/19/2020
5845 WIDEWATERS PKWY, STE 100                    Debtor: RUBY TUESDAY, INC.
EAST SYRACUSE, NY 13057


UNSECURED                  Claimed:               $1,065,691.60
WIDEWATERS IX CANTON COMPANY LLC                 Claim Number: 6
C/O THE WIDEWATERS GROUP INC                     Claim Date: 10/19/2020
5845 WIDEWATERS PKWY, STE 100                    Debtor: RUBY TUESDAY, INC.
EAST SYRACUSE, NY 13057


UNSECURED                  Claimed:                 $114,600.66               Scheduled:              $94,139.17
PR SPRINGFIELD/DELCO LIMITED PARTNERSHIP         Claim Number: 7
C/O JEFFREY KURTZMAN, ESQ                        Claim Date: 10/19/2020
401 S 2ND ST, STE 200                            Debtor: RUBY TUESDAY, INC.
PHILADELPHIA, PA 19147


ADMINISTRATIVE             Claimed:                  $20,061.58
UNSECURED                  Claimed:                 $174,742.24
PR MAGNOLIA LLC                                  Claim Number: 8
C/O JEFFREY KURTZMAN, ESQ                        Claim Date: 10/19/2020
401 S 2ND ST, STE 200                            Debtor: RUBY TUESDAY, INC.
PHILADELPHIA, PA 19147


ADMINISTRATIVE             Claimed:                  $14,435.97
UNSECURED                  Claimed:                 $115,790.64
CDW DIRECT LLC                                   Claim Number: 13
ATTN VIDA KRUG                                   Claim Date: 10/13/2020
200 N MILWAUKEE AVE                              Debtor: RUBY TUESDAY, INC.
VERNON HILLS, IL 60061


PRIORITY                   Claimed:                     $15,112.70
UNSECURED                                                                     Scheduled:              $15,112.70




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 108 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



STAPLES BUSINESS ADVANTAGE                       Claim Number: 14
ATTN TOM RIGGLEMAN                               Claim Date: 10/15/2020
7 TECHNOLOGY CIR                                 Debtor: RUBY TUESDAY, INC.
COLUMBIA, SC 29203


ADMINISTRATIVE             Claimed:                      $5,208.46
UNSECURED                  Claimed:                     $35,844.32
CIPRIANO SQUARE PLAZA CORPORATION                Claim Number: 18
ATTN DAVID VACCA                                 Claim Date: 10/27/2020
270 COMMERCE DR                                  Debtor: RUBY TUESDAY, INC.
ROCHESTER, NY 14623


ADMINISTRATIVE             Claimed:                        $326.56
UNSECURED                  Claimed:                      $4,243.33            Scheduled:              $1,293.16
DOVER ISLAND PARK SOUTH LLC                      Claim Number: 21
27 ST JOHNS PL                                   Claim Date: 10/27/2020
FREEPORT, NY 11520                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $683,387.38 UNLIQ
ESTATE OF JEFFREY OAKLEY, THE                    Claim Number: 25
C/O JOSEPH A CAPO ESQ                            Claim Date: 10/23/2020
955 ALLWOOD RD                                   Debtor: RUBY TUESDAY, INC.
CLIFTON, NJ 07012


UNSECURED                  Claimed:                         $0.00 UNLIQ
PENELEC                                          Claim Number: 26
101 CRAWFORDS CORNER RD                          Claim Date: 10/23/2020
BLDG 1, STE 1-511                                Debtor: RUBY TUESDAY, INC.
HOLMDEL, NJ 07733


UNSECURED                  Claimed:                       $486.43             Scheduled:              $1,363.45




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 2
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 109 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



METROPOLITAN EDISON COMPANY                      Claim Number: 27
101 CRAWFORDS CORNER RD                          Claim Date: 10/23/2020
BLDG 1 STE 1-511                                 Debtor: RUBY TUESDAY, INC.
HOLMDEL, NJ 07733


UNSECURED                  Claimed:                      $1,989.16
JERSEY CENTRAL POWER & LIGHT                     Claim Number: 28
101 CRAWFORDS CORNER RD                          Claim Date: 10/23/2020
BLDG 1, STE 1-1511                               Debtor: RUBY TUESDAY, INC.
HOLMDEL, NJ 07733


UNSECURED                  Claimed:                      $2,682.77
KENNEY, LAURA                                    Claim Number: 30
C/O ROTSTEIN & SHIFFMAN LLP                      Claim Date: 10/21/2020
309 OAKRIDGE BLVD, STE B                         Debtor: RUBY TUESDAY, INC.
DAYTONA BEACH, FL 32118


UNSECURED                  Claimed:                 $500,000.00
HERNANDO COUNTY TAX COLLECTOR                    Claim Number: 33
20 N MAIN ST, RM 112                             Claim Date: 10/26/2020
BROOKSVILLE, FL 34601                            Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                      $2,429.84 UNLIQ
TREAT, MICHAEL H                                 Claim Number: 38
C/O SINIARD TIMBERLAKE & LEAGUE                  Claim Date: 11/02/2020
ATTN WILL LEAGUE, ESQ                            Debtor: RUBY TUESDAY, LLC
PO BOX 2767
HUNTSVILLE, AL 35804

UNSECURED                  Claimed:                     $74,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 3
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 110 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HORTICULTURE SERVICES GROUP INC                  Claim Number: 44
4630 SCARLET DR E                                Claim Date: 11/03/2020
CRESTVIEW, FL 32539                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $525.00
PARKWAY LODGING REALTY LLC                       Claim Number: 46
C/O TFE PROPERTIES/HOTELS UNLIMITED INC          Claim Date: 11/05/2020
ATTN FRANCINE E TAJFEL, ESQ                      Debtor: RUBY TUESDAY, INC.
399 MONMOUTH ST                                  Comments:
EAST WINDSOR, NJ 08520                           DUPLICATE OF CLAIM # 49

UNSECURED                  Claimed:                 $327,738.84
PARKWAY LODGING REALTY LLC                       Claim Number: 47
C/O TFE PROPERTIES/HOTELS UNLIMITED INC          Claim Date: 11/05/2020
ATTN FRANCINE E TAJFEL, ESQ                      Debtor: RUBY TUESDAY, INC.
399 MONMOUTH ST                                  Comments:
EAST WINDSOR, NJ 08520                           DUPLICATE OF CLAIM # 50

UNSECURED                  Claimed:                 $160,749.54
PARKWAY LODGING REALTY LLC                       Claim Number: 49
C/O TFE PROPERTIES/HOTELS UNLIMITED INC          Claim Date: 11/06/2020
ATTN FRANCINE E TAJFEL, ESQ                      Debtor: RUBY TUESDAY, INC.
399 MONMOUTH ST                                  Comments: POSSIBLE DUPLICATE OF 46
EAST WINDSOR, NJ 08520

UNSECURED                  Claimed:                 $327,738.84
PARKWAY LODGING REALTY LLC                       Claim Number: 50
C/O TFE PROPERTIES/HOTELS UNLIMITED INC          Claim Date: 11/06/2020
ATTN FRANCINE E TAJFEL, ESQ                      Debtor: RUBY TUESDAY, INC.
399 MONMOUTH ST                                  Comments: POSSIBLE DUPLICATE OF 47
EAST WINDSOR, NJ 08520

UNSECURED                  Claimed:                 $160,749.54




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 4
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 111 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WELLS FARGO VENDOR FINANCIAL SVCS LLC            Claim Number: 51
1010 THOMAS EDISON BLVD SW                       Claim Date: 11/09/2020
CEDAR RAPIDS, IA 52404                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $45,777.36
A ROYAL FLUSH INC                                Claim Number: 52
PO BOX 2808                                      Claim Date: 11/09/2020
GULFPORT, MS 39505                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $540.35             Scheduled:                $540.35
APP TECHNOLOGIES LLC                             Claim Number: 58
50 WASHINGTON ST, STE 303E                       Claim Date: 11/10/2020
NORWALK, CT 06854                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $31,091.61            Scheduled:              $30,120.00
DEPARTMENT OF TREASURY - IRS                     Claim Number: 64
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                     $16,529.13
SABER CORNER LLC                                 Claim Number: 79
C/O STEARNS WEAVER                               Claim Date: 11/16/2020
ATTN JOHN N MURATIDES, ESQ                       Debtor: RUBY TUESDAY, INC.
401 E JACKSON ST, #2100
TAMPA, FL 33602

UNSECURED                  Claimed:                 $275,453.65




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 5
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 112 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



AVINS, CATHERINE                                 Claim Number: 90
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $5,000.00
BAIGORRIA, IVAN                                  Claim Number: 91
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $14,639.10
BAKER, CATHERINE                                 Claim Number: 92
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $16,231.38
BENNER, RACHAEL                                  Claim Number: 93
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $1,436.52
BERGERON, AMANDA                                 Claim Number: 94
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $2,700.23




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 6
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 113 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BERMAN, GRAYCE                                   Claim Number: 95
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $7,500.00
BISHOP, BILLIE                                   Claim Number: 96
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $11,651.17
BONNER, JAMES                                    Claim Number: 97
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $1,975.00
BRIEN, STEVEN                                    Claim Number: 98
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,000.70
CERRATO, HARVEY                                  Claim Number: 99
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $100.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 7
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 114 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CHRISTIE, HUNTER                                 Claim Number: 100
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $1,611.49
CLAYTON, SARAH                                   Claim Number: 101
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $1,957.92
COE, AMY                                         Claim Number: 102
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $1,162.82
COLLOVA, BARBARA                                 Claim Number: 103
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $8,340.17
COOPER, DONALD                                   Claim Number: 104
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $3,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 8
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 115 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CRANE, KELLY                                     Claim Number: 105
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $8,000.00
CUCCO, MELANIE                                   Claim Number: 106
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $5,771.06
DEEL, ESTER                                      Claim Number: 107
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $2,500.00
DORMAN, JOHNNA                                   Claim Number: 108
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $100.00
DUDLEY, RENNEE                                   Claim Number: 109
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $2,500.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 9
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 116 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ERLACHER, DAVID                                  Claim Number: 110
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $2,137.22
GHESQUIERE, GRANT                                Claim Number: 111
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $1,169.22
HELTON, SHEAH                                    Claim Number: 112
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $7,261.56
HILES, RON                                       Claim Number: 113
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $12,927.27
HUCKABY, TIMOTHY                                 Claim Number: 114
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $9,021.18




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 10
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 117 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



KELLAM, KERI                                     Claim Number: 115
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,325.88
KENNEY, LAURA                                    Claim Number: 116
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,000.00
LIDOWSKI, JAMIE                                  Claim Number: 117
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $552.07
LIGONDE, ROOSEVELT                               Claim Number: 118
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,292.79
LITSINGER, JANNINE                               Claim Number: 119
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $17,500.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 11
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 118 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LOVELETTE, PATRICIA                              Claim Number: 120
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $4,765.86
MARTILUS, MONIQUE                                Claim Number: 121
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,481.99
MASSE, LOIS                                      Claim Number: 122
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637                                      Comments: POSSIBLY AMENDED BY 10535
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $13,100.00
MCCANNN, KRISTI                                  Claim Number: 123
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $5,408.37
MIRANDA, RATEL                                   Claim Number: 124
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $1,157.80




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 12
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 119 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MONCADA, ZOILA                                   Claim Number: 125
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $10,586.80
ONYSZCZUK, OLGA                                  Claim Number: 126
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $2,500.00
PARCHINSKI, ANN                                  Claim Number: 127
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $1,000.00
PARRESOL, MELISSA                                Claim Number: 128
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $500.00
PETERSON, LORI                                   Claim Number: 129
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $2,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 13
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 120 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RIDI, KASINDA                                    Claim Number: 130
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $100.00
ROBERTS, LINDA                                   Claim Number: 131
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $7,958.60
RODRIQUEZ, ANGELICA                              Claim Number: 132
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $2,146.30
ROJAS, ELENA                                     Claim Number: 133
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $1,093.13
RUFF, CYNTHIA                                    Claim Number: 134
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $4,076.12




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 14
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 121 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SHOOLBRED, KANDIE                                Claim Number: 135
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $12,500.00
SMITH, SANDRA                                    Claim Number: 136
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                      $3,000.00
SPANN, ERNEST                                    Claim Number: 137
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $12,188.13
STEIN, GREGORY                                   Claim Number: 138
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $100.00
TAYLOR, PAMELA                                   Claim Number: 139
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $100.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 15
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 122 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WARREN, WILLIAM JR                               Claim Number: 140
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $500.00
WILKERSON, STACEY                                Claim Number: 141
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $18,402.88
WILKINS, PETER                                   Claim Number: 142
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                     $13,739.84
WOLF, REBECCA                                    Claim Number: 143
C/O FLORIDA SELF-INSURERS GUARANTY               Claim Date: 11/18/2020
ASSOCIATION INC                                  Debtor: RUBY TUESDAY, INC.
PO BOX 3637
TALLAHASSEE, FL 32315-3637

UNSECURED                  Claimed:                       $100.00
CHARLESTON WATER SYSTEM                          Claim Number: 149
PO BOX B                                         Claim Date: 11/13/2020
CHARLESTON, SC 29403                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $8,523.64            Scheduled:              $1,273.17




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 16
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 123 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SERITAGE SRC FINANCE LLC                         Claim Number: 152
C/O MICHAEL BUSENKELL                            Claim Date: 11/19/2020
1201 N ORANGE ST, STE 300                        Debtor: RUBY TUESDAY, INC.
WILMINGTON, DE 19801


UNSECURED                  Claimed:                     $77,590.18
SOUTH RIDING OWNER LLC                           Claim Number: 158
C/O MAGRUDER COOK, ET AL                         Claim Date: 11/23/2020
1889 PRESTON WHITE DR, STE 200                   Debtor: RUBY TUESDAY, INC.
RESTON, VA 20191


UNSECURED                  Claimed:                 $333,443.34
ALLEN COUNTY TREASURER                           Claim Number: 160
1 E MAIN ST, STE 104                             Claim Date: 11/23/2020
FORT WAYNE, IN 46802-1888                        Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $4,977.79 UNLIQ
COX BROTHERS HEATING & COOLING LLC               Claim Number: 165
PO BOX 996                                       Claim Date: 11/23/2020
ROLLA, MO 65402                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $837.02             Scheduled:              $1,551.72
OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 166
PO BOX 15567                                     Claim Date: 11/23/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 202

UNSECURED                  Claimed:                 $241,884.17 CONT




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 17
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21    Page 124 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 167
PO BOX 15567                                     Claim Date: 11/23/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 202

PRIORITY                   Claimed:                     $10,538.34
LOUISIANA DEPARTMENT OF REVENUE                  Claim Number: 170
PO BOX 66658                                     Claim Date: 11/24/2020
BATON ROUGE, LA 70896-6658                       Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $995.00 UNLIQ
SPOTSYLVANIA COUNTY                              Claim Number: 171
C/O TREASURERS OFFICE                            Claim Date: 11/24/2020
PO BOX 100                                       Debtor: RUBY TUESDAY, INC.
SPOTSYLVANIA, VA 22553


PRIORITY                   Claimed:                      $3,427.88                 Scheduled:                 $11,861.40
UNSECURED                  Claimed:                      $1,622.93
MONTGOMERY COUNTY TRUSTEE                        Claim Number: 191
350 PAGEANT LN, #101B                            Claim Date: 11/30/2020
CLARKSVILLE, TN 37040                            Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $1,209.00
SECURED                    Claimed:                      $1,209.00
TOTAL                      Claimed:                      $1,209.00
MONTGOMERY COUNTY TRUSTEE                        Claim Number: 192
350 PAGEANT LN, #101-B                           Claim Date: 11/30/2020
CLARKSVILLE, TN 37040                            Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $1,496.00
SECURED                    Claimed:                      $1,496.00
TOTAL                      Claimed:                      $1,496.00




Epiq Bankruptcy Solutions, LLC                                                                                                          Page: 18
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 125 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ESCAMBIA COUNTY TAX COLLECTOR                    Claim Number: 193
ATTN SARAH S WALTON                              Claim Date: 12/01/2020
25 W CEDAR ST, STE 550                           Debtor: RUBY TUESDAY, INC.
PENSACOLA, FL 32502                              Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $6,561.13 UNLIQ
SECURED                    Claimed:                     $6,561.13 UNLIQ
TOTAL                      Claimed:                     $6,561.13 UNLIQ
MACH II MCB SILVER PORTFOLIO OWNER 1 LLC         Claim Number: 194
C/O MAGRUDER COOK KOUTSOUFTIKIS, ET AL           Claim Date: 12/01/2020
1889 PRESTON WHITE DR, STE 200                   Debtor: RUBY TUESDAY, INC.
RESTON, VA 20191


UNSECURED                  Claimed:                 $252,409.81
HAIYANG INC                                      Claim Number: 195
1526 SANDYBROOK LN                               Claim Date: 12/02/2020
WAKE FOREST, NC 27587                            Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLY AMENDED BY 474


UNSECURED                  Claimed:                 $350,511.85
ADAMS FAMILY TRUST, THE                          Claim Number: 197
KEITH E AND KIM D ADAMS, TRUSTEES                Claim Date: 12/03/2020
C/O C JAY ROBBINS IV, ESQ                        Debtor: RTI HOLDING COMPANY, LLC
8003 FRANKLIN FARMS RD, STE 233
RICHMOND, VA 23229

SECURED                    Claimed:                 $250,883.49
UNSECURED                  Claimed:                 $145,888.59
TOWN OF BLOOMFIELD                               Claim Number: 198
800 BLOOMFIELD AVE                               Claim Date: 11/24/2020
BLOOMFIELD, CT 06002                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $5,181.12




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 19
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21   Page 126 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 201
PO BOX 15567                                     Claim Date: 11/24/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 166


UNSECURED                  Claimed:                 $241,884.17
OHIO BUREAU OF WORKERS' COMPENSATION             Claim Number: 202
PO BOX 15567                                     Claim Date: 11/24/2020
COLUMBUS, OH 43215-0567                          Debtor: RTI HOLDING COMPANY, LLC
                                                 Comments: POSSIBLE DUPLICATE OF 167


PRIORITY                   Claimed:                     $10,538.34 UNLIQ
WHEATON PLAZA REGIONAL SHOPPING CENTER           Claim Number: 207
C/O BARCLAY DAMON LLP                            Claim Date: 12/04/2020
ATTN NICLAS A FERLAND, ESQ                       Debtor: RUBY TUESDAY, INC.
545 LONG WHARF DR, 9TH FL
NEW HAVEN, CT 06511

UNSECURED                  Claimed:                 $196,240.42
AYL, MARSA                                       Claim Number: 208
341 E BELL ST                                    Claim Date: 12/07/2020
ALCOA, TN 37701                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $692.25             Scheduled:                 $692.25
REMICK LANDSCAPING INC                           Claim Number: 212
D/B/A GREENSIDE                                  Claim Date: 12/07/2020
7401 W 126TH ST                                  Debtor: RUBY TUESDAY, INC.
SAVAGE, MN 55378


UNSECURED                  Claimed:                     $1,722.99             Scheduled:                $1,484.50




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 20
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21   Page 127 of 433      Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SELNA, MICHAEL W AND MARJA D                     Claim Number: 213
6284 FORESTER DR                                 Claim Date: 12/07/2020
HUNTINGTON BEACH, CA 92648                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $180,318.81               Scheduled:            $180,318.81 UNLIQ DISP
WILLIAMS, AZJNAE C                               Claim Number: 214
C/O BARRY I BAKER, ESQ                           Claim Date: 12/07/2020
PO BOX 31265                                     Debtor: RTI HOLDING COMPANY, LLC
CHARLESTON, SC 29417


UNSECURED                  Claimed:                     $50,000.00 UNLIQ
HYATT, JAMES F II                                Claim Number: 218
C/O TROUTMAN PEPPER HAMILTON SANDERS LLP         Claim Date: 12/07/2020
ATTN GARY W MARSH                                Debtor: RUBY TUESDAY, INC.
600 PEACHTREE ST NE, STE 3000                    Comments: POSSIBLY AMENDED BY 10378
ATLANTA, GA 30308

UNSECURED                  Claimed:               $1,399,175.00
KARN, DONALD C JR                                Claim Number: 226
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $873.20
TOWN OF WILKESBORO                               Claim Number: 230
PO BOX 1056                                      Claim Date: 12/07/2020
WILKESBORO, NC 28697                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $992.83




Epiq Bankruptcy Solutions, LLC                                                                                                      Page: 21
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 128 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TOWN OF WILKESBORO                               Claim Number: 231
203 W MAIN ST                                    Claim Date: 12/07/2020
WILKESBORO, NC 28697                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $407.15               Scheduled:              $971.29
NICHOLS, REBECCA                                 Claim Number: 233
1930 PALMA WAY                                   Claim Date: 12/08/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $80.60               Scheduled:               $80.60
SECURED                    Claimed:                       $0.00
EDWARDS, RHONDA                                  Claim Number: 234
40 EDWARDS DR                                    Claim Date: 12/08/2020
MILLBORO, VA 24460                               Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $440.99
UNSECURED                  Claimed:                       $0.00 UNDET
LANG, LILLIAN                                    Claim Number: 235
1930 PALMA WAY                                   Claim Date: 12/08/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $131.30               Scheduled:              $131.30
SECURED                    Claimed:                       $0.00
NORRIS, TA'SHAWN                                 Claim Number: 237
1970 ELLIOTT HWY                                 Claim Date: 12/08/2020
BISHOPVILLE, SC 29010                            Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $366.89
UNSECURED                  Claimed:                     $366.89




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 22
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 129 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NORRIS, TIWANNA                                  Claim Number: 240
1970 ELLIOTT HWY                                 Claim Date: 12/08/2020
BISHOPVILLE, SC 29010                            Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $309.50
UNSECURED                  Claimed:                       $309.50
VALLEY RESTAURANT REPAIR INC                     Claim Number: 241
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                      $3,082.86
VALLEY RESTAURANT REPAIR INC                     Claim Number: 242
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                      $9,268.29
VALLEY RESTAURANT REPAIR INC                     Claim Number: 243
C/O STEPHEN K STROSNIDER                         Claim Date: 12/08/2020
129 N WAYNE AVE                                  Debtor: RTI HOLDING COMPANY, LLC
WAYNESBORO, VA 22980


UNSECURED                  Claimed:                     $15,650.07
HAROLD G BUTZER INC                              Claim Number: 246
721 WICKER LN                                    Claim Date: 12/08/2020
JEFFERSON CITY, MO 65109                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,113.19            Scheduled:              $2,113.19




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 23
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 130 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



F A S T SERVICE INC                              Claim Number: 248
2010-38 WHEATSHEAF LN                            Claim Date: 12/08/2020
PHILADELPHIA, PA 19124                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,409.40
CHAUTAUQUA MALL LLC                              Claim Number: 251
C/O WASHINGTON PRIME GROUP INC                   Claim Date: 12/08/2020
ATTN S IFEDUBA                                   Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                     $17,556.20
GRAND CENTRAL PARKERSBURG LLC                    Claim Number: 252
C/O WASHINGTON PRIME GROUP INC                   Claim Date: 12/08/2020
ATTN S IFEDUBA                                   Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                 $210,992.66
MALL AT LIMA LLC                                 Claim Number: 253
C/O WASHINGTON PRIME GROUP INC                   Claim Date: 12/08/2020
ATTN S IFEDUBA                                   Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                     $55,576.86
PORT CHARLOTTE MALL LLC                          Claim Number: 254
C/O WASHINGTON PRIME GROUP INC                   Claim Date: 12/08/2020
ATTN S IFEDUBA                                   Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                 $368,900.62




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 24
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 131 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WEIMER, SCOTT                                    Claim Number: 255
114 BAYOU BEND RD                                Claim Date: 12/08/2020
GROVELAND, FL 34736                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $91,243.21            Scheduled:              $91,243.21 UNLIQ DISP
YOUNG, BRANDY                                    Claim Number: 256
C/O AYERBE & ARNOLD LLC                          Claim Date: 12/08/2020
ATTN PAUL R AYERBE, ESQ                          Debtor: RUBY TUESDAY, INC.
3608 VINEVILLE AVE
MACON, GA 31204

UNSECURED                  Claimed:                     $50,000.00            Scheduled:                  $0.00 UNLIQ
STAFFORD RT LLC                                  Claim Number: 257
C/O J CAROLE THOMPSON HORD                       Claim Date: 12/08/2020
1100 PEACHTREE ST NE, STE 800                    Debtor: RUBY TUESDAY, INC.
ATLANTA, GA 30309


UNSECURED                  Claimed:                     $15,274.82
REHM, EDWARD F                                   Claim Number: 258
2125 MARCHFIELD DR E                             Claim Date: 12/08/2020
MOBILE, AL 36693                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $108,778.71               Scheduled:          $108,778.71 UNLIQ DISP
REHM, EDWARD F                                   Claim Number: 259
2125 MARCHFIELD DR E                             Claim Date: 12/08/2020
MOBILE, AL 36693                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET       Scheduled:                  $0.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 25
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21    Page 132 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RONS CARPET & AIR DUCT CLEANING                  Claim Number: 261
ATTN RON VERGA                                   Claim Date: 12/09/2020
62 AIRVIEW DR                                    Debtor: RUBY TUESDAY, INC.
GREENVILLE, SC 29607


UNSECURED                  Claimed:                       $800.00                  Scheduled:                   $800.00
QUALITY REFRIGERATION                            Claim Number: 262
6237 PENN AVE S, STE 100                         Claim Date: 12/09/2020
RICHFIELD, MN 55423                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,783.28                 Scheduled:                  $2,783.28
MIAMI-DADE COUNTY TAX COLLECTOR                  Claim Number: 264
200 NW 2ND AVE, STE 430                          Claim Date: 10/30/2020
MIAMI, FL 33128                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments: WITHDRAWN
                                                 DOCKET: 7 (11/13/2020)

SECURED                    Claimed:                      $9,387.20 UNLIQ
MARTINCIC, ANDREW                                Claim Number: 265
N59 W23310 CLOVER DR, #102                       Claim Date: 12/09/2020
SUSSEX, WI 53089                                 Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $37,261.30
UNSECURED                                                                          Scheduled:                 $18,630.65 UNLIQ DISP
TOTAL                      Claimed:                     $18,630.65
MASON, THOMAS ELVIN                              Claim Number: 266
4688 TWIN PEAKS CT                               Claim Date: 12/10/2020
LOVELAND, CO 80537                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $88,434.03
UNSECURED                                                                          Scheduled:                 $88,434.03 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                               Page: 26
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 133 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TINNELL, TYLER                                   Claim Number: 267
6930 SILLIMAN DR                                 Claim Date: 12/10/2020
CHESTERFIELD, VA 23832                           Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $280.35
UNSECURED                  Claimed:                       $280.35
ROBBINS, BOBBY RAY                               Claim Number: 269
101 BLACK OAK RD                                 Claim Date: 12/10/2020
GASTON, SC 29053                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $337.22
UNSECURED                  Claimed:                       $337.22
MARKS, ROBERT M                                  Claim Number: 270
2901 ROGERS WALK                                 Claim Date: 12/10/2020
MOUNT LAUREL, NJ 08054                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $48,000.00            Scheduled:                 $0.00 UNLIQ
DOVER ISLAND PARK SOUTH LLC                      Claim Number: 273
27 ST JOHN'S PL                                  Claim Date: 12/10/2020
FREEPORT, NY 11520                               Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 22


UNSECURED                  Claimed:                 $683,387.38
DALY, KENDALL                                    Claim Number: 274
33 PARSONS RD                                    Claim Date: 12/10/2020
ENFIELD, CT 06082                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $205.28             Scheduled:               $205.28




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 27
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 134 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GARCIA, MANUEL                                   Claim Number: 275
3637 OLDE LANARK DR                              Claim Date: 12/10/2020
LAND O' LAKES, FL 34638                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $28,650.86            Scheduled:              $28,650.86 UNLIQ DISP
JACOBSON, CELIA                                  Claim Number: 276
1485 AINSWORTH RD                                Claim Date: 12/10/2020
FLORENCE, MS 39073                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,565.35            Scheduled:               $1,565.35 UNLIQ DISP
SCHLONGEN PROPERTIES LLC                         Claim Number: 277
ATTN KEVIN SCHLONGEN                             Claim Date: 12/10/2020
2026 SANDSTONE LOOP N                            Debtor: RUBY TUESDAY, INC.
SARTELL, MN 56377


UNSECURED                  Claimed:                      $1,120.02            Scheduled:               $1,120.02
CITY OF SUMTER, THE                              Claim Number: 278
PO BOX 310                                       Claim Date: 12/10/2020
SUMTER, SC 29151                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,168.39            Scheduled:               $1,318.39
WEINBERG, DANIEL                                 Claim Number: 279
17571 NW 238 TER                                 Claim Date: 12/10/2020
HIGH SPRINGS, FL 32643                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $18,984.00
UNSECURED                                                                     Scheduled:              $18,984.04 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 28
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 135 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WEINBERG, DANIEL                                 Claim Number: 280
17571 NW 238 TER                                 Claim Date: 12/10/2020
HIGH SPRINGS, FL 32693                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $20,691.00
UNSECURED                                                                     Scheduled:                $20,691.03 UNLIQ DISP
KARN, DONALD C JR                                Claim Number: 282
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 226
                                                 DUPLICATE OF CLAIM # 282

PRIORITY                   Claimed:                       $873.20
SHELBY COUNTY TRUSTEE                            Claim Number: 283
PO BOX 2751                                      Claim Date: 12/07/2020
MEMPHIS, TN 38101                                Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $19,827.18
KARN, DONALD C JR                                Claim Number: 284
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 282


PRIORITY                   Claimed:                       $873.20
SHELBY COUNTY TRUSTEE                            Claim Number: 287
PO BOX 2751                                      Claim Date: 12/07/2020
MEMPHIS, TN 38101                                Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                      $1,461.65




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 29
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 136 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



POPE COUNTY TAX COLLECTOR                        Claim Number: 288
100 W MAIN                                       Claim Date: 12/08/2020
RUSSELLVILLE, AR 72801                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $3,842.74             Scheduled:              $9,235.16
BALTIMORE GAS AND ELECTRIC CO                    Claim Number: 290
PO BOX 1475                                      Claim Date: 12/08/2020
BALTIMORE, MD 21201                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,134.74
RUNYAN, MICHAEL D                                Claim Number: 296
5481 HICKORY VALLEY RD                           Claim Date: 12/11/2020
HEISKELL, TN 37754                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                      $878.00
UNSECURED                                                                     Scheduled:               $878.00
CARTER, BILLY                                    Claim Number: 297
3559 JAYCLIFF RD, LOT 27                         Claim Date: 12/11/2020
MACON, GA 31211                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $846.15              Scheduled:               $846.15
PANELLAS PLUMBING & HEATING                      Claim Number: 299
654 ENFIELD ST                                   Claim Date: 12/11/2020
PO BOX 233                                       Debtor: RUBY TUESDAY, INC.
ENFIELD, CT 06083-0233


UNSECURED                  Claimed:                      $726.77              Scheduled:               $726.77




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 30
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 137 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ARCHWAY LAWN AND LANDSCAPING                     Claim Number: 300
330 DEPOT                                        Claim Date: 12/11/2020
SAINT PETERS, MO 63376                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $4,200.00             Scheduled:              $4,200.00
SHORT, TARYN                                     Claim Number: 301
3443 E ODIER ST                                  Claim Date: 12/11/2020
INVERNESS, FL 34453                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $163.80
UNSECURED                  Claimed:                      $163.80
ALCORN COUNTY EPA                                Claim Number: 303
1909 S TATE ST                                   Claim Date: 12/11/2020
CORINTH, MS 38934                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $948.12              Scheduled:              $5,996.06
US LAWNS ARKANSAS NORTHEAST                      Claim Number: 304
PO BOX 1248                                      Claim Date: 12/11/2020
JONESBORO, AR 72403                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $835.46              Scheduled:               $835.46
GLENN, DARYL W                                   Claim Number: 306
237 THORNHILL DR                                 Claim Date: 12/11/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $478.01
UNSECURED                  Claimed:                      $478.01




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 31
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 138 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COWART, DEVEON                                   Claim Number: 308
523 CIRCLE DR, APT #10                           Claim Date: 12/11/2020
FORT WALTON BEACH, FL 32548                      Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                       $421.63
PRIORITY                   Claimed:                         $0.00             Scheduled:                $421.63
GREENBRIER PSD NO 1                              Claim Number: 309
9035 SENECA TRAIL S                              Claim Date: 12/11/2020
RONCEVERTE, WV 24970                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $412.93             Scheduled:                $357.45
ANDREWS, MICHAEL                                 Claim Number: 311
164 PINENUT LN                                   Claim Date: 12/11/2020
BOGART, GA 30622                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $10,741.07
UNSECURED                                                                     Scheduled:              $10,741.07 UNLIQ DISP
ANDREWS, MICHAEL                                 Claim Number: 312
164 PINENUT LN                                   Claim Date: 12/11/2020
BOGART, GA 30622                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $28,348.00
UNSECURED                                                                     Scheduled:              $28,348.80 UNLIQ DISP
MCL MECHANICAL SERVICES INC                      Claim Number: 313
26 KELSO AVE                                     Claim Date: 12/11/2020
WEST SPRINGFIELD, MA 01089                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,697.49            Scheduled:                $658.47




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 32
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 139 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CMK FORT MYERS LLC                               Claim Number: 314
C/O KODNER WATKINS LC                            Claim Date: 12/11/2020
ATTN ALBERT S WATKINS                            Debtor: RUBY TUESDAY, INC.
7733 FORSYTH BLVD, STE 600
CLAYTON, MO 63105

UNSECURED                  Claimed:                     $12,969.20
SEARS, YVONNE                                    Claim Number: 315
1813 NW 26TH AVE                                 Claim Date: 12/11/2020
OCALA, FL 34475                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $9,749.92            Scheduled:               $9,749.92 UNLIQ DISP
GARCIA, MANUEL                                   Claim Number: 317
3637 OLDE LANARK DR                              Claim Date: 12/11/2020
LAND O' LAKES, FL 34638                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $64,988.92            Scheduled:              $64,988.92 UNLIQ DISP
FOSTER, MICHELLE A                               Claim Number: 318
4171 RESERVOIR RD                                Claim Date: 12/11/2020
KINGSPORT, TN 37660                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $81,263.64
UNSECURED                                                                     Scheduled:              $81,263.64 UNLIQ DISP
EDWARDS EQUIPMENT REPAIR INC                     Claim Number: 320
1283 NEW MARKET RD                               Claim Date: 12/11/2020
HENRICO, VA 23231                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $403.70             Scheduled:                $511.86




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 33
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 140 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TFH-EB INC                                       Claim Number: 321
C/O THE WATERWORKS                               Claim Date: 12/11/2020
550 SCHROCK RD                                   Debtor: RUBY TUESDAY, INC.
COLUMBUS, OH 43229


UNSECURED                  Claimed:                       $708.60             Scheduled:                $708.60
MARR-ONE LLC                                     Claim Number: 322
D/B/A ROTO-ROOTER JEFFERSON CITY                 Claim Date: 12/11/2020
ATTN ALLIE MARRONE                               Debtor: RUBY TUESDAY, INC.
PO BOX 7065
COLUMBIA, MO 65205

UNSECURED                  Claimed:                       $631.00             Scheduled:                $281.00
KEEFE LANDSCAPING LLC                            Claim Number: 324
395 GILBERT ST                                   Claim Date: 12/11/2020
MANSFIELD, MA 02048                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $500.00             Scheduled:                $500.00
CRAIGHEAD COUNTY TAX COLLECTOR                   Claim Number: 327
511 UNION ST, STE 107                            Claim Date: 12/11/2020
JONESBORO, AR 72401                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $13,129.42            Scheduled:              $13,129.42
CITY OF MERIDEN TAX COLLECTOR                    Claim Number: 328
142 E MAIN ST, RM 117                            Claim Date: 12/11/2020
MERIDEN, CT 06450                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $9,297.30




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 34
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 141 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF JACKSONVILLE                             Claim Number: 329
PO BOX 128                                       Claim Date: 12/11/2020
JACKSONVILLE, NC 28540                           Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $3,578.13
UNSECURED                                                                     Scheduled:              $2,961.17
BISHOP, LINDA L                                  Claim Number: 330
11200 PARAKEET DR                                Claim Date: 12/11/2020
DADE CITY, FL 33525                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $111.71              Scheduled:               $111.71
COLE, GARY S                                     Claim Number: 331
11 HALL AVE                                      Claim Date: 12/11/2020
JOHNSTOWN, NY 12095                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $1,250.00
UNSECURED                  Claimed:                     $1,250.00
J&B HAVAC LLC                                    Claim Number: 332
D/B/A SERVICE EXPRESS                            Claim Date: 12/11/2020
ATTN JAY SCHILLING                               Debtor: RUBY TUESDAY, INC.
23491 DOGWOOD LN
KIRKSVILLE, MO 63501

UNSECURED                  Claimed:                      $852.13              Scheduled:               $852.13
RT BRISTOL LLC                                   Claim Number: 335
A FLORIDA LIMITED LIABILITY COMPANY              Claim Date: 12/11/2020
C/O DENISE DELL-POWELL, ESQ                      Debtor: RUBY TUESDAY, INC.
420 S ORANGE AVE, STE 700
ORLANDO, FL 32801

UNSECURED                  Claimed:                 $358,302.84




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 35
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 142 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



INTEGRITY REAL ESTATE INC                        Claim Number: 337
ATTN ERIN LEMMONS                                Claim Date: 12/11/2020
11229 E 25TH DR                                  Debtor: RTI HOLDING COMPANY, LLC
AURORA, CO 80010                                 Comments:
                                                 AMENDS CLAIM #15

UNSECURED                  Claimed:                     $6,489.00             Scheduled:              $6,300.00
LEVEL UP INC                                     Claim Number: 338
D/B/A FISH WINDOW CLEANING                       Claim Date: 12/11/2020
ATTN WILLIAM KUTNEY                              Debtor: RUBY TUESDAY, INC.
PO BOX 2611
WARMINSTER, PA 18974

UNSECURED                  Claimed:                       $95.40              Scheduled:                $95.40
DRAUGHT CLEANING SERVICE OF CNY LLC              Claim Number: 339
5860 TULLER RD                                   Claim Date: 12/11/2020
CICERO, NY 13039                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $583.20              Scheduled:                $97.20
GRANT, ADIELA                                    Claim Number: 340
4929 SKYWAY DR, UNIT 6317                        Claim Date: 12/11/2020
JACKSONVILLE, FL 32246                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $298.14              Scheduled:               $298.14
YARBOROUGH, MICHELLE                             Claim Number: 342
10000 EASTSHIRE LN                               Claim Date: 12/14/2020
KNOXVILLE, TN 37922                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $446.81              Scheduled:               $446.81




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 36
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21    Page 143 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CALDWELL, BRANDIE                                Claim Number: 343
4 ELLSWORTH ST                                   Claim Date: 12/14/2020
AMSTERDAM, NY 12010                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                           Scheduled:                   $291.17
UNSECURED                  Claimed:                       $291.17
TOWN OF CROMWELL                                 Claim Number: 344
41 WEST ST                                       Claim Date: 12/14/2020
CROMWELL, CT 06416                               Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $7,094.55                 Scheduled:                  $3,484.95
SECURED                    Claimed:                      $7,094.55
TOTAL                      Claimed:                      $7,094.55
ROADERICK, BRENT P                               Claim Number: 345
7368 SW 99TH CT                                  Claim Date: 12/14/2020
OCALA, FL 34481                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 496

UNSECURED                  Claimed:                     $29,603.19                 Scheduled:                 $29,603.19 UNLIQ DISP
HAHN, KENNETH A                                  Claim Number: 346
2187 VALLEY RIDGE LN                             Claim Date: 12/14/2020
BROOKSVILLE, FL 34602                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $43,277.33                 Scheduled:                 $43,277.33 UNLIQ DISP
JONES, JOYCE AND BILLY JACK                      Claim Number: 347
C/O MICHAEL ROBERTS                              Claim Date: 12/14/2020
153 S 9TH ST                                     Debtor: RUBY TUESDAY, INC.
GADSDEN, AL 35901


UNSECURED                  Claimed:                     $70,000.00                 Scheduled:                     $0.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                               Page: 37
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 144 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ROADERICK, BRENT P                               Claim Number: 348
7368 SW 99TH CT                                  Claim Date: 12/14/2020
OCALA, FL 34481                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 495

UNSECURED                  Claimed:                     $18,971.49            Scheduled:                $18,971.49 UNLIQ DISP
VANDERVELDE, ANA                                 Claim Number: 349
10385 S 45 RD                                    Claim Date: 12/14/2020
CADILLAC, MI 49601                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $298.92             Scheduled:                  $298.92
VMR SOLUTIONS                                    Claim Number: 350
ATTN WILL HARRIS                                 Claim Date: 12/14/2020
PO BOX 1217                                      Debtor: RUBY TUESDAY, INC.
CENTREVILLE, VA 20122


UNSECURED                  Claimed:                      $1,150.00            Scheduled:                 $1,150.00
MCCONNELL, RON                                   Claim Number: 351
3721 DUNSTAN CT                                  Claim Date: 12/14/2020
MOBILE, AL 36608-1508                            Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLY AMENDED BY 10840


PRIORITY                   Claimed:                     $70,271.70
UNSECURED                                                                     Scheduled:                $70,271.70 UNLIQ DISP
O'NEILL TAP CLEANING SERVICE INC                 Claim Number: 352
5500 3RD AVE                                     Claim Date: 12/14/2020
ALTOONA, PA 16602                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $358.00             Scheduled:                  $214.00




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 38
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 145 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MCCRACKEN, LYN WOODHALL                          Claim Number: 354
262 THORNWOOD DR SE                              Claim Date: 12/14/2020
CALHOUN, GA 30701                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $33,814.42            Scheduled:              $33,814.42 UNLIQ DISP
DCG ENTERPRISES LLC                              Claim Number: 355
D/B/A QUALITY BEVERAGE EQUIPMENT SERVICE         Claim Date: 12/14/2020
2702 N 35TH ST                                   Debtor: RUBY TUESDAY, INC.
TAMPA, FL 33605


UNSECURED                  Claimed:                       $576.68             Scheduled:                $426.68
DEKALB CHEROKEE COUNTIES GAS DISTRICT            Claim Number: 356
PO BOX 680376                                    Claim Date: 12/14/2020
FORT PAYNE, AL 35968                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $857.40             Scheduled:               $1,001.76
TRUSSVILLE GAS & WATER                           Claim Number: 357
127 MAIN ST                                      Claim Date: 12/14/2020
TRUSSVILLE, AL 35173                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,712.53            Scheduled:               $4,712.53
SAPPINGTONS CARPET CARE                          Claim Number: 358
1215 CLINKSCALES RD                              Claim Date: 12/14/2020
COLUMBIA, MO 65202                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET       Scheduled:                $297.80




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 39
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 146 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



STOLOFF, HOWARD                                  Claim Number: 361
556 WATER POINT                                  Claim Date: 12/14/2020
WESTON, FL 33326                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $26.11              Scheduled:                $26.11
WONG, DUANE                                      Claim Number: 362
162 E SANNER ST                                  Claim Date: 12/14/2020
SOMERSET, PA 15501                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $129.78              Scheduled:               $129.78
HEER, CHAND                                      Claim Number: 363
5941 WILD OAK DR                                 Claim Date: 12/14/2020
NORTH OLMSTED, OH 44070                          Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $121.80
UNSECURED                  Claimed:                      $121.80
POLCARO LAWN SPRINKLER SOLUTIONS                 Claim Number: 364
154 WATERTREE DR                                 Claim Date: 12/14/2020
EAST SYRACUSE, NY 13057                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,022.00             Scheduled:              $1,022.00
NORTH ALABAMA GAS DISTRICT                       Claim Number: 365
PO BOX 2590                                      Claim Date: 12/14/2020
MUSCLE SHOALS, AL 35662                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,103.46             Scheduled:              $2,786.14




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 40
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876          Filed 01/15/21    Page 147 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



STIGLBAUER, ADA                                  Claim Number: 367
1817 POND BRANCH RD                              Claim Date: 12/14/2020
GILBERT, SC 29054                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                        $0.00 UNDET             Scheduled:                     $69.53
GULLIGE, PAULA                                   Claim Number: 368
207 BARFIELD RD                                  Claim Date: 12/14/2020
SYLVESTER, GA 31791                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $102.81                    Scheduled:                    $102.81
KEEL, JIM                                        Claim Number: 369
302 ASBURY CT                                    Claim Date: 12/14/2020
PEARL, MS 39208                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim amount is $122.45 Per Month for life

UNSECURED                  Claimed:                        $0.00 UNLIQ             Scheduled:                  $21,843.74 UNLIQ DISP
DININO, QUINTINO JR                              Claim Number: 370
30 RANGER LN                                     Claim Date: 12/14/2020
WEST HARTFORD, CT 06117                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $426.00                    Scheduled:                    $426.00
THORNDIKE ROAD ASSOCIATION                       Claim Number: 371
C/O GUILFORD REALTY GROUP INC                    Claim Date: 12/14/2020
1903-C ASHWOOD CT                                Debtor: RUBY TUESDAY, INC.
GREENSBORO, NC 27455


UNSECURED                  Claimed:                     $479.00 UNLIQ              Scheduled:                    $174.19




Epiq Bankruptcy Solutions, LLC                                                                                                                Page: 41
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 148 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



OKALOOSA GAS DISTRICT                            Claim Number: 373
PO BOX 548                                       Claim Date: 12/14/2020
VALPARAISO, FL 32580                             Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                        $669.74
UNSECURED                  Claimed:                      $1,151.28            Scheduled:               $1,904.84
CJM PROPERTY MAINTENANCE INC                     Claim Number: 374
C/O CJM FACILITY SOLUTIONS                       Claim Date: 12/14/2020
47 REDWOOD DR                                    Debtor: RUBY TUESDAY, INC.
READING, PA 19606


UNSECURED                  Claimed:                     $19,701.91            Scheduled:               $7,462.67
HERBOLSHEIMER, GERE MICHAEL                      Claim Number: 379
3022 WINDMOOR DR                                 Claim Date: 12/14/2020
PALM HARBOR, FL 34685                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $52,127.06            Scheduled:              $52,127.06 UNLIQ DISP
HERBOLSHEIMER, GERE MICHAEL                      Claim Number: 380
3022 WINDMOOR DR                                 Claim Date: 12/14/2020
PALM HARBOR, FL 34689                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET       Scheduled:                  $0.00 UNLIQ
COWLEY, PATRICK                                  Claim Number: 381
2034 RICHELIEU CT                                Claim Date: 12/14/2020
HOOVER, AL 35216                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $95,850.21            Scheduled:              $95,850.21 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 42
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 149 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COWLEY, PATRICK                                  Claim Number: 382
2034 RICHELIEU CT                                Claim Date: 12/14/2020
HOOVER, AL 35216                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $76,960.83            Scheduled:              $76,960.83 UNLIQ DISP
ACCURATE H20 PLUMBING LLC                        Claim Number: 383
C/O AAA ACCURATE BACKFLOW TESTING & REP          Claim Date: 12/14/2020
124 WOODCRAFT DR                                 Debtor: RUBY TUESDAY, INC.
LEXINGTON, SC 29073


UNSECURED                  Claimed:                      $4,298.76            Scheduled:               $4,298.76
ROBINSON, WHITNEY                                Claim Number: 387
7949 NASHVILLE RD                                Claim Date: 12/14/2020
BOWLING GREEN, KY 42101                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $223.98             Scheduled:                $223.98
GREENWELL LANDSCAPE CO                           Claim Number: 388
ATTN MARK GREENWELL                              Claim Date: 12/14/2020
65 AMBERWOOD                                     Debtor: RUBY TUESDAY, INC.
ELIZABETHTOWN, KY 42701


UNSECURED                  Claimed:                      $3,763.00            Scheduled:               $3,763.00
MAINTENX INTERNATIONAL                           Claim Number: 389
2202 N HOWARD AVE                                Claim Date: 12/14/2020
TAMPA, FL 33607                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $19,887.54            Scheduled:              $19,887.54




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 43
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 150 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CARCHIETTA, ALICIA                               Claim Number: 392
1100 BIRMINGHAM AVE                              Claim Date: 12/14/2020
TOMS RIVER, NJ 08757                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $121.84               Scheduled:              $121.84
JONES, HUNTER JAMES                              Claim Number: 393
2254 SNOW RD                                     Claim Date: 12/14/2020
SEMMES, AL 36575                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $446.60
UNSECURED                  Claimed:                     $446.60
CUMBERLAND COUNTY TAX BUREAU                     Claim Number: 397
21 WATERFORD DR, STE 201                         Claim Date: 12/14/2020
MECHANICSBURG, PA 17050                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $187.98
MEJIA, MICHAEL                                   Claim Number: 398
3330 BETHFORD DR                                 Claim Date: 12/14/2020
BLASDELL, NY 14219                               Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $210.12
UNSECURED                  Claimed:                     $210.12
ROBINSON, JENNIFER LEIGH                         Claim Number: 400
11162 HWY ONE                                    Claim Date: 12/14/2020
SOUTH HILL, VA 23970                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $637.12               Scheduled:              $637.12




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 44
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 151 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TA WOODS COMPANY                                 Claim Number: 401
ATTN RICK COX                                    Claim Date: 12/14/2020
6713 NETHERLANDS DR                              Debtor: RUBY TUESDAY, INC.
WILMINGTON, NC 28405


UNSECURED                  Claimed:                      $810.57              Scheduled:               $810.57
SAVAGE, JOSEPH                                   Claim Number: 402
481 ROCKBOROUGH TER                              Claim Date: 12/14/2020
STONE MOUNTAIN, GA 30083                         Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $167.44
SECURED                    Claimed:                      $167.44
NICHOLAS, MAURSCE                                Claim Number: 404
1755 ASHLEY HALL RD, APT C4                      Claim Date: 12/14/2020
CHARLESTON, SC 29407                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,500.00
MARTIN, KIMBERLY                                 Claim Number: 405
1307 STATE BLVD                                  Claim Date: 12/14/2020
FRANKLIN, TN 37064                               Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $1,800.00
UNSECURED                  Claimed:                     $5,000.00             Scheduled:              $3,200.00
1ST CLASS PLUMBING LLC                           Claim Number: 406
8055 S VANDECAR RD                               Claim Date: 12/14/2020
MOUNT PLEASANT, MI 48858                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $200.00              Scheduled:               $200.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 45
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 152 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WASH, JERALD                                     Claim Number: 408
415 ELM ST HEIGHTS                               Claim Date: 12/14/2020
VERSAILLES, KY 40383                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $25.00               Scheduled:               $25.00
VECCHIONI, STEVEN                                Claim Number: 410
C/O METRO COIL CLEANING                          Claim Date: 12/14/2020
19611 PARKE LN                                   Debtor: RUBY TUESDAY, INC.
GROSSE ILE, MI 48138


UNSECURED                  Claimed:                     $145.00               Scheduled:               $55.00
AAA CARPET CLEANING LLC                          Claim Number: 411
3925 HURRICANE CREEK RD                          Claim Date: 12/14/2020
HURRICANE, WV 25526                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $554.14               Scheduled:              $554.14
THOMAS, MICHAEL W                                Claim Number: 413
6146 RAINTREE BND                                Claim Date: 12/14/2020
LITHONIA, FL 30058                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $627.68               Scheduled:              $627.68
GIBBYS CLEANING SERVICE                          Claim Number: 414
404 FORREST BLVD                                 Claim Date: 12/14/2020
COLUMBUS, MS 39702                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $500.00               Scheduled:              $500.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 46
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 153 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HALLIDAY, ROBERT                                 Claim Number: 415
393 BARNSLEY DR                                  Claim Date: 12/14/2020
EVANS, GA 30809                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $33,349.84
UNSECURED                                                                     Scheduled:              $33,349.84 UNLIQ DISP
HALLIDAY, ROBERT                                 Claim Number: 416
393 BARNSLEY DR                                  Claim Date: 12/14/2020
EVANS, GA 30809                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $24,112.16
UNSECURED                                                                     Scheduled:              $24,112.16 UNLIQ DISP
KAMAL, SHERIF                                    Claim Number: 418
130 CRICKET LN, #2D                              Claim Date: 12/14/2020
ELIZABETHTOWN, KY 42701                          Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                $367.28
UNSECURED                  Claimed:                       $367.28
PAIGE, NATASHA D                                 Claim Number: 419
3522 SUNBURST CT                                 Claim Date: 12/14/2020
TALLAHASSEE, FL 32305                            Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                $200.31
UNSECURED                  Claimed:                       $200.31
EXPERT AIR INC                                   Claim Number: 420
PO BOX 4386                                      Claim Date: 12/14/2020
WAYNE, NJ 07474                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,600.56            Scheduled:               $3,600.56




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 47
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 154 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LACKAWANNA RIVER BASIN SEWER AUTHORITY           Claim Number: 421
PO BOX 280                                       Claim Date: 12/14/2020
OLYPHANT, PA 18447-0280                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,139.76            Scheduled:               $1,077.96
KOWALSKI, RANDI                                  Claim Number: 427
5952 SMITH RD                                    Claim Date: 12/14/2020
NORTH SYRACUSE, NY 13212                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $350.00             Scheduled:                $350.00
SCOTT COUNTY TREASURER                           Claim Number: 428
ATTN TAXATION DEPT                               Claim Date: 12/14/2020
200 4TH AVE W                                    Debtor: RUBY TUESDAY, INC.
SHAKOPEE, MN 55379


PRIORITY                   Claimed:                     $44,918.00            Scheduled:              $47,720.00
HARRISON, SHERROD                                Claim Number: 429
6036 REGENT MANOR                                Claim Date: 12/14/2020
LITHONIA, GA 30058                               Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                $233.20
SECURED                    Claimed:                       $233.00
DUNCAN, ROBERT                                   Claim Number: 431
1032 CAMPO SECO CT                               Claim Date: 12/14/2020
LAS VEGAS, NV 89138                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $66,626.54            Scheduled:              $66,626.54 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 48
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876       Filed 01/15/21    Page 155 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GEORGIA SELF-INSURERS GUARANTY TR FUND           Claim Number: 433
C/O SCROGGINS & WILLIAMSON PC                    Claim Date: 12/14/2020
ATTN ASHLEY R RAY                                Debtor: RUBY TUESDAY, INC.
4401 NORTHSIDE PKWY, STE 450
ATLANTA, GA 30327

SECURED                    Claimed:                 $560,000.00
MCCONNELL, TERESA DIANE                          Claim Number: 434
1030 CRAGFRONT ESTATES RD                        Claim Date: 12/14/2020
GALLATIN, TN 37066                               Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 CLAIM AMOUNT IS $490.37 PER MONTH FOR LIFE

PRIORITY                   Claimed:                          $0.00 UNLIQ
UNSECURED                                                                         Scheduled:              $99,108.26 UNLIQ DISP
O'BRIEN, JOSEPH                                  Claim Number: 435
1259 OVERTON CIR                                 Claim Date: 12/14/2020
GALLATIN, TN 37066                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $29,439.42                Scheduled:              $29,439.42 UNLIQ DISP
GALLAGHER, GARY                                  Claim Number: 437
C/O HYWEL LEONARD                                Claim Date: 12/14/2020
PO BOX 3239                                      Debtor: RUBY TUESDAY, INC.
TAMPA, FL 33601


UNSECURED                  Claimed:                 $152,300.00 UNLIQ
GALLAGHER, GARY                                  Claim Number: 438
C/O HYWEL LEONARD                                Claim Date: 12/14/2020
PO BOX 3239                                      Debtor: RT FLORIDA EQUITY, LLC
TAMPA, FL 33601


UNSECURED                  Claimed:                 $152,300.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                           Page: 49
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 156 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BURNETT FAMILY TRUST DATED 3-7-2005              Claim Number: 440
501 E AVENIDA SAN JUAN                           Claim Date: 12/14/2020
SAN CLEMENTE, CA 92672                           Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                  $13,000.00
UNSECURED                  Claimed:               $3,197,593.90
JAY UMIYA ENTERPRISES LLC                        Claim Number: 441
9043 E PLATA AVE                                 Claim Date: 12/14/2020
MESA, AZ 85212                                   Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,384.21            Scheduled:               $1,391.43
HEALY, SHEILA                                    Claim Number: 442
2996 SPRUCE CIR                                  Claim Date: 12/14/2020
SNELLVILLE, GA 30078                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $627.34             Scheduled:                $627.34
BRANNON, ASHLEY                                  Claim Number: 443
2103 COUNTRY CLUB DR                             Claim Date: 12/15/2020
TULLAHOMA, TN 37388                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                $176.34
UNSECURED                  Claimed:                       $176.34
BIEDENBENDER, ERIC                               Claim Number: 445
34 SUNCREST DR                                   Claim Date: 12/15/2020
CABOT, AR 72023                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $40,560.21            Scheduled:              $40,560.21 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 50
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 157 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ALL ABOUT GREEN LLC                              Claim Number: 446
59 TUDOR DR                                      Claim Date: 12/15/2020
CLARK, NJ 07066                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,516.35             Scheduled:               $2,516.35
JBK INC                                          Claim Number: 449
PO BOX 466                                       Claim Date: 12/15/2020
CORBIN, KY 40701                                 Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 76


UNSECURED                  Claimed:                      $432.50
HEY, JEFFREY                                     Claim Number: 450
10345 MIDSTATE AVE                               Claim Date: 12/15/2020
PORT RICHEY, FL 34668                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $198.12              Scheduled:                $198.12
MEDCALF, CHASE L                                 Claim Number: 451
1118 OAKLAWN DR                                  Claim Date: 12/15/2020
CULPEPER, VA 22701                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $297.72              Scheduled:                $297.72
HENSLEY, KRISTEN-KELEIGH GILDER                  Claim Number: 452
1117 JESSICA DR                                  Claim Date: 12/15/2020
LEBANON, TN 37087                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $498.24              Scheduled:                $498.24




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 51
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 158 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TORRES, DANIEL J                                 Claim Number: 453
115 CEDAR AVE                                    Claim Date: 12/15/2020
PATCHOGUE, NY 11772                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $118.82             Scheduled:                $118.82
CODY, ELIZABETH                                  Claim Number: 454
534 PEM ELLISON RD                               Claim Date: 12/15/2020
WAYSIDE, WV 24985                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $310.64             Scheduled:                $310.64
MILLER, JOHN                                     Claim Number: 455
C/O MARK A CORDES                                Claim Date: 12/15/2020
1 MEMORIAL DR, 11TH FL                           Debtor: RUBY TUESDAY, INC.
SAINT LOUIS, MO 63102


UNSECURED                  Claimed:                         $0.00 UNDET       Scheduled:                  $0.00 UNLIQ
ONE SOURCE HR & RISK SOLUTIONS LLC               Claim Number: 456
ATTN MILAN ROY                                   Claim Date: 12/15/2020
1602 MT VERNON ST                                Debtor: RUBY TUESDAY, INC.
ORLANDO, FL 32803


PRIORITY                   Claimed:                      $2,500.00
UNSECURED                                                                     Scheduled:               $2,500.00
MEURER, JOHN W                                   Claim Number: 460
475 WELBURY CT                                   Claim Date: 12/15/2020
ALPHARETTA, GA 30005                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $37,320.92
UNSECURED                                                                     Scheduled:              $37,320.92 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 52
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 159 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HARRIS, SHARON                                   Claim Number: 462
C/O THE ODIERNO LAW FIRM PC                      Claim Date: 12/15/2020
145 PINELAWN RD, STE 130 N                       Debtor: RUBY TUESDAY, INC.
MELVILLE, NY 11747                               Comments: POSSIBLY AMENDED BY 10286


UNSECURED                  Claimed:                 $150,000.00
SULLIVAN, SHERRY                                 Claim Number: 463
704 BLUE RIDGE AVE, APT 6                        Claim Date: 12/15/2020
BEDFORD, VA 24523                                Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                  $147.46
UNSECURED                  Claimed:                       $147.46
GRAY, SYDNEY                                     Claim Number: 464
6222 W CHARLES DR                                Claim Date: 12/15/2020
LAKE CITY, MI 49651                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                  $283.23
UNSECURED                  Claimed:                       $283.23
GAINESVILLE REGIONAL UTILITIES                   Claim Number: 465
301 SE 4TH AVE, STATION A144                     Claim Date: 12/15/2020
GAINESVILLE, FL 32601                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $13,986.78            Scheduled:                $12,250.00
CAINES & ASSOCIATES LLC                          Claim Number: 467
3300 TALBOT PL                                   Claim Date: 12/15/2020
COLUMBUS, OH 43223                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $322.31             Scheduled:                  $302.31




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 53
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21    Page 160 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HARRIS, SHARON                                   Claim Number: 468
C/O THE ODIERNO LAW FIRM PC                      Claim Date: 12/15/2020
145 PINELAWN RD, STE 130N                        Debtor: RUBY TUESDAY, INC.
MELVILLE, NY 11747                               Comments: POSSIBLE DUPLICATE OF 462


UNSECURED                  Claimed:                 $150,000.00
PROFESSIONAL FOOD EQUIPMENT SERVICE              Claim Number: 471
3919 MOBILE AVE                                  Claim Date: 12/15/2020
FORT WAYNE, IN 46805                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,389.98              Scheduled:               $3,389.98
DUBOWSKI, PAUL                                   Claim Number: 472
3 HALEHAVEN DR                                   Claim Date: 12/15/2020
SIMPSONVILLE, SC 29681                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $38,663.18 UNLIQ DISP
UNSECURED                  Claimed:                          $0.00 UNLIQ DISP   Scheduled:              $38,663.18 UNLIQ DISP
HASTON, EVELYN                                   Claim Number: 473
1218 CRESTVIEW DR                                Claim Date: 12/15/2020
MOUNT DORA, FL 32757                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $13,968.78              Scheduled:              $13,968.78 UNLIQ DISP
HAIYANG INC                                      Claim Number: 474
ATTN XIHONG YANG                                 Claim Date: 12/15/2020
1526 SANDYBROOK LN                               Debtor: RUBY TUESDAY, INC.
WAKE FOREST, NC 27587                            Comments:
                                                 AMENDS CLAIM #195

UNSECURED                  Claimed:                 $350,511.85




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 54
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 161 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WILSON, DOMINIC                                  Claim Number: 475
C/O DAVID BANA, ESQ                              Claim Date: 12/15/2020
129 SLADE AVE                                    Debtor: RUBY TUESDAY, INC.
PIKESVILLE, MD 21208


UNSECURED                  Claimed:                     $74,349.47
T&M LLC                                          Claim Number: 478
PO BOX 1109                                      Claim Date: 12/15/2020
BECKLEY, WV 25802                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $46,782.66            Scheduled:               $2,298.39
STOLMEIER, JOSEPH                                Claim Number: 480
502 MOSHER LN                                    Claim Date: 12/16/2020
PRESCOTT, AZ 86301                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $98,374.92            Scheduled:              $65,285.44 UNLIQ DISP
COLEY, SUE                                       Claim Number: 481
6500 MCCRARY RD EXT, LOT 1                       Claim Date: 12/16/2020
SEMMES, AL 36575                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $10,544.43            Scheduled:              $10,544.43 UNLIQ DISP
JACKMAN, NICHOLAS                                Claim Number: 482
323 WASSON LN                                    Claim Date: 12/16/2020
WALTERBORO, SC 29488                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $386.04             Scheduled:                $386.04




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 55
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 162 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MOYER, TAYLOR                                    Claim Number: 483
520 W RACE ST                                    Claim Date: 12/16/2020
POTTSVILLE, PA 17901                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $162.75             Scheduled:                $162.75
QSR AUTOMATIONS                                  Claim Number: 484
2301 STANLEY GAULT PKWY                          Claim Date: 12/16/2020
LOUISVILLE, KY 40223                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $948.38             Scheduled:              $14,541.88
JONES, CLAUDETTE                                 Claim Number: 485
130 W BROWN RD, B107                             Claim Date: 12/16/2020
MESA, AZ 85201                                   Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $29,559.40            Scheduled:              $29,559.40 UNLIQ DISP
DEPENDABLE REPAIR SERVICES LLC                   Claim Number: 486
11390 VETERANS MEMORIAL HWY                      Claim Date: 12/16/2020
DOUGLASVILLE, GA 30134                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,630.00            Scheduled:               $1,815.00
ASHLEY, GREGORY S                                Claim Number: 487
3815 KEOWEE AVE                                  Claim Date: 12/16/2020
KNOXVILLE, TN 37919                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $56,089.34            Scheduled:              $56,503.30 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 56
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 163 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PRICE, JAMES A                                   Claim Number: 488
518 MISTY MORNING DR                             Claim Date: 12/16/2020
FLUSHING, MI 48433                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $56,247.90            Scheduled:                $56,247.90 UNLIQ DISP
WEIMER, SCOTT                                    Claim Number: 489
114 BAYOU BEND RD                                Claim Date: 12/16/2020
GROVELAND, FL 34736                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $23,478.07            Scheduled:                $23,478.07 UNLIQ DISP
WARREN, WILLIAM J JR                             Claim Number: 490
702 N 75TH AVE                                   Claim Date: 12/16/2020
PENSACOLA, FL 32506                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $10,000.00            Scheduled:                    $0.00 UNLIQ
STROECKER, DOROTHY                               Claim Number: 494
665 YNESTRA DR                                   Claim Date: 12/16/2020
MOBILE, AL 36609                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $4,357.12
UNSECURED                                                                     Scheduled:                 $4,357.14 UNLIQ DISP
ROADERICK, BRENT P                               Claim Number: 495
7368 SW 99TH CT                                  Claim Date: 12/16/2020
OCALA, FL 34481                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 348


UNSECURED                  Claimed:                     $18,971.49




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 57
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21    Page 164 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ROADERICK, BRENT P                               Claim Number: 496
7368 SW 99TH CT                                  Claim Date: 12/16/2020
OCALA, FL 34481                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 345


UNSECURED                  Claimed:                     $29,603.19
MCMILLAN, LAWRENCE SR                            Claim Number: 497
5654 AVONDALE RD                                 Claim Date: 12/16/2020
PENSACOLA, FL 32526                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $15,529.55
UNSECURED                                                                     Scheduled:                $15,529.55 UNLIQ DISP
STEPHENS, JOHN R                                 Claim Number: 498
1015 ALTA DR                                     Claim Date: 12/16/2020
HOLLY HILL, FL 32117                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                          $0.00 UNDET
UNSECURED                                                                     Scheduled:                    $0.00 UNLIQ
STEPHENS, JOHN R                                 Claim Number: 499
1015 ALTA DR                                     Claim Date: 12/16/2020
HOLLY HILL, FL 32117                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $37,182.40
UNSECURED                                                                     Scheduled:                $37,182.40 UNLIQ DISP
STEPHENS, JOHN R                                 Claim Number: 500
1015 ALTA DR                                     Claim Date: 12/16/2020
HOLLY HILL, FL 32117                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $28,897.50
UNSECURED                                                                     Scheduled:                $28,897.50 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 58
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 165 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



POLIZZANO, JOHN KEITH                            Claim Number: 501
1917 PEACH TREE LN                               Claim Date: 12/16/2020
BETHLEHEM, PA 18015                              Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #217

PRIORITY                   Claimed:                     $22,455.49
UNSECURED                                                                     Scheduled:              $22,410.75 UNLIQ DISP
LOWE, JAMES                                      Claim Number: 502
2 YORKSWELL LN                                   Claim Date: 12/16/2020
GREENSVILLE, SC 29607                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                         $0.00 UNDET
UNSECURED                                                                     Scheduled:              $53,606.58 UNLIQ DISP
SHINN, JUSTIN EUGENE                             Claim Number: 503
1100 E CAROLINE ST, APT #224                     Claim Date: 12/17/2020
TAVARES, FL 32778                                Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:                $407.96
UNSECURED                  Claimed:                       $407.96
IRETON, KENNETH                                  Claim Number: 504
155 HOMECROFT RD                                 Claim Date: 12/17/2020
SYRACUSE, NY 13206                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $421.05             Scheduled:                $421.05
ENGSTRAND, LEROY E JR                            Claim Number: 505
863 WALDEN DR                                    Claim Date: 12/17/2020
FRANKLIN, TN 37064                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $199,598.14               Scheduled:          $199,598.14 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 59
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 166 of 433      Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RLCS LAWN SERVICE                                Claim Number: 509
393 NEWTON DR                                    Claim Date: 12/17/2020
LAKE ORION, MI 48362                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,000.00            Scheduled:              $1,000.00
DYLAN WAGGONER LLC                               Claim Number: 510
D/B/A CUT ABOVE THE REST                         Claim Date: 12/17/2020
928 PORTER WAGONER BLVD                          Debtor: RUBY TUESDAY, INC.
WEST PLAINS, MO 65775


UNSECURED                  Claimed:                      $2,700.00            Scheduled:              $2,700.00
LAMOUREUX, ALAN                                  Claim Number: 516
2264 SHAKER RUN RD                               Claim Date: 12/17/2020
LEXINGTON, KY 40509                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $108,507.52
UNSECURED                                                                     Scheduled:          $108,507.52 UNLIQ DISP
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 519
D/B/A STARR EQUIPMENT COMPANY LLC                Claim Date: 12/17/2020
2626 E MAGNOLIA AVE                              Debtor: RUBY TUESDAY, INC.
KNOXVILLE, TN 37914


UNSECURED                  Claimed:                     $25,119.48
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 520
D/B/A RDK EQUIPMENT COMPANY INC                  Claim Date: 12/17/2020
PO BOX 64666                                     Debtor: RUBY TUESDAY, INC.
FAYETTEVILLE, NC 28306


UNSECURED                  Claimed:                     $29,018.69




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 60
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 167 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 521
D/B/A R W PARKER EQUIPMENT COMPANY LLC           Claim Date: 12/17/2020
10850 US HIGHWAY 72                              Debtor: RUBY TUESDAY, INC.
ROGERSVILLE, AL 35652


UNSECURED                  Claimed:                     $4,328.28
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 522
D/B/A PLAMONDON SALES AND SERVICE INC            Claim Date: 12/17/2020
6033 E TRAVERSE HWY                              Debtor: RUBY TUESDAY, INC.
TRAVERSE CITY, MI 49684


UNSECURED                  Claimed:                      $303.50
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 523
D/B/A NEC FOOD EQUIPMENT GROUP INC               Claim Date: 12/17/2020
902 SHARTOM DR                                   Debtor: RUBY TUESDAY, INC.
AUGUSTA, GA 30907


UNSECURED                  Claimed:                     $5,097.94
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 524
D/B/A LA JON INC                                 Claim Date: 12/17/2020
1623 GARFIELD AVE                                Debtor: RUBY TUESDAY, INC.
PARKERSBURG, WV 26102


UNSECURED                  Claimed:                     $2,579.84
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 525
D/B/A JOHN L GLOSSON INC                         Claim Date: 12/17/2020
6110 BLUFFTON RD, STE 208                        Debtor: RUBY TUESDAY, INC.
FORT WAYNE, IN 46809-2200


UNSECURED                  Claimed:                      $288.50




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 61
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 168 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 526
D/B/A JIM LEACH LLC                              Claim Date: 12/17/2020
4064 S DIVISION AVE                              Debtor: RUBY TUESDAY, INC.
GRAND RAPIDS, MI 49548


UNSECURED                  Claimed:                       $253.93
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 527
D/B/A JES FOOD EQPT S&S INC                      Claim Date: 12/17/2020
3186 MERCER UNIVERSITY DR                        Debtor: RUBY TUESDAY, INC.
MACON, GA 31204-5199                             Comments:
                                                 DUPLCIATE OF CLAIM # 527

UNSECURED                  Claimed:                     $11,801.74
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 528
D/B/A JES FOOD EQPT S&S INC                      Claim Date: 12/17/2020
3186 MERCER UNIVERSITY DR                        Debtor: RUBY TUESDAY, INC.
MACON, GA 31204-5199                             Comments: POSSIBLE DUPLICATE OF 527


UNSECURED                  Claimed:                     $11,801.74
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 529
D/B/A HOWARD J PORTA INC                         Claim Date: 12/17/2020
305 GREENWOOD RD                                 Debtor: RUBY TUESDAY, INC.
ALTOONA, PA 16602


UNSECURED                  Claimed:                      $2,467.37
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 530
D/B/A H C LOBALZO & SONS INC                     Claim Date: 12/17/2020
61 N CLEVELAND MASSILLON RD                      Debtor: RUBY TUESDAY, INC.
AKRON, OH 44333


UNSECURED                  Claimed:                      $8,695.79




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 62
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 169 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOBERT SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 531
D/B/A FOOD EQUIPMENT SOLUTIONS INC               Claim Date: 12/17/2020
5775 E COOK ST                                   Debtor: RUBY TUESDAY, INC.
KALAMAZOO, MI 49048


UNSECURED                  Claimed:                      $397.46
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 532
D/B/A DOWN EAST ENTERPRISES INC                  Claim Date: 12/17/2020
1311 E NEW BERN RD                               Debtor: RUBY TUESDAY, INC.
KINSTON, NC 28501


UNSECURED                  Claimed:                     $1,915.88
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 533
D/B/A CENTRAL MO FOOD EQUIPMENT INC              Claim Date: 12/17/2020
2208 NELWOOD DR                                  Debtor: RUBY TUESDAY, INC.
COLUMBIA, MO 65202


UNSECURED                  Claimed:                     $1,568.35
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 534
D/B/A ANDREWS FOOD EQUIPMENT                     Claim Date: 12/17/2020
101 ROXALANA BUSINESS PARK LL                    Debtor: RUBY TUESDAY, INC.
DUNBAR, WV 25064


UNSECURED                  Claimed:                     $2,023.57
HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 535
D/B/A ALEXANDER FOOD EQUIPMENT GROUP             Claim Date: 12/17/2020
PO BOX 25165                                     Debtor: RUBY TUESDAY, INC.
WINSTON-SALEM, NC 27114


UNSECURED                  Claimed:                     $8,590.15




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 63
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 170 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOBART SERVICE: ITW FOOD EQUIP GROUP LLC         Claim Number: 536
D/B/A AKROM ASSOCIATES INC                       Claim Date: 12/17/2020
371 S MAIN ST                                    Debtor: RUBY TUESDAY, INC.
ELMIRA, NY 14904


UNSECURED                  Claimed:                     $1,797.83
WILKINSON LANGHORNE LP                           Claim Number: 537
C/O WILKINSON DEVELOPMENT CORP                   Claim Date: 12/17/2020
ATTN RICHARD W WILKINSON, PRESIDENT              Debtor: RUBY TUESDAY, INC.
106 COMMERCE ST, STE 110                         Comments:
LAKE MARY, FL 32746                              DUPLICATE OF CLAIM # 10592

UNSECURED                  Claimed:                 $182,674.98 UNLIQ         Scheduled:                $82,436.13
WILKINSON NESHAMINY INVESTMENTS LP               Claim Number: 538
C/O WILKINSON DEVELOPMENT CORP                   Claim Date: 12/17/2020
ATTN RICHARD W WILKINSON, PRESIDENT              Debtor: RUBY TUESDAY, INC.
106 COMMERCE ST, STE 110                         Comments:
LAKE MARY, FL 32746                              DUPLICATE OF CLAIM # 10591

UNSECURED                  Claimed:                 $196,390.83
SCOTTSBORO WATER SEWER & GAS                     Claim Number: 541
PO BOX 550                                       Claim Date: 12/17/2020
SCOTTSBORO, AL 35768-0550                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,707.45
TRAVELERS INDEMNITY CO, ET AL                    Claim Number: 543
ATTN ACCOUNT RESOLUTION                          Claim Date: 12/17/2020
ONE TOWER SQUARE, 0000-FP15                      Debtor: RUBY TUESDAY, INC.
HARTFORD, CT 06183                               Comments: POSSIBLE DUPLICATE OF 542


ADMINISTRATIVE             Claimed:                        $0.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 64
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 171 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BIRCH, JOSHUA W                                  Claim Number: 545
C/O AMERICAN PATRIOT LAWN CARE                   Claim Date: 12/18/2020
229 W 28TH DIVISION HWY                          Debtor: RUBY TUESDAY, INC.
LITITZ, PA 17543


UNSECURED                  Claimed:                       $996.14
FELLERS, ROBIN                                   Claim Number: 548
2290 LONGWOOD DR                                 Claim Date: 12/18/2020
AUBURN, AL 36830                                 Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 10742


UNSECURED                  Claimed:                     $11,583.66 UNLIQ
FELLERS, ROBIN                                   Claim Number: 549
2290 LONGWOOD DR                                 Claim Date: 12/18/2020
AUBURN, AL 36830                                 Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 10732


UNSECURED                  Claimed:                      $6,006.40 UNLIQ
WEIS MARKETS INC                                 Claim Number: 550
1000 S 2ND ST                                    Claim Date: 12/18/2020
SUNBURY, PA 17801-0000                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $43,938.52
TRACY, AMBER                                     Claim Number: 551
3443 N ROGERS                                    Claim Date: 12/18/2020
SPRINGFIELD, MO 65803                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $535.05




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 65
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 172 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF HARRISONBURG                             Claim Number: 553
ATTN JEFFREY L SHAFER, TREASURER                 Claim Date: 12/14/2020
PO BOX 1007                                      Debtor: RUBY TUESDAY, INC.
HARRISONBURG, VA 22803-1007


PRIORITY                                                                      Scheduled:              $7,119.24
SECURED                    Claimed:                     $2,844.17
TRIPLETT, ROGER                                  Claim Number: 555
C/O R BRANDON JOHNSON, ESQ                       Claim Date: 12/16/2020
914 N JEFFERSON ST N                             Debtor: RUBY TUESDAY, INC.
LEWISBURG, WV 24901


UNSECURED                  Claimed:                 $300,000.00
PUEBLO COUNTY TREASURER                          Claim Number: 558
215 W 10TH ST, RM 110                            Claim Date: 12/17/2020
PUEBLO, CO 81003                                 Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $24,570.61 UNLIQ
PUEBLO COUNTY TREASURER                          Claim Number: 559
215 W 10TH ST, RM 110                            Claim Date: 12/17/2020
PUEBLO, CO 81003                                 Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim out of balance

PRIORITY                   Claimed:                     $4,977.30 UNLIQ
SECURED                    Claimed:                     $4,977.30 UNLIQ
TOTAL                      Claimed:                     $4,977.30 UNLIQ
BANKHEAD, JAMES                                  Claim Number: 560
10916 KINGSVIEW DR                               Claim Date: 12/21/2020
DAVIDSON, NC 28036                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                        $50.00
UNSECURED                  Claimed:                       $151.36




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 66
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 173 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



KOGLER, ALYSSA                                   Claim Number: 564
215 N CASE ST                                    Claim Date: 12/21/2020
MARION, MI 49665                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $389.71
MCCONNELL, RON                                   Claim Number: 566
3721 DUNSTAN CT                                  Claim Date: 12/21/2020
MOBILE, AL 36608-1508                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $38,786.36            Scheduled:              $38,786.36 UNLIQ DISP
BOUTREIS, PATRICIA                               Claim Number: 567
117 REILLY CIR                                   Claim Date: 12/21/2020
FAIRHOPE, AL 36532                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $19,180.73            Scheduled:              $19,180.73 UNLIQ DISP
COAST ELECTRIC POWER ASSOCIATION                 Claim Number: 571
18020 HWY 603                                    Claim Date: 12/21/2020
KILN, MS 39556-8487                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,521.16
ALEXANDER, WILLIE                                Claim Number: 574
817 WOODLAND DR                                  Claim Date: 12/21/2020
PENSACOLA, FL 32503                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET       Scheduled:                  $0.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 67
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 174 of 433      Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BALDWIN, ROBERT                                  Claim Number: 578
8314 HIDDEN LAKE DR S                            Claim Date: 12/21/2020
JACKSONVILLE, FL 32216                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $103,503.33               Scheduled:          $103,503.33 UNLIQ DISP
LARKIN, GINA                                     Claim Number: 579
2807 E BENNETT                                   Claim Date: 12/21/2020
SPRINGFIELD, MO 65804                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $471.78
SUPERIOR TAP CLEANING                            Claim Number: 580
9 FARM HILL RD                                   Claim Date: 12/21/2020
WEST HAVEN, CT 06516                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $190.37
PATTY, MELISSA M                                 Claim Number: 583
1304 GRANT ST                                    Claim Date: 12/21/2020
ALCOA, TN 37701                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #20-12456

PRIORITY                   Claimed:                     $264.79
HILL, CHARLES                                    Claim Number: 584
400 S LANSDOWNE AVE, APT B5                      Claim Date: 12/21/2020
LANSDOWNE, PA 19050                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $300.40




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 68
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 175 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOLLINGSWORTH, LOUCRETIA                         Claim Number: 585
5553 FAIRFIELD PL                                Claim Date: 12/21/2020
MOBILE, AL 36609                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $3,511.34
ELROD, DONNA                                     Claim Number: 587
PO BOX 984                                       Claim Date: 12/21/2020
SCOTTSBORO, AL 35768                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $394.96
POLK, KELLY STEVEN                               Claim Number: 588
208 HOLMES BLVD                                  Claim Date: 12/21/2020
FORT WALTON BEACH, FL 32548                      Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $314.96
BALDWIN, ROBERT                                  Claim Number: 589
8314 HIDDEN LAKE DR S                            Claim Date: 12/21/2020
JACKSONVILLE, FL 32216                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $50,998.89            Scheduled:              $50,998.89 UNLIQ DISP
GILBERT, BARRY                                   Claim Number: 593
370 PARKWOOD AVE                                 Claim Date: 12/21/2020
PICKERINGTON, OH 43147                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $252,600.50               Scheduled:          $220,526.50 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 69
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 176 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



EGLY, KILA A                                     Claim Number: 594
7609 ROCKCREEK RD                                Claim Date: 12/21/2020
TULLAHOMA, TN 37388                              Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 10559


PRIORITY                   Claimed:                       $394.90
SEABROOKS, BYRON D                               Claim Number: 595
7609 ROCK CREEK RD                               Claim Date: 12/21/2020
TULLAHOMA, TN 37388                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $417.20
SCHASIEPEN, TODD GARY                            Claim Number: 596
2057 CONDREY RIDGE DR                            Claim Date: 12/21/2020
NORTH CHESTERFIELD, VA 23236                     Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $363.60
CITY OF COLUMBIA                                 Claim Number: 602
ATTN UTILITIES DEPT                              Claim Date: 12/21/2020
PO BOX 1676                                      Debtor: RUBY TUESDAY, INC.
COLUMBIA, MO 65205


UNSECURED                  Claimed:                     $13,677.14            Scheduled:               $4,597.99
BERLS, FREDERICK                                 Claim Number: 603
1409 REGENCY OAKS DR                             Claim Date: 12/21/2020
MOBILE, AL 36609                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $21,431.84            Scheduled:              $21,431.84 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 70
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 177 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BERLS, FREDERICK                                 Claim Number: 604
1409 REGENCY OAKS DR                             Claim Date: 12/21/2020
MOBILE, AL 36609                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $9,147.43
SURVOY'S SUPERIOR SERVICE INC                    Claim Number: 605
5180 W 164TH ST                                  Claim Date: 12/21/2020
BROOK PARK, OH 44142                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $5,219.46
GORDON, KALEB                                    Claim Number: 606
12443 GLENN HOLLOW DR                            Claim Date: 12/22/2020
JACKSONVILLE, FL 32226                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $268.94
VENABLE, SCOTT                                   Claim Number: 608
13074 STATE RD CC                                Claim Date: 12/22/2020
FESTUS, MO 63028                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $557.94
HIGHTOWER, ROBERT F                              Claim Number: 610
13060 EAST HWY 25                                Claim Date: 12/22/2020
OCKLAWAHA, FL 32179                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $194.96              Scheduled:              $58,413.61 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 71
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 178 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



INTERSTATE MECHANICAL SERVICE LLC                Claim Number: 615
3200 HENSON RD                                   Claim Date: 12/22/2020
KNOXVILLE, TN 37921                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,490.66
MCCALLISTER, MATTHEW                             Claim Number: 616
5720 FRONTIER TRL                                Claim Date: 12/22/2020
KNOXVILLE, TN 37920                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $430.57
WOLCIK, BLAKE                                    Claim Number: 617
14 WASHINGTON AVE                                Claim Date: 12/22/2020
PO BOX 708                                       Debtor: RUBY TUESDAY, INC.
MEXICO, NY 13114                                 Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $1,114.50
PRIORITY                   Claimed:                     $1,114.50
TOTAL                      Claimed:                     $1,114.50
ANSWER CARPET CARE (MARK NEWMAN)                 Claim Number: 618
5101 COOK RD                                     Claim Date: 12/22/2020
SWARTZ CREEK, MI 48473                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $595.00
SELF OPPORTUNITY INC                             Claim Number: 619
808 OFFICE PARK CIR                              Claim Date: 12/22/2020
LEWISVILLE, TX 75057                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $750.00




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 72
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 179 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF ATHENS UTILITIES BILLING                 Claim Number: 622
ATTN LISA ELIASON, LAW DIRECTOR                  Claim Date: 12/22/2020
8 E WASHINGTON ST, STE 301                       Debtor: RUBY TUESDAY, INC.
ATHENS, OH 45701


UNSECURED                  Claimed:                        $56.61             Scheduled:                $558.08
MCCLOSKEY MECHANICAL CONTRACTORS                 Claim Number: 624
445 LOWER LANDING RD                             Claim Date: 12/22/2020
BLACKWOOD, NJ 08012                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,079.13
WOOD COUNTY SHERIFF                              Claim Number: 628
319 MARKET ST                                    Claim Date: 12/22/2020
PO BOX 1985                                      Debtor: RUBY TUESDAY, INC.
PARKERSBURG, WV 26101


PRIORITY                   Claimed:                     $22,891.92            Scheduled:              $15,066.02
VILLAGE SHOPPES LLC                              Claim Number: 629
C/O MARTIN HEISE                                 Claim Date: 12/22/2020
170 SPANISH RIVER BLVD, STE 101                  Debtor: RUBY TUESDAY, INC.
BOCA RATON, FL 33431


UNSECURED                  Claimed:                       $924.63
SCOTT, LIAM EDWARD                               Claim Number: 630
1121 PARKWOOD BLVD                               Claim Date: 12/22/2020
SCHENECTADY, NY 12308                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $187.37




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 73
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 180 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



A BETTER CLEAN LLC                               Claim Number: 632
624 GILMORE RD                                   Claim Date: 12/22/2020
BROCKPORT, NY 14420                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $750.00
SMITH, MEGAN                                     Claim Number: 633
508 W 29TH ST                                    Claim Date: 12/22/2020
LORAIN, OH 44055                                 Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $205.12
JONES, KEVIN B                                   Claim Number: 634
4510 JUDGE LOGUE RD                              Claim Date: 12/22/2020
NEWTON, AL 36352                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $750.00
KING CLEANERS LLC                                Claim Number: 636
416 HOPEWELL RD                                  Claim Date: 12/22/2020
FAIRMONT, WV 26554                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $639.50
INGALLS, ADAM                                    Claim Number: 637
1213 SUMMERWOOD DR                               Claim Date: 12/22/2020
SAINT PETERS, MO 63376                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $167.90




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 74
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 181 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BAIRES, JOSE                                     Claim Number: 638
565 FULTON AVE, APT B-18                         Claim Date: 12/22/2020
HEMPSTEAD, NY 11550                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
JOHNSON, JILL                                    Claim Number: 640
5224 CRESTWOOD DR                                Claim Date: 12/22/2020
KNOXVILLE, TN 37914                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $7,365.51            Scheduled:               $7,365.51 UNLIQ DISP
COLEMAN, THOMAS P                                Claim Number: 641
4204 FARMSTEAD LN                                Claim Date: 12/22/2020
WEST LAFAYETTE, IN 47906                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $84,316.57
UNSECURED                                                                     Scheduled:              $84,316.57 UNLIQ DISP
COMMERCIAL SERVICES                              Claim Number: 642
54 GM ACCESS RD, STE E                           Claim Date: 12/22/2020
MARTINSBURG, WV 25403                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,746.62
PMP PROPERTIES                                   Claim Number: 643
C/O PAUL DEATHRIAGE                              Claim Date: 12/22/2020
6648 W WREN AVE                                  Debtor: RUBY TUESDAY, INC.
VISALIA, CA 93291


UNSECURED                  Claimed:               $1,948,815.00




Epiq Bankruptcy Solutions, LLC                                                                                                       Page: 75
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 182 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WEST VIRGINIA STATE TREASURER                    Claim Number: 644
C/O MICHELLE STORAGE, ESQ                        Claim Date: 12/22/2020
322 70TH ST SE                                   Debtor: RUBY TUESDAY, INC.
CHARLESTON, WV 25304


UNSECURED                  Claimed:                     $4,832.54 UNLIQ
MALA LLC                                         Claim Number: 646
C/O RICHARD KONDLA PA                            Claim Date: 12/22/2020
17071 W DIXIE HWY                                Debtor: RTI HOLDING COMPANY, LLC
NORTH MIAMI BEACH, FL 33160


PRIORITY                   Claimed:                 $434,976.09
YOUR WAY PROPERTY SERVICES INC                   Claim Number: 647
2955 CHILDS LAKE RD                              Claim Date: 12/23/2020
MILFORD, MI 48381                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $3,573.05
FAYETTE COUNTY TAX COMMISSIONER                  Claim Number: 648
PO BOX 70                                        Claim Date: 12/23/2020
FAYETTEVILLE, GA 30238                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $2,584.37
CITY OF EAST ELLIJAY, GA                         Claim Number: 651
PO BOX 1060                                      Claim Date: 12/23/2020
EAST ELLIJAY, GA 30540                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $110.99




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 76
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 183 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



JOHNSON, KIARRA                                  Claim Number: 652
138 RIVELON RD                                   Claim Date: 12/23/2020
ORANGEBURG, SC 29115                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $249.08
BACHMAN, KAYLA                                   Claim Number: 654
170 DOTSON RD                                    Claim Date: 12/23/2020
GREENBACK, TN 37742                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $1,049.02
DUDLEY, RENNEE                                   Claim Number: 656
C/O JOSEPH C WHITELOCK                           Claim Date: 12/23/2020
3245 5TH AVE N                                   Debtor: RUBY TUESDAY, INC.
SAINT PETERSBURG, FL 33713


UNSECURED                  Claimed:                     $74,500.00
AMANDA SHOEBOTTOM                                Claim Number: 658
130 HAMILTON ST                                  Claim Date: 12/24/2020
ELYRIA, OH 44035                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $846.15
SEMO ELECTRIC COOPERATIVE                        Claim Number: 661
PO BOX 520                                       Claim Date: 12/24/2020
SIKESTON, MO 63801                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:             $907,219,802.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 77
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 184 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NEHER PERFECT LAWN CARE                          Claim Number: 662
PO BOX 871548                                    Claim Date: 12/24/2020
CANTON, MI 48187                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,525.00
ALLIE BOGERT                                     Claim Number: 663
12582 MT ZION CHURCH RD                          Claim Date: 12/24/2020
CULPEPER, VA 22701                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $82.30
KEITH ALCORN ELECTRICAL CONTRACTING INC          Claim Number: 664
KEITH ALCORN ELECTRIC                            Claim Date: 12/24/2020
480 PRICKETT LN                                  Debtor: RUBY TUESDAY, INC.
DOUGLASVILLE, GA 30134


UNSECURED                  Claimed:                      $215.12
REGINA CANALE-MILES                              Claim Number: 666
307 PRINCE WILLIAM DR                            Claim Date: 12/24/2020
ELIZABETH CITY, NC 27909                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $306.10
TUAN LE                                          Claim Number: 667
3521 GLENBURN CT                                 Claim Date: 12/24/2020
NEW PORT RICHEY, FL 34655                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $532.28




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 78
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 185 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ANTELOPE SERVICES LLC                            Claim Number: 669
13280 N NORTH RIVER RD                           Claim Date: 12/24/2020
NORTH PLATTE, NC 69101                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,990.00
VYRON K DANTZLER                                 Claim Number: 671
VYRON DANTZLER                                   Claim Date: 12/24/2020
1294 TROPICAL COVE                               Debtor: RUBY TUESDAY, INC.
GULFPORT, MS 39507


UNSECURED                  Claimed:                       $459.68
T'S WINDOW CLEANING LLC                          Claim Number: 672
336 MILL ST                                      Claim Date: 12/24/2020
HOMER CITY, PA 15748                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $79.50
FRANCYNE CUNNINGHAM                              Claim Number: 675
430 ROUTE 146 LOT 58                             Claim Date: 12/24/2020
CLIFTON PARK, NY 12065                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $44.00
CITY OF ATHENS UTILITIES                         Claim Number: 681
508 S JEFFERSON ST                               Claim Date: 12/28/2020
ATHENS, AL 35611                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $15,141.08




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 79
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 186 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MUSSERS ADVANCED CARPET CARE LLC                 Claim Number: 684
1258 HOWELL                                      Claim Date: 12/28/2020
NKC, MO 64116                                    Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $330.00
KASEY ROOD                                       Claim Number: 685
1108 2ND AVE                                     Claim Date: 12/28/2020
BERWICK, PA 18603                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $81.52
SHERRY LEN TURNER                                Claim Number: 686
SHERRY L TURNER                                  Claim Date: 12/28/2020
2555 RUE DU JARDIN #202                          Debtor: RUBY TUESDAY, INC.
NAPLES, FL 34105


SECURED                    Claimed:                       $0.00 UNDET
DURRELL ADAMS                                    Claim Number: 688
310 OBERLIN RD APT 10                            Claim Date: 12/28/2020
ELYRIA, OH 44035                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $388.20
GINA BELCOSTRO                                   Claim Number: 693
171 TAROLI ST                                    Claim Date: 12/28/2020
OLD FORGE, PA 18518                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 80
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 187 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



AMY S. HACKETT                                   Claim Number: 695
218 CANDORA ROAD                                 Claim Date: 12/28/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $179,632.51
ALBANY UTILITIES                                 Claim Number: 697
401 PINE AVE                                     Claim Date: 12/28/2020
ALBANY, GA 31701                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,577.98
WILBANKS WEE CON-DU-IT ELECTRIC, INC.            Claim Number: 698
146 CR 522                                       Claim Date: 12/28/2020
CORINTH, MS 38834                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $385.20
IONIC DEZIGN STUDIOS, INC.                       Claim Number: 700
293 INDEPENDENCE BLVD STE 308                    Claim Date: 12/28/2020
VIRGINIA BEACH, VA 23462                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,500.00
DOUGLAS LANTAU                                   Claim Number: 701
5043 NANTUCKET CT                                Claim Date: 12/28/2020
COLONIAL HEIGHTS, VA 23834                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $30,389.43




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 81
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 188 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DOUGLAS LANTAU                                   Claim Number: 702
5043 NANTUCKET CT                                Claim Date: 12/28/2020
COLONIAL HEIGHTS, VA 23834                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $46,615.86
TRAVIS MANIS                                     Claim Number: 704
5407 VILLA RD                                    Claim Date: 12/28/2020
KNOXVILLE, TN 37918                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $213.44
DAVID JOHNSTON                                   Claim Number: 705
1693 FAIRFAX RD                                  Claim Date: 12/28/2020
NEWPORT, TN 37821                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $368.42
D'ANGELO TYLER                                   Claim Number: 706
118 COX AVE                                      Claim Date: 12/28/2020
BAMBERG, SC 29003                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $192.47
LORI TENAGLIA                                    Claim Number: 707
1423 HILLS CHAPEL RD                             Claim Date: 12/28/2020
MANCHESTER, TN 37355                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $923.08




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 82
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 189 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RODNEY STEVEN DAVIS                              Claim Number: 710
RODNEY DAVIS                                     Claim Date: 12/28/2020
901 EFLAND CEDAR GROVE ROAD                      Debtor: RUBY TUESDAY, INC.
EFLAND, NC 27243


PRIORITY                   Claimed:                      $500.00
LESLEY R ROGERS                                  Claim Number: 711
LESLEY ROGERS                                    Claim Date: 12/28/2020
105 N OAK ST                                     Debtor: RUBY TUESDAY, INC.
LAPLATA, MO 63549


UNSECURED                  Claimed:                     $4,200.00
LESLEY R ROGERS                                  Claim Number: 712
LESLEY ROGERS                                    Claim Date: 12/28/2020
105 N OAK ST                                     Debtor: RUBY TUESDAY, INC.
LAPLATA, MO 63549


UNSECURED                  Claimed:                      $600.00
KRISTINA KIDD                                    Claim Number: 713
2426 E TREMONT CT                                Claim Date: 12/28/2020
RICHMOND, VA 23225                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $865.38
NATHANEIL HARRIS                                 Claim Number: 714
1113 EAST 13TH ST                                Claim Date: 12/28/2020
COLUMBIA, TN 38401                               Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance

PRIORITY                   Claimed:                      $139.37
UNSECURED                  Claimed:                      $139.37
TOTAL                      Claimed:                      $139.37




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 83
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 190 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NICOLE SAKACH                                    Claim Number: 716
600 FAIRMONT PL                                  Claim Date: 12/28/2020
HILLSBORO, IL 62049                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $0.00 UNDET
DRAFT BEER SERVICES                              Claim Number: 717
PO BOX 848                                       Claim Date: 12/29/2020
FAYETTEVILLE, GA 30214                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,489.65
ANTHONY J BURNS                                  Claim Number: 718
135 WHITTIER AVE                                 Claim Date: 12/29/2020
SYRACUSE, NY 13204                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $433.23
CASSANDRA GRAYLORD                               Claim Number: 719
10113 DORSEY LANE                                Claim Date: 12/29/2020
LANHAM, MD 20706                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $331.92
GREGORY MONTGOMERY                               Claim Number: 720
1443 TRIANGLE LANE LOT 11                        Claim Date: 12/29/2020
FLORENCE, SC 29506                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $242.55




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 84
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 191 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



TIONNA DIXON                                     Claim Number: 721
8374 CARDOVA COURT                               Claim Date: 12/29/2020
RICHMOND, VA 23227                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $293.43
BURNS LAWN AND LANDSCAPE SERVICES                Claim Number: 722
JEREMY BURNS                                     Claim Date: 12/29/2020
330 CIRCLE DRIVE                                 Debtor: RUBY TUESDAY, INC.
RUSSELLVILLE, AL 35653


UNSECURED                  Claimed:                      $1,150.00
KENNETH VERSICHELE                               Claim Number: 725
11684 SW 71ST CIRCLE                             Claim Date: 12/30/2020
OCALA, FL 34476                                  Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance

PRIORITY                   Claimed:                     $89,794.63
UNSECURED                  Claimed:                     $89,794.63
TOTAL                      Claimed:                     $89,794.63
ALVA A. SAUL                                     Claim Number: 726
ALVA SAUL                                        Claim Date: 12/31/2020
730 CHESTNUT STREET                              Debtor: RUBY TUESDAY, INC.
NEW CASTLE, PA 16101


UNSECURED                  Claimed:                        $89.40
CHRISTOPHER WACKOWSKI                            Claim Number: 727
79 LUDINGTON STREET                              Claim Date: 12/31/2020
BUFFALO, NY 14206                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $392.87




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 85
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 192 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RICHARD SMALL                                    Claim Number: 728
7217 BOUGENVILLE DR                              Claim Date: 12/31/2020
PORT RICHEY, FL 34668                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $14,539.84
GOLKOW INC.                                      Claim Number: 730
GOLKOW LITIGATION SERVICES, LLC                  Claim Date: 12/31/2020
PO BOX 94623                                     Debtor: RUBY TUESDAY, INC.
LAS VEGAS, NV 891934623


UNSECURED                  Claimed:                       $441.60
WILLIAM D HAWES                                  Claim Number: 731
WILLIAM HAWES                                    Claim Date: 12/31/2020
716 COVENTRY AVE                                 Debtor: RUBY TUESDAY, INC.
GROVETOWN, GA 30813


PRIORITY                   Claimed:                       $250.19
RONALD HILES C/O FARAH & FARAH                   Claim Number: 733
FARAH & FARAH                                    Claim Date: 12/31/2020
940 BEVILLE RD                                   Debtor: RUBY TUESDAY, INC.
DB, FL 32114


UNSECURED                  Claimed:                 $150,000.00
ALONA REGAN                                      Claim Number: 735
5400 WISSAHICKON AVE #14                         Claim Date: 12/29/2020
PHILADELPHIA, PA 19144                           Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                       $149.71




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 86
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 193 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



AUDRYANNA GOODRICH                               Claim Number: 738
816 W ILLDEREEN                                  Claim Date: 01/04/2021
SPRINGFIELD, MO 65807                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $137.28
BAERS REPAIRS LLC                                Claim Number: 741
19617 MIDDLETOWN ROAD                            Claim Date: 01/04/2021
FREELAND, MD 21053                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,700.00
CITY OF VANDALIA                                 Claim Number: 742
333 JAMES BOHANAN DR                             Claim Date: 01/04/2021
VANDALA, OH 45377                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $79.33
NED L CALHOON                                    Claim Number: 743
23 NORAS VIEW                                    Claim Date: 01/04/2021
MARBLE, NC 28905                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $29,123.04
DIAMOND DRAFT SYSTEMS                            Claim Number: 744
224 OAK HILL TRAIL                               Claim Date: 01/04/2021
MAPLE CITY, MT 49664                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $315.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 87
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 194 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SOUTH UNION TOWNSHIP SEWAGE                      Claim Number: 745
SOUTH UNION TWP SEWAGE                           Claim Date: 01/04/2021
151 TOWNSHIP DR                                  Debtor: RUBY TUESDAY, INC.
UNIONTOWN, PA 15401


PRIORITY                   Claimed:                         $0.00
SECURED                    Claimed:                     $2,304.30
SANTA ROSA COUNTY TAX COLLECTOR                  Claim Number: 746
6495 CAROLINE ST STE E                           Claim Date: 01/04/2021
MILTON, FL 32570                                 Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $1,886.00
SANTA ROSA COUNTY TAX COLLECTOR                  Claim Number: 747
6495 CAROLINE ST STE E                           Claim Date: 01/04/2021
MILTON, FL 32570                                 Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $1,420.65
ASHLEY M. METTS                                  Claim Number: 748
ASHLEY METTS                                     Claim Date: 01/04/2021
3495 WATERFORD ROAD                              Debtor: RUBY TUESDAY, INC.
MARIETTA, OH 45750


UNSECURED                  Claimed:                       $25.00
VICTORIA SMITH                                   Claim Number: 749
AS ABOVE                                         Claim Date: 01/04/2021
                                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 88
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 195 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF ATHENS UTILITIES BILLING                 Claim Number: 750
LISA ELIASON, LAW DIRECTOR                       Claim Date: 01/04/2021
8 E WASHINGTON ST STE 301                        Debtor: RUBY TUESDAY, INC.
ATHENS, OH 45701


UNSECURED                  Claimed:                       $56.61
HORIZON LAWN CARE LLC                            Claim Number: 751
PO BOX 1665                                      Claim Date: 01/04/2021
RADFORD, VA 24143                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $546.42
MINTZER SAROWITZ ZERIS LEDVA & [MORE]            Claim Number: 753
MINTZER SAROWITZ                                 Claim Date: 01/04/2021
17 WEST JOHN STREET STE 200                      Debtor: RUBY TUESDAY, INC.
HICKSVILLE, NY 11801


UNSECURED                  Claimed:                     $6,627.14
ISABEL ZIELINSKI                                 Claim Number: 754
214 CULLOM WAY                                   Claim Date: 01/04/2021
CLARKSVILLE, TN 37043                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $371.46
RODNEY JONES                                     Claim Number: 775
3219 CAREY RD APT 7D                             Claim Date: 01/05/2021
KINSTON, NC 28504                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $650.85




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 89
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 196 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PUBLIC SERVICE COMPANY                           Claim Number: 10000
D/B/A XCEL ENERGY                                Claim Date: 10/12/2020
ATTN BANKRUPTCY DEPARTMENT                       Debtor: RUBY TUESDAY, INC.
PO BOX 9477
MINNEAPOLIS, MN 55484

UNSECURED                  Claimed:                      $3,904.69
MUNCIE SANITARY DISTRIST                         Claim Number: 10001
201 N HIGH ST                                    Claim Date: 10/12/2020
MUNCIE, IN 47305                                 Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                      $4,378.19
ADVANCED MECHANICAL PLIS                         Claim Number: 10002
995 YEAGER PKWY                                  Claim Date: 10/13/2020
PELHAM, AL 35124                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,403.72
KNOXVILLE UTILITIES BOARD                        Claim Number: 10004
PO BOX 59017                                     Claim Date: 10/13/2020
KNOXVILLE, TN 37950-9017                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $16,801.88
VIRGINIA NATURAL GAS                             Claim Number: 10005
ATTN BRIAN COHEN                                 Claim Date: 10/15/2020
544 S INDEPENDENCE BLVD                          Debtor: RUBY TUESDAY, INC.
VIRGINIA BEACH, VA 23452


UNSECURED                  Claimed:                      $7,128.49            Scheduled:              $7,960.04




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 90
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21    Page 197 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CHATTANOOGA GAS COMPANY                          Claim Number: 10006
ATTN BRIAN COHEN                                 Claim Date: 10/15/2020
544 S INDEPENDENCE BLVD                          Debtor: RUBY TUESDAY, INC.
VIRGINIA BEACH, VA 23452


UNSECURED                  Claimed:                      $1,954.75            Scheduled:               $1,826.80
A&E KITCHEN SERVICE LLC                          Claim Number: 10008
1651 S EMPIRE AVE                                Claim Date: 10/15/2020
SPRINGFIELD, MO 65802                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,352.66 UNLIQ
SERVICECHANNEL.COM INC                           Claim Number: 10009
18 E 16TH ST, 2ND FL                             Claim Date: 10/15/2020
NEW YORK, NY 10003                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $77,631.66            Scheduled:              $62,175.88
TULSA COUNTY TREASURER                           Claim Number: 10010
500 S DENVER AVE, 3RD FLR                        Claim Date: 10/15/2020
TULSA, OK 74103                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $2,993.00 UNLIQ
CENTRAL MAINE POWER                              Claim Number: 10013
ATTN BANKRUPTCY DEPARTMENT                       Claim Date: 10/19/2020
83 EDISON DR                                     Debtor: RUBY TUESDAY, INC.
AUGUSTA, ME 04336


UNSECURED                  Claimed:                      $3,925.07            Scheduled:              $15,365.91




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 91
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 198 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LONCARIC, WILLIAM                                Claim Number: 10014
C/O HOLLAND INJURY LAW                           Claim Date: 10/19/2020
130 S BEMISTON, STE 706                          Debtor: RUBY TUESDAY, INC.
CLAYTON, MO 63105


PRIORITY                   Claimed:                 $700,000.00 UNLIQ
AIRGAS USA LLC                                   Claim Number: 10020
110 W 7TH ST, STE 1300                           Claim Date: 10/21/2020
TULSA, OK 74119                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $89.40
AIRGAS USA LLC                                   Claim Number: 10021
110 W 7TH ST, STE 1300                           Claim Date: 10/21/2020
TULSA, OK 74119                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $624.00
EXECUTIVE SAFE AND SECURITY CORPORATION          Claim Number: 10022
10722 EDISON CT                                  Claim Date: 10/22/2020
RANCHO CUCAMONGA, CA 91730                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $43,980.27
MAIN COMMERCIAL COOKING & REFRIG SVC             Claim Number: 10023
16705 SCHEER BLVD                                Claim Date: 10/22/2020
HUDSON, FL 34667                                 Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                       $143.75
UNSECURED                  Claimed:                       $807.43




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 92
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 199 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ENTERGY ARKANSAS LLC                             Claim Number: 10024
L-JEF-359                                        Claim Date: 10/23/2020
4809 JEFFERSON HWY, STE A                        Debtor: RUBY TUESDAY, INC.
NEW ORLEANS, LA 70121-3138


UNSECURED                  Claimed:                     $10,788.70
ENTERGY MISSISSIPPI LLC                          Claim Number: 10025
L-JEF-359                                        Claim Date: 10/23/2020
4809 JEFFERSON HWY, STE A                        Debtor: RUBY TUESDAY, INC.
NEW ORLEANS, LA 70121-3138


UNSECURED                  Claimed:                     $10,946.31
AB BY JOHN GOODWIN                               Claim Number: 10028
C/O THE DINOFF LAW GROUP LLC                     Claim Date: 10/23/2020
128 N 5TH ST                                     Debtor: RUBY TUESDAY, INC.
GRIFFIN, GA 30223


UNSECURED                  Claimed:                         $0.00 UNDET
MR COMFORT HEATING & COOLING                     Claim Number: 10029
1253 JENSEN DR, STE 102                          Claim Date: 10/26/2020
VIRGINIA BEACH, VA 23451                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,305.00            Scheduled:              $1,952.00
CITY OF MARYVILLE UTILITIES                      Claim Number: 10031
C/O KIZER & BLACK ATTORNEYS PLLC                 Claim Date: 10/26/2020
ATTN KELLY A LOVE, ESQ                           Debtor: RUBY TUESDAY, INC.
217 E BROADWAY AVE
MARYVILLE, TN 37804

UNSECURED                  Claimed:                     $38,965.12            Scheduled:                $90.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 93
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 200 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



USA CONSTRUCTION AND PROJECT MGMT EX             Claim Number: 10032
3111 MONROE RD, STE 200                          Claim Date: 10/27/2020
CHARLOTTE, NC 28205                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,790.00            Scheduled:              $2,790.00
MALLARD REFRIGERATION INC                        Claim Number: 10036
13625 CROWS FOOT LN                              Claim Date: 10/28/2020
PRINCESS ANNE, MD 21853                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,579.50
IEM INC                                          Claim Number: 10037
PO BOX 93538                                     Claim Date: 10/28/2020
LAS VEGAS, NV 89193                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $2,675.27
BELL CARRINGTON PRICE & GREGG LLC                Claim Number: 10039
ATTN J MARTIN PAGE, ESQ                          Claim Date: 10/28/2020
339 HEYWARD ST, 2DN FL                           Debtor: RUBY TUESDAY, INC.
COLUMBIA, SC 29201


UNSECURED                  Claimed:                     $10,027.43            Scheduled:              $8,522.43
BUFFALO BLOOMFIELD ASSOCIATES LLC                Claim Number: 10040
ATTN KEN LABENSKI                                Claim Date: 10/28/2020
570 DELAWARE AVE                                 Debtor: RUBY TUESDAY, INC.
BUFFALO, NY 14202


UNSECURED                  Claimed:                 $525,942.96




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 94
Name of proof of claims where to
                                               Case 20-12456-JTD            Doc 876          Filed 01/15/21    Page 201 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BERKSHIRE PA HOLDINGS LLC                        Claim Number: 10041
150 GREAT NECK RD, STE 304                       Claim Date: 10/28/2020
GREAT NECK, NY 11021                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $136,075.64 UNLIQ             Scheduled:                  $33,853.76
ROCKVALE ACQUISITION LLC, ET AL                  Claim Number: 10046
C/O WHARTON REALTY GROUP INC                     Claim Date: 10/29/2020
ATTN CHRISTY LIOS                                Debtor: RUBY TUESDAY, INC.
8 INDUSTRIAL WAY E
EATONTOWN, NJ 07724

UNSECURED                  Claimed:                 $420,523.97
COLLINS, DAVID W                                 Claim Number: 10047
D/B/A DC PLUMBING & BACKHOE SERVICE              Claim Date: 10/29/2020
608 BELSHE AVE                                   Debtor: RUBY TUESDAY, INC.
WILLOW SPRINGS, MO 65793                         Comments: POSSIBLY AMENDED BY 10291
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                       $350.00
SECURED                    Claimed:                       $350.00
UNSECURED                  Claimed:                       $350.00
TOTAL                      Claimed:                       $350.00
MISSISSIPPI DEPT OF REVENUE                      Claim Number: 10048
ATTN NIKESHIA AGEE                               Claim Date: 10/29/2020
PO BOX 22808                                     Debtor: RUBY TUESDAY, INC.
JACKSON, MS 39225-2808


PRIORITY                   Claimed:                         $0.00 UNLIQ
JONES, CLIFTON, III                              Claim Number: 10049
C/O KORNBLUTH GINSBERG LAW GROUP                 Claim Date: 10/29/2020
3400 CROASDAILE DR, STE 300                      Debtor: RUBY TUESDAY, INC.
DURHAM, NC 27705


UNSECURED                  Claimed:                     $50,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                          Page: 95
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 202 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



724 R202 ASSOCIATES LLC                          Claim Number: 10050
C/O STEINER EQUITIES GROUP LLC                   Claim Date: 10/30/2020
ATTN ROBERT TESTA                                Debtor: RUBY TUESDAY, INC.
75 EISENHOWER PKWY, STE 150
ROSELAND PARK, NJ 07068

UNSECURED                  Claimed:                 $295,564.63
FLOORING, STEWART                                Claim Number: 10051
12550 MOFFET RD                                  Claim Date: 11/01/2020
WILMER, AL 36587                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $32,000.00
D&S LANDSCAPING OF CNY INC                       Claim Number: 10052
320 MOUNT PLEASANT RD                            Claim Date: 11/02/2020
FULTON, NY 13069                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $5,983.20
SANDY ALEXANDER INC                              Claim Number: 10053
200 ENTIN RD                                     Claim Date: 11/02/2020
CLIFTON, NJ 07014                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $432,473.57               Scheduled:          $339,019.77
LAGASSE, MARC                                    Claim Number: 10055
160 ATHENS WAY                                   Claim Date: 11/02/2020
NASHVILLE, TN 37228                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,056,712.30




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 96
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 203 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SHOOK HARDY & BACON LLP                          Claim Number: 10056
ATTN MARK MOEDRITZER                             Claim Date: 11/02/2020
2555 GRAND BLVD                                  Debtor: RUBY TUESDAY, INC.
KANSAS CITY, MO 64108


UNSECURED                  Claimed:                     $26,777.50            Scheduled:                $18,541.50
PLAYNETWORK INC                                  Claim Number: 10059
C/O MICHELE WEISS                                Claim Date: 11/03/2020
450 REMINGTON RD, STE 100                        Debtor: RUBY TUESDAY, INC.
SCHAUMBURG, IL 60173


UNSECURED                  Claimed:                     $62,938.22            Scheduled:                $60,858.57
DEVON PARK ASSOCIATES LLC                        Claim Number: 10065
C/O CENTRAL MANAGEMENT SERVICES INC              Claim Date: 11/04/2020
ATTN KAREN BYRGE                                 Debtor: RUBY TUESDAY, INC.
PO BOX 639                                       Comments: POSSIBLY AMENDED BY 10073
ANDERSON, IN 46015

UNSECURED                  Claimed:                 $185,591.48
MYRICK, CHRIS                                    Claim Number: 10067
201 ARLINGTON DR                                 Claim Date: 11/05/2020
AMERICUS, GA 31709                               Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                       $250.00
EPB OF CHATTANOOGA                               Claim Number: 10068
ATTN LEGAL SERVICES DIVISION                     Claim Date: 11/05/2020
PO BOX 182255                                    Debtor: RUBY TUESDAY, INC.
CHATTANOOGA, TN 37422


UNSECURED                  Claimed:                      $7,518.67            Scheduled:                 $6,389.00




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 97
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 204 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DAVIS, CHARLENE                                  Claim Number: 10069
C/O LAW OFFICES OF W AUSTIN ALLEN II             Claim Date: 11/05/2020
755 YORK RD, STE 204                             Debtor: RUBY TUESDAY, INC.
WARMINSTER, PA 18974


UNSECURED                  Claimed:                         $0.00 UNDET
DEKALB COUNTY REVENUE COMMISSIONER               Claim Number: 10071
206 GRAND AVE SW                                 Claim Date: 11/05/2020
FORT PAYNE, AL 35967                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $10,102.50
DEKALB COUNTY REVENUE COMMISSIONER               Claim Number: 10072
206 GRAND AVE SW                                 Claim Date: 11/05/2020
FORT PAYNE, AL 35967                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $2,223.90
DEVON PARK ASSOCIATES LLC                        Claim Number: 10073
C/O ICE MILLER LLP                               Claim Date: 11/05/2020
ATTN JEFFREY A HOKANSON                          Debtor: RUBY TUESDAY, INC.
ONE AMERICAN SQ, STE 2900                        Comments:
INDIANAPOLIS, IN 46282                           AMENDS CLAIM #10065

UNSECURED                  Claimed:                 $185,591.48
AIRGAS USA LLC                                   Claim Number: 10074
6055 ROCKSIDE WOODS BLVD                         Claim Date: 11/06/2020
INDEPENDENCE, OH 44131                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $8,388.41




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 98
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 205 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WAKE COUNTY TAX ADMINISTRATION                   Claim Number: 10075
PO BOX 2331                                      Claim Date: 11/06/2020
RALEIGH, NC 27602                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $5,544.81
IHEART MEIDA INC                                 Claim Number: 10076
20880 STONE OAK PKWY                             Claim Date: 11/06/2020
SAN ANTONIO, TX 78258                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $299,999.85
CITY OF WILSON                                   Claim Number: 10078
PO BOX 10                                        Claim Date: 11/06/2020
WILSON, NC 27894                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $12,463.09            Scheduled:              $12,463.09
SIMON ROOFING AND SHEET METAL CORP               Claim Number: 10079
70 KARAGO AVE                                    Claim Date: 11/06/2020
YOUNGSTOWN, OH 44512                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,111.69            Scheduled:               $1,111.69
MARIETTA POWER                                   Claim Number: 10080
ATTN WILMA R BUSH                                Claim Date: 11/06/2020
EMERSON OVERLOOK                                 Debtor: RUBY TUESDAY, INC.
326 ROSWELL ST, STE 100
MARIETTA, GA 30060

UNSECURED                  Claimed:                     $12,787.83            Scheduled:               $4,806.31




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 99
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 206 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ADAMS, MARCIE                                    Claim Number: 10081
707 KITTS VIEW WAY                               Claim Date: 11/06/2020
SEYMOUR, TN 37865                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $18,633.28
REVENUE COMMISSIONER                             Claim Number: 10086
ATTN IKIM HASTIE                                 Claim Date: 11/09/2020
PO DRAWER 1169                                   Debtor: RUBY TUESDAY, INC.
MOBILE, AL 36633


SECURED                    Claimed:                      $9,368.20
J ARSTON LLC                                     Claim Number: 10090
C/O WILLIAMS MULLEN                              Claim Date: 11/10/2020
ATTN JENNIFER M MCLEMORE, ESQ                    Debtor: RUBY TUESDAY, INC.
200 S 10TH ST, STE 1600
RICHMOND, VA 23219

UNSECURED                  Claimed:               $1,523,842.43 UNLIQ
PATRONTECHNOLOGY                                 Claim Number: 10091
10675 PERRY HWY, 1316                            Claim Date: 11/10/2020
TAMPA, FL 33626                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $29,000.00
FRENCH ASSOCIATES I LLC                          Claim Number: 10098
ONE AMERICAN SQ, STE 1800                        Claim Date: 11/10/2020
INDIANAPOLIS, IN 46282                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,953,454.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 100
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 207 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ALABAMA POWER COMPANY                            Claim Number: 10106
C/O BALCH & BINGHAM LLP                          Claim Date: 11/11/2020
ATTN JEREMY L RETHERFORD                         Debtor: RUBY TUESDAY, INC.
1901 6TH AVE N, STE 1500
BIRMINGHAM, AL 35203

UNSECURED                  Claimed:                      $2,442.19
NORTH EAST HEATING & AC                          Claim Number: 10107
PO BOX 476                                       Claim Date: 11/11/2020
DOVER, DE 19903                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $3,842.90
UNSECURED                                                                     Scheduled:              $1,716.40
LINK MEDIA OUTDOOR                               Claim Number: 10109
C/O SZABO ASSOCIATES INC                         Claim Date: 11/11/2020
3355 LENOX RD NE, STE 945                        Debtor: RUBY TUESDAY, INC.
ATLANTA, GA 30326


UNSECURED                  Claimed:                      $1,500.00
STONE, ROBERT J                                  Claim Number: 10110
4644 INDIAN TRL                                  Claim Date: 11/11/2020
CHINA, MI 48054-3201                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $875.00
PAPAZIAN SHERMAN WAY LLC                         Claim Number: 10111
901 N UNIVERSITY                                 Claim Date: 11/11/2020
LITTLE ROCK, AR 72207                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $78,675.21




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 101
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 208 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GILBERT, RICHARD T JR                            Claim Number: 10112
3347 OLD BARTOW EAGLE LAKE RD                    Claim Date: 11/11/2020
BARTOW, FL 33830                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $450.00 UNLIQ
RANIERI, PATRICIA                                Claim Number: 10115
C/O S SCOTT STONE, ESQ                           Claim Date: 11/12/2020
801 W ROMANA ST, UNIT C                          Debtor: RUBY TUESDAY, INC.
PENSACOLA, FL 32571


UNSECURED                  Claimed:                        $0.00 UNDET
ROBESON COUNTY TAX COLLECTOR                     Claim Number: 10121
ATTN ANDREA OXENDINE                             Claim Date: 11/12/2020
550 N CHESTNUT ST, 2ND FL                        Debtor: RUBY TUESDAY, INC.
LUMBERTON, NC 28358


SECURED                    Claimed:                     $3,078.05
CITY OF MANASSAS TREASURERS OFFICE               Claim Number: 10125
9027 CENTER ST, #103                             Claim Date: 11/13/2020
MANASSAS, VA 20110                               Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim out of balance

PRIORITY                   Claimed:                     $3,133.98             Scheduled:              $20,121.42
SECURED                    Claimed:                     $3,133.98
TOTAL                      Claimed:                     $3,133.98
PBCI-ALLEN MECHANICAL & ELECTRICAL               Claim Number: 10126
2746 W COLLEGE AVE                               Claim Date: 11/13/2020
STATE COLLEGE, PA 16801                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $3,274.66             Scheduled:               $3,343.13




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 102
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 209 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



P & M INVESTMENT COMPANY LLC                     Claim Number: 10127
C/O THOMPSON BURTON PLLC                         Claim Date: 11/13/2020
ATTN DAVID P CANAS                               Debtor: RUBY TUESDAY, INC.
6100 TOWER CIR, STE 200
FRANKLIN, TN 37067

UNSECURED                  Claimed:                 $542,624.37
PALM BEACH COUNTY TAX COLLECTOR                  Claim Number: 10129
ATTN LEGAL SERVICES DEPARTMENT                   Claim Date: 11/16/2020
PO BOX 3715                                      Debtor: RUBY TUESDAY, INC.
WEST PALM BEACH, FL 33402-3715


PRIORITY                                                                      Scheduled:              $550.00
SECURED                    Claimed:                     $1,644.53
COLUMBIA COUNTY TAX COLLECTOR                    Claim Number: 10136
135 NE HERNANDO AVE, STE 125                     Claim Date: 11/17/2020
LAKE CITY, FL 32055                              Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $6,277.18
FLAGLER COUNTY TAX COLLECTOR                     Claim Number: 10138
PO BOX 846                                       Claim Date: 11/17/2020
BUNNELL, FL 32110                                Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $1,918.30
JG PRESSURE WASHING SERVICES LLC                 Claim Number: 10142
503 CARLTON POINTE DR                            Claim Date: 11/18/2020
PALMETTO, GA 30268                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                      $940.00
PRIORITY                   Claimed:                        $0.00
UNSECURED                                                                     Scheduled:              $500.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 103
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 210 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MESA CLEMMONS LLC                                Claim Number: 10143
C/O CHRISTINE L MYATT                            Claim Date: 11/18/2020
701 GREEN VALLEY RD, STE 100                     Debtor: RUBY TUESDAY, INC.
GREENSBORO, NC 27408                             Comments: POSSIBLY AMENDED BY 10176


UNSECURED                  Claimed:                 $531,771.78
TRAVELIN GHOST CARY LLC                          Claim Number: 10144
C/O ISAACSON SHERIDAN                            Claim Date: 11/18/2020
ATTN JENNIFER N FOUNTAIN, ESQ                    Debtor: RUBY TUESDAY, INC.
804 GREEN VALLEY RD, STE 200
GREENSBORO, NC 27408

UNSECURED                  Claimed:                 $532,443.93
HILES, RONALD                                    Claim Number: 10146
C/O FARAH & FARAH                                Claim Date: 11/18/2020
940 BEVILLE RD                                   Debtor: RUBY TUESDAY, INC.
DAYTONA BEACH, FL 32114


UNSECURED                  Claimed:                 $150,000.00 UNLIQ
MASSACHUSETTS DEPARTMENT OF REVENUE              Claim Number: 10148
PO BOX 9564                                      Claim Date: 11/19/2020
BOSTON, MA 02114                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $197.01 UNLIQ
PAPAZIAN SHERMAN WAY LLC                         Claim Number: 10149
901 N UNIVERSITY                                 Claim Date: 11/19/2020
LITTLE ROCK, AR 72207                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $2,217,953.21 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 104
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 211 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NW NORTHGATE MALL LLC                            Claim Number: 10152
C/O LAW OFFICES OF KEVIN S NEIMAN PC             Claim Date: 11/19/2020
ATTN KEVIN S NEIMAN, ESQ                         Debtor: RUBY TUESDAY, INC.
999 18TH ST, STE 1230 S
DENVER, CO 80202

UNSECURED                  Claimed:                 $184,826.64
MFB RANDALLSTOWN LLC                             Claim Number: 10155
C/O KIMBERLY MANUELIDES, ESQ                     Claim Date: 11/19/2020
600 WASHINGTON AVE, STE 300                      Debtor: RUBY TUESDAY, INC.
TOWSON, MD 21204


UNSECURED                  Claimed:                        $0.00 UNDET
CANAS, DAVID P                                   Claim Number: 10156
C/O THOMPSON BURTON PLLC                         Claim Date: 11/19/2020
6100 TOWER CIR, STE 200                          Debtor: RUBY TUESDAY, INC.
FRANKLIN, TN 37067


UNSECURED                  Claimed:                 $779,332.19
TOWN OF TOPSHAM                                  Claim Number: 10157
100 MAIN ST                                      Claim Date: 11/19/2020
TOPSHAM, ME 04086                                Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $2,091.09
TOWN OF TOPSHAM                                  Claim Number: 10158
100 MAIN ST                                      Claim Date: 11/19/2020
TOPSHAM, ME 04086                                Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $3,579.68




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 105
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 212 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RSS WFRBS2011C3-NY OM LLC (RIALTO)               Claim Number: 10160
C/O PERKINS COIE LLP                             Claim Date: 11/20/2020
ATTN GARY EISENBERG                              Debtor: RUBY TUESDAY, INC.
1155 AVENUE OF THE AMERICAS, 22ND FL
NEW YORK, NY 10036

UNSECURED                  Claimed:                 $599,151.32
GREATAMERICA FINANCIAL SERVICES CORP             Claim Number: 10162
ATTN PEGGY UPTON                                 Claim Date: 11/20/2020
PO BOX 609                                       Debtor: RUBY TUESDAY, INC.
CEDAR RAPIDS, IA 52406


UNSECURED                  Claimed:                     $17,594.08            Scheduled:              $589.97
ADVANCED PROJECT SOLUTIONS LLP                   Claim Number: 10163
4501 FEMRITE DR                                  Claim Date: 11/20/2020
MADISON, WI 53716                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $504.96             Scheduled:              $341.56
NOBLE SERVICES CO                                Claim Number: 10164
ATTN DAVE HARRIS                                 Claim Date: 11/20/2020
PO BOX 7150                                      Debtor: RUBY TUESDAY, INC.
PUEBLO, CO 81007


UNSECURED                  Claimed:                       $540.00
CHATHAM COUNTY TAX COMMISSIONER                  Claim Number: 10165
ATTN THERESA HARRELSON                           Claim Date: 11/20/2020
PO BOX 8324                                      Debtor: RUBY TUESDAY, INC.
SAVANNAH, GA 31412


PRIORITY                   Claimed:                     $13,594.09            Scheduled:               $97.14




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 106
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 213 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



2500 MCKENZIE LLC                                Claim Number: 10166
2950 SW 27TH ST, STE 300                         Claim Date: 11/20/2020
MIAMI, FL 33133                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $379,003.50
VAN HOOK SERVICE CO INC                          Claim Number: 10170
C/O HARRIS BEACH PLLC                            Claim Date: 11/23/2020
ATTN KEVIN TOMPSETT                              Debtor: RUBY TUESDAY, INC.
99 GARNSEY RD                                    Comments:
PITTSFORD, NY 14534                              CROSS-CASE DUPLCIAE OF CLAIM # 10171, 17172

UNSECURED                  Claimed:                       $949.73             Scheduled:              $949.73
KLEBAN GREENVILLE LLC                            Claim Number: 10173
C/O MCELROY DEUTSCH MULVANET, ET AL              Claim Date: 11/23/2020
ATTN KRISTIN B MAYHEW, ESQ                       Debtor: RUBY TUESDAY, INC.
30 JELLIFF LN
SOUTHPORT, CT 06890

UNSECURED                  Claimed:                 $255,355.38
MESA CLEMMONS LLC                                Claim Number: 10176
C/O CHRISTINE L MYATT                            Claim Date: 11/23/2020
701 GREEN VALLEY RD, STE 100                     Debtor: RUBY TUESDAY, INC.
GREENSBORO, NC 27408                             Comments:
                                                 AMENDS CLAIM #10143

UNSECURED                  Claimed:                 $531,771.78 UNLIQ
OUTFRONT MEDIA LLC                               Claim Number: 10177
C/O IANNITELLI MARCOLINI PC                      Claim Date: 11/23/2020
ATTN CLAUDIO E IANNITELLI, ESQ                   Debtor: RUBY TUESDAY, INC.
5353 N 16TH ST, STE 315
PHOENIX, AZ 85016

UNSECURED                  Claimed:                     $25,689.08




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 107
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 214 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WHITEHEAD, YLONDA                                Claim Number: 10179
C/O SHOCKLEE PAOLINO PA                          Claim Date: 11/24/2020
ATTN ERIC PAOLINO, ESQ                           Debtor: RUBY TUESDAY, INC.
6550 CENTRAL AVE
SAINT PETERSBURG, FL 33707

UNSECURED                  Claimed:                        $0.00 UNDET
COUNTY OF LOUDOUN, VIRGINIA                      Claim Number: 10180
C/O STEVEN F JACKSON, SR ASST CO ATTY            Claim Date: 11/24/2020
1 HARRISON ST SE                                 Debtor: RUBY TUESDAY, INC.
LEESBURG, VA 20175


SECURED                    Claimed:                     $4,442.60
JAMES AND JAIMIE GALINSKI H/W                    Claim Number: 10182
C/O SWARTZ CULLETON PC                           Claim Date: 11/24/2020
547 E WASHINGTON AVE                             Debtor: RUBY TUESDAY, INC.
NEWTOWN, PA 18940


UNSECURED                  Claimed:                        $0.00 UNDET
ROSIE'S DRAFT SOLUTIONS INC                      Claim Number: 10183
40 W 4TH ST, UNIT 22                             Claim Date: 11/29/2020
PATCHOGUE, NY 11772                              Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                       $54.31
UNSECURED                                                                     Scheduled:               $54.31
KRATZKE, CHRISTINE M                             Claim Number: 10185
7744 YANKEE CT                                   Claim Date: 11/30/2020
ARVADA, CO 80007                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $165,845.63




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 108
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 215 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ADAMS, KEITH E & KIM D, TRUSTEES                 Claim Number: 10186
8003 FRANKLIN FARMS RD, STE 233                  Claim Date: 12/01/2020
RICHMOND, VA 23229                               Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                 $250,883.49
UNSECURED                  Claimed:                 $145,888.59
PEOPLES NATURAL GAS COMPANY LLC                  Claim Number: 10187
C/O GRB LAW                                      Claim Date: 12/01/2020
ATTN JEFFREY R HUNT, ESQ                         Debtor: RUBY TUESDAY, INC.
FRICK BLDG; 437 GRANT ST, 14TH FL
PITTSBURGH, PA 15219

UNSECURED                  Claimed:                      $882.81
MARSHALL FAMILY TRUST, THE                       Claim Number: 10191
C/O EVAN RASSMAN, ESQ                            Claim Date: 12/01/2020
1521 CONCORD PIKE, STE 305                       Debtor: RUBY TUESDAY, INC.
WILMINGTON, DE 19803


UNSECURED                  Claimed:                 $357,735.48
MARICOPA COUNTY TREASURER                        Claim Number: 10192
ATTN PETER MUTHIG                                Claim Date: 12/01/2020
225 W MADISON ST                                 Debtor: RUBY TUESDAY, INC.
PHOENIX, AZ 85003


PRIORITY                   Claimed:                     $1,063.38             Scheduled:              $21,531.49
LIBERTY UTILITIES                                Claim Number: 10193
PO BOX 127                                       Claim Date: 12/01/2020
JOPLIN, MO 64802                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $6,053.32




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 109
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 216 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



AIRGAS USA LLC                                   Claim Number: 10196
6055 ROCKSIDE WOODS BLVD                         Claim Date: 12/02/2020
INDEPENDENCE, OH 44131                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $8,170.64
CLOSE TIES INVESTMENTS LLC, ET AL                Claim Number: 10197
ATTN JENNIFER GOUDEAU, PRES                      Claim Date: 12/02/2020
1330 NEPTUNE AVE                                 Debtor: RUBY TUESDAY, INC.
LEUCADIA, CA 92024


UNSECURED                  Claimed:                 $446,550.59
SIMONS, D BARRY, TRUSTEE, ET AL                  Claim Number: 10199
ATTN JENNIFER GOUDEAU, PRES                      Claim Date: 12/02/2020
1330 NEPTUNE AVE                                 Debtor: RUBY TUESDAY, INC.
LEUCADIA, CA 92024


UNSECURED                  Claimed:                 $420,343.95
KIRK, JUSTIN T                                   Claim Number: 10201
C/O ANDRES & BERGER PC                           Claim Date: 12/02/2020
264 KINGS HWY E                                  Debtor: RUBY TUESDAY, INC.
HADDONFIELD, NJ 08033


UNSECURED                  Claimed:                        $0.00 UNDET
WAKE CAPITAL REALTY ASSOCIATES LLC               Claim Number: 10203
C/O WIN PROPERTIES INC                           Claim Date: 12/03/2020
ATTN RICHARD A YARMY                             Debtor: RUBY TUESDAY, INC.
10 RYE RIDGE PLZ, STE 200
RYE BROOK, NY 10573

UNSECURED                  Claimed:                 $235,376.18




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 110
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 217 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF HAMPTON                                  Claim Number: 10204
1 FRANKLIN ST, STE 100                           Claim Date: 12/03/2020
HAMPTON, VA 23669                                Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $6,871.42
SECURED                    Claimed:                     $6,871.42
TOTAL                      Claimed:                     $6,871.42
DIRECT ENERGY BUSINESS LLC                       Claim Number: 10206
C/O MCDOWELL HETHERINGTON LLP                    Claim Date: 12/03/2020
ATTN NICOLE SU                                   Debtor: RUBY TUESDAY, INC.
1001 FANNIN, STE 2700
HOUSTON, TX 77002

UNSECURED                  Claimed:                     $7,434.81
MARYVILLE COLLEGE                                Claim Number: 10207
ATTN GREGORY C LOGUE                             Claim Date: 12/03/2020
PO BOX 900                                       Debtor: RUBY TUESDAY, INC.
KNOXVILLE, TN 37901


UNSECURED                  Claimed:                        $1.00
MONTICELLO MARKETPLACE ASSOCIATES LLC            Claim Number: 10208
ATTN DAVID A GREER                               Claim Date: 12/03/2020
500 E MAIN ST, STE 1225                          Debtor: RUBY TUESDAY, INC.
NORFOLK, VA 23510


UNSECURED                  Claimed:                 $146,245.89
STANLEY, TIA                                     Claim Number: 10209
642 CRAWFORD AVE                                 Claim Date: 12/03/2020
AUGUSTA, GA 30904                                Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                           Scheduled:                 $380.90
UNSECURED                  Claimed:                      $380.90




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 111
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 218 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ROWAN, CARI                                      Claim Number: 10210
70 HARRISON CREEK RD                             Claim Date: 12/03/2020
FLAT ROCK, NC 28731                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $168.07
BELENSKI, BRIAN                                  Claim Number: 10211
24 APPLE AVE                                     Claim Date: 12/03/2020
GETTYSBURG, PA 17325                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $532.17
GREYSTONE POWER CORP                             Claim Number: 10212
PO BOX 6071                                      Claim Date: 12/04/2020
DOUGLASVILLE, GA 30154                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $6,907.97            Scheduled:              $4,340.77
FLAHERTY SENSABAUGH BONASSO PLLC                 Claim Number: 10215
PO BOX 3843                                      Claim Date: 12/04/2020
CHARLESTON, WV 25301                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $25,876.01
NOM ACADEMY LTD                                  Claim Number: 10216
C/O WALLER LANSDEN DORTCH & DAVIS LLP            Claim Date: 12/04/2020
ATTN PAUL H GREENWOOD                            Debtor: RUBY TUESDAY, INC.
1901 6TH AVE N, STE 1400
BIRMINGHAM, AL 35203

UNSECURED                  Claimed:                     $58,753.23




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 112
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 219 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GAGNON, DANIELLE                                 Claim Number: 10219
137 WEST ST                                      Claim Date: 12/04/2020
GLOVERSVILLE, NY 12078                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $170.44             Scheduled:              $170.44
KRAUSE, AMANDA                                   Claim Number: 10220
819 HUGHES RD                                    Claim Date: 12/04/2020
FULTONVILLE, NY 12072                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $797.54
WILSON, LYNN                                     Claim Number: 10223
53 CHELSEA CT                                    Claim Date: 12/04/2020
MIDDLETOWN, CT 06457                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $50,000.00
SECURED                    Claimed:                     $20,223.86
MAYBURY, JILLIAN                                 Claim Number: 10224
101 GLENWOOD AVE                                 Claim Date: 12/04/2020
JOHNSTOWN, NY 12095                              Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $897.88
UNSECURED                  Claimed:                       $897.88
ROBLES, BRENDA                                   Claim Number: 10226
901 PEA RIDGE RD                                 Claim Date: 12/05/2020
SCOTTSVILLE, KY 42164                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $115.94             Scheduled:              $115.94




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 113
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 220 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



UPSTATE HANDYMAN AND SON LLC                     Claim Number: 10227
101 GLENHILL DR                                  Claim Date: 12/05/2020
GLENVILLE, NY 12302                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,514.64             Scheduled:              $1,514.64
WILLIAMS, GABRIL                                 Claim Number: 10229
2953 WINDING GROVE DR                            Claim Date: 12/05/2020
LITHONIA, GA 30038                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $336.70
DOMINISKI, ROMAN                                 Claim Number: 10230
416 TURNBERRY DR                                 Claim Date: 12/05/2020
CHARLES TOWN, WV 25414                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $128.81              Scheduled:               $128.81
LOZADA, CARMEN                                   Claim Number: 10232
55 LINCOLN AVE                                   Claim Date: 12/05/2020
AMSTERDAM, NY 12010                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $786.62
GONZALEZ, MICHAEL                                Claim Number: 10233
904 CHURCH ST                                    Claim Date: 12/05/2020
EDEN, NC 27288                                   Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 114
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 221 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CONNER, NATHAN                                   Claim Number: 10234
1779 ROSS RD. LOT 27                             Claim Date: 12/05/2020
LYONS, NY 14489                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $128.48
WASHINGTON, DARLENE                              Claim Number: 10237
906 DOCTORS DR, APT 1C                           Claim Date: 12/05/2020
KINSTON, NC 28501                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $600.68
COROC/MYRTLE BEACH LLC                           Claim Number: 10238
C/O TANGER OUTLET CENTERS                        Claim Date: 12/06/2020
ATTN KIM STATHAM                                 Debtor: RUBY TUESDAY, INC.
3200 NORTHLINE AVE, STE 360
GREENSBORO, NC 27408

PRIORITY                   Claimed:                  $16,888.73
UNSECURED                  Claimed:                 $176,780.15
SCALES, SHARON R                                 Claim Number: 10239
904 CHURCH ST                                    Claim Date: 12/06/2020
EDEN, NC 27288                                   Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $278.36
LEE, DAVID KEITH                                 Claim Number: 10240
114 QUAIL WOODS DR                               Claim Date: 12/06/2020
NEW BERN, NC 28560                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,965.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 115
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 222 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ILLUM-A-NATION LLC                               Claim Number: 10241
1009 MILCHLING DR                                Claim Date: 12/06/2020
BEL AIR, MD 21015                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $495.00             Scheduled:               $495.00
JOHNSON, DATANGELA                               Claim Number: 10243
6754 CHUPP RD                                    Claim Date: 12/06/2020
LITHONIA, GA 30058                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $285.65
MATTORD, VANESSA                                 Claim Number: 10244
528 SQUIRE CIR                                   Claim Date: 12/06/2020
CLEMSON, SC 29631-2137                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $653.18
MUSCOGEE COUNTY GEORGIA TAX COMMISSIONER Claim Number: 10245
PO BOX 1441                              Claim Date: 12/07/2020
COLUMBUS, GA 31902-1441                  Debtor: RUBY TUESDAY, INC.
                                         Comments:
                                         Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                     $13,114.10            Scheduled:              $1,275.48
SECURED                    Claimed:                     $13,114.10
TOTAL                      Claimed:                     $13,114.10
DEMMER, BRITTANY                                 Claim Number: 10246
385 QUAIL RIDGE DR                               Claim Date: 12/07/2020
ADRIAN, GA 31002                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $172.19




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 116
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 223 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



FRISZELL, NAVANCA                                Claim Number: 10250
C/O MIRMAN MARKOVITS & LANDAU PC                 Claim Date: 12/07/2020
ATTN THOMAS P MARKOVITS                          Debtor: RUBY TUESDAY, INC.
291 BROADWAY, 6TH FL
NEW YORK, NY 10007

UNSECURED                  Claimed:               $1,000,000.00 UNLIQ
DCG DEVELOPMENT CO                               Claim Number: 10251
800 RTE 146, STE 240                             Claim Date: 12/07/2020
CLIFTON PARK, NY 12065                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $272,148.25
MESSERLY, NEISHA                                 Claim Number: 10252
5 DOGWOOD TER                                    Claim Date: 12/07/2020
MOUNT VERNON, OH 43050-1413                      Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $615.82
WAGNER, JANICE                                   Claim Number: 10253
C/O BEASLEY & GILKINSON LLP                      Claim Date: 12/07/2020
ATTN BENJAMIN FREEMAN                            Debtor: RUBY TUESDAY, INC.
110 E CHARLES ST, STE 200
MUNCIE, IN 47305

UNSECURED                  Claimed:                     $54,303.79
GOLDEN TRIANGLE WASTE SERVICES                   Claim Number: 10255
1311 INDUSTRIAL PARK RD                          Claim Date: 12/07/2020
COLUMBUS, MS 39701                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $660.00
UNSECURED                                                                     Scheduled:              $660.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 117
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 224 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MIDDLE TENNESSEE EMC                             Claim Number: 10256
555 NEW SALEM HWY                                Claim Date: 12/07/2020
MURFREESBORO, TN 37129                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $14,711.98            Scheduled:              $13,642.10
RAY-GOONIS, MARY                                 Claim Number: 10257
41866 WOODBRIDGE                                 Claim Date: 12/07/2020
CANTON, MI 48188                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $449.10             Scheduled:                $449.10
PREMIER LAWN AND TREE CARE                       Claim Number: 10258
PO BOX 5284                                      Claim Date: 12/07/2020
TERRE HAUTE, IN 47805                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,150.00            Scheduled:               $1,720.00
NATIONAL UNION FIRE INSURANCE COMPANY            Claim Number: 10259
C/O AIG PROPERTY CASUALTY INC                    Claim Date: 12/07/2020
ATTN KEVIN LARNER                                Debtor: RUBY TUESDAY, INC.
80 PINE ST, 13TH FL                              Comments:
NEW YORK, NY 10005                               CROSS-CASE DUPLCAITE OF CLAIM # 10264

UNSECURED                  Claimed:                         $0.00 UNDET
KAMAL, SHERIF                                    Claim Number: 10261
130 CRICKET LN, APT 2D                           Claim Date: 12/07/2020
ELIZABETHTOWN, KY 42701                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $367.28




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 118
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 225 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SCRIPPS NETWORKS LLC                             Claim Number: 10265
8403 COLLESVILLE RD                              Claim Date: 12/07/2020
SILVER SPRING, MD 20910                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $342,181.10
FRICK JOINT VENTURE PARTNERSHIP                  Claim Number: 10266
C/O RAVIN GREENBERG LLC                          Claim Date: 12/07/2020
ATTN CHAD B FRIEDMAN, ESQ                        Debtor: RUBY TUESDAY, INC.
127 W 129TH
NEW YORK, NY 10027

UNSECURED                  Claimed:                 $503,729.52
GWINNETT CO TAX COMMISSIONER                     Claim Number: 10267
75 LANGLEY DR                                    Claim Date: 12/07/2020
LAWRENCEVILLE, GA 30046                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $3,098.73
MCINTYRE, JEREMY CLIFFORD                        Claim Number: 10269
12 SPAULDING ST, APT 1                           Claim Date: 12/07/2020
AUGUSTA, ME 04330                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $1,211.54
SPOSATO, LOUIS R                                 Claim Number: 10270
6914 TREYMORE CT                                 Claim Date: 12/07/2020
SARASOTA, FL 34243                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $12,203.20 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 119
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 226 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PETERS, CAITLIN                                  Claim Number: 10271
713 SMITH ST                                     Claim Date: 12/07/2020
SHELBY, NC 28150                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $362.74
FOWLER, MEGAN N                                  Claim Number: 10272
303 CALHOUN ST, #21                              Claim Date: 12/07/2020
MOUNT VERNON, OH 43050                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $223.73
ANTHONY COSTANZA LANDSCAPING                     Claim Number: 10273
128 COWIE RD                                     Claim Date: 12/07/2020
COMMACK, NY 11725                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $6,680.44
HERNANDEZ, JOSE S                                Claim Number: 10274
14154 MURPHY TER                                 Claim Date: 12/07/2020
GAINESVILLE, VA 20155                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $5,468.75 UNLIQ
HERNANDEZ, JOSE S                                Claim Number: 10275
14154 MURPHY TER                                 Claim Date: 12/07/2020
GAINESVILLE, VA 20155                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $25,603.24 UNLIQ CONT




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 120
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 227 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WENSELL, EDWARD                                  Claim Number: 10276
115 S PURDUE AVE                                 Claim Date: 12/07/2020
OAK RIDGE, TN 37830                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $1,665.20
CITY OF MILLEDGEVILLE                            Claim Number: 10278
PO BOX 1900                                      Claim Date: 12/08/2020
5TH FL, STE 500                                  Debtor: RUBY TUESDAY, INC.
MILLEDGEVILLE, GA 31059


UNSECURED                  Claimed:                      $4,129.93            Scheduled:                 $37.89
SOUTHWESTERN ELECTRIC COOPERATIVE INC            Claim Number: 10279
525 US RTE 40                                    Claim Date: 12/08/2020
GREENVILLE, IL 62246                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $8,525.85            Scheduled:               $9,807.21
OSMOLSKI, COLLEEN                                Claim Number: 10280
C/O CYNTHIA DALEY, ESQ                           Claim Date: 12/08/2020
128 NEWNAN ST                                    Debtor: RUBY TUESDAY, INC.
CARROLLTON, GA 30117


UNSECURED                  Claimed:                 $122,000.00
SHIFTONE INC                                     Claim Number: 10281
900 POTTERTON CIR SW                             Claim Date: 12/08/2020
VIENNA, VA 22180                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $63,475.23            Scheduled:              $61,100.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 121
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 228 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOFFMAN, RACHELE                                 Claim Number: 10282
37 CRAIGHILL RD, APT A                           Claim Date: 12/08/2020
RICHMOND, VA 23238-3132                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $132.66
CITY OF LEBANON AUTHORITY                        Claim Number: 10285
ATTN SHERI HERR                                  Claim Date: 12/08/2020
2311 RIDGEVIEW RD                                Debtor: RUBY TUESDAY, INC.
LEBANON, PA 17042


UNSECURED                  Claimed:                     $2,838.24
HARRIS, SHARON                                   Claim Number: 10286
C/O THE ODIERNO LAW FIRM PC                      Claim Date: 12/08/2020
ATTN SCOTT ODIERNO                               Debtor: RUBY TUESDAY, INC.
560 BROAD HOLLOW RD, STE 102
MELVILLE, NY 11747

UNSECURED                  Claimed:                 $150,000.00               Scheduled:                  $0.00 UNLIQ
GLYNN COUNTY TAX COMMISSIONER                    Claim Number: 10288
1725 REYNOLDS ST, STE 100                        Claim Date: 12/08/2020
BRUNSWICK, GA 31520                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $2,078.97
MERIDEN REALTY LLC                               Claim Number: 10289
C/O NAMDAR REALTY GROUP                          Claim Date: 12/08/2020
150 GREAT NECK RD, STE 304                       Debtor: RUBY TUESDAY, INC.
GREAT NECK, NY 11021


UNSECURED                  Claimed:                 $150,315.84               Scheduled:              $81,825.16




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 122
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 229 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CORNELIUS, ALEX                                  Claim Number: 10290
150 GREAT NECK RD, STE 304                       Claim Date: 12/08/2020
GREAT NECK, NY 11021                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $206,188.93
COLLINS, DAVID W                                 Claim Number: 10291
D/B/A DC PLUMBING & BACKHOE SERVICE              Claim Date: 12/08/2020
608 BELSHE AVE                                   Debtor: RUBY TUESDAY, INC.
WILLOW SPRINGS, MO 65793                         Comments:
                                                 AMENDS CLAIM #10047

UNSECURED                  Claimed:                     $350.00
BROWN, STEPHON G                                 Claim Number: 10292
908 TRENT ST                                     Claim Date: 12/08/2020
CHARLESTON, SC 29414                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $497.03
MERRITT SQUARE REALTY LLC                        Claim Number: 10293
150 GREAT NECK RD, STE 304                       Claim Date: 12/08/2020
GREAT NECK, NY 11021                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $137,130.65
BERMAN, GRAYCE                                   Claim Number: 10296
C/O ALLEN S MCCONNAUGHHAY                        Claim Date: 12/08/2020
3375-A CAPITAL CIR NE                            Debtor: RUBY TUESDAY, INC.
TALLAHASSEE, FL 32308


UNSECURED                  Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 123
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 230 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



FRAZIER, KAYLYN                                  Claim Number: 10298
159 KEELING DR                                   Claim Date: 12/08/2020
RIDGEWAY, VA 24148                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $277.49
SOUTHEAST GAS                                    Claim Number: 10300
PO BOX 1338                                      Claim Date: 12/08/2020
ANDALUSIA, AL 36420                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,920.98             Scheduled:              $2,477.61
MCKEEVER COMPANY                                 Claim Number: 10301
8505 BELL CREEK RD, STE F                        Claim Date: 12/08/2020
MECHANICSVILLE, VA 23116                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,032.60
WILLIAMS, DOMINIQUE                              Claim Number: 10303
1555 STONELEIGH HILL RD                          Claim Date: 12/08/2020
LITHONIA, GA 30058                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                      $505.57
PRIORITY                                                                      Scheduled:               $505.57
STANDIFER, STEVEN A                              Claim Number: 10304
803 PANORAMA DR                                  Claim Date: 12/08/2020
MORRISTOWN, TN 37814                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $241.63




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 124
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 231 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CHAU, CONNIE                                     Claim Number: 10306
204 AVENIDA SAN CARLOS                           Claim Date: 12/08/2020
SAN CLEMENTE, CA 92672                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                  $10,000.00
UNSECURED                  Claimed:                 $125,700.84
GAINES, SHATERIA                                 Claim Number: 10307
5110 RED FERN RD                                 Claim Date: 12/08/2020
LOUISVILLE, KY 40218                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $630.77
UNITED MGMT SVCS INC                             Claim Number: 10308
856 ELKRIDGE LANDING RD                          Claim Date: 12/08/2020
LINTHICUM, MD 21090                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $212.12             Scheduled:               $212.12
WENNE LLC                                        Claim Number: 10313
135-27 38TH AVE, 2ND FL                          Claim Date: 12/08/2020
FLUSHING, NY 11354-0000                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                  $35,538.35
UNSECURED                  Claimed:                 $114,850.28
WENNE LLC                                        Claim Number: 10314
ATTN GEORGE SHU                                  Claim Date: 12/08/2020
135-27 38TH AVE, 2ND FL                          Debtor: RUBY TUESDAY, INC.
FLUSHING, NY 11354                               Comments:
                                                 DUPLICATE OF CLAIM # 10511

PRIORITY                   Claimed:                     $35,538.35
UNSECURED                  Claimed:                     $93,704.56            Scheduled:              $8,192.12




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 125
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 232 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



JACOBY, JOSEPH                                   Claim Number: 10315
3607 HANOVER RD                                  Claim Date: 12/08/2020
GETTYSBURG, PA 17325                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $383.24              Scheduled:               $383.24
CONNER, BONNIE                                   Claim Number: 10316
2428 HIDDEN LAKE CIR                             Claim Date: 12/08/2020
COLUMBIA, TN 38401                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                        $0.00
PRIORITY                   Claimed:                      $225.24              Scheduled:               $225.24
HODGES, HEATHER                                  Claim Number: 10317
1789 SHERATON LAKES CIR                          Claim Date: 12/08/2020
MIDDLEBURG, FL 32068                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $236.09
SONIER, DANIEL                                   Claim Number: 10318
9820 REBEL RD                                    Claim Date: 12/08/2020
PENSACOLA, FL 32526                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $298.76
BERKELEY ELECTRIC COOP INC                       Claim Number: 10319
MONCKS CORNER AT 414 N HWY 52                    Claim Date: 12/09/2020
MONCKS CORNER, SC 29461                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $7,930.27             Scheduled:              $4,661.24




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 126
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 233 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



JOHNSTON COUNTY TAX COLLECTOR                    Claim Number: 10320
PO BOX 451                                       Claim Date: 12/09/2020
SMITHFIELD, NC 27577                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $4,473.65
COSMO, JAMIE                                     Claim Number: 10321
148 OLD RAVENA RD, LOT 18G                       Claim Date: 12/09/2020
SELKIRK, NY 12158                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $4,208.00
GRAND IX VENTURES LLC                            Claim Number: 10322
ATTN DAVID V LINER                               Claim Date: 12/09/2020
1078 RIVERBEND DR                                Debtor: RUBY TUESDAY, INC.
ADVANCE, NC 27006


UNSECURED                  Claimed:                 $461,423.86
FLINT ELECTRIC MEMBERSHIP CORPORATION            Claim Number: 10323
ATTN WILLIAM R JERLES JR                         Claim Date: 12/09/2020
PO BOX 89                                        Debtor: RUBY TUESDAY, INC.
PERRY, GA 31069


UNSECURED                  Claimed:                     $4,605.73             Scheduled:              $2,743.35
CITY OF GREENSBORO                               Claim Number: 10324
PO BOX 3136                                      Claim Date: 12/09/2020
GREENSBORO, NC 27402-3136                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,819.82             Scheduled:               $531.09




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 127
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 234 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COTTERILL, WILLIAM K                             Claim Number: 10325
27419 HIGHLANDER CT                              Claim Date: 12/09/2020
YALAHA, FL 34797                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $17,127.94 UNLIQ
ITW FOOD EQUIPMENT GROUP LLC                     Claim Number: 10326
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $356,874.61
KOENIGSBERG, PAUL                                Claim Number: 10327
4775 N BAY RD                                    Claim Date: 12/09/2020
MIAMI BEACH, FL 33140                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $2,000.00
UNSECURED                                                                     Scheduled:              $2,000.00
WINTZ, KIMBERLY                                  Claim Number: 10328
5340 POSSUM ST                                   Claim Date: 12/09/2020
MOUNT VERNON, OH 43050                           Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:               $236.22
UNSECURED                  Claimed:                       $236.22
CAROUSEL CENTER COMPANY LP                       Claim Number: 10329
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 128
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 235 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CAROUSEL CENTER COMPANY LP                       Claim Number: 10330
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

ADMINISTRATIVE             Claimed:                      $1,165.89 UNLIQ
STRATEGIC EQUIPMENT LLC                          Claim Number: 10331
C/O SHERRARD ROE VOIGT & HARBISON PLC            Claim Date: 12/09/2020
ATTN MICHAEL G ABELOW, ESQ                       Debtor: RUBY TUESDAY, INC.
150 THIRD AVE S, STE 1100
NASHVILLE, TN 37201

UNSECURED                  Claimed:                 $586,739.58               Scheduled:          $554,372.65
CAROUSEL CENTER COMPANY LP                       Claim Number: 10332
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $440,451.56 UNLIQ
ORACLE AMERICA INC                               Claim Number: 10333
C/O BUCHALTER PC                                 Claim Date: 12/09/2020
ATTN SHAWN M CHRISTIANSON, ESQ                   Debtor: RUBY TUESDAY, INC.
55 2ND ST, 17TH FL
SAN FRANCISCO, CA 94105

UNSECURED                  Claimed:                     $28,658.49
CAROUSEL CENTER COMPANY LP                       Claim Number: 10334
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $560,576.55




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 129
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 236 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CROSSGATES MALL GENERAL CO NEWCO LLC             Claim Number: 10335
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $159,672.29 UNLIQ
CROSSGATES MALL GENERAL CO NEWCO LLC             Claim Number: 10336
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

ADMINISTRATIVE             Claimed:                     $833.35 UNLIQ
CROSSGATES MALL GENERAL CO NEWCO LLC             Claim Number: 10337
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $337,883.76 UNLIQ
CRYSTAL RUN GALLERIA LLC                         Claim Number: 10338
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                       $0.00 UNDET
CRYSTAL RUN GALLERIA LLC                         Claim Number: 10339
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $339,864.84 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 130
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 237 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HOLYOKE MALL COMPANY LP                          Claim Number: 10340
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $198,888.53 UNLIQ
HOLYOKE MALL COMPANY LP                          Claim Number: 10341
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

ADMINISTRATIVE             Claimed:                     $1,038.29 UNLIQ
HOLYOKE MALL COMPANY LP                          Claim Number: 10342
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $417,406.32 UNLIQ
POUGHKEEPSIE GALLERIA LLC                        Claim Number: 10343
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                 $112,870.84 UNLIQ
POUGHKEEPSIE GALLERIA LLC                        Claim Number: 10344
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

ADMINISTRATIVE             Claimed:                      $602.10 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 131
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 238 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



POUGHKEEPSIE GALLERIA LLC                        Claim Number: 10345
C/O BARCLAY DAMON LLP                            Claim Date: 12/09/2020
ATTN KEVIN M NEWMAN                              Debtor: RUBY TUESDAY, INC.
BARCLAY DAMON TOWER; 125 E JEFFERSON ST
SYRACUSE, NY 13202

UNSECURED                  Claimed:                         $0.00 UNDET
GARRISON, ANDREA                                 Claim Number: 10346
135 W CONCORD DR, 135 C                          Claim Date: 12/09/2020
CLARKSVILLE, TN 37042                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $304.98
MANESS, CRYSTAL                                  Claim Number: 10347
99 HORACE LN                                     Claim Date: 12/09/2020
WALTERBORO, SC 29488                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $637.74
ROBERT A DAILEY TRUST DATED 04/10/2002           Claim Number: 10348
C/O MILLER & MARTIN PLLC                         Claim Date: 12/09/2020
ATTN MCS                                         Debtor: RUBY TUESDAY, INC.
832 GEORGIA AVE, STE 1200
CHATTANOOGA, TN 37402

UNSECURED                  Claimed:                     $33,833.31            Scheduled:              $29,935.46
SELECT-FAIRVIEW CITY CENTRE LLC                  Claim Number: 10350
C/O STONE LEYTON & GERSHMAN, A PROF CORP         Claim Date: 12/09/2020
ATTN HOWARD S SMOTKIN, ESQ                       Debtor: RUBY TUESDAY, INC.
7733 FORSYTH BLVD, STE 500
SAINT LOUIS, MO 63105

UNSECURED                  Claimed:                 $350,749.83




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 132
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 239 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PETTIFORD, KIMBERLY                              Claim Number: 10351
114 N HOLLAND ST                                 Claim Date: 12/09/2020
MUNCIE, IN 47303                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $160.94
SECURED                    Claimed:                         $0.00
BEAL COMMONS LLC                                 Claim Number: 10352
C/O POLSINELLI PC                                Claim Date: 12/09/2020
ATTN GWENDOLYN J GODFREY                         Debtor: RUBY TUESDAY, INC.
1201 W PEACHTREE ST NW, STE 1100
ATLANTA, GA 30309

UNSECURED                  Claimed:                     $45,030.65 UNLIQ      Scheduled:              $1,861.84
PRZYTULA, TRAVIS                                 Claim Number: 10353
13834 GREENTREES                                 Claim Date: 12/09/2020
RIVERVIEW, MI 48193                              Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                     $1,270.25
PRIORITY                   Claimed:                     $1,270.25
EQUITY ONE (WESTBURY PLAZA) LLC                  Claim Number: 10354
C/O REGENCY CENTERS LP                           Claim Date: 12/10/2020
ATTN ERNST BELL, ESQ                             Debtor: RUBY TUESDAY, INC.
ONE INDEPENDENT DR
JACKSONVILLE, FL 32202

ADMINISTRATIVE             Claimed:                  $29,754.73
UNSECURED                  Claimed:                 $833,571.89               Scheduled:          $107,665.95
REGENCY CENTERS LP (DURHAM)                      Claim Number: 10355
C/O REGENCY CENTERS LP                           Claim Date: 12/10/2020
ATTN ERNST BELL, ESQ                             Debtor: RUBY TUESDAY, INC.
ONE INDEPENDANT DR
JACKSONVILLE, FL 32202

UNSECURED                  Claimed:                     $4,382.13




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 133
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 240 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



REGENCY BLUE ASH LLC                             Claim Number: 10356
C/O REGENCY CENTERS LP                           Claim Date: 12/10/2020
ATTN ERNST BELL, ESQ                             Debtor: RUBY TUESDAY, INC.
ONE INDEPENDENT DR
JACKSONVILLE, FL 32202

ADMINISTRATIVE             Claimed:                      $3,373.98
UNSECURED                  Claimed:                     $52,126.40
JDN REAL ESTATE - HAMILTON LP                    Claim Number: 10357
C/O SITE CENTERS CORP                            Claim Date: 12/10/2020
3300 ENTERPRISE PKWY                             Debtor: RUBY TUESDAY, INC.
BEACHWOOD, OH 44122


UNSECURED                  Claimed:                 $282,939.62
VISTA WAY PARTNERS LLC                           Claim Number: 10358
30799 PINETREE RD, STE 254                       Claim Date: 12/10/2020
CLEVELAND, OH 44124                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,398,440.00
SUNSHINE REALTIES LLC                            Claim Number: 10359
C/O SHUTTS & BOWEN LLP                           Claim Date: 12/10/2020
ATTN JAMES A TIMKO                               Debtor: RUBY TUESDAY, INC.
300 S ORANGE AVE, STE 1600
ORLANDO, FL 32801

UNSECURED                  Claimed:                     $27,708.25
HIXSON UTILITY DISTRICT                          Claim Number: 10360
PO BOX 1598                                      Claim Date: 12/10/2020
HIXSON, TN 37343-5598                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,880.65            Scheduled:              $3,206.70




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 134
Name of proof of claims where to
                                               Case 20-12456-JTD            Doc 876          Filed 01/15/21    Page 241 of 433        Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10361
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RUBY TUESDAY, INC.
NASHVILLE, TN 37203                              Comments: POSSIBLY AMENDED BY 10363
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:               $6,254,005.00     UNLIQ
PRIORITY                   Claimed:               $6,254,005.00     UNLIQ
SECURED                    Claimed:               $3,800,000.00     UNLIQ
UNSECURED                  Claimed:               $2,454,005.00     UNLIQ
TOTAL                      Claimed:               $6,254,005.00     UNLIQ
PEACH TREE LANDSCAPE                             Claim Number: 10362
11849 RIM ROCK TRAIL                             Claim Date: 12/10/2020
AUSTIN, TX 78737                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $607.50
LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10363
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RUBY TUESDAY, INC.
NASHVILLE, TN 37203                              Comments:
                                                 AMENDS CLAIM #10361 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:               $6,254,005.00     UNLIQ
PRIORITY                   Claimed:               $6,254,005.00     UNLIQ
SECURED                    Claimed:               $3,800,000.00     UNLIQ
UNSECURED                  Claimed:               $2,454,005.00     UNLIQ
TOTAL                      Claimed:               $6,254,005.00     UNLIQ
ARMSTRONG, WILLIAM                               Claim Number: 10365
1 AIRPARK WAY                                    Claim Date: 12/10/2020
ONEIDA, TN 37841                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $24,947.28 UNLIQ
UNSECURED                  Claimed:                          $6.35 UNLIQ          Scheduled:                  $24,953.63 UNLIQ DISP




Epiq Bankruptcy Solutions, LLC                                                                                                              Page: 135
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 242 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ZIONS BANCORPORATION NA                          Claim Number: 10366
D/B/A CB&T                                       Claim Date: 12/10/2020
ATTN LEGAL SERVICES, UT ZB11 0877                Debtor: RUBY TUESDAY, INC.
PO BOX 30709
SALT LAKE CITY, UT 84130

UNSECURED                  Claimed:              $10,039,726.03 UNLIQ         Scheduled:        $10,000,000.00 CONT
COLLISON CAPITAL LLC                             Claim Number: 10367
180 S KNOWLES AVE, STE 3                         Claim Date: 12/10/2020
WINTER PARK, FL 32789                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $29,212.50
DIAZ, HECTOR                                     Claim Number: 10373
C/O ABDELLA & SISE LLP                           Claim Date: 12/10/2020
ATTN ROBERT ABDELLA                              Debtor: RUBY TUESDAY, INC.
8 W FULTON ST PO BOX 673
GLOVERSVILLE, NY 12078

UNSECURED                  Claimed:                     $25,000.00
CHENGA REALTY GROUP LLC                          Claim Number: 10374
C/O ISOLA ASSOCIATES ITF                         Claim Date: 12/10/2020
THE LAFAYETTE LIFE INS CO                        Debtor: RUBY TUESDAY, INC.
PO BOX 941483
MAITLAND, FL 32794-0000

UNSECURED                  Claimed:                     $59,895.00            Scheduled:              $1,288.06
PEREAU, JASMINE                                  Claim Number: 10375
3867 ELDRIDGE AVE                                Claim Date: 12/10/2020
ORANGE PARK, FL 32073                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $370.54




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 136
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 243 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF DEERFIELD BEACH                          Claim Number: 10376
150 NE 2ND AVE                                   Claim Date: 12/10/2020
DEERFIELD BEACH, FL 33441                        Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                     $2,371.86
UNSECURED                                                                     Scheduled:              $543.74
WATERFORD UTILITY COMMISSION                     Claim Number: 10377
C/O SUISMAN SHAPIRO                              Claim Date: 12/10/2020
ATTN NICHOLAS KEPPLE, ATTORNEY                   Debtor: RUBY TUESDAY, INC.
PO BOX 1445
PAWCATUCK, CT 06379

PRIORITY                   Claimed:                      $508.97
HYATT, JAMES F II                                Claim Number: 10378
C/O TROUTMAN PEPPER HAMILTON SANDERS LLP         Claim Date: 12/10/2020
ATTN GARY W MARSH                                Debtor: RUBY TUESDAY, INC.
600 PEACHTREE ST NE, STE 3000                    Comments:
ATLANTA, GA 30308                                AMENDS CLAIM #218

UNSECURED                  Claimed:               $1,399,175.00
LYNCH, CHRISTIAN                                 Claim Number: 10379
C/O GUARDIAN/PARENT                              Claim Date: 12/10/2020
465 E MONROE ST                                  Debtor: RUBY TUESDAY, INC.
WYTHEVILLE, VA 24382


PRIORITY                   Claimed:                      $167.47
LYNCH, CHRISTINA                                 Claim Number: 10380
465 E MONROE ST                                  Claim Date: 12/10/2020
WYTHEVILLE, VA 24382                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $263.13




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 137
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 244 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DEASON, PAMALA                                   Claim Number: 10383
110 JAMIE CT                                     Claim Date: 12/10/2020
SHELBYVILLE, TN 37160                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $243.51
MASTROIANNI, DANTE                               Claim Number: 10386
C/O CARLSON & DUNNER LLC                         Claim Date: 12/11/2020
ATTN SCOTT CARLSON, ESQ                          Debtor: RUBY TUESDAY, INC.
85 BROAD ST
MIDDLETOWN, CT 06457

UNSECURED                  Claimed:                       $0.00 UNDET
VITAL RECORDS CONTROL                            Claim Number: 10387
868 MT MORIAH RD                                 Claim Date: 12/11/2020
MEMPHIS, TN 38117                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $468.96
VITAL RECORDS CONTROL                            Claim Number: 10388
868 MT MORIAH RD                                 Claim Date: 12/11/2020
MEMPHIS, TN 38117                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $237.34
ISERN, IAN                                       Claim Number: 10389
9039 HORIZON DR                                  Claim Date: 12/11/2020
SPRING HILL, FL 34608                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $423.36




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 138
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 245 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



1803 PIKES LLC                                   Claim Number: 10390
C/O JONES & WALDEN LLC                           Claim Date: 12/11/2020
699 PIEDMONT AVE NE                              Debtor: RUBY TUESDAY, INC.
ATLANTA, GA 30309


UNSECURED                  Claimed:                 $195,129.63
BURRESS, MATTHEW R                               Claim Number: 10392
205 E MAIN ST, #4                                Claim Date: 12/11/2020
MILTON, WV 25541                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $383.90
HRE FUND III LP                                  Claim Number: 10393
1504 SANTA ROSE RD, STE 100                      Claim Date: 12/11/2020
RICHMOND, VA 23229                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $24,936.15            Scheduled:              $25,018.45
ADAMS, ASHTON                                    Claim Number: 10394
53 CEDARWOOD DR                                  Claim Date: 12/11/2020
OSWEGO, NY 13126                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $1,151.41
TWC SERVICES                                     Claim Number: 10397
PO BOX 1612                                      Claim Date: 12/11/2020
DES MOINES, IA 50306-1612                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $210,982.23               Scheduled:          $194,772.56




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 139
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 246 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



EHRET INC                                        Claim Number: 10398
111 PREMIER DR                                   Claim Date: 12/11/2020
BELLEVILLE, IL 62220                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $993.98              Scheduled:               $208.50
EDWARDS, ALISHA                                  Claim Number: 10399
C/O SCOTT P HOLWITT                              Claim Date: 12/11/2020
5017 WASHINGTON PL, STE 300                      Debtor: RUBY TUESDAY, INC.
SAINT LOUIS, MO 63108


UNSECURED                  Claimed:                 $250,000.00
HALIFAX COUNTY TAX COLLECTOR                     Claim Number: 10400
PO BOX 68                                        Claim Date: 12/11/2020
HALIFAX, NC 27839-0068                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $3,618.12
CITY OF FLORENCE                                 Claim Number: 10402
CITY CENTER                                      Claim Date: 12/11/2020
324 W EVANS ST                                   Debtor: RUBY TUESDAY, INC.
FLORENCE, SC 29501


UNSECURED                  Claimed:                     $6,538.12             Scheduled:              $2,688.00
GRUVER, DOROTHY                                  Claim Number: 10403
C/O PISANCHYN LAW FIRM                           Claim Date: 12/11/2020
ATTN DOUGLAS YAZINSKI                            Debtor: RUBY TUESDAY, INC.
524 SPRUCE ST
SCRANTON, PA 18503

UNSECURED                  Claimed:                        $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 140
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 247 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HIATT, MARK                                      Claim Number: 10405
134 HILLCREST RD                                 Claim Date: 12/11/2020
THOMASVILLE, NC 27360                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,200.00
WOODS, SHEREKA                                   Claim Number: 10407
524 LANDERS ST                                   Claim Date: 12/12/2020
MONROE, GA 30655                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $238.68
CANNON, ALYSSA                                   Claim Number: 10408
540 WOODALL MOUNTAIN RD                          Claim Date: 12/12/2020
PICKENS, SC 29671                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $388.30
LANCE, JONATHAN                                  Claim Number: 10409
2827 FRIENDLY LN, LOT 1                          Claim Date: 12/12/2020
COLUMBIA, SC 29210                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                      $456.21
COX, KYLE                                        Claim Number: 10410
5900 W COUNTY RD 350 N, LOT 10                   Claim Date: 12/12/2020
MUNCIE, IN 47304                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $299.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 141
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 248 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NIXON, KATHRYN                                   Claim Number: 10411
4055 FEIDLER DR                                  Claim Date: 12/13/2020
ERIE, PA 16506                                   Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $500.00
GOUR, ROBERT S                                   Claim Number: 10412
1041 STARBOARD DR                                Claim Date: 12/13/2020
GREENSBORO, GA 30642                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
THOMPSON, CAROL A                                Claim Number: 10413
1041 STARBOARD DR                                Claim Date: 12/13/2020
GREENSBORO, GA 30642                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $72,636.41
THOMPSON, CAROL A                                Claim Number: 10414
1041 STARBOARD DR                                Claim Date: 12/13/2020
GREENSBORO, GA 30642                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $27,321.69
THOMPSON, CAROL A                                Claim Number: 10415
1041 STARBOARD DR                                Claim Date: 12/13/2020
GREENSBORO, GA 30642                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 142
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 249 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



UNIFIRST CORPORATION                             Claim Number: 10417
C/O BECKER                                       Claim Date: 12/13/2020
ATTN YASIN DANESHFAR, ESQ                        Debtor: RUBY TUESDAY, INC.
1 E BROWARD BLVD, 18TH FL
FORT LAUDERDALE, FL 33301

UNSECURED                  Claimed:                 $257,866.02               Scheduled:          $252,777.15
SHERIDAN, NICHOLAS                               Claim Number: 10418
23785 ROULETTE RD, #4A                           Claim Date: 12/13/2020
WAYNESVILLE, MO 65583                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $126.30
WILLINGHAM, ERIK                                 Claim Number: 10419
5 HART ST, APT 2                                 Claim Date: 12/13/2020
TAUNTON, MA 02780                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $588.02
HERRICK, MARK                                    Claim Number: 10427
315 TURNING LEAF DR                              Claim Date: 12/14/2020
HOPKINS, SC 29061                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $391.17
BANKS, ARTHUR                                    Claim Number: 10428
5450 WAVERLY DR                                  Claim Date: 12/14/2020
ATLANTA, GA 30349                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $961.54




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 143
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 250 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MOUNTAINEER GAS COMPANY                          Claim Number: 10429
PO BOX 1003                                      Claim Date: 12/14/2020
CHARLESTON, WV 25324-1003                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,024.23            Scheduled:              $3,493.55
LUTHERCARE                                       Claim Number: 10430
ATTN JENNIFER STRICKLAND                         Claim Date: 12/14/2020
400 ST LUKE DR                                   Debtor: RUBY TUESDAY, INC.
LITITZ, PA 17543


UNSECURED                  Claimed:                     $12,339.64
LITCHKOWSKI, STEVEN M                            Claim Number: 10431
22609 W 61ST ST                                  Claim Date: 12/14/2020
SHAWNEE, KS 66226                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $7,173.86 UNLIQ
LITCHKOWSKI, STEVEN M                            Claim Number: 10432
22609 W 61ST ST                                  Claim Date: 12/14/2020
SHAWNEE, KS 66226                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $102,501.86 UNLIQ
DOMINION ENERGY SOUTH CAROLINA                   Claim Number: 10434
220 OPERATIONS WAY, MC C222                      Claim Date: 12/14/2020
CAYEE, SC 29033                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $3,532.13




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 144
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 251 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LITCHKOWSKI, STEVEN M                            Claim Number: 10435
22609 W 61ST ST                                  Claim Date: 12/14/2020
SHAWNEE, KS 66226                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                        $0.00 UNDET
GW INVESTMENTS LLC                               Claim Number: 10437
C/O FAFINSKI MARK & JOHNSON PA                   Claim Date: 12/14/2020
ATTN LORIE A KLEIN                               Debtor: RUBY TUESDAY, INC.
775 PRAIRIE CENTER DR, STE 400
EDEN PRAIRIE, MN 55344

UNSECURED                  Claimed:                 $328,432.62
HICKMAN, AMANDA                                  Claim Number: 10438
1051 CHERRY GROVE RD                             Claim Date: 12/14/2020
MORAVIAN FALLS, NC 28654                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $467.35
OLMSTEAD, DANA                                   Claim Number: 10439
234 RICEVILLE RD                                 Claim Date: 12/14/2020
GLOVERSVILLE, NY 12078                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $271.19
BURKHART, FAE                                    Claim Number: 10441
1118 WHITEHALL ST                                Claim Date: 12/14/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $3,025.00
UNSECURED                  Claimed:                     $1,975.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 145
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 252 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CANAL STREET PROPERTIES INC                      Claim Number: 10442
C/O CHARLES P SUMMERALL IV                       Claim Date: 12/14/2020
66 HASELL ST                                     Debtor: RUBY TUESDAY, INC.
CHARLESTON, SC 29401


UNSECURED                  Claimed:                      $1,431.32 UNLIQ      Scheduled:              $1,431.32
BROOKWOODY LLC                                   Claim Number: 10443
C/O WHITEFORD TAYLOR & PRESTON LLC               Claim Date: 12/14/2020
ATTN STEPHEN B GERALD                            Debtor: RUBY TUESDAY, INC.
405 N KING ST, STE 500
WILMINGTON, DE 19801

UNSECURED                  Claimed:                     $94,292.76            Scheduled:              $2,750.89
ANDREW'S REFRIGERATION INC                       Claim Number: 10444
ATTN JON PHILLIPS                                Claim Date: 12/14/2020
5614 E HILLERY DR                                Debtor: RUBY TUESDAY, INC.
SCOTTSDALE, AZ 85254


UNSECURED                  Claimed:                      $3,491.22            Scheduled:              $3,491.22
SCHRAMPF, MATTHEW                                Claim Number: 10445
702 N VAN BUREN ST                               Claim Date: 12/14/2020
LITCHFIELD, IL 62056                             Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 10446

PRIORITY                   Claimed:                        $72.48
SCHRAMPF, MATTHEW                                Claim Number: 10446
702 N VAN BUREN ST                               Claim Date: 12/14/2020
LITCHFIELD, IL 62056                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 10445


PRIORITY                   Claimed:                        $72.48




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 146
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21    Page 253 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CINTAS CORPORATION                               Claim Number: 10447
C/O KEATING MUETHING & KLEKAMP PLL               Claim Date: 12/14/2020
ATTN JASON V STITT                               Debtor: RUBY TUESDAY, INC.
ONE E 4TH ST, STE 1400
CINCINNATI, OH 45202

UNSECURED                  Claimed:                 $121,467.42
COLE, DOY L                                      Claim Number: 10448
13113 SUMMER LAKE WAY                            Claim Date: 12/14/2020
CLAIRMONT, FL 34711                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $10,370.51
INGLEWOOD RESTAURANT PARK ASSC                   Claim Number: 10449
9640 LOTTSFORD CT                                Claim Date: 12/14/2020
LARGO, MD 20774-0000                             Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                     $17,929.35
UNSECURED                                                                     Scheduled:              $13,477.50
COLE, DOY L                                      Claim Number: 10450
13113 SUMMER LAKE WAY                            Claim Date: 12/14/2020
CLERMONT, FL 34711                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $38,445.34 UNLIQ
MARTIN, REBECCA M                                Claim Number: 10452
609 TIPS WAY                                     Claim Date: 12/14/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $14,273.93 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 147
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 254 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PECO ENERGY COMPANY                              Claim Number: 10453
C/O EXELON BUSINESS SERVICES COMPANY             Claim Date: 12/14/2020
ATTN LYNN R ZACK                                 Debtor: RUBY TUESDAY, INC.
2301 MARKET ST, #S23-1
PHILADELPHIA, PA 19103

UNSECURED                  Claimed:                      $4,293.73
GREEN, WILLIE                                    Claim Number: 10454
6518-D DORCHESTER RD                             Claim Date: 12/14/2020
NORTH CHARLESTON, SC 29418                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $40,000.00 UNLIQ
TUCKER, KATHERINE                                Claim Number: 10456
935 KRAFT RD                                     Claim Date: 12/14/2020
RINEYVILLE, KY 40162                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $221.73
FULLER, MYRTLE L                                 Claim Number: 10457
139 WILSON RD                                    Claim Date: 12/14/2020
EASLEY, SC 29642-9149                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $62,380.35
NATES, BETTY H                                   Claim Number: 10458
2813 DUBARD ST                                   Claim Date: 12/14/2020
COLUMBIA, SC 29204                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $12,583.53




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 148
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 255 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MONTAGE LANDSCAPING INC                          Claim Number: 10459
714 CONNELL ST                                   Claim Date: 12/14/2020
SCRANTON, PA 18505                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,200.00             Scheduled:              $1,200.00
DEMAR, AMBER                                     Claim Number: 10460
111 E 3RD ST                                     Claim Date: 12/14/2020
OSWEGO, NY 13126                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $183.68
CLARK, MYRA C                                    Claim Number: 10461
C/O GENTRY TIPTON & MCLEMORE PC                  Claim Date: 12/14/2020
ATTN MAURICE K GUINN, ESQ                        Debtor: RUBY TUESDAY, INC.
900 S GAY ST, STE 2300
KNOXVILLE, TN 37902

UNSECURED                  Claimed:                 $219,294.13
WINNING, DANIELLE M                              Claim Number: 10462
4256 STATE HWY 30                                Claim Date: 12/15/2020
AMSTERDAM, NY 12010                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $117.08
JACKSON, MICHELLE                                Claim Number: 10463
C/O CHRISTOPHER ABREGO                           Claim Date: 12/15/2020
1040 CROWN POINTE PKWY, STE 800                  Debtor: RUBY TUESDAY, INC.
ATLANTA, GA 30338


UNSECURED                  Claimed:                 $100,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 149
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 256 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CAMBRIDGE CROSSING SHOPPING CENTER LLC           Claim Number: 10464
C/O JEREMY P BYRNE                               Claim Date: 12/15/2020
ONE FINANCIAL PLAZA, STE 1700                    Debtor: RUBY TUESDAY, INC.
HARTFORD, CT 06103


UNSECURED                  Claimed:                      $2,096.51                 Scheduled:                 $3,655.33
CLEGHORN, NICOLE                                 Claim Number: 10465
2907 VERN DR                                     Claim Date: 12/15/2020
JACKSONVILLE, FL 32233                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
NASHVILLE ELECTRIC SERVICE                       Claim Number: 10466
1214 CHURCH ST                                   Claim Date: 12/15/2020
NASHVILLE, TN 37246                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $12,376.92
ALCORN COUNTY, MISSISSIPPI                       Claim Number: 10467
PO BOX 190                                       Claim Date: 12/15/2020
CORINTH, MS 38835                                Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $5,273.80
SECURED                    Claimed:                      $5,273.80
TOTAL                      Claimed:                      $5,273.80
DEVAUGHN, JASON                                  Claim Number: 10468
3308 FORETTE LANE                                Claim Date: 12/15/2020
LITHONIA, GA 30038                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $412.92




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 150
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 257 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



QUANTUM XIV DEVELOPMENTS (USA) INC               Claim Number: 10470
C/O BRINKLEY MORGAN                              Claim Date: 12/15/2020
ATTN MARK A LEVY                                 Debtor: RUBY TUESDAY, INC.
100 SE THIRD AVE, 23RD FL
FORT LAUDERDALE, FL 33394

UNSECURED                  Claimed:                 $428,612.19
530 DONELSON LLC                                 Claim Number: 10471
906 HARPETH VALLEY PLACE                         Claim Date: 12/15/2020
NASHVILLE, TN 37221                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $21,258.71            Scheduled:               $1,705.62
WINCHESTER RT LLC                                Claim Number: 10476
C/O PRIORITY PROP MGMT                           Claim Date: 12/15/2020
ATTN ROY BROOKS                                  Debtor: RUBY TUESDAY, INC.
40 W WASHINGTON ST, STE 101
HARRISNONBURG, VA 22802

UNSECURED                  Claimed:                 $101,171.46               Scheduled:              $86,548.65
NOLIN RURAL ELEC COOP CORP                       Claim Number: 10477
411 RING RD                                      Claim Date: 12/15/2020
ELIZABETHTOWN, KY 42701-6767                     Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                      $2,053.74
MCCAULEY, CLAY                                   Claim Number: 10480
64282 WARNE DR                                   Claim Date: 12/15/2020
CAMBRIDGE, OH 43725                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $567.54




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 151
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 258 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CORDOVA, ADAM                                    Claim Number: 10483
2242 LARKMOOR ST                                 Claim Date: 12/15/2020
LORAIN, OH 44052                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $0.00 UNDET
JT REALTY 3150 LLC                               Claim Number: 10484
ATTN JOSEPH TOMLINSON                            Claim Date: 12/15/2020
PO BOX 67                                        Debtor: RUBY TUESDAY, INC.
MATHEWS, VA 23109


UNSECURED                  Claimed:                 $270,572.76
MEEKER FAMILY LP                                 Claim Number: 10485
C/O ALLEN MATKINS LECK, ET AL                    Claim Date: 12/15/2020
ATTN MICHAEL S GREGER, ESQ                       Debtor: RUBY TUESDAY, INC.
1900 MAIN ST, FIFTH FL
IRVINE, CA 92614

UNSECURED                  Claimed:                 $285,654.22
4A GROUP INC, THE                                Claim Number: 10486
PO BOX 120291                                    Claim Date: 12/15/2020
NEWPORT NEWS, VA 23612                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $415.00               Scheduled:              $415.00
MEEKER, WILLIAM V                                Claim Number: 10487
C/O ALLEN MATKINS LECK, ET AL                    Claim Date: 12/15/2020
ATTN MICHAEL S GREGER                            Debtor: RUBY TUESDAY, INC.
1900 MAIN ST, FIFTH FL
IRVINE, CA 92614

UNSECURED                  Claimed:                 $306,017.88




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 152
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 259 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MEEKER, WILLIAM V                                Claim Number: 10488
C/O ALLEN MATKINS LECK, ET AL                    Claim Date: 12/15/2020
ATTN MICHAEL S GREGER                            Debtor: RUBY TUESDAY, INC.
1900 MAIN ST, FIFTH FL
IRVINE, CA 92614

UNSECURED                  Claimed:                 $315,375.79
SHARP, MACK ANTHONY                              Claim Number: 10491
717 N CENTRAL ST                                 Claim Date: 12/15/2020
KNOXVILLE, TN 37871                              Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLY AMENDED BY 10528


UNSECURED                  Claimed:                     $2,928.00
CITY OF PALM COAST                               Claim Number: 10492
160 LAKE AVE                                     Claim Date: 12/15/2020
PALM COAST, FL 32164                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,012.08
WICKER SMITH O'HARA MCCOY & FORD PA              Claim Number: 10494
2800 PONCE DE LEON BLVD, STE 800                 Claim Date: 12/15/2020
CORAL GABLES, FL 33134                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $6,639.00             Scheduled:                $1,137.50
CITY OF LIMA UTILITIES                           Claim Number: 10495
ATTN LAW DEPARTMENT                              Claim Date: 12/15/2020
202 E HIGH ST, 2ND FL                            Debtor: RUBY TUESDAY, INC.
LIMA, OH 45801


UNSECURED                  Claimed:                      $536.58              Scheduled:                 $536.58




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 153
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 260 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SARAGO, FRANKIE                                  Claim Number: 10497
1327 FRENCH RD, APT 1                            Claim Date: 12/15/2020
DEPEW, NY 14043                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $877.46
C MARCHAND, AS CLASS REPRESENTATIVE              Claim Number: 10498
C/O RICHARD HAYBER                               Claim Date: 12/15/2020
750 MAIN ST, STE 904                             Debtor: RUBY TUESDAY, INC.
HARTFORD, CT 06103


UNSECURED                  Claimed:               $1,266,905.13 UNLIQ
DAVIE PLAZA LLC                                  Claim Number: 10500
C/O WARREN & GRANT PA                            Claim Date: 12/15/2020
4800 N FEDERAL HWY, STE A-205                    Debtor: RUBY TUESDAY, INC.
BOCA RATON, FL 33431


UNSECURED                  Claimed:                 $144,021.56
WOOD, JESSE                                      Claim Number: 10501
108 NORTHAMPTON RD, #8D                          Claim Date: 12/15/2020
AMSTERDAM, NY 12010                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $147.39
PUBLIC SERVICE COMPANY OF NORTH CAROLINA         Claim Number: 10505
220 OPERATION WAY, MAIL CODE C222                Claim Date: 12/15/2020
CAYCE, SC 29033                                  Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                     $2,655.50
UNSECURED                  Claimed:                     $2,841.93




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 154
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 261 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SAFETY NATIONAL CASUALTY CORPORATION             Claim Number: 10506
C/O MARSHALL C TURNER                            Claim Date: 12/15/2020
190 CARONDELET PLAZA, STE 600                    Debtor: RUBY TUESDAY, INC.
SAINT LOUIS, MO 63105


UNSECURED                  Claimed:                         $0.00 UNDET
HUCKABY, TIMOTHY                                 Claim Number: 10508
C/O MORGAN & MORGAN                              Claim Date: 12/15/2020
ATTN MICHAEL L CANTRELL                          Debtor: RUBY TUESDAY, INC.
201 N FRANKLIN ST, 7TH FL
TAMPA, FL 33602

UNSECURED                  Claimed:                         $0.00 UNDET
RIVERA, JORGE                                    Claim Number: 10509
243 W 6TH ST                                     Claim Date: 12/15/2020
OSWEGO, NY 13126                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $718.21
OLD BRIDGE PROPERTIES II LLC                     Claim Number: 10510
C/O K&L GATES LLP                                Claim Date: 12/15/2020
ATTN BENJAMIN I RUBINSTEIN                       Debtor: RUBY TUESDAY, INC.
ONE NEWARK CENTER, 10TH FL
NEWARK, NJ 07102

UNSECURED                  Claimed:                 $855,303.54
WENNE LLC                                        Claim Number: 10511
ATTN GEORGE SHU                                  Claim Date: 12/15/2020
135-27 38TH AVE, 2ND FL                          Debtor: RUBY TUESDAY, INC.
FLUSHING, NY 11354                               Comments: POSSIBLE DUPLICATE OF 10314


PRIORITY                   Claimed:                     $35,538.35
UNSECURED                  Claimed:                     $93,704.56




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 155
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 262 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



VERNIS BOWLING OF AMERICA LLC                    Claim Number: 10512
1680 NE 135TH ST                                 Claim Date: 12/15/2020
MIAMI, FL 33181                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $16,818.27            Scheduled:              $14,544.77
SANDUSKY MALL COMPANY                            Claim Number: 10513
5577 YOUNGSTOWN-WARREN RD                        Claim Date: 12/15/2020
NILES, OH 44446                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $99,674.69
HUNTINGTON MALL COMPANY                          Claim Number: 10514
5577 YOUNGSTOWN-WARREN RD                        Claim Date: 12/15/2020
NILES, OH 44446                                  Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $102,456.83               Scheduled:          $106,137.41
AXIOTIS, MOLLY                                   Claim Number: 10515
C/O ELIZABETH A BERNARD LLC                      Claim Date: 12/15/2020
ATTN ELIZABETH BERNARD                           Debtor: RUBY TUESDAY, INC.
4137 BOARDMAN-CANFIELD RD, STE 105A
CANFIELD, OH 44406

UNSECURED                  Claimed:                         $0.00 UNDET
JUPITER'S JOURNEY LLC                            Claim Number: 10516
C/O SAUL EWING ARNSTEIN & LEHR LLP               Claim Date: 12/15/2020
ATTN RICHARD A FORSTEN, ESQ                      Debtor: RUBY TUESDAY, INC.
1201 N MARKET ST, STE 2300; PO BOX 1266
WILMINGTON, DE 19899

UNSECURED                  Claimed:                 $389,632.24




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 156
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 263 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HARRIS, G L "BUCK"                               Claim Number: 10517
C/O PADFIELD & STOUT LLP                         Claim Date: 12/15/2020
420 THROCKMORTON ST, STE 1210                    Debtor: RUBY TUESDAY, INC.
FORT WORTH, TX 76102


UNSECURED                  Claimed:                 $426,064.69
DAVIS, JAMES                                     Claim Number: 10518
C/O RICHARDSON GARDNER & ALEXANDER               Claim Date: 12/15/2020
ATTN BOBBY RICHARDSON                            Debtor: RUBY TUESDAY, INC.
117 E WASHINGTON ST
GLASGOW, KY 42141

UNSECURED                  Claimed:                         $0.00 UNDET
HAWTHORNE CENTRE ASSOCIATES                      Claim Number: 10519
C/O BURKWOOD ASSOCIATES                          Claim Date: 12/15/2020
255 BUTLER AVE, STE 203                          Debtor: RUBY TUESDAY, INC.
LANCASTER, PA 17601


UNSECURED                  Claimed:                 $101,911.68
HAWTHORNE CENTRE ASSOCIATES                      Claim Number: 10520
C/O BURKWOOD ASSOCIATES                          Claim Date: 12/15/2020
255 BUTLER AVE, STE 203                          Debtor: RUBY TUESDAY, INC.
LANCASTER, PA 17601


UNSECURED                  Claimed:                     $52,873.53
BENGE, DUSTIN                                    Claim Number: 10521
2823 WILTON RD                                   Claim Date: 12/15/2020
WEST COLUMBIA, SC 29170                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $331.13




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 157
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21    Page 264 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COMMONWEALTH TOWER LP                            Claim Number: 10522
C/O ANDREW B SCHULWOLF, ESQ                      Claim Date: 12/15/2020
110 N WASHINGTON ST, STE 300                     Debtor: RUBY TUESDAY, INC.
ROCKVILLE, MD 20850                              Comments:
                                                 DUPLICATE OF CLAIM # 10809

UNSECURED                  Claimed:                 $324,336.97
ZYLA VALUATION ADVISORS LLC                      Claim Number: 10523
675 PONCE DE LEON AVE, STE 8500                  Claim Date: 12/15/2020
ATLANTA, GA 30308                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $101,038.75
COMMONWEALTH TOWER LP                            Claim Number: 10524
C/O ANDREW B SCHULWOLF, ESQ                      Claim Date: 12/15/2020
110 N WASHINGTON ST, STE 300                     Debtor: RUBY TUESDAY, INC.
ROCKVILLE, MD 20850                              Comments:
                                                 DUPLICATE OF CLAIM # 10811

UNSECURED                  Claimed:                     $66,588.15
LANE VALENTE INDUSTRIES                          Claim Number: 10525
98 MAPLE AVE                                     Claim Date: 12/15/2020
SMITHTOWN, NY 11787                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $41,301.56            Scheduled:              $38,927.76
ABE LAWN CARE AND LANDSCAPING                    Claim Number: 10527
50 SAINT AURICS DR                               Claim Date: 12/15/2020
SUWANEE, GA 30024                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,860.00 UNLIQ      Scheduled:               $1,860.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 158
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21   Page 265 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SHARP, MACK                                      Claim Number: 10528
2432 HWY 25-70 W                                 Claim Date: 12/15/2020
STRAWBERRY PLAINS, TN 37871                      Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #10491

UNSECURED                  Claimed:                     $15,000.00
DRYJOWICZ, JAIME F                               Claim Number: 10529
30 OAKHILL AVE                                   Claim Date: 12/15/2020
ATTLEBORO, MA 02703                              Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLY AMENDED BY 10532


UNSECURED                  Claimed:                     $29,195.14 UNLIQ
DRYJOWICZ, JAIME                                 Claim Number: 10530
30 OAKHILL AVE                                   Claim Date: 12/15/2020
ATTLEBORO, MA 02703                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $1,781.20
BOONE, DARREN                                    Claim Number: 10531
2823 WILTON RD                                   Claim Date: 12/15/2020
WEST COLUMBIA, SC 29170                          Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $337.37
DRYJOWICZ, JAIME F                               Claim Number: 10532
30 OAKHILL AVE                                   Claim Date: 12/15/2020
ATTLEBORO, MA 02703                              Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #10529

UNSECURED                  Claimed:                     $29,195.14 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 159
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 266 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LAKEFOREST RETAIL INVESTMENT LLC                 Claim Number: 10533
C/O NQGRG                                        Claim Date: 12/15/2020
ATTN DIANE C BRISTOW, ESQ                        Debtor: RUBY TUESDAY, INC.
1 SOUTH ST, 27TH FL
BALTIMORE, MD 21202

UNSECURED                  Claimed:                     $14,548.35
HAYES, CARL                                      Claim Number: 10534
67 E ALBANY ST, APT 1                            Claim Date: 12/16/2020
OSWEGO, NY 13126                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $334.75
MASSE, LOIS & ARTHUR                             Claim Number: 10535
C/O DAVID M KLAUDER, ESQ                         Claim Date: 12/16/2020
1204 N KING ST                                   Debtor: RUBY TUESDAY, INC.
WILMINGTON, DE 19801                             Comments:
                                                 AMENDS CLAIM #122

UNSECURED                  Claimed:                 $850,000.00 UNLIQ
MAYFAIRE I LLC                                   Claim Number: 10536
C/O CALEB T HOLZAEPFEL                           Claim Date: 12/16/2020
736 GEORGIA AVE, STE 300                         Debtor: RUBY TUESDAY, INC.
CHATTANOOGA, TN 37402


ADMINISTRATIVE             Claimed:                     $22,998.39
UNSECURED                  Claimed:                     $50,755.08
KEW RAY LLC                                      Claim Number: 10539
1640 MONTCLIFF DR                                Claim Date: 12/16/2020
CUMMING, GA 30041                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $315,159.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 160
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 267 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MIDDLETOWN COMMONS LLC                           Claim Number: 10542
C/O CHARLES D CANTERA & ASSOCIATES               Claim Date: 12/16/2020
ATTN LESLIE M DRAKE, VP                          Debtor: RUBY TUESDAY, INC.
2301 N DUPONT HWY
NEW CASTLE, DE 19720

UNSECURED                  Claimed:                     $5,659.15
MILL CREEK VILLAGE INC                           Claim Number: 10543
109 BULLOCK BLVD                                 Claim Date: 12/16/2020
NICEVILLE, FL 32578                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,236.00             Scheduled:              $1,343.87
VORYS SATER SEYMOUR AND PEASE LLP                Claim Number: 10544
ATTN THOMAS J LOEB                               Claim Date: 12/16/2020
52 E GAY ST                                      Debtor: RUBY TUESDAY, INC.
COLUMBUS, OH 43215


UNSECURED                  Claimed:                     $3,628.90
EMPLOYMENT SCREENING SERVICES INC                Claim Number: 10545
2700 CORPORATE DR, STE 100                       Claim Date: 12/16/2020
BIRMINGHAM, AL 35242                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $4,105.00             Scheduled:              $3,127.50
HB NITKIN GROUP, THE                             Claim Number: 10546
230 MASON ST                                     Claim Date: 12/16/2020
GREENWICH, CT 06830                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $39,501.22 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 161
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 268 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NAFFAH INVESTMENTS LLC                           Claim Number: 10547
62 OAK TREE DR                                   Claim Date: 12/16/2020
CANFIELD, OH 44406                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $51,917.72
SMITH, JONI FAYE                                 Claim Number: 10550
2073 KINGSBORO RD                                Claim Date: 12/16/2020
ROCKY MOUNT, NC 27801                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
COMPASS GROUP USA INC                            Claim Number: 10551
C/O MCGUIREWOODS LLP                             Claim Date: 12/16/2020
ATTN SCOTT VAUGHN                                Debtor: RUBY TUESDAY, INC.
201 N TRYON ST, STE 3000
CHARLOTTE, NC 28202

UNSECURED                  Claimed:                         $0.00 CONT
COMCAST BUSINESS COMMUNICATIONS LLC              Claim Number: 10552
C/O BALLARD SPAHR LLP                            Claim Date: 12/16/2020
ATTN MATTHEW G SUMMERS                           Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                     $70,005.91 UNLIQ
BECK, JEFF                                       Claim Number: 10553
4104 CARY ST RD, APT 4                           Claim Date: 12/16/2020
RICHMOND, VA 23221                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $150.95




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 162
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 269 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DELLAMAGGIORE, EUGENE D JR                       Claim Number: 10554
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 12/16/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RUBY TUESDAY, INC.
PO BOX 11889
COLUMBIA, SC 29211

UNSECURED                  Claimed:                 $273,283.02
MJK LLC                                          Claim Number: 10555
1201 N PETERSON AVE                              Claim Date: 12/16/2020
DOUGLAS, GA 31533                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $16,919.00            Scheduled:              $14,969.81
LENOX OUTDOOR & ADVERTISING LLC                  Claim Number: 10556
C/O ROBL LAW GROUP LLC                           Claim Date: 12/16/2020
ATTN MICHAEL D ROBL, ESQ                         Debtor: RUBY TUESDAY, INC.
3754 LAVISTA RD, STE 250
TUCKER, GA 30084

UNSECURED                  Claimed:                 $869,467.42
KNOX, DORIS                                      Claim Number: 10557
C/O THE LAW FIRM OF ADA G VICUNA PLLC            Claim Date: 12/16/2020
PO BOX 681806                                    Debtor: RUBY TUESDAY, INC.
CHARLOTTE, NC 28216


UNSECURED                  Claimed:                 $341,809.30 UNLIQ
BLESSEL, JESSICA                                 Claim Number: 10558
229 BATEMAN LN                                   Claim Date: 12/16/2020
LOUDON, TN 37774                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $356.83




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 163
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 270 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



EGLY, KILA                                       Claim Number: 10559
7609 ROCK CREEK RD                               Claim Date: 12/16/2020
TULLAHOMA, TN 37388                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $394.90             Scheduled:              $394.90
SPEARS, THOMAS W AND SANDRA B                    Claim Number: 10560
C/O CHRISTOPHER CONNER, ESQ                      Claim Date: 12/16/2020
250 HIGH ST                                      Debtor: RUBY TUESDAY, INC.
PO BOX 5059
MARYVILLE, TN 37802

UNSECURED                  Claimed:                      $4,658.50
APPLE EIGHT SPE SOMERSET INC                     Claim Number: 10561
C/O MCGUIRE WOODS LLP                            Claim Date: 12/16/2020
ATTN JOHN H MADDOCK III                          Debtor: RUBY TUESDAY, INC.
GATEWAY PLAZA, 800 E CANAL ST
RICHMOND, VA 23219

UNSECURED                  Claimed:                     $50,605.47
NORTH HAVEN HOLDINGS LIMITED PARTNERSHIP         Claim Number: 10562
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                     $89,142.24 UNLIQ
ARRUMP LLC                                       Claim Number: 10563
D/B/A ROY ROGERS                                 Claim Date: 12/16/2020
ATTN EDWARD D ALTABET, ESQ                       Debtor: RUBY TUESDAY, INC.
55 BROADWAY, STE 901
NEW YORK, NY 10006

UNSECURED                  Claimed:                 $334,546.26 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 164
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 271 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COHN BIRNBAUM & SHEA PC                          Claim Number: 10564
100 PEARL ST, 12TH FL                            Claim Date: 12/16/2020
HARTFORD, CT 06103                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $3,415.84
NORTH HAVEN HOLDINGS LIMITED PARTNERSHIP         Claim Number: 10565
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

ADMINISTRATIVE             Claimed:                         $0.00 UNDET
CITY OF CONCORD                                  Claim Number: 10566
35 CABARRUS AVE W                                Claim Date: 12/16/2020
CONCORD, NC 28025                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $3,122.19             Scheduled:              $481.54
NORTH HAVEN HOLDINGS LIMITED PARTNERSHIP         Claim Number: 10567
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                 $255,452.97 UNLIQ
RED BARON PROPERTY RESOURCES LP                  Claim Number: 10568
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                     $80,001.49 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 165
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 272 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RED BARON PROPERTY RESOURCES LP                  Claim Number: 10570
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

ADMINISTRATIVE             Claimed:                         $0.00 UNDET
RED BARON PROPERTY RESOURCES LP                  Claim Number: 10571
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                 $245,028.80 UNLIQ
ALDRED, NICOLE                                   Claim Number: 10572
5023 LONG SHADOW CT                              Claim Date: 12/16/2020
MIDLOTHIAN, VA 23112                             Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                      Scheduled:              $343.40
UNSECURED                  Claimed:                       $343.40
NATIONAL LAND RESOURCES LP                       Claim Number: 10573
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                     $51,135.13 UNLIQ
NATIONAL LAND RESOURCES LP                       Claim Number: 10575
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

ADMINISTRATIVE             Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 166
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 273 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GOLD SQUARE PA LLC                       Claim Number: 10576
C/O MCELROY DEUTSCH MULVANEY & CARPENTER Claim Date: 12/16/2020
ATTN JEFFREY BERNSTEIN, ESQ              Debtor: RUBY TUESDAY, INC.
570 BROAD ST, 15TH FL
NEWARK, NJ 07102

ADMINISTRATIVE             Claimed:                     $98,634.60
UNSECURED                                                                     Scheduled:              $3,082.33
NATIONAL LAND RESOURCES LP                       Claim Number: 10577
C/O BARCLAY DAMON LLP                            Claim Date: 12/16/2020
ATTN SCOTT L FLEISCHER                           Debtor: RUBY TUESDAY, INC.
1270 AVENUE OF THE AMERICAS, STE 501
NEW YORK, NY 10020

UNSECURED                  Claimed:                 $117,130.00 UNLIQ
TOWNCENTER LLC                                   Claim Number: 10579
C/O ROSEN HARWOOD PA                             Claim Date: 12/16/2020
ATTN JILLIAN L GUIN WHITE                        Debtor: RUBY TUESDAY, INC.
2200 JACK WARNER PKWY, STE 200
TUSCALOOSA, AL 35401

UNSECURED                  Claimed:                     $94,098.47
SYCAMORE SPRINGS LLC                             Claim Number: 10580
C/O RANDALL F SCHERCK, ESQ                       Claim Date: 12/16/2020
10 S BROADWAY, STE 2000                          Debtor: RUBY TUESDAY, INC.
SAINT LOUIS, MO 63102


UNSECURED                  Claimed:                     $77,785.59
SOPER, PAUL F                                    Claim Number: 10583
2323 21ST AVE S, STE 502                         Claim Date: 12/16/2020
NASHVILLE, TN 37212                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $258,944.19




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 167
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 274 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PBM CAPE CORAL RT LLC                            Claim Number: 10585
C/O WADE MCK HAMPTON, ESQ                        Claim Date: 12/16/2020
4348 SOUTHPOINT BLVD, STE 101                    Debtor: RUBY TUESDAY, INC.
JACKSONVILLE, FL 32216


UNSECURED                  Claimed:                 $129,774.00
FEENEY, JESSE                                    Claim Number: 10586
4329 DANOR DR                                    Claim Date: 12/16/2020
READING, PA 19605                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $513.69
CRISAFULLI, KIARA                                Claim Number: 10587
96 HAMILTON ST, APT 24D                          Claim Date: 12/16/2020
OSWEGO, NY 13126                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $900.00
93 NYRPT LLC                                     Claim Number: 10588
C/O KEN LABENSKI                                 Claim Date: 12/16/2020
570 DELAWARE AVE                                 Debtor: RUBY TUESDAY, INC.
BUFFALO, NY 14202


UNSECURED                  Claimed:                 $232,544.63                 Scheduled:              $68,988.78
AETNA LIFE INSURANCE CO                          Claim Number: 10589
C/O MCGUIREWOODS LLP                             Claim Date: 12/16/2020
ATTN AARON MCCOLLOUGH                            Debtor: RUBY TUESDAY, INC.
77 W WACKER DR, STE 4100
CHICAGO, IL 60601

UNSECURED                  Claimed:                     $44,029.00 UNLIQ CONT




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 168
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 275 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SONORAN ENVIRONMENTS                             Claim Number: 10590
ATTN LANDSCAPE AND MAINTENANCE                   Claim Date: 12/16/2020
7807 E GREEWAY RD, STE 7B                        Debtor: RUBY TUESDAY, INC.
SCOTTSDALE, AZ 85260                             Comments:
                                                 CROSS-CASE DUPLCIAE OF CLAIM # 10595, 10607

UNSECURED                  Claimed:                     $1,667.52             Scheduled:                $1,667.52
WILKINSON NESHAMINY INVESTMENTS LP               Claim Number: 10591
C/O WILKINSON DEVELOPMENT CORP                   Claim Date: 12/16/2020
ATTN RICHARD W WILKINSON, PRESIDENT              Debtor: RUBY TUESDAY, INC.
106 COMMERCE ST, STE 110                         Comments: POSSIBLE DUPLICATE OF 538
LAKE MARY, FL 32746

UNSECURED                  Claimed:                 $196,390.83
WILKINSON LANGHORNE LP                           Claim Number: 10592
C/O WILKINSON DEVELOPMENT CORP                   Claim Date: 12/16/2020
ATTN RICHARD W WILKINSON, PRESIDENT              Debtor: RUBY TUESDAY, INC.
106 COMMERCE ST, STE 110                         Comments: POSSIBLE DUPLICATE OF 537
LAKE MARY, FL 32746

UNSECURED                  Claimed:                 $182,674.98 UNLIQ
ARLINGTON CAPITAL ADVISORS LLC                   Claim Number: 10597
C/O BRADLEY ARANT BOULT CUMMINGS                 Claim Date: 12/16/2020
ATTN ANDREW SHAVER                               Debtor: RUBY TUESDAY, INC.
1819 FIFTH AVE N, #200
BIRMINGHAM, AL 35203

UNSECURED                  Claimed:                     $8,722.59
WILLIAMSON, DEBBIE                               Claim Number: 10599
2211 RIDGECREST DR                               Claim Date: 12/16/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $4,227.04




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 169
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 276 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DIRECT ENERGY BUSINESS LLC                       Claim Number: 10601
C/O MCDOWELL HETHERINGTON LLP                    Claim Date: 12/16/2020
ATTN NICOLE SU                                   Debtor: RUBY TUESDAY, INC.
1001 FANNIN ST, STE 2700
HOUSTON, TX 77002

ADMINISTRATIVE             Claimed:                     $29,047.04
UNSECURED                  Claimed:                     $83,454.10            Scheduled:            $116,760.37
LISBON LANDING LLC                               Claim Number: 10602
C/O GOULSTON & STORRS PC                         Claim Date: 12/16/2020
ATTN TREVOR HOFFMANN                             Debtor: RUBY TUESDAY, INC.
885 THIRD AVE, 18TH FL
NEW YORK, NY 10022

ADMINISTRATIVE             Claimed:                      $9,647.18
UNSECURED                  Claimed:                     $95,465.72            Scheduled:                $77,374.12
INTERSTATE AUGUSTA PROPERTIES LLC                Claim Number: 10608
C/O GOULSTON & STORRS PC                         Claim Date: 12/16/2020
ATTN TREVOR HOFFMANN                             Debtor: RUBY TUESDAY, INC.
885 THIRD AVE, 18TH FL
NEW YORK, NY 10022

UNSECURED                  Claimed:                 $413,769.78
MARDOS, ASHLEY                                   Claim Number: 10611
509 NINTH AVE                                    Claim Date: 12/16/2020
EAST NORTHPORT, NY 11731                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $1,346.25
BEER, BRUCE S                                    Claim Number: 10612
65 BROWNING TER                                  Claim Date: 12/16/2020
OLD BRIDGE, NJ 08857                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLY AMENDED BY 10709


UNSECURED                  Claimed:                     $47,243.71




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 170
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 277 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



FOWLER, LOGAN                                    Claim Number: 10613
126A COUNTY RD 147                               Claim Date: 12/16/2020
RICEVILLE, TN 37370                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $485.10 UNLIQ
CASTRO, TINA M                                   Claim Number: 10614
C/O M AARON SPENCER, ESQ                         Claim Date: 12/16/2020
900 S GAY ST, STE 900                            Debtor: RUBY TUESDAY, INC.
KNOXVILLE, TN 37902


UNSECURED                  Claimed:                     $59,855.93
BIRMINGHAM, STANLEY                              Claim Number: 10615
501 FRENCH ST                                    Claim Date: 12/16/2020
PARISH, NY 13131                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $537.10
HIGHWAY HOST INC                                 Claim Number: 10616
C/O M AARON SPENCER, ESQ                         Claim Date: 12/16/2020
900 S GAY ST, STE 900                            Debtor: RUBY TUESDAY, INC.
KNOXVILLE, TN 37902


UNSECURED                  Claimed:                 $397,294.30
BERG, MATRACIA                                   Claim Number: 10618
45915 RD 787                                     Claim Date: 12/17/2020
MASON CITY, NE 68855                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 171
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21    Page 278 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DUKE ENERGY INDIANA                              Claim Number: 10620
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 12/17/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RUBY TUESDAY, INC.
PO BOX 11889
COLUMBIA, SC 29211-1889

UNSECURED                  Claimed:                      $2,275.53
METROPOLITAN KNOXVILLE AIRPORT AUTHORITY         Claim Number: 10622
C/O BASS BERRY & SIMS PLC                        Claim Date: 12/17/2020
ATTN RUSSEL E STAIR                              Debtor: RUBY TUESDAY, INC.
900 S GAY ST
KNOXVILLE, TN 37902

UNSECURED                  Claimed:                     $69,892.00            Scheduled:                $30,215.88
AT&T CORP                                        Claim Number: 10623
C/O AT&T SERVICES INC                            Claim Date: 12/17/2020
ATTN KAREN CAVAGNARO, LEAD PARALEGAL             Debtor: RUBY TUESDAY, INC.
ONE AT&T WAY, STE 3A104
BEDMINSTER, NJ 07921

UNSECURED                  Claimed:                      $7,650.32
434 KING STREET LLC                              Claim Number: 10624
C/O HILLER LAW LLC                               Claim Date: 12/17/2020
ATTN ADAM HILLER, ESQ                            Debtor: RUBY TUESDAY, INC.
1500 N FRENCH ST
WILMINGTON, DE 19801

UNSECURED                  Claimed:                     $88,584.97            Scheduled:                 $1,854.03
FEDERAL REALTY INVESTMENT TRUST                  Claim Number: 10625
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL                         Comments: POSSIBLY AMENDED BY 10630
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $150,492.35




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 172
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 279 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CULLMAN JEFFERSON CO GAS DIST                    Claim Number: 10626
PO BOX 399                                       Claim Date: 12/17/2020
CULLMAN, AL 35056-0399                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,215.17            Scheduled:              $1,713.04
FEDERAL REALTY INVESTMENT TRUST                  Claim Number: 10627
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $229,640.28
ST JOHN AND PARTNERS ADVERTISING                 Claim Number: 10628
C/O ADAMS AND REESE LLP                          Claim Date: 12/17/2020
ATTN JOHN T ROGERSON III                         Debtor: RUBY TUESDAY, INC.
501 RIVERSIDE AVE, STE 601
JACKSONVILLE, FL 32202

UNSECURED                  Claimed:               $1,467,988.08               Scheduled:         $1,311,768.90
KRG EVANS MULLINS OUTLOTS LLC                    Claim Number: 10629
C/O MARK A BOGDANOWICZ                           Claim Date: 12/17/2020
211 FULTON ST, STE 600                           Debtor: RUBY TUESDAY, INC.
PEORIA, IL 61602


UNSECURED                  Claimed:                     $15,399.91            Scheduled:              $2,844.35
FEDERAL REALTY PARTNERS LP                       Claim Number: 10630
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL                         Comments:
WILMINGTON, DE 19801                             AMENDS CLAIM #10625

UNSECURED                  Claimed:                 $150,492.35




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 173
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 280 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CITY OF JEFFERSON MISSOURI                       Claim Number: 10631
C/O JEFFERSON CITY UTILITIES                     Claim Date: 12/17/2020
320 E MCCARTY ST                                 Debtor: RUBY TUESDAY, INC.
JEFFERSON CITY, MO 65101


ADMINISTRATIVE             Claimed:                       $621.62
UNSECURED                  Claimed:                        $34.44
ERP HILLCREST LLC                                Claim Number: 10633
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                     $54,002.15
SART LLC                                         Claim Number: 10634
C/O RUBIN AND RUDMAN LLP                         Claim Date: 12/17/2020
ATTN JOSEPH S U BODOFF, ESQ                      Debtor: RUBY TUESDAY, INC.
53 STATE ST
BOSTON, MA 02109

UNSECURED                  Claimed:                 $336,318.98 UNLIQ         Scheduled:              $3,138.93
MOODY NATIONAL RUBY T LLC                        Claim Number: 10636
C/O TUCKER ARENSBERG                             Claim Date: 12/17/2020
ATTN BEVERLY WEISS MANNE, ESQ                    Debtor: RUBY TUESDAY, INC.
1500 ONE PPG PL
PITTSBURGH, PA 15222

UNSECURED                  Claimed:                 $187,191.27 UNLIQ
WASHINGTON SUBURBAN SANITARY COMMISSION Claim Number: 10637
14501 SWEITZER LN                       Claim Date: 12/17/2020
LAUREL, MD 20707                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $5,700.46            Scheduled:              $4,555.54




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 174
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 281 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WASHINGTON SQUARE LAND DEVELOPMENT LLC           Claim Number: 10638
C/O PICKREL SCHAEFFER & EBELING                  Claim Date: 12/17/2020
ATTN JON M ROSEMEYER, ESQ                        Debtor: RUBY TUESDAY, INC.
2700 STRATACACHE TOWER
DAYTON, OH 45423-2700

UNSECURED                  Claimed:                     $56,690.00
ELDRIDGE, RICHARD H                              Claim Number: 10639
816 BRIXWORTH BLVD                               Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $439,183.00
WEBER GALLAGHER                                  Claim Number: 10640
2000 MARKET ST, STE 1300                         Claim Date: 12/17/2020
PHILADELPHIA, PA 19103                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,129.00
ALDRIDGE, JERRY                                  Claim Number: 10642
310 COUNTY WOOD DR                               Claim Date: 12/17/2020
TUSCALOOSA, AL 35045                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $44,898.00
CHAZPAREM LLC                                    Claim Number: 10644
17329 GRAYLAND AVE                               Claim Date: 12/17/2020
CERRITOS, CA 90703                               Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                     $69,173.50
UNSECURED                  Claimed:                     $86,782.88            Scheduled:              $3,634.94




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 175
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 282 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



OCALA PARK LP                                    Claim Number: 10645
C/O HUNTERMACLEAN                                Claim Date: 12/17/2020
ATTN TAYLOR DOVE                                 Debtor: RUBY TUESDAY, INC.
PO BOX 9848
SAVANNAH, GA 31412

UNSECURED                  Claimed:                 $139,087.22
BECKMANN, GEORGE III                             Claim Number: 10646
825 KINGRIDGE DR                                 Claim Date: 12/17/2020
ROSWELL, GA 30075                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $76,433.00
BUECHE, ELLIOT J JR                              Claim Number: 10647
94 HANNING DR                                    Claim Date: 12/17/2020
FAIRFIELD GLADE, TN 38558                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $235,434.00
THOMAS, PRINCE ALTEE                             Claim Number: 10648
C/O FOX ROTHSCHILD LLP                           Claim Date: 12/17/2020
2000 MARKET ST, 20TH FL                          Debtor: RUBY TUESDAY, INC.
PHILADELPHIA, PA 19103


UNSECURED                  Claimed:                      $6,061.72
RT ORLANDO INVESTMENT LLC                        Claim Number: 10649
C/O COBLENTZ PATCH DUFFY & BASS LLP              Claim Date: 12/17/2020
ATTN GREGG M FICKS                               Debtor: RUBY TUESDAY, INC.
ONE MONTGOMERY ST, STE 3000
SAN FRANCISCO, CA 94104

UNSECURED                  Claimed:                 $281,523.72 UNLIQ CONT




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 176
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 283 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



CROFTON, EDWARD                                  Claim Number: 10650
11204 GOVERNORS LN                               Claim Date: 12/17/2020
FISHERS, IN 46037                                Debtor: RUBY TUESDAY, INC.



UNSECURED                   Claimed:                $139,799.00
BETTIS, DANIEL                                   Claim Number: 10652
1006 WHITE OAK AVE                               Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                   Claimed:                $816,704.00
ANGEL, RACHEL                                    Claim Number: 10653
308 MOONEY POND RD                               Claim Date: 12/17/2020
FARMINGVILLE, NY 11738                           Debtor: RUBY TUESDAY, INC.



PRIORITY                    Claimed:                      $232.52             Scheduled:              $232.52
BISHOP, E E                                      Claim Number: 10654
156 COLLEGE LN                                   Claim Date: 12/17/2020
MOBILE, AL 36608                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                   Claimed:                $873,473.00
JONES, PAUL STEPHEN                              Claim Number: 10655
3260 HEATHER DR                                  Claim Date: 12/17/2020
TITUSVILLE, FL 32796-1522                        Debtor: RUBY TUESDAY, INC.



UNSECURED                   Claimed:                    $89,046.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 177
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 284 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BROWN, ROBERT                                    Claim Number: 10656
5459 SE 57TH CT                                  Claim Date: 12/17/2020
TRENTON, FL 32693                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $231,293.00
LANTAU, DOUGLAS                                  Claim Number: 10657
5043 NANTUCKET CT                                Claim Date: 12/17/2020
COLONIAL HEIGHTS, VA 23834                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $77,005.00
MCNALLY, SCOTT                                   Claim Number: 10658
1215 S JACKSON RD                                Claim Date: 12/17/2020
DENVER, CO 80210                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $777.88
BROWNLEE, PERRY                                  Claim Number: 10659
105 BROOKSHIRE DR                                Claim Date: 12/17/2020
FAYETTEVILLE, GA 30215                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $106,328.00
MCGUFF, CHARLES L                                Claim Number: 10660
8902 MARTIN MILL PIKE                            Claim Date: 12/17/2020
KNOXVILLE, TN 37920                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $11,465.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 178
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 285 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RP EASTON MARKETPLACE MD LLC                     Claim Number: 10661
C/O RISE PARTNERS LLC                            Claim Date: 12/17/2020
VOLUNTEER BUILDING                               Debtor: RUBY TUESDAY, INC.
832 GEORGIA AVE, STE 507
CHATTANOOGA, TN 37402

UNSECURED                  Claimed:                      $5,945.68
RUBLE, LOLA J                                    Claim Number: 10662
19835 MIDWAY BLVD                                Claim Date: 12/17/2020
PORT CHARLOTTE, FL 33948                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $68,998.00
BUETTGEN, JAMES J                                Claim Number: 10663
1013 GREENTREE DR                                Claim Date: 12/17/2020
WINTER PARK, FL 32789                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $543,343.00
SCOGGINS, ANDREW F                               Claim Number: 10664
432 RELIANCE DR                                  Claim Date: 12/17/2020
FRANKLIN, TN 37067-1739                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $543,724.00
BYRUM, JOE                                       Claim Number: 10666
1301 LEROY STEVENS RD                            Claim Date: 12/17/2020
MOBILE, AL 36695-0000                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $425,643.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 179
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 286 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ARETE PARTNERS 2263 MEMORIAL LLC                 Claim Number: 10667
C/O HILTZ ZANZIG & HEILIGMAN LLC                 Claim Date: 12/17/2020
ATTN BLAIR ZANZIG                                Debtor: RUBY TUESDAY, INC.
53 W JACKSON BLVD, STE 701
CHICAGO, IL 60604

UNSECURED                  Claimed:                 $125,469.18 UNLIQ         Scheduled:              $1,048.39
COTTMAN, JANIQUE                                 Claim Number: 10669
461 DEER RD                                      Claim Date: 12/17/2020
CHERRY HILL, NJ 08034                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET
LUSAVI PAGOSA LLC                                Claim Number: 10670
C/O HILTZ ZANZIG & HEILIGMAN LLC                 Claim Date: 12/17/2020
ATTN BLAIR ZANZIG                                Debtor: RUBY TUESDAY, INC.
53 W JACKSON BLVD, STE 701
CHICAGO, IL 60604

UNSECURED                  Claimed:                 $210,821.50 UNLIQ CONT
VAUGHN, JACK T                                   Claim Number: 10671
1632 LECONTE DR                                  Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $43,999.00
COPE, COLLIN                                     Claim Number: 10672
1212 SHADYLAND DR                                Claim Date: 12/17/2020
KNOXVILLE, TN 37919                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $824,157.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 180
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 287 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



KAPLAN, GERALD                                   Claim Number: 10673
40434 GLEN EAGLE LN                              Claim Date: 12/17/2020
CANTON, MI 48188                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $119,005.00
COWLEY, PATRICK                                  Claim Number: 10674
2034 RICHELIEU CT                                Claim Date: 12/17/2020
BIRMINGHAM, AL 35216                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $181,705.00
WAGNER FOOD EQUIP                                Claim Number: 10676
D/B/A HOBART SERVICE                             Claim Date: 12/17/2020
PO BOX 7047                                      Debtor: RUBY TUESDAY, INC.
ROANOKE, VA 24019


UNSECURED                  Claimed:                     $2,069.28
AROOSTOOK MALL REALTY HOLDING LLC                Claim Number: 10677
C/O MEYERS ROMAN FREIDBERG & LEWIS               Claim Date: 12/17/2020
ATTN DAVID M NEUMANN, ESQ                        Debtor: RUBY TUESDAY, INC.
28601 CHAGRIN BLVD, STE 600
CLEVELAND, OH 44122

UNSECURED                  Claimed:                 $122,719.74
FRED PERKINS/BRENDA WALSH/ROUTE TEN LLC          Claim Number: 10678
C/O JOSHUA D STIFF                               Claim Date: 12/17/2020
200 BENDIX RD, STE 300                           Debtor: RUBY TUESDAY, INC.
VIRGINIA BEACH, VA 23452


ADMINISTRATIVE             Claimed:                     $44,549.32 UNLIQ
UNSECURED                  Claimed:                     $47,651.19 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 181
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 288 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



YOUNG, MARK                                      Claim Number: 10679
253 KING ARTHUR CIR                              Claim Date: 12/17/2020
FRANKLIN, TN 37067                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,403,635.00
CUNNINGHAM, TAMARA R                             Claim Number: 10681
1921 WIMBLEDON BLVD                              Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $383,481.00
TURNER, SHERRY                                   Claim Number: 10683
2555 RUE DU JARDIN, #202                         Claim Date: 12/17/2020
NAPLES, FL 34105                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,633.00
DAVIS, LARRY                                     Claim Number: 10684
113 NORTHWOODS CT                                Claim Date: 12/17/2020
MCDONOUGH, GA 30253                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $392,883.00
GEORGIA POWER COMPANY                            Claim Number: 10686
C/O FISHERBROYLES LLP                            Claim Date: 12/17/2020
ATTN THOMAS R WALKER                             Debtor: RUBY TUESDAY, INC.
945 E PACES FERRY RD NE, STE 2000
ATLANTA, GA 30326

SECURED                    Claimed:                     $88,683.08
UNSECURED                  Claimed:                        $893.88            Scheduled:              $57,788.84




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 182
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 289 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HSU, YU-CHING                                    Claim Number: 10687
109 HARVEY DR                                    Claim Date: 12/17/2020
STATESBORO, GA 30458                             Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $19,827.64
SECURED                    Claimed:                     $45,200.69
TOTAL                      Claimed:                     $45,200.69
TIMMONS, BARRY                                   Claim Number: 10688
114 ROUND TABLE LN                               Claim Date: 12/17/2020
GOOSE CREEK, SC 29445                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $34,134.00
TEOMAR LLC                                       Claim Number: 10689
C/O MORRIS JAMES LLP                             Claim Date: 12/17/2020
ATTN CARL N KUNZ III                             Debtor: RUBY TUESDAY, INC.
500 DELAWARE AVE, STE 1500
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $160,608.22
MILLMAN, ROBERT                                  Claim Number: 10690
C/O MCCARTER & ENGLISH LLP                       Claim Date: 12/17/2020
ATTN KATE ROGGIO BUCK, ESQ                       Debtor: RUBY TUESDAY, INC.
405 N KING ST, 8TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $400,000.00 UNLIQ
DILLARD-MCGEOCH, ANNE                            Claim Number: 10691
1480 N SPRINGS DR                                Claim Date: 12/17/2020
ATLANTA, GA 30338-6066                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $177,407.00




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 183
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 290 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



STEPHENS, JOHN                                   Claim Number: 10692
1015 ALTA DR                                     Claim Date: 12/17/2020
HOLLY HILL, FL 32117                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $66,080.00
DUFFY, MARGUERITE                                Claim Number: 10694
1517 BRITLING DR                                 Claim Date: 12/17/2020
KNOXVILLE, TN 37922                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $3,447,103.00
MEADOWS, CLIFFORD                                Claim Number: 10695
6920 PEPPERMILL LN                               Claim Date: 12/17/2020
LOUISVILLE, KY 40228                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $74,073.00
EVANS, GEORGE N                                  Claim Number: 10697
3664 FARM BELL PL                                Claim Date: 12/17/2020
LAKE MARY, FL 32746                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $415,100.00
BIRON, DAVID                                     Claim Number: 10698
405 N LAGACY TRL                                 Claim Date: 12/17/2020
SAINT AUGUSTINE, FL 32092                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $61,810.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 184
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 291 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



FREEMAN, PAUL                                    Claim Number: 10699
4272 BIT AND SPUR RD, #11                        Claim Date: 12/17/2020
MOBILE, AL 36608                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $138,183.00
STROECKER, DOROTHY                               Claim Number: 10700
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,357.00
GRAU, HENRY                                      Claim Number: 10701
116 14TH AVE                                     Claim Date: 12/17/2020
BELMAR, NJ 07719                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $772,930.00
SCHMIDT, DAVID                                   Claim Number: 10702
11907 KINGSTON PIKE, STE 21                      Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $384,186.00
GRUVER, GENE                                     Claim Number: 10703
5416 MERRIBROOK LN                               Claim Date: 12/17/2020
PROSPECT, KY 40059                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $68,700.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 185
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 292 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



OSTERBERGER, PETRA                               Claim Number: 10704
C/O CHAVIN MITCHELL SHMUELY                      Claim Date: 12/17/2020
ATTN RAMI SHMUELY                                Debtor: RUBY TUESDAY, INC.
12955 BISCAYNE BLVD, STE 201
NORTH MIAMI, FL 33181

UNSECURED                  Claimed:                         $0.00 UNDET
HARMAN, RONALD                                   Claim Number: 10705
1548 STONE TRL                                   Claim Date: 12/17/2020
ENTERPRISE, FL 32725-2404                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $91,608.00
TAYLOR, BERTHA                                   Claim Number: 10706
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $1,161.16
HEPP, ANDREW                                     Claim Number: 10707
4885 ALLEGHANEY COVE WAY                         Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $735,793.00
OSWEGO CITY SCHOOL DISTRICT                      Claim Number: 10708
ATTN JOYCE GALLETTA                              Claim Date: 12/17/2020
PO BOX 890                                       Debtor: RUBY TUESDAY, INC.
OSWEGO, NY 13126                                 Comments:
                                                 Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                      $8,040.98
SECURED                    Claimed:                      $8,040.98
TOTAL                      Claimed:                      $8,040.98




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 186
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 293 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BEER, BRUCE S                                    Claim Number: 10709
65 BROWNING TER                                  Claim Date: 12/17/2020
OLD BRIDGE, NJ 08857                             Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #10612

UNSECURED                  Claimed:                     $47,243.71
WETMORE, CLARICE                                 Claim Number: 10710
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $20,266.00
HEPP, VERONICA                                   Claim Number: 10711
4885 ALLEGHANEY COVE WAY                         Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $172,879.00
REHM, ED                                         Claim Number: 10712
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $119,137.00
HERRINGTON, SANDRA                               Claim Number: 10714
2014 GOLFVIEW DR                                 Claim Date: 12/17/2020
TARPON SPRINGS, FL 86489                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $136,790.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 187
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 294 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COMPLETE BUILDING SERVICE                        Claim Number: 10715
8610 MARTIN MILL PIKE                            Claim Date: 12/17/2020
KNOXVILLE, TN 37920                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,654.84            Scheduled:              $450.00
PRIME, SHERRY BIGBY                              Claim Number: 10716
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $23,478.00
HOLLAND, JAMES                                   Claim Number: 10717
218 CHATFIELD WAY                                Claim Date: 12/17/2020
FRANKLIN, TN 37067                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $144,283.00
MILLS, EVERETT                                   Claim Number: 10718
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $62,007.00
TIMES SQUARE TOWER ASSOCIATES LLC                Claim Number: 10719
C/O GOULSTON & STORRS PC                         Claim Date: 12/17/2020
ATTN TREVOR HOFFMANN                             Debtor: RUBY TUESDAY, INC.
885 THIRD AVE, 18TH FL
NEW YORK, NY 10022

UNSECURED                  Claimed:               $3,798,906.37




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 188
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 295 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MILLS, BETTY                                     Claim Number: 10720
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $60,373.00
HOLMAN, JAMES                                    Claim Number: 10721
685 COUNTY RD 201                                Claim Date: 12/17/2020
MARION JUNCTION, AL 36759-3037                   Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $93,007.00
BUNTIN GROUP INC                                 Claim Number: 10722
230 WILLOW ST                                    Claim Date: 12/17/2020
NASHVILLE, TN 37210                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $12,462.66            Scheduled:          $151,314.14
MEIER, DONALD                                    Claim Number: 10723
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $36,335.00
HUNT, PFILIP G                                   Claim Number: 10724
203 TUTHILL LN                                   Claim Date: 12/17/2020
MOBILE, AL 36608                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $564,109.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 189
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 296 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MCCONNELL, TERESA                                Claim Number: 10725
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $108,763.00
MARTIN, MARVIN                                   Claim Number: 10726
10706 CORTLAND RIDGE LN                          Claim Date: 12/17/2020
CYPRESS, TX 77433                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $159,196.00
IBRAHIM, NICOLAS                                 Claim Number: 10727
4635 SCENIC POINT DR                             Claim Date: 12/17/2020
LOUISVILLE, TN 37777                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $2,161,581.00
MANNING, RAY                                     Claim Number: 10728
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $374,587.00
JACKSON, ROSS                                    Claim Number: 10729
4101 SOUNDPOINTE DR                              Claim Date: 12/17/2020
GULF BREEZE, FL 32563                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $187,143.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 190
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 297 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LOWERY, GLEN T                                   Claim Number: 10730
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $124,387.00
MCTAVOUS, ADELINE                                Claim Number: 10731
C/O FARAH & FARAH                                Claim Date: 12/17/2020
ATTN CAITLIN CLARKE                              Debtor: RUBY TUESDAY, INC.
10 W ADAMS ST
JACKSONVILLE, FL 32202

UNSECURED                  Claimed:                 $300,000.00
FELLERS, ROBIN                                   Claim Number: 10732
2290 LONGWOOD DR                                 Claim Date: 12/17/2020
AUBURN, AL 36830                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $6,006.40 UNLIQ
LAFRENIERE, ROBERT                               Claim Number: 10733
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $80,228.00
KOONTZ, ADAM                                     Claim Number: 10734
1734 NORTHFIELD DR                               Claim Date: 12/17/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $251,640.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 191
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 298 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



KUHLEMANN, FRED                                  Claim Number: 10735
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $283,197.00
MORGANDAY LLC                                    Claim Number: 10736
C/O SEYFARTH SHAW LLP                            Claim Date: 12/17/2020
ATTN WILLIAM J HANLON                            Debtor: RUBY TUESDAY, INC.
TWO SEAPORT LN, STE 300
BOSTON, MA 02210

UNSECURED                  Claimed:                      $7,290.57            Scheduled:              $1,411.08
LARGEL, MARCELINO R                              Claim Number: 10737
121 SPINDLEWOOD DR                               Claim Date: 12/17/2020
MADISON, MS 39110                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $189,860.00
KEENE, ROY                                       Claim Number: 10738
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $52,204.00
MILLER, PATTI                                    Claim Number: 10739
C/O FARAH & FARAH                                Claim Date: 12/17/2020
ATTN CAITLIN CLARKE                              Debtor: RUBY TUESDAY, INC.
10 W ADAMS ST
JACKSONVILLE, FL 32202

UNSECURED                  Claimed:                      $3,126.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 192
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 299 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HUTSON, KEN                                      Claim Number: 10740
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $143,138.00
LEBOEUF, ROBERT                                  Claim Number: 10741
10880 E 26TH AVE                                 Claim Date: 12/17/2020
AURORA, CO 80010                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $3,273,564.00
FELLERS, ROBIN                                   Claim Number: 10742
2290 LONGWOOD DR                                 Claim Date: 12/17/2020
AUBURN, AL 36830                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $11,583.66 UNLIQ
DEARDEN, RICHARD                                 Claim Number: 10743
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $10,165.00
CNL FUNDING 2000-A LP                            Claim Number: 10744
C/O KUTAK ROCK LLP                               Claim Date: 12/17/2020
ATTN LISA M PETERS, ESQ                          Debtor: RUBY TUESDAY, INC.
1650 FARNAM ST
OMAHA, NE 68102

UNSECURED                  Claimed:                 $347,241.01




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 193
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 300 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



LITCHFORD, JAMES                                 Claim Number: 10746
1626 BROOKSBEND DR                               Claim Date: 12/17/2020
WESLEY CHAPEL, FL 33543                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $43,101.00
COLEY, SUE                                       Claim Number: 10747
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $10,544.00
WALLACE, LEE                                     Claim Number: 10748
12734 TANGLEWOOD DR                              Claim Date: 12/17/2020
KNOXVILLE, TN 37922                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $819,039.00
BROOKS, BRAXTON                                  Claim Number: 10750
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $119,065.00
MARTIN, REBECCA                                  Claim Number: 10751
609 TIPS WAY                                     Claim Date: 12/17/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $294,150.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 194
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 301 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



VILORD, RONALD                                   Claim Number: 10752
21060 COUNTY RD 13                               Claim Date: 12/17/2020
FAIRHOPE, AL 36532                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $274,783.00
MAY, SCARLETT                                    Claim Number: 10753
3800 MOUNTAIN SHADOWS RD                         Claim Date: 12/17/2020
CALABASAS, CA 91301                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,240,143.00
BOUTREIS, PATRICIA                               Claim Number: 10754
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $50,948.00
HORNE, JEFFREY L VAN                             Claim Number: 10755
29 DEERFIELD DR                                  Claim Date: 12/17/2020
SABATTUS, ME 04280                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,638,604.00
BISHOP, GENE III                                 Claim Number: 10756
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $71,633.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 195
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 302 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MCCLENAGAN, ROBERT                               Claim Number: 10757
1503 S COURT ST                                  Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $2,700,986.00
FOGLE, BETTY                                     Claim Number: 10758
PO BOX 369                                       Claim Date: 12/17/2020
ORANGEBURG, SC 29116-0369                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $100,000.00
DRAWHORN, LAUREN K                               Claim Number: 10760
C/O WICK PHILLIPS                                Claim Date: 12/17/2020
100 THROCKMORTON ST, STE 1500                    Debtor: RUBY TUESDAY, INC.
FORT WORTH, TX 76102


UNSECURED                  Claimed:                 $478,716.30
THOMPSON, LARRY                                  Claim Number: 10761
415 QUAIL HOLLOW RD                              Claim Date: 12/17/2020
ANDERSON, SC 29621                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $48,575.00
AD HOC GROUP PLAN PARTICIPANTS                   Claim Number: 10762
11907 KINGSTON PIKE, STE 201                     Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 196
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 303 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MOTHERSHED, RUSSELL J                            Claim Number: 10763
12400 SOMERSWORTH DR                             Claim Date: 12/17/2020
KNOXVILLE, TN 37934                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $1,574,726.00
TATUM, RONNIE                                    Claim Number: 10764
206 SWEETBRIAR ST                                Claim Date: 12/17/2020
PEACHTREE CITY, GA 30269                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $408,568.00
STCEY, EUBIE                                     Claim Number: 10766
562 JAN DR                                       Claim Date: 12/17/2020
FAIRHOPE, AL 36532                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $87,179.00
DOMANIC, JAMES                                   Claim Number: 10767
1025 WATER PL WAY                                Claim Date: 12/17/2020
KNOXVILLE, TN 37922                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $127,620.07
ROYSTON MUELLER MCLEAN AND REID LLP              Claim Number: 10768
102 W PENNSYLVANIA AVE, STE 600                  Claim Date: 12/17/2020
TOWSON, MD 21204                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $8,379.07




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 197
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 304 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



MID MISSOURI TURF                                Claim Number: 10769
1819 E BREEDLOVE DR                              Claim Date: 12/17/2020
STURGEON, MO 65284                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,700.00             Scheduled:              $1,700.00
NELSON, CRAIG                                    Claim Number: 10770
640 RIVER RTE                                    Claim Date: 12/17/2020
MAGNOLIA SPRINGS, AL 36555                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $507,453.00
CGI 3 LP                                         Claim Number: 10771
C/O GRAYBILL LANSCHE & VINZANI LLC               Claim Date: 12/17/2020
ATTN JACOB S BARKER, ESQ                         Debtor: RUBY TUESDAY, INC.
225 SEVEN FARMS DR, STE 207
CHARLESTON, SC 29492

UNSECURED                  Claimed:               $3,275,889.00 UNLIQ         Scheduled:               $967.74
SHARP, BELINDA A                                 Claim Number: 10772
2346 MONTICELLO DR                               Claim Date: 12/17/2020
MARYVILLE, TN 37803                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $333,156.00
GARRISON, HAZEL                                  Claim Number: 10773
C/O CHARLES F GORMLY, ESQ                        Claim Date: 12/17/2020
PO BOX 170                                       Debtor: RUBY TUESDAY, INC.
KENSINGTON, MD 20895


UNSECURED                  Claimed:                     $15,000.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 198
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 305 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GRANT, KIMBERLY                                  Claim Number: 10774
7010 ELIZABETH DR                                Claim Date: 12/17/2020
MCLEAN, VA 22101                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $3,107,623.00
SARLO, MICHAEL AND LORY                          Claim Number: 10776
C/O WATKINS & EAGER PLLC                         Claim Date: 12/17/2020
ATTN ROBERT B IRELAND III, ESQ                   Debtor: RUBY TUESDAY, INC.
PO BOX 650
JACKSON, MS 39205-0650

UNSECURED                  Claimed:                 $356,322.55 UNLIQ
SEAITZ, JOE R                                    Claim Number: 10777
902 HELSTON AVE                                  Claim Date: 12/17/2020
WESTFIELD, IN 46074                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $72,623.00
PAUL, ERIC                                       Claim Number: 10778
18856 SE RED APPLE LN                            Claim Date: 12/17/2020
JUPITRE, FL 33458                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $801,029.00
CRUNCHTIME INFORMATION SYSTEMS INC               Claim Number: 10779
129 PORTLAND ST                                  Claim Date: 12/17/2020
BOSTON, MA 02114                                 Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                  $43,488.47
UNSECURED                  Claimed:                 $102,990.40




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 199
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 306 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



PIET, MAXWELL                                    Claim Number: 10780
333 FERN ST                                      Claim Date: 12/17/2020
WEST PALM BEACH, FL 33401                        Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $446,433.00
SARLO, MICHAEL AND LORY                          Claim Number: 10781
C/O WATKINS & EAGER PLLC                         Claim Date: 12/17/2020
ATTN ROBERT B IRELAND III, ESQ                   Debtor: RUBY TUESDAY, INC.
PO BOX 650
JACKSON, MS 39205-0650

UNSECURED                  Claimed:                 $405,350.47 UNLIQ
RODER, MIKE                                      Claim Number: 10782
1241 N LAKE SYBELIA DR                           Claim Date: 12/17/2020
MAITLAND, FL 32751                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $682,927.00
COBBLESTONE SQUARE COMPANY LTD                   Claim Number: 10783
27500 DETROIT RD                                 Claim Date: 12/17/2020
WESTLAKE, OH 44145                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $58,908.58
POTTER, MARK                                     Claim Number: 10784
145 N MALL DR, #69                               Claim Date: 12/17/2020
SAINT GEORGE, UT 84790                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $81,125.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 200
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 307 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ROSETE, CHARLES                                  Claim Number: 10785
155 ASHLEY DR                                    Claim Date: 12/17/2020
MCDONOUGH, GA 30252                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $179,437.00
ECOLAB INC                                       Claim Number: 10786
C/O KOHNER MANN & KAILAS SC                      Claim Date: 12/17/2020
ATTN SAMUEL C WISOTZKEY, ESQ                     Debtor: RUBY TUESDAY, INC.
4650 N PORT WASHINGTON RD
MILWAUKEE, WI 53212

SECURED                    Claimed:                     $33,719.66
UNSECURED                  Claimed:                     $42,454.48            Scheduled:              $13,621.35
LANHAM LLLP                                      Claim Number: 10787
10100 BUSINESS PKWY                              Claim Date: 12/17/2020
LANHAM, MD 20706                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $2,035,035.19
KRATZKE, CHRISTINE                               Claim Number: 10788
7744 YANKEE CT                                   Claim Date: 12/17/2020
ARVADA, CO 80007                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $145,896.00
MASON, THOMAS                                    Claim Number: 10789
4688 TWIN PEAKS CT                               Claim Date: 12/17/2020
LOVELAND, CO 80537                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $88,434.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 201
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 308 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SMITH, ALAN P                                    Claim Number: 10791
10403 BUFFTON CT                                 Claim Date: 12/17/2020
CHARLOTTE, NC 28277                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $346,471.00
VALENTINE, CRYSTAL                               Claim Number: 10792
C/O DUNSMORE & BENSON                            Claim Date: 12/17/2020
ATTN G DOUGLAS BENSON, ESQ                       Debtor: RUBY TUESDAY, INC.
114 S BROAD ST
SCOTTSBORO, AL 35768

UNSECURED                  Claimed:                 $200,000.00
DSW INNS LLC                                     Claim Number: 10793
ATTN ADRIENNE HENRY                              Claim Date: 12/17/2020
101 S FARRAR DR                                  Debtor: RUBY TUESDAY, INC.
CAPE GIRARDEAU, MO 63701-0000


UNSECURED                  Claimed:                        $91.36
DOMANIC, JIM                                     Claim Number: 10794
1025 WATER PL WAY                                Claim Date: 12/17/2020
KNOXVILLE, TN 37922                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $127,620.00
PJK FOOD SERVICE LLC                             Claim Number: 10795
C/O MCCARRON & DIESS                             Claim Date: 12/17/2020
ATTN MARY JEAN FASSETT, ESQ                      Debtor: RUBY TUESDAY, INC.
4530 WISCONSIN AVE NW, #301                      Comments:
WASHINGTON, DC 20016                             PACA CLAIM

SECURED                    Claimed:                     $10,916.68
UNSECURED                                                                     Scheduled:              $27,588.13




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 202
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 309 of 433      Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GP MALL LLC                                      Claim Number: 10796
C/O HUNTERMACLEAN                                Claim Date: 12/17/2020
ATTN TAYLOR DOVE                                 Debtor: RUBY TUESDAY, INC.
PO BOX 9848
SAVANNAH, GA 31412

UNSECURED                  Claimed:                 $135,416.71
THOMPSON, RALPH                                  Claim Number: 10797
2331 CAMELOT CT                                  Claim Date: 12/17/2020
LINCOLN, NE 68512                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $2,973.00
WILSON, LYNN                                     Claim Number: 10798
53 CHELSEA CT                                    Claim Date: 12/17/2020
MIDDLETON, CT 06457                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $70,224.00
MARTIN, REBECCA MONTAGNE                         Claim Number: 10799
609 TIPS WAY                                     Claim Date: 12/17/2020
MARYVILLE, TN 37804                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $279,682.96 UNLIQ         Scheduled:          $279,682.96 UNLIQ DISP
PIAZZA PRODUCE LLC                               Claim Number: 10800
C/O MARY JEAN FASSETT, ESQ                       Claim Date: 12/17/2020
4530 WISCONSIN AVE NW, STE 301                   Debtor: RUBY TUESDAY, INC.
WASHINGTON, DC 20016                             Comments:
                                                 PACA CLAIM

SECURED                    Claimed:                      $4,975.38




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 203
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 310 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SENN BROTHERS INC                                Claim Number: 10802
C/O MCCARRON & DIESS                             Claim Date: 12/17/2020
ATTN MARY JEAN FASSETT, ESQ                      Debtor: RUBY TUESDAY, INC.
4530 WISCONSIN AVE NW, #301
WASHINGTON, DC 20016

SECURED                    Claimed:                     $7,423.06
UNSECURED                                                                     Scheduled:              $22,106.15
MCGREGOR SQUARE LLC                              Claim Number: 10803
C/O ARMBRECHT JACKSON LLP                        Claim Date: 12/17/2020
ATTN THOMAS OLDWEILER & J H OPPENHEIMER          Debtor: RUBY TUESDAY, INC.
PO BOX 290
MOBILE, AL 36601

UNSECURED                  Claimed:                 $172,769.24
SCHWALENBERG, ELLIE                              Claim Number: 10804
802 VICTORY DR                                   Claim Date: 12/17/2020
COLLINSVILLE, IL 62234                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $156.72
REGIONS BANK, AS TRUSTEE                         Claim Number: 10806
C/O MAYNARD COOPER & GALE PC                     Claim Date: 12/17/2020
ATTN JAYNA LAMAR                                 Debtor: RUBY TUESDAY, INC.
1901 6TH AVE N, STE 1700
BIRMINGHAM, AL 35203

UNSECURED                  Claimed:                        $0.00 UNDET
BENNETT PARTNERS LLLP                            Claim Number: 10807
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RUBY TUESDAY, INC.
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $503,294.87




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 204
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 311 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COMMONWEALTH TOWER LP                            Claim Number: 10809
C/O ANDREW B SCHULWOLF, ESQ                      Claim Date: 12/17/2020
110 N WASHINGTON ST, STE 300                     Debtor: RUBY TUESDAY, INC.
ROCKVILLE, MD 20850                              Comments: POSSIBLE DUPLICATE OF 10522


UNSECURED                  Claimed:                 $324,336.97
COMMONWEALTH TOWER LP                            Claim Number: 10811
C/O ANDREW B SCHULWOLF, ESQ                      Claim Date: 12/17/2020
110 N WASHINGTON ST, STE 300                     Debtor: RUBY TUESDAY, INC.
ROCKVILLE, MD 20850                              Comments: POSSIBLE DUPLICATE OF 10524


UNSECURED                  Claimed:                     $66,588.15
NADG NN RT (SC) LP                               Claim Number: 10813
C/O WICK PHILLIPS                                Claim Date: 12/17/2020
ATTN LAUREN K DRAWHORN                           Debtor: RUBY TUESDAY, INC.
100 THROCKMORTON ST, STE 1500
FORT WORTH, TX 76102

UNSECURED                  Claimed:                     $92,367.42
NADG NN RT (TN) LP                               Claim Number: 10814
C/O WICK PHILLIPS                                Claim Date: 12/17/2020
ATTN LAUREN K DRAWHORN                           Debtor: RUBY TUESDAY, INC.
100 THROCKMORTON ST, STE 1500
FORT WORTH, TX 76102

UNSECURED                  Claimed:                     $63,156.19
RHINEHART, JANA                                  Claim Number: 10815
805 N KEEBLER, A                                 Claim Date: 12/17/2020
COLLINSVILLE, IL 62234                           Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 10816

PRIORITY                   Claimed:                       $145.55




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 205
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 312 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



RHINEHART, JANA                                  Claim Number: 10816
805 N KEEBLER, APT A                             Claim Date: 12/17/2020
COLLINSVILLE, IL 62234                           Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 10815


PRIORITY                   Claimed:                       $145.55
LIMESTONE RUBY LLC ORION                         Claim Number: 10817
C/O DARROWEVERETT LLP                            Claim Date: 12/17/2020
ATTN JAMES G ATCHISON, ESQ                       Debtor: RUBY TUESDAY, INC.
ONE TURKS HEAD PL, 12TH FL
PROVIDENCE, RI 02903

UNSECURED                  Claimed:                     $70,454.29            Scheduled:              $6,406.23
ORION-NRD JV LLC                                 Claim Number: 10818
C/O DARROWEVERETT LLP                            Claim Date: 12/17/2020
ATTN JAMES G ATCHISON, ESQ                       Debtor: RUBY TUESDAY, INC.
ONE TURKS HEAD PL, 12TH FL
PROVIDENCE, RI 02903

UNSECURED                  Claimed:                 $176,027.66
CORAL MARTES LLC                                 Claim Number: 10819
C/O DARROWEVERETT LLP                            Claim Date: 12/17/2020
ATTN JAMES G ATCHISON, ESQ                       Debtor: RUBY TUESDAY, INC.
ONE TURKS HEAD PL, 12TH FL
PROVIDENCE, RI 02903

UNSECURED                  Claimed:                     $64,707.22
DIAZ, CARRISSA                                   Claim Number: 10820
864 ROSEWOOD DR, J104                            Claim Date: 12/17/2020
ELYRIA, OH 44035                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $532.74




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 206
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 313 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



BERLS, FREDERICK                                 Claim Number: 10821
1409 REGENCY OAKS DR                             Claim Date: 12/17/2020
MOBILE, AL 36609                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $30,579.27
OREOF-2017 RUBY LLC                              Claim Number: 10822
C/O DARROWEVERETT LLP                            Claim Date: 12/17/2020
ATTN JAMES G ATCHISON, ESQ                       Debtor: RUBY TUESDAY, INC.
ONE TURKS HEAD PL, 12TH FL                       Comments:
PROVIDENCE, RI 02903                             -

UNSECURED                  Claimed:                     $36,327.23
MACERICH DEPTFORD LLC                            Claim Number: 10823
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN DUSTIN P BRANCH, ESQ                        Debtor: RUBY TUESDAY, INC.
2029 CENTURY PARK E, STE 1400
LOS ANGELES, CA 90067-2915

UNSECURED                  Claimed:                 $670,555.05 UNLIQ
FREEMALL ASSOCIATES LLC                          Claim Number: 10824
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN DUSTIN P BRANCH, ESQ                        Debtor: RUBY TUESDAY, INC.
2029 CENTURY PARK E, STE 1400
LOS ANGELES, CA 90067-2915

UNSECURED                  Claimed:               $1,069,226.33 UNLIQ
EAST GREENWICH SQUARE (E&A) LLC                  Claim Number: 10825
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN DUSTIN P BRANCH, ESQ                        Debtor: RUBY TUESDAY, INC.
2029 CENTURY PARK E, STE 1400
LOS ANGELES, CA 90067-2915

UNSECURED                  Claimed:                     $16,518.79 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 207
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 314 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



DAVISON, KACEY                                   Claim Number: 10827
864 ROSEWOOD DR, J104                            Claim Date: 12/17/2020
ELYRIA, OH 44035                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                                                                       Scheduled:              $465.95
UNSECURED                  Claimed:                      $465.95
BALDI, RON                                       Claim Number: 10828
C/O SALVATO LAW OFFICES                          Claim Date: 12/18/2020
ATTN GREGORY M SALVATO, ESQ                      Debtor: RUBY TUESDAY, INC.
777 S FIGUEROA ST, STE 2800                      Comments:
LOS ANGELES, CA 90017                            ASSIGNOR: SCF RC FUNDING IV

UNSECURED                  Claimed:                     $8,237.03 UNLIQ
FAMILY TRUST OF ADAM AND JORDAN FARMER           Claim Number: 10829
44628 KORNELL ST                                 Claim Date: 12/18/2020
TEMECULA, CA 92592                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $194,380.02
COX, JULIE                                       Claim Number: 10831
2708 QUISENBERRY ST                              Claim Date: 12/18/2020
MIDLOTHIAN, VA 23112                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $158.17
AGS SOLUTIONS INC                                Claim Number: 10832
103 BOATSMAN WAY                                 Claim Date: 12/18/2020
SAINT MARYS, GA 31558-1835                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,429.04




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 208
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 315 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NYC DEPT OF FINANCE                              Claim Number: 10833
375 PEARL ST                                     Claim Date: 12/18/2020
NEW YORK, NY 10038                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $165,532.43
CLARK, JILL                                      Claim Number: 10834
1550 ERBS MILL RD                                Claim Date: 12/18/2020
BLUE BELL, PA 19422                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,543.63
YARD MASTERS, THE                                Claim Number: 10836
1506 N ISABELLA ST                               Claim Date: 12/18/2020
SYLVESTER, GA 31791                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $900.00
ORR, ZAVIN                                       Claim Number: 10837
1301 SAINT LOUIS AVE                             Claim Date: 12/18/2020
CAMBRIDGE, OH 43725-1058                         Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $1,000.00 UNLIQ
PRIORITY                   Claimed:                     $1,000.00 UNLIQ
TOTAL                      Claimed:                     $1,000.00 UNLIQ
BETTINGER, RYAN                                  Claim Number: 10838
2507 CENTER DR                                   Claim Date: 12/18/2020
WARSAW, IN 46580                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $394.46




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 209
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21   Page 316 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



WARREN COUNTY                                    Claim Number: 10839
ATTN WATER SEWER DEPT                            Claim Date: 12/18/2020
406 JUSTICE DR                                   Debtor: RUBY TUESDAY, INC.
PO BOX 530
LEBANON, OH 45036-0530

UNSECURED                  Claimed:                     $1,286.47             Scheduled:              $1,291.47
MCCONNELL, RON                                   Claim Number: 10840
3721 DUNSTAN CT                                  Claim Date: 12/18/2020
MOBILE, AL 36608-1508                            Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 AMENDS CLAIM #351

UNSECURED                  Claimed:                        $0.00 UNDET
BAROODY, NICOLE                                  Claim Number: 10841
5210 CLARIDGE DR                                 Claim Date: 12/18/2020
CHESTERFIELD, VA 23832                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $314.26
WHITE, ABIGAIL                                   Claim Number: 10843
1404 MANDRELL DR                                 Claim Date: 12/19/2020
KNOXVILLE, TN 37918                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $119.41
COST, ANSLEY                                     Claim Number: 10844
1371 HWY 54                                      Claim Date: 12/19/2020
MORELAND, GA 30259                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $313.84




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 210
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 317 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



COWART CO LLC                                    Claim Number: 10845
205 WASHINGTON DR                                Claim Date: 12/19/2020
HERTFORD, NC 27944                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $472.50
UNSECURED                  Claimed:                       $161.50
CHASE, AMANDA                                    Claim Number: 10846
982 NC HWY 903                                   Claim Date: 12/19/2020
ROANOKE RAPIDS, NC 27870                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $248.96
KING, DESIREE                                    Claim Number: 10848
124 STALLINGS RD                                 Claim Date: 12/20/2020
GREENVILLE, SC 29611                             Debtor: RUBY TUESDAY, INC.



ADMINISTRATIVE             Claimed:                       $266.67
FORD, HAROLD B                                   Claim Number: 10849
3000 TRICE PL                                    Claim Date: 12/20/2020
LEBANON, TN 37087                                Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                          $0.00 UNDET
FORD, HAROLD B                                   Claim Number: 10850
3000 TRICE PL                                    Claim Date: 12/20/2020
LEBANON, TN 37087                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $13,508.15




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 211
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 318 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



FORD, HAROLD B                                   Claim Number: 10851
3000 TRICE PL                                    Claim Date: 12/20/2020
LEBANON, TN 37087                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $34,712.21 UNLIQ
IREDELL COUNTY                                   Claim Number: 10852
PO BOX 1027                                      Claim Date: 12/21/2020
STATESVILLE, NC 28687                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                        $25.00
SECURED                    Claimed:                     $2,181.52
BUTLER, TREMAINE                                 Claim Number: 10853
6264 N ENSENADA CT                               Claim Date: 12/21/2020
AURORA, CO 80019                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                        $82.94
LINCOLN ELECTRIC SYSTEM                          Claim Number: 10855
1040 O ST                                        Claim Date: 12/21/2020
LINCOLN, NE 68508                                Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $4,540.36
SHOOLBRED, KANDIE                                Claim Number: 10857
C/O MORGAN & MORGAN                              Claim Date: 12/21/2020
ATTN ASHLEY LONG                                 Debtor: RUBY TUESDAY, INC.
101 RIVERFRONT BLVD, STE 600
BRADENTON, FL 34205

UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 212
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 319 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



ROANE COUNTY TRUSTEE                             Claim Number: 10858
PO BOX 296                                       Claim Date: 12/21/2020
KINGSTON, TN 37763                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $905.00
WESTERN EXTERMINATIOR                            Claim Number: 10859
C/O RENTOKIL NORTH AMERICA                       Claim Date: 12/21/2020
ATTN BANKRUPTCY TEAM                             Debtor: RUBY TUESDAY, INC.
1125 BERKSHIRE BLVD, STE 150
READING, PA 19610

UNSECURED                  Claimed:                      $342.88
ROANE COUNTY TRUSTEE                             Claim Number: 10861
PO BOX 296                                       Claim Date: 12/21/2020
KINGSTON, TN 37763                               Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $1,047.20
SMITH, SHANIYA                                   Claim Number: 10862
3025 S ADAMS ST, APT 412                         Claim Date: 12/21/2020
TALLAHASSEE, FL 32301                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $517.07
1 AMERICAN FACILITY SOLUTIONS LLC                Claim Number: 10863
C/O AMERICAN FACILITY SOLUTIONS                  Claim Date: 12/22/2020
102 STATON CT, STE D                             Debtor: RUBY TUESDAY, INC.
GREENVILLE, NC 27834


UNSECURED                  Claimed:                     $6,565.47 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 213
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 320 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



NORTHWOODS CROSSING STATION LLC                  Claim Number: 10864
C/O SAUL EWING ARNSTEIN & LEHR LLP               Claim Date: 12/22/2020
ATTN MONIQUE BAIR DISABATINO                     Debtor: RUBY TUESDAY, INC.
1201 N MARKET ST, STE 2300
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $256,403.17
VESTAR RW TEMPE MARKETPLACE LLC                  Claim Number: 10866
C/O DAVID M BLAU, ESQ                            Claim Date: 12/22/2020
151 S OLD WOODWARD AVE, STE 200                  Debtor: RUBY TUESDAY, INC.
BIRMINGHAM, MI 48009


UNSECURED                  Claimed:               $2,036,258.62
DEGROS, GLENDALIZ                                Claim Number: 10868
1121 WINDMILL RD                                 Claim Date: 12/22/2020
FAYETTEVILLE, NC 28312                           Debtor: RUBY TUESDAY, INC.
                                                 Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                       $368.64
PRIORITY                   Claimed:                       $368.64
TOTAL                      Claimed:                       $368.64
GOOGLE LLC                                       Claim Number: 10869
C/O WHITE AND WILLIAMS LLP                       Claim Date: 12/23/2020
ATTN AMY VULPIO                                  Debtor: RUBY TUESDAY, INC.
1650 MARKET ST, STE 1800
PHILADELPHIA, PA 19103

UNSECURED                  Claimed:                     $25,385.11
DAYTON POWER AND LIGHT COMPANY                   Claim Number: 10870
1065 WOODMAN DR                                  Claim Date: 12/23/2020
DAYTON, OH 45432                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $4,658.54




Epiq Bankruptcy Solutions, LLC                                                                                                        Page: 214
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 321 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



INDIANAPOLIS POWER AND LIGHT COMPANY             Claim Number: 10871
2102 N ILLINOIS ST                               Claim Date: 12/23/2020
INDIANAPOLIS, IN 46202                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $9,416.45
CEBALLOS, JOSE                                   Claim Number: 10872
C/O MOONEY LAW                                   Claim Date: 12/23/2020
ATTN JASON IMLER                                 Debtor: RUBY TUESDAY, INC.
230 YORK ST
HANOVER, PA 17331

UNSECURED                  Claimed:                        $0.00 UNDET
SCHWARZBURG, MICHELLE                            Claim Number: 10873
C/O HELLER MAAS MORO & MAGILL CO LPA             Claim Date: 12/23/2020
ATTN JOSEPH MORO                                 Debtor: RUBY TUESDAY, INC.
54 WESTCHESTER DR, STE 10
YOUNGSTOWN, OH 44515

UNSECURED                  Claimed:                        $0.00 UNDET
ESTATE OF MAYETHA JOHNSON, THE                   Claim Number: 10874
C/O LIAKAS LAW PC                                Claim Date: 12/23/2020
65 BROADWAY, 13TH FL                             Debtor: RUBY TUESDAY, INC.
NEW YORK, NY 10306


UNSECURED                  Claimed:                        $0.00 UNDET
ROEHRICK, JAMES                                  Claim Number: 10875
6383 LITTLE SORREL DR                            Claim Date: 12/23/2020
MECHANICSVILLE, VA 23111                         Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $1,823.08




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 215
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 322 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



SCOTT, TYRELL                                    Claim Number: 10879
125 MAYAR ST                                     Claim Date: 12/24/2020
SYRACUSE, NY 13208                               Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $952.94
PROCACCINO, ANNA                                 Claim Number: 10880
45 BUTTONWOOD LANE                               Claim Date: 12/24/2020
LEVITTOWN, PA 19054                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $457.58
PROCACCINO, MICHAEL                              Claim Number: 10881
45 BUTTONWOOD LANE                               Claim Date: 12/24/2020
LEVITTOWN, PA 19054                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $167.44
PROCACCINO, ANNA                                 Claim Number: 10882
45 BUTTONWOOD LANE                               Claim Date: 12/24/2020
LEVITTOWN, PA 19054                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                     $457.58
CHARLES WADE                                     Claim Number: 10884
1401 BEAVER STREET                               Claim Date: 12/26/2020
PARKERSBURG, WV 26101                            Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 216
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 323 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



HILL, BRIEANNA                                   Claim Number: 10886
59 PINE DRIVE                                    Claim Date: 12/27/2020
EVANS, WV 25241                                  Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $926.42
SELNA, KEVIN J SELNA & BETHANY V                 Claim Number: 10887
6951 LAWN HAVEN DRIVE                            Claim Date: 12/28/2020
HUNTINGTON BEACH, CA 92648                       Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $2,151.31
CARE, MARSHS LAWN                                Claim Number: 10891
29464 PETUNIA DR                                 Claim Date: 12/28/2020
EASTON, MD 21601                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $1,150.00
AFFINITY9 REALTY LLC                             Claim Number: 10892
6618 WESTON CIR E                                Claim Date: 12/28/2020
DUBLIN, OH 43016                                 Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                  $56,679.87
UNSECURED                  Claimed:                 $127,164.10
SHREIBMAN, AMNON                                 Claim Number: 10893
C/O DAVID P. CANAS                               Claim Date: 12/29/2020
THOMPSON BURTON PLLC                             Debtor: RUBY TUESDAY, INC.
6100 TOWER CIRCLE, STE 200
FRANKLIN, TN 37067

UNSECURED                  Claimed:                 $779,332.19 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 217
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 324 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)



GRAY, MEREDITH                                   Claim Number: 10895
212 E MAIN ST                                    Claim Date: 12/29/2020
APT 1                                            Debtor: RUBY TUESDAY, INC.
JOHNSTOWN, NY 12095


UNSECURED                  Claimed:                        $56.77
JESSICA WETZEL                                   Claim Number: 10896
1664 COLONIAL WAY                                Claim Date: 12/29/2020
FREDERICK, MD 21702                              Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $162.14
SMITH, BEVERLY ANN                               Claim Number: 10897
141 AUTUMN CHASE LANE                            Claim Date: 12/29/2020
BEECH ISLAND, SC 29842                           Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                       $239.35
HUGHEY, JOHN                                     Claim Number: 10899
163 WINSTON AVE                                  Claim Date: 12/30/2020
MOBILE, AL 36606                                 Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                     $47,224.94




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 218
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 325 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12457)




                                                                Summary Page

                Total Number of Filed Claims:           1088                                           Claimed Amount      Allowed Amount

                                                                    Administrative:                       $12,940,643.49              $0.00
                                                                    Priority:                             $15,800,109.27              $0.00
                                                                    Secured:                               $9,056,310.89              $0.00
                                                                    Unsecured:                         $1,047,738,168.17              $0.00
                                                                    Total:                             $1,085,535,231.82              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876    Filed 01/15/21    Page 326 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)



WIDEWATERS UNIONTOWN COMPANY LLC                 Claim Number: 5
C/O THE WIDEWATERS GROUP INC                     Claim Date: 10/19/2020
5845 WIDEWATERS PKWY, STE 100                    Debtor: RUBY TUESDAY, INC.
EAST SYRACUSE, NY 13057


UNSECURED                  Claimed:               $1,065,691.60
WIDEWATERS IX CANTON COMPANY LLC                 Claim Number: 6
C/O THE WIDEWATERS GROUP INC                     Claim Date: 10/19/2020
5845 WIDEWATERS PKWY, STE 100                    Debtor: RUBY TUESDAY, INC.
EAST SYRACUSE, NY 13057


UNSECURED                  Claimed:                 $114,600.66               Scheduled:              $94,139.17
TREAT, MICHAEL H                                 Claim Number: 38
C/O SINIARD TIMBERLAKE & LEAGUE                  Claim Date: 11/02/2020
ATTN WILL LEAGUE, ESQ                            Debtor: RUBY TUESDAY, LLC
PO BOX 2767
HUNTSVILLE, AL 35804

UNSECURED                  Claimed:                     $74,000.00
DEPARTMENT OF TREASURY - IRS                     Claim Number: 64
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                     $16,529.13
KNOX COUNTY TRUSTEE                              Claim Number: 71
PO BOX 70                                        Claim Date: 11/12/2020
KNOXVILLE, TN 37901                              Debtor: RUBY TUESDAY, LLC



SECURED                    Claimed:                      $1,004.00




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 327 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)



KNOX COUNTY TRUSTEE                              Claim Number: 72
PO BOX 70                                        Claim Date: 11/12/2020
KNOXVILLE, TN 37901                              Debtor: RUBY TUESDAY, LLC



SECURED                    Claimed:                       $986.00
OAKLAND COUNTY TREASURER                         Claim Number: 147
1200 N TELEGRAPH RD, DEPT 479                    Claim Date: 11/10/2020
PONTIAC, MI 48341                                Debtor: RUBY TUESDAY, LLC



SECURED                    Claimed:                      $2,195.91
INNOVATION REMODELING LLC                        Claim Number: 215
2006 N CEDAR ST                                  Claim Date: 12/07/2020
LUMBERTON, NC 28358                              Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                     $18,050.00
KARN, DONALD C JR                                Claim Number: 226
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                       $873.20
KARN, DONALD C JR                                Claim Number: 282
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 226
                                                 DUPLICATE OF CLAIM # 282

PRIORITY                   Claimed:                       $873.20




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 2
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876       Filed 01/15/21   Page 328 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)



KARN, DONALD C JR                                Claim Number: 284
32 PENNY LN                                      Claim Date: 12/07/2020
BINGHAMTON, NY 13905                             Debtor: RUBY TUESDAY, INC.
                                                 Comments: POSSIBLE DUPLICATE OF 282


PRIORITY                   Claimed:                       $873.20
CASELLA WASTE SYSTEMS INC                        Claim Number: 286
25 GREENS HILL LN                                Claim Date: 12/07/2020
RUTLAND, VT 05701                                Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                       $675.00
BIRCH, JOSHUA W                                  Claim Number: 546
C/O AMERICAN PATRIOT LAWN CARE                   Claim Date: 12/18/2020
229 W 28TH DIVISION HWY                          Debtor: RUBY TUESDAY, LLC
LITITZ, PA 17543


UNSECURED                  Claimed:                       $996.14
MID-SOUTH MAINTENANCE OF TN INC                  Claim Number: 10003
995 YEAGER PKWY                                  Claim Date: 10/13/2020
GOODLETTSVILLE, TN 37072                         Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                     $14,422.43
SS SERVICE CORP                                  Claim Number: 10064
30 ROBERT W BOYDEN RD, A100                      Claim Date: 11/03/2020
TAUNTON, MA 02780                                Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                       $240.00




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 3
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 329 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)



MASON, THOMAS ELVIN                              Claim Number: 10108
4688 TWIN PEAKS CT                               Claim Date: 11/11/2020
LOVELAND, CO 80537                               Debtor: RUBY TUESDAY, LLC



PRIORITY                   Claimed:                  $88,834.04 UNLIQ
UNSECURED                  Claimed:                 $799,174.00 UNLIQ
VAN HOOK SERVICE CO INC                          Claim Number: 10171
C/O HARRIS BEACH PLLC                            Claim Date: 11/23/2020
ATTN KEVIN TOMPSETT                              Debtor: RUBY TUESDAY, LLC
99 GARNSEY RD
PITTSFORD, NY 14534

UNSECURED                  Claimed:                       $949.73
CITY OF CONCORD                                  Claim Number: 10569
ATTN VALERIE KOLCZYNSKI                          Claim Date: 12/16/2020
PO BOX 308                                       Debtor: RUBY TUESDAY, LLC
CONCORD, NC 28026-0308


UNSECURED                  Claimed:                      $6,766.02
SONORAN ENVIRONMENTS                             Claim Number: 10595
ATTN CURTIS HOWELL, PRESIDENT                    Claim Date: 12/16/2020
7807 E GREENWAY RD, STE 7B                       Debtor: RUBY TUESDAY, LLC
SCOTTSDALE, AZ 85260


UNSECURED                  Claimed:                      $1,667.52
DUKE ENERGY FLORIDA                              Claim Number: 10619
C/O HAYNSWORTH SINKLER BOYD PA                   Claim Date: 12/17/2020
ATTN MARY M CASKEY, ESQ                          Debtor: RUBY TUESDAY, LLC
PO BOX 11889
COLUMBIA, SC 29211-1889

ADMINISTRATIVE             Claimed:                     $17,382.09
UNSECURED                  Claimed:                     $19,005.18




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 4
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 330 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)



CHISENALL, JESSICA                               Claim Number: 10801
278 HICKORY KNOLL LN                             Claim Date: 12/17/2020
CALHOUN, GA 30701                                Debtor: RUBY TUESDAY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 5
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 331 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12458)




                                                                Summary Page

                Total Number of Filed Claims:           21                                             Claimed Amount      Allowed Amount

                                                                    Administrative:                          $17,382.09               $0.00
                                                                    Priority:                                $91,453.64               $0.00
                                                                    Secured:                                  $4,185.91               $0.00
                                                                    Unsecured:                             $2,132,767.41              $0.00
                                                                    Total:                                 $2,245,789.05              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 332 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12459)



ARIZONA DEPARTMENT OF REVENUE                    Claim Number: 10011
C/O OFFICE OF THE ARIZONA ATTORNEY GEN           Claim Date: 10/16/2020
ATTN TAX BANKRUPTCY AND COLLECTION SCT           Debtor: RT SOUTHWEST FRANCHISE
2005 N CENTRAL AVE, STE 100
PHOENIX, AZ 85004

PRIORITY                   Claimed:                     $80,000.00 UNLIQ
VESTAR RW TEMPE MARKETPLACE LLC                  Claim Number: 10865
C/O DAVID M BLAU, ESQ                            Claim Date: 12/22/2020
151 S OLD WOODWARD AVE, STE 200                  Debtor: RT SOUTHWEST FRANCHISE
BIRMINGHAM, MI 48009


UNSECURED                  Claimed:                 $483,660.19




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 333 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12459)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                $80,000.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $483,660.19              $0.00
                                                                    Total:                                  $563,660.19              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 334 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12461)



LOUISIANA DEPARTMENT OF REVENUE                  Claim Number: 169
PO BOX 66658                                     Claim Date: 11/24/2020
BATON ROUGE, LA 70896-6658                       Debtor: RTBD, LLC



PRIORITY                   Claimed:                     $1,600.00 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 335 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12461)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                 $1,600.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                    $0.00              $0.00
                                                                    Total:                                    $1,600.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876      Filed 01/15/21   Page 336 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12463)



LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10371
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RT ST. LOUIS FRANCHISE, LLC
NASHVILLE, TN 37203


SECURED                    Claimed:                      $2,000.00
CHICK-FIL-A INC                                  Claim Number: 10790
C/O TROUTMAN PEPPER HAMILTON SANDERS LLP         Claim Date: 12/17/2020
ATTN MATTHEW R BROOKS                            Debtor: RT ST. LOUIS FRANCHISE, LLC
600 PEACHTREE ST NE, STE 3000
ATLANTA, GA 30308

UNSECURED                  Claimed:                     $68,018.58




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 337 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12463)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                  $2,000.00              $0.00
                                                                    Unsecured:                               $68,018.58              $0.00
                                                                    Total:                                   $70,018.58              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876        Filed 01/15/21   Page 338 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12464)



DOVER ISLAND PARK SOUTH LLC                      Claim Number: 22
27 ST JOHNS PL                                   Claim Date: 10/27/2020
FREEPORT, NY 11520                               Debtor: RT LONG ISLAND FRANCHISE, LLC
                                                 Comments:
                                                 DUPLICATE OF CLAIM # 273

UNSECURED                  Claimed:                 $683,387.38 UNLIQ
PSEGLI                                           Claim Number: 10018
ATTN SPECIAL COLLECTIONS                         Claim Date: 10/20/2020
15 PARK DR                                       Debtor: RT LONG ISLAND FRANCHISE, LLC
MELVILLE, NY 11747


UNSECURED                  Claimed:                     $18,843.64
RGP OWNERS DP LLC                                Claim Number: 10161
C/O CERTILMAN BALIN ADLER & HYMAN LLP            Claim Date: 11/20/2020
ATTN JARRETT M BEHAR, ESQ                        Debtor: RT LONG ISLAND FRANCHISE, LLC
100 MOTOR PKWY, STE 560
HAUPPAUGE, NY 11788

UNSECURED                  Claimed:                 $449,852.26
VON HEGEL, WILLIAM & ROSE MARIE                  Claim Number: 10302
C/O DAVID ARDAM                                  Claim Date: 12/08/2020
94 WASHINGTON BLVD                               Debtor: RT LONG ISLAND FRANCHISE, LLC
COMMACK, NY 11725-1730


UNSECURED                  Claimed:                         $0.00 UNDET
LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10368
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RT LONG ISLAND FRANCHISE, LLC
NASHVILLE, TN 37203


SECURED                    Claimed:                      $2,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                      Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876         Filed 01/15/21   Page 339 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12464)



BRIXMOR SUNSHINE SQUARE LLC                      Claim Number: 10635
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RT LONG ISLAND FRANCHISE, LLC
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

ADMINISTRATIVE             Claimed:                  $11,361.63
UNSECURED                  Claimed:                 $270,908.14
BGD COMMACK LLC                                  Claim Number: 10775
C/O BLUMENFELD DEVELOPMENT GROUP LTD             Claim Date: 12/17/2020
ATTN DAVID J KAPLAN, GENERAL COUNSEL             Debtor: RT LONG ISLAND FRANCHISE, LLC
300 ROBBINS LN
SYOSSET, NY 11791

SECURED                    Claimed:                 $319,866.61
UNSECURED                  Claimed:                 $203,267.32
TRAVELERS CAS INS CO OF AMERICA                  Claim Number: 10876
PO BOX 5076                                      Claim Date: 12/23/2020
HARTFORD, CT 06102                               Debtor: RT LONG ISLAND FRANCHISE, LLC



UNSECURED                  Claimed:                 $123,083.12




Epiq Bankruptcy Solutions, LLC                                                                                                      Page: 2
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 340 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12464)




                                                                Summary Page

                Total Number of Filed Claims:           8                                              Claimed Amount      Allowed Amount

                                                                    Administrative:                          $11,361.63               $0.00
                                                                    Priority:                                     $0.00               $0.00
                                                                    Secured:                                $321,866.61               $0.00
                                                                    Unsecured:                             $1,749,341.86              $0.00
                                                                    Total:                                 $2,082,570.10              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876     Filed 01/15/21   Page 341 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12465)



SELM INC                                         Claim Number: 153
7807 E GREENWAY RD, STE 7B                       Claim Date: 11/20/2020
SCOTTSDALE, AZ 85260                             Debtor: RT DENVER FRANCHASIE, LLC



UNSECURED                  Claimed:                     $1,667.52
USG LANDSCAPE AND SNOW REMOVAL INC               Claim Number: 10077
PO BOX 1473                                      Claim Date: 11/06/2020
ARVADA, CO 80001                                 Debtor: RT DENVER FRANCHASIE, LLC



UNSECURED                  Claimed:                     $10,789.95 UNLIQ
SELM INC                                         Claim Number: 10603
ATTN CURTIS HOWELL, PRESIDENT                    Claim Date: 12/16/2020
7807 E GREEWAY RD, STE 7B                        Debtor: RT DENVER FRANCHASIE, LLC
SCOTTSDALE, AZ 85260                             Comments: POSSIBLE DUPLICATE OF 153


UNSECURED                  Claimed:                     $1,667.52
AT&T CORP                                        Claim Number: 10632
C/O AT&T SERVICES INC                            Claim Date: 12/17/2020
ATTN KAREN CAVAGNARO, LEAD PARALEGAL             Debtor: RT DENVER FRANCHASIE, LLC
ONE AT&T WAY, STE 3A104
BEDMINSTER, NJ 07921

UNSECURED                  Claimed:                     $1,600.88




Epiq Bankruptcy Solutions, LLC                                                                                                    Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 342 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12465)




                                                                Summary Page

                Total Number of Filed Claims:           4                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                               $15,725.87              $0.00
                                                                    Total:                                   $15,725.87              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 343 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12466)



SEMCO ENERGY                                     Claim Number: 10167
ATTN JAMIE BENNETT                               Claim Date: 11/20/2020
1411 3RD ST, STE A                               Debtor: RT MICHIANA FRANCHISE, LLC
PORT HURON, MI 48060


UNSECURED                  Claimed:                     $1,280.12




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 344 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12466)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $1,280.12              $0.00
                                                                    Total:                                    $1,280.12              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 345 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12467)



GALLAGHER, GARY                                  Claim Number: 436
C/O HYWEL LEONARD                                Claim Date: 12/14/2020
PO BOX 3239                                      Debtor: RT TAMPA FRANCHISE, LLC
TAMPA, FL 33601


UNSECURED                  Claimed:                 $152,300.00 UNLIQ
CITY OF OLDSMAR                                  Claim Number: 10038
C/O TRASK DAIGNEAULT LLP                         Claim Date: 10/28/2020
ATTN THOMAS J TRACK, ESQ                         Debtor: RT TAMPA FRANCHISE, LLC
1001 S FORT HARRISON AVE, STE 201
CLEARWATER, FL 33756

SECURED                    Claimed:                      $2,713.21
SRJ RESTAURANTS INC                              Claim Number: 10082
22638 EAGLES WATCH DR                            Claim Date: 11/07/2020
LAND O LAKES, FL 34639                           Debtor: RT TAMPA FRANCHISE, LLC



UNSECURED                  Claimed:                     $11,000.00
LEE COUNTY TAX COLLECTOR                         Claim Number: 10117
PO BOX 850                                       Claim Date: 11/12/2020
FORT MYERS, FL 33902-0850                        Debtor: RT TAMPA FRANCHISE, LLC



PRIORITY                   Claimed:                      $6,436.71
LEE COUNTY TAX COLLECTOR                         Claim Number: 10118
PO BOX 850                                       Claim Date: 11/12/2020
FORT MYERS, FL 33902-0850                        Debtor: RT TAMPA FRANCHISE, LLC



PRIORITY                   Claimed:                      $2,250.03




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD             Doc 876         Filed 01/15/21   Page 346 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12467)



LEE COUNTY TAX COLLECTOR                         Claim Number: 10119
PO BOX 850                                       Claim Date: 11/12/2020
FORT MYERS, FL 33902-0850                        Debtor: RT TAMPA FRANCHISE, LLC



PRIORITY                   Claimed:                     $6,803.25
CLOSE TIES INVESTMENTS LLC, ET AL                Claim Number: 10198
ATTN JENNIFER GOUDEAU, PRES                      Claim Date: 12/02/2020
1330 NEPTUNE AVE                                 Debtor: RT TAMPA FRANCHISE, LLC
LEUCADIA, CA 92024


UNSECURED                  Claimed:                 $446,550.59
LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10372
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RT TAMPA FRANCHISE, LLC
NASHVILLE, TN 37203                              Comments:
                                                 Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                     $6,950.00   UNLIQ
PRIORITY                   Claimed:                     $6,950.00   UNLIQ
SECURED                    Claimed:                     $6,950.00   UNLIQ
TOTAL                      Claimed:                     $6,950.00   UNLIQ
REALTY INCOME CORP (STORE NO 2115)               Claim Number: 10598
ATTN KIRK CARSON, ESQ                            Claim Date: 12/16/2020
11995 EL CAMINO REAL                             Debtor: RT TAMPA FRANCHISE, LLC
SAN DIEGO, CA 92130


UNSECURED                  Claimed:                 $335,105.16
BRIXMOR GA COASTAL WAY LLC                       Claim Number: 10808
C/O BALLARD SPAHR LLP                            Claim Date: 12/17/2020
ATTN LESLIE C HEILMAN, ESQ                       Debtor: RT TAMPA FRANCHISE, LLC
919 N MARKET ST, 11TH FL
WILMINGTON, DE 19801

UNSECURED                  Claimed:                     $1,358.50




Epiq Bankruptcy Solutions, LLC                                                                                                          Page: 2
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 347 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12467)




                                                                Summary Page

                Total Number of Filed Claims:           10                                             Claimed Amount     Allowed Amount

                                                                    Administrative:                           $6,950.00              $0.00
                                                                    Priority:                                $22,439.99              $0.00
                                                                    Secured:                                  $9,663.21              $0.00
                                                                    Unsecured:                              $946,314.25              $0.00
                                                                    Total:                                  $985,367.45              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 348 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12468)



KOPKA PINKUS DOLIN PC                            Claim Number: 10099
100 LEXINGTON DR, STE 100                        Claim Date: 11/10/2020
BUFFALO GROVE, IL 60089                          Debtor: RT DETRIOT FRANCHISE, LLC



UNSECURED                  Claimed:                     $2,196.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 349 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12468)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $2,196.00              $0.00
                                                                    Total:                                    $2,196.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 350 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12469)



FPL                                              Claim Number: 517
ATTN BANKRUPTCY DEPT/RRD/LFO                     Claim Date: 12/17/2020
4200 W FLAGLER ST                                Debtor: RT WESR PALM BEACH FRANCHISE, LLC
MIAMI, FL 33134


UNSECURED                  Claimed:                     $2,507.40
INDIAN RIVER COUNTY TAX COLLECTOR                Claim Number: 556
PO BOX 1509                                      Claim Date: 12/17/2020
VERO BEACH, FL 32961                             Debtor: RT WESR PALM BEACH FRANCHISE, LLC



SECURED                    Claimed:                     $1,914.90
SHEEHAN, DANIEL                                  Claim Number: 10651
C/O KELLER KELLER & CARACUZZO PA                 Claim Date: 12/17/2020
ATTN ALLEN BELLUCCIO                             Debtor: RT WESR PALM BEACH FRANCHISE, LLC
HARVEY BLDG, 224 DATURA ST, STE 1205
WEST PALM BEACH, FL 33401

UNSECURED                  Claimed:                 $300,000.00 UNLIQ
ST LUCIE DINING ENTERPRISES LLC                  Claim Number: 10805
C/O CIARDI CIARDI & ASTIN                        Claim Date: 12/17/2020
ATTN WALTER W GOULDSBURY III                     Debtor: RT WESR PALM BEACH FRANCHISE, LLC
1204 N KING ST
WILMINGTON, DE 19801

UNSECURED                  Claimed:                 $317,187.57




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 351 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12469)




                                                                Summary Page

                Total Number of Filed Claims:           4                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                  $1,914.90              $0.00
                                                                    Unsecured:                              $619,694.97              $0.00
                                                                    Total:                                  $621,609.87              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 352 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12470)



CITY OF MT PLEASANT                              Claim Number: 10120
PO BOX 503                                       Claim Date: 11/12/2020
MOUNT PLEASANT, MI 48804-0503                    Debtor: RT MICHIGAN FRANCHISE, LLC



ADMINISTRATIVE             Claimed:                       $84.12
SECURED                    Claimed:                      $391.48
SEMCO ENERGY                                     Claim Number: 10168
ATTN JAMIE BENNETT                               Claim Date: 11/20/2020
1411 3RD ST, STE A                               Debtor: RT MICHIGAN FRANCHISE, LLC
PORT HURON, MI 48060


UNSECURED                  Claimed:                     $1,853.56
MIDLAND MALL REALTY HOLDING LLC                  Claim Number: 10680
C/O MEYERS ROMAN FRIEDBERG & LEWIS               Claim Date: 12/17/2020
ATTN DAVID M NEUMANN, ESQ                        Debtor: RT MICHIGAN FRANCHISE, LLC
28601 CHAGRIN BLVD, STE 600
CLEVELAND, OH 44122

UNSECURED                  Claimed:                 $303,220.67




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 353 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12470)




                                                                Summary Page

                Total Number of Filed Claims:           3                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                              $84.12              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                    $391.48              $0.00
                                                                    Unsecured:                              $305,074.23              $0.00
                                                                    Total:                                  $305,549.83              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 354 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12471)



WILLIAMS, AZJNAE C                               Claim Number: 214
C/O BARRY I BAKER, ESQ                           Claim Date: 12/07/2020
PO BOX 31265                                     Debtor: RTI HOLDING COMPANY, LLC
CHARLESTON, SC 29417


UNSECURED                  Claimed:                     $50,000.00 UNLIQ
DAVIDSON, SARAH                                  Claim Number: 639
2305 DEBRA DR                                    Claim Date: 12/22/2020
WEST PLAINS, MO 65775                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 355 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12471)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                               $50,000.00              $0.00
                                                                    Total:                                   $50,000.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 356 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12472)



COUNTY OF PULASKI MISSOURI                       Claim Number: 10364
PULASKI COUNTY COURTHOUSE                        Claim Date: 12/10/2020
301 HISTORIC 66 E, STE 110                       Debtor: RT WESTERN MISSOURI FRANCHISE, LLC
WAYNESVILLE, MO 65583


UNSECURED                  Claimed:                     $1,041.06




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 357 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12472)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $1,041.06              $0.00
                                                                    Total:                                    $1,041.06              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 358 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12474)



PRINCIPAL LIFE INSURANCE COMPANY                 Claim Number: 10474
C/O CUSHMAN & WAKEFIELD                          Claim Date: 12/15/2020
ATTN GENEVIEVE LIESENER                          Debtor: RT MINNEAPOLIS FRANCHISE, LLC
3500 AMERICAN BLVD W, STE 200
BLOOMINGTON, MN 55431

UNSECURED                  Claimed:                 $478,150.91




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 359 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12474)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $478,150.91              $0.00
                                                                    Total:                                  $478,150.91              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 360 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12476)



BLACKHAWK NETWORK INC                            Claim Number: 244
ROBERT L GOLISH, ESQ                             Claim Date: 12/08/2020
6220 STONERIDGE MALL RD                          Debtor: RT FL GIFT CARDS, INC.
PLEASANTON, CA 94588


UNSECURED                  Claimed:                     $1,720.29




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 361 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12476)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $1,720.29              $0.00
                                                                    Total:                                    $1,720.29              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 362 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12479)



FCPT HOLDINGS LLC                                Claim Number: 80
C/O THOMPSON COBURN LLP                          Claim Date: 11/16/2020
ATTN LAUREN NEWMAN                               Debtor: RT NEW ENGLAND FRANCHISE, LLC
55 E MONROE ST, 37TH FL
CHICAGO, IL 60603

UNSECURED                  Claimed:                 $158,689.00
W/S WESTBROOK ASSOCIATES LLC                     Claim Number: 10593
C/O GOULSTON & STORRS PC                         Claim Date: 12/16/2020
ATTN TREVOR HOFFMANN                             Debtor: RT NEW ENGLAND FRANCHISE, LLC
885 THIRD AVE, 18TH FL
NEW YORK, NY 10022

UNSECURED                  Claimed:                 $262,031.22
INTERSTATE AUGUSTA PROPERTIES LLC                Claim Number: 10606
C/O GOULSTON & STORRS PC                         Claim Date: 12/16/2020
ATTN TREVOR HOFFMANN                             Debtor: RT NEW ENGLAND FRANCHISE, LLC
885 THIRD AVE, 18TH FL
NEW YORK, NY 10022

UNSECURED                  Claimed:                 $413,769.78




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 363 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12479)




                                                                Summary Page

                Total Number of Filed Claims:           3                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $834,490.00              $0.00
                                                                    Total:                                  $834,490.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 364 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12480)



GALLAGHER, GARY                                  Claim Number: 438
C/O HYWEL LEONARD                                Claim Date: 12/14/2020
PO BOX 3239                                      Debtor: RT FLORIDA EQUITY, LLC
TAMPA, FL 33601


UNSECURED                  Claimed:                 $152,300.00 UNLIQ
IMAGE MAKER LMS LLC                              Claim Number: 515
1321 ROLLING WOODS LN                            Claim Date: 12/17/2020
LAKELAND, FL 33813                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $5,200.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 365 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12480)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $157,500.00              $0.00
                                                                    Total:                                  $157,500.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 366 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12482)



DEPARTMENT OF TREASURY - IRS                     Claim Number: 65
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RT NEW HAMPSHIRE RESTAURANT HOLDINGS, LL



UNSECURED                  Claimed:                     $8,681.89
CHOP ACQUISITION LLC                             Claim Number: 10609
C/O GOULSTON & STORRS PC                         Claim Date: 12/16/2020
ATTN TREVOR HOFFMANN                             Debtor: RT NEW HAMPSHIRE RESTAURANT HOLDINGS, LL
400 ATLANTIC AVE
BOSTON, MA 02110

UNSECURED                  Claimed:                     $4,565.25




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 367 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12482)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                               $13,247.14              $0.00
                                                                    Total:                                   $13,247.14              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 368 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12485)



VAN HOOK SERVICE CO INC                          Claim Number: 10172
C/O HARRIS BEACH PLLC                            Claim Date: 11/23/2020
ATTN KEVIN TOMPSETT                              Debtor: RT NEW YORK FRANCHISE, LLC
99 GARNSEY RD
PITTSFORD, NY 14534

UNSECURED                  Claimed:                      $949.73
LIBERTY MUTUAL INSURANCE COMPANY                 Claim Number: 10370
C/O MICHAEL E COLLINS                            Claim Date: 12/10/2020
1201 DEMONBREUN ST, STE 900                      Debtor: RT NEW YORK FRANCHISE, LLC
NASHVILLE, TN 37203


SECURED                    Claimed:                     $1,000.00




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 369 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12485)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                  $1,000.00              $0.00
                                                                    Unsecured:                                  $949.73              $0.00
                                                                    Total:                                    $1,949.73              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 370 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12488)



BALTIMORE GAS AND ELECTRIC CO                    Claim Number: 291
PO BOX 1475                                      Claim Date: 12/08/2020
BALTIMORE, MD 21201                              Debtor: RUBY TUESDAY OF COLUMBIA, INC.



UNSECURED                  Claimed:                     $5,502.26




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 371 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12488)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $5,502.26              $0.00
                                                                    Total:                                    $5,502.26              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 372 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12489)



KRAYCAR, KEITHIA                                 Claim Number: 10093
820 WOODLAWN ST                                  Claim Date: 11/10/2020
SCRANTON, PA 18509                               Debtor: RT OF MARYLAND, LLC



UNSECURED                  Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 373 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12489)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                    $0.00              $0.00
                                                                    Total:                                        $0.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876   Filed 01/15/21   Page 374 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12490)



LANGE, RACHAEL                                   Claim Number: 10617
15720 N 1ST ST                                   Claim Date: 12/17/2020
RAYMOND, NE 68428                                Debtor: RT OMAHA FRANCHISE



PRIORITY                   Claimed:                     $353.84




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 375 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12490)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                   $353.84              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                    $0.00              $0.00
                                                                    Total:                                      $353.84              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 376 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12492)



DEPARTMENT OF TREASURY - IRS                     Claim Number: 66
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RT INDIANAPOLIS FRANCHISE, LLC



UNSECURED                  Claimed:                     $7,386.05
WILSON LAWN CARE                                 Claim Number: 10140
4401 W CR 400 N                                  Claim Date: 11/17/2020
MUNCIE, IN 47304                                 Debtor: RT INDIANAPOLIS FRANCHISE, LLC



UNSECURED                  Claimed:                      $200.00




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 377 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12492)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $7,586.05              $0.00
                                                                    Total:                                    $7,586.05              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 378 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12494)



BALTIMORE GAS AND ELECTRIC CO                    Claim Number: 292
PO BOX 1475                                      Claim Date: 12/08/2020
BALTIMORE, MD 21201                              Debtor: RUBY TUESDAY OF LINTHICUM, INC



UNSECURED                  Claimed:                     $2,574.77




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 379 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12494)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                $2,574.77              $0.00
                                                                    Total:                                    $2,574.77              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876        Filed 01/15/21   Page 380 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12498)



NATIONAL UNION FIRE INSURANCE CO                 Claim Number: 10264
C/O AIG PROPERTY CASUALTY INC                    Claim Date: 12/07/2020
ATTN KEVIN LARNER, AUTHORIZED REP                Debtor: RT ONE PERCENT HOLDINGS, LLC
80 PINE ST, 13TH FL
NEW YORK, NY 10005

UNSECURED                  Claimed:                      $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                     Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 381 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12498)




                                                                Summary Page

                Total Number of Filed Claims:           1                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                                    $0.00              $0.00
                                                                    Total:                                        $0.00              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 382 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12500)



REALTY INCOME CORP (STORE NO 2293)               Claim Number: 10596
ATTN KIRK CARSON, ESQ                            Claim Date: 12/16/2020
11995 EL CAMINO REAL                             Debtor: RT KCMO FRANCHISE, LLC
SAN DIEGO, CA 92130


UNSECURED                  Claimed:                 $210,210.03
KIRK CARSON, ESQ                                 Claim Number: 10604
C/O REALTY INCOME CORP                           Claim Date: 12/16/2020
11995 EL CAMINO REAL                             Debtor: RT KCMO FRANCHISE, LLC
SAN DIEGO, CA 92130


PRIORITY                   Claimed:                  $19,220.42
UNSECURED                  Claimed:                 $256,426.06




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 383 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12500)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                $19,220.42              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $466,636.09              $0.00
                                                                    Total:                                  $485,856.51              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 384 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12502)



DEPARTMENT OF TREASURY - IRS                     Claim Number: 67
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RT ORLANDO FRANCHISE, LP



UNSECURED                  Claimed:                      $2,047.68
VILLAGES OPERATING COMPANY, THE                  Claim Number: 470
3597 KIESSEL RD                                  Claim Date: 12/15/2020
THE VILLAGES, FL 32163                           Debtor: RT ORLANDO FRANCHISE, LP



UNSECURED                  Claimed:                     $50,044.28
INDIAN RIVER COUNTY TAX COLLECTOR                Claim Number: 557
PO BOX 1509                                      Claim Date: 12/17/2020
VERO BEACH, FL 32961                             Debtor: RT ORLANDO FRANCHISE, LP



SECURED                    Claimed:                      $1,544.86
SIMONS, D BARRY, TRUSTEE, ET AL                  Claim Number: 10200
ATTN JENNIFER GOUDEAU, PRES                      Claim Date: 12/02/2020
1330 NEPTUNE AVE                                 Debtor: RT ORLANDO FRANCHISE, LP
LEUCADIA, CA 92024                               Comments:
                                                 CROSS-CASE DUPLICATE OF CLAIM # 10199

UNSECURED                  Claimed:                 $420,343.95
REALTY INCOME CORP (STORE NO 2193)               Claim Number: 10600
ATTN KIRK CARSON, ESQ                            Claim Date: 12/16/2020
11995 EL CAMINO REAL                             Debtor: RT ORLANDO FRANCHISE, LP
SAN DIEGO, CA 92130


UNSECURED                  Claimed:                 $430,644.11




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 385 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12502)



RT ORLANDO INVESTMENT LLC                        Claim Number: 10643
C/O COBLENTZ PATCH DUFFY & BASS LLP              Claim Date: 12/17/2020
ATTN GREGG M FICKS                               Debtor: RT ORLANDO FRANCHISE, LP
ONE MONTGOMERY ST, STE 3000
SAN FRANCISCO, CA 94014

UNSECURED                  Claimed:                 $281,523.72 UNLIQ CONT




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 2
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 386 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12502)




                                                                Summary Page

                Total Number of Filed Claims:           6                                              Claimed Amount      Allowed Amount

                                                                    Administrative:                               $0.00               $0.00
                                                                    Priority:                                     $0.00               $0.00
                                                                    Secured:                                  $1,544.86               $0.00
                                                                    Unsecured:                             $1,184,603.74              $0.00
                                                                    Total:                                 $1,186,148.60              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876     Filed 01/15/21   Page 387 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12503)



DEPARTMENT OF TREASURY - IRS                     Claim Number: 68
PO BOX 7346                                      Claim Date: 11/12/2020
PHILADELPHIA, PA 19101-7346                      Debtor: RT KENTUCKY RESTAURANT HOLDINGS, LLC



UNSECURED                  Claimed:                     $20,137.08
CNL FUNDING 2000-A LP                            Claim Number: 10404
C/O KUTAK ROCK LLP                               Claim Date: 12/11/2020
ATTN LISA M PETERS, ESQ                          Debtor: RT KENTUCKY RESTAURANT HOLDINGS, LLC
1650 FARNAM ST
OMAHA, NE 68102

UNSECURED                  Claimed:                 $347,241.01




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 388 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12503)




                                                                Summary Page

                Total Number of Filed Claims:           2                                              Claimed Amount     Allowed Amount

                                                                    Administrative:                               $0.00              $0.00
                                                                    Priority:                                     $0.00              $0.00
                                                                    Secured:                                      $0.00              $0.00
                                                                    Unsecured:                              $367,378.09              $0.00
                                                                    Total:                                  $367,378.09              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876     Filed 01/15/21   Page 389 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12506)



MIAMI-DADE COUNTY TAX COLLECTOR                  Claim Number: 263
200 NW 2ND AVE, STE 430                          Claim Date: 10/30/2020
MIAMI, FL 33128                                  Debtor: RT SOUTH FLORIDA FRANCHISE, LP
                                                 Comments: WITHDRAWN
                                                 DOCKET: 6 (11/13/2020)

PRIORITY                   Claimed:                     $360.00 UNLIQ
MALA LLC                                         Claim Number: 646
C/O RICHARD KONDLA PA                            Claim Date: 12/22/2020
17071 W DIXIE HWY                                Debtor: RTI HOLDING COMPANY, LLC
NORTH MIAMI BEACH, FL 33160


PRIORITY                   Claimed:                 $434,976.09
CH RETAIL FUND I/FT LAUDERDALE                   Claim Number: 10682
UNIVERSAL PLAZA LLC                              Claim Date: 12/17/2020
C/O WINSTEAD PC; JASON ENRIGHT                   Debtor: RT SOUTH FLORIDA FRANCHISE, LP
2728 N HARWOOD ST, STE 500
DALLAS, TX 75201

UNSECURED                  Claimed:                 $258,631.05
GRAHAM COMPANIES, THE                            Claim Number: 10810
C/O ARI NEWMAN                                   Claim Date: 12/17/2020
333 SE 2ND AVE, STE 4400                         Debtor: RT SOUTH FLORIDA FRANCHISE, LP
MIAMI, FL 33131


UNSECURED                  Claimed:                 $318,038.69




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 1
Name of proof of claims where to
                                                Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 390 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (20-12506)




                                                                Summary Page

                Total Number of Filed Claims:           4                                              Claimed Amount      Allowed Amount

                                                                    Administrative:                               $0.00               $0.00
                                                                    Priority:                               $435,336.09               $0.00
                                                                    Secured:                                      $0.00               $0.00
                                                                    Unsecured:                               $576,669.74              $0.00
                                                                    Total:                                 $1,012,005.83              $0.00
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876        Filed 01/15/21    Page 391 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



CDW DIRECT LLC                                 Claim Number: 13
ATTN VIDA KRUG                                 Claim Date: 10/13/2020
200 N MILWAUKEE AVE                            Debtor: RUBY TUESDAY, INC.
VERNON HILLS, IL 60061


PRIORITY                   Claimed:                $15,112.70
UNSECURED                                                                    Scheduled:                 $15,112.70
DOVER ISLAND PARK SOUTH LLC                    Claim Number: 21
27 ST JOHNS PL                                 Claim Date: 10/27/2020
FREEPORT, NY 11520                             Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:               $683,387.38 UNLIQ
DOVER ISLAND PARK SOUTH LLC                    Claim Number: 22
27 ST JOHNS PL                                 Claim Date: 10/27/2020
FREEPORT, NY 11520                             Debtor: RT LONG ISLAND FRANCHISE, LLC
                                               Comments:
                                               DUPLICATE OF CLAIM # 273

UNSECURED                  Claimed:               $683,387.38 UNLIQ
MAINTENX INTERNATIONAL                         Claim Number: 43
2202 N HOWAND ST                               Claim Date: 11/02/2020
TAMPA, FL 33607                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                $49,533.55
HORTICULTURE SERVICES GROUP INC                Claim Number: 44
4630 SCARLET DR E                              Claim Date: 11/03/2020
CRESTVIEW, FL 32539                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $525.00




Epiq Bankruptcy Solutions, LLC                                                                                                     Page: 1
Name of proof of claims where to
                                              Case 20-12456-JTD            Doc 876         Filed 01/15/21    Page 392 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



A ROYAL FLUSH INC                              Claim Number: 52
PO BOX 2808                                    Claim Date: 11/09/2020
GULFPORT, MS 39505                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $540.35                 Scheduled:                   $540.35
APP TECHNOLOGIES LLC                           Claim Number: 58
50 WASHINGTON ST, STE 303E                     Claim Date: 11/10/2020
NORWALK, CT 06854                              Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                $31,091.61                    Scheduled:                 $30,120.00
SELM INC                                       Claim Number: 153
7807 E GREENWAY RD, STE 7B                     Claim Date: 11/20/2020
SCOTTSDALE, AZ 85260                           Debtor: RT DENVER FRANCHASIE, LLC



UNSECURED                  Claimed:                 $1,667.52
MONTGOMERY COUNTY TRUSTEE                      Claim Number: 191
350 PAGEANT LN, #101B                          Claim Date: 11/30/2020
CLARKSVILLE, TN 37040                          Debtor: RUBY TUESDAY, INC.
                                               Comments:
                                               Claim Out of Balance Claim out of balance

PRIORITY                   Claimed:                 $1,209.00
SECURED                    Claimed:                 $1,209.00
TOTAL                      Claimed:                 $1,209.00
TOWN OF BLOOMFIELD                             Claim Number: 198
800 BLOOMFIELD AVE                             Claim Date: 11/24/2020
BLOOMFIELD, CT 06002                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                 $5,181.12




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 2
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 393 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



HYATT, JAMES F II                              Claim Number: 218
C/O TROUTMAN PEPPER HAMILTON SANDERS LLP       Claim Date: 12/07/2020
ATTN GARY W MARSH                              Debtor: RUBY TUESDAY, INC.
600 PEACHTREE ST NE, STE 3000                  Comments: POSSIBLY AMENDED BY 10378
ATLANTA, GA 30308

UNSECURED                  Claimed:              $1,399,175.00
KARN, DONALD C JR                              Claim Number: 226
32 PENNY LN                                    Claim Date: 12/07/2020
BINGHAMTON, NY 13905                           Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $873.20
CHAUTAUQUA MALL LLC                            Claim Number: 251
C/O WASHINGTON PRIME GROUP INC                 Claim Date: 12/08/2020
ATTN S IFEDUBA                                 Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                $17,556.20
GRAND CENTRAL PARKERSBURG LLC                  Claim Number: 252
C/O WASHINGTON PRIME GROUP INC                 Claim Date: 12/08/2020
ATTN S IFEDUBA                                 Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:               $210,992.66
MALL AT LIMA LLC                               Claim Number: 253
C/O WASHINGTON PRIME GROUP INC                 Claim Date: 12/08/2020
ATTN S IFEDUBA                                 Debtor: RUBY TUESDAY, INC.
180 E BROAD ST
COLUMBUS, OH 43215

UNSECURED                  Claimed:                $55,576.86




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 3
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876      Filed 01/15/21   Page 394 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



DOVER ISLAND PARK SOUTH LLC                    Claim Number: 273
27 ST JOHN'S PL                                Claim Date: 12/10/2020
FREEPORT, NY 11520                             Debtor: RUBY TUESDAY, INC.
                                               Comments: POSSIBLE DUPLICATE OF 22


UNSECURED                  Claimed:               $683,387.38
KARN, DONALD C JR                              Claim Number: 282
32 PENNY LN                                    Claim Date: 12/07/2020
BINGHAMTON, NY 13905                           Debtor: RUBY TUESDAY, INC.
                                               Comments: POSSIBLE DUPLICATE OF 226
                                               DUPLICATE OF CLAIM # 282

PRIORITY                   Claimed:                      $873.20
KARN, DONALD C JR                              Claim Number: 284
32 PENNY LN                                    Claim Date: 12/07/2020
BINGHAMTON, NY 13905                           Debtor: RUBY TUESDAY, INC.
                                               Comments: POSSIBLE DUPLICATE OF 282


PRIORITY                   Claimed:                      $873.20
BALTIMORE GAS AND ELECTRIC CO                  Claim Number: 290
PO BOX 1475                                    Claim Date: 12/08/2020
BALTIMORE, MD 21201                            Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                 $2,134.74
BALTIMORE GAS AND ELECTRIC CO                  Claim Number: 291
PO BOX 1475                                    Claim Date: 12/08/2020
BALTIMORE, MD 21201                            Debtor: RUBY TUESDAY OF COLUMBIA, INC.



UNSECURED                  Claimed:                 $5,502.26




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 4
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876    Filed 01/15/21    Page 395 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



BALTIMORE GAS AND ELECTRIC CO                  Claim Number: 292
PO BOX 1475                                    Claim Date: 12/08/2020
BALTIMORE, MD 21201                            Debtor: RUBY TUESDAY OF LINTHICUM, INC



UNSECURED                  Claimed:                 $2,574.77
CUMBERLAND COUNTY TAX BUREAU                   Claim Number: 397
21 WATERFORD DR, STE 201                       Claim Date: 12/14/2020
MECHANICSBURG, PA 17050                        Debtor: RUBY TUESDAY, INC.



PRIORITY                   Claimed:                      $187.98
GAINESVILLE REGIONAL UTILITIES                 Claim Number: 465
301 SE 4TH AVE, STATION A144                   Claim Date: 12/15/2020
GAINESVILLE, FL 32601                          Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                $13,986.78               Scheduled:              $12,250.00
VILLAGES OPERATING COMPANY, THE                Claim Number: 470
3597 KIESSEL RD                                Claim Date: 12/15/2020
THE VILLAGES, FL 32163                         Debtor: RT ORLANDO FRANCHISE, LP



UNSECURED                  Claimed:                $50,044.28
FPL                                            Claim Number: 517
ATTN BANKRUPTCY DEPT/RRD/LFO                   Claim Date: 12/17/2020
4200 W FLAGLER ST                              Debtor: RT WESR PALM BEACH FRANCHISE, LLC
MIAMI, FL 33134


UNSECURED                  Claimed:                 $2,507.40




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 5
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876    Filed 01/15/21   Page 396 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



INDIAN RIVER COUNTY TAX COLLECTOR              Claim Number: 556
PO BOX 1509                                    Claim Date: 12/17/2020
VERO BEACH, FL 32961                           Debtor: RT WESR PALM BEACH FRANCHISE, LLC



SECURED                    Claimed:                 $1,914.90
INDIAN RIVER COUNTY TAX COLLECTOR              Claim Number: 557
PO BOX 1509                                    Claim Date: 12/17/2020
VERO BEACH, FL 32961                           Debtor: RT ORLANDO FRANCHISE, LP



SECURED                    Claimed:                 $1,544.86
PUEBLO COUNTY TREASURER                        Claim Number: 558
215 W 10TH ST, RM 110                          Claim Date: 12/17/2020
PUEBLO, CO 81003                               Debtor: RUBY TUESDAY, INC.



SECURED                    Claimed:                $24,570.61 UNLIQ
PUEBLO COUNTY TREASURER                        Claim Number: 559
215 W 10TH ST, RM 110                          Claim Date: 12/17/2020
PUEBLO, CO 81003                               Debtor: RUBY TUESDAY, INC.
                                               Comments:
                                               Claim out of balance

PRIORITY                   Claimed:                 $4,977.30 UNLIQ
SECURED                    Claimed:                 $4,977.30 UNLIQ
TOTAL                      Claimed:                 $4,977.30 UNLIQ
ANSWER CARPET CARE (MARK NEWMAN)               Claim Number: 618
5101 COOK RD                                   Claim Date: 12/22/2020
SWARTZ CREEK, MI 48473                         Debtor: RUBY TUESDAY, INC.



UNSECURED                  Claimed:                      $595.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 6
Name of proof of claims where to
                                              Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 397 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)



WEST VIRGINIA STATE TREASURER                  Claim Number: 644
C/O MICHELLE STORAGE, ESQ                      Claim Date: 12/22/2020
322 70TH ST SE                                 Debtor: RUBY TUESDAY, INC.
CHARLESTON, WV 25304


UNSECURED                  Claimed:                 $4,832.54 UNLIQ




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 7
Name of proof of claims where to
                                               Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 398 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-MATCH)




                                                               Summary Page

               Total Number of Filed Claims:             31                                           Claimed Amount      Allowed Amount

                                                                   Administrative:                               $0.00               $0.00
                                                                   Priority:                                $29,287.70               $0.00
                                                                   Secured:                                 $34,216.67               $0.00
                                                                   Unsecured:                             $3,898,998.66              $0.00
                                                                   Total:                                 $3,962,503.03              $0.00
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 399 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



CLEAR CHANNEL OUTDOOR LLC                       Claim Number: 10
ATTN BRIAN TEGELER                              Claim Date: 10/22/2020
4830 N LOOP 1604W, STE 111                      Debtor: RTI HOLDING COMPANY, LLC
SAN ANTONIO, TX 78249


SECURED                    Claimed:                    $6,766.18
HILL, KENNETH O                                 Claim Number: 11
6360 67TH CT                                    Claim Date: 10/23/2020
RIVERDALE, MD 20737                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $2,200.00
ROBERTS, PRESTON M                              Claim Number: 35
D/B/A PETE'S LANDSCAPING                        Claim Date: 11/02/2020
1399 S ELIZABETH ST EXT                         Debtor: RTI HOLDING COMPANY, LLC
SAINT PAULS, NC 28384


UNSECURED                  Claimed:                     $400.00
TOMLINSON PLUMBING INC                          Claim Number: 39
1801 W JACKSON ST                               Claim Date: 11/02/2020
MUNCIE, IN 47303                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $140.26
TOMLINSON PLUMBING INC                          Claim Number: 40
1801 W JACKSON ST                               Claim Date: 11/02/2020
MUNCIE, IN 47303                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $105.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 400 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



TOMLINSON PLUMBING INC                          Claim Number: 41
1801 W JACKSON ST                               Claim Date: 11/02/2020
MUNCIE, IN 47303                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $129.06
DIVERSIFIED SERVICES SOUTH LLC                  Claim Number: 54
ATTN DEBBIE LONG                                Claim Date: 11/09/2020
1305 BOWENS MILL RD SW                          Debtor: RTI HOLDING COMPANY, LLC
DOUGLAS, GA 31533


UNSECURED                  Claimed:                    $1,065.00
INDEMAND LANDSCAPE SYSTEMS INC                  Claim Number: 60
PO BOX 1517                                     Claim Date: 11/12/2020
BLACK MOUNTAIN, NC 28711                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $1,664.00
JBK INC                                         Claim Number: 76
PO BOX 466                                      Claim Date: 11/16/2020
CORBIN, KY 40702                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $432.50
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 82
445 LOWER LANDING RD                            Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $731.71




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 2
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876      Filed 01/15/21   Page 401 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 83
445 LOWER LANDING RD                            Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 82


UNSECURED                  Claimed:                    $731.71
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 84
445 LOWER LANDING RD                            Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $371.85
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 85
445 LOWER LANDING RD                            Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $623.76
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 86
445 LOWER LANDING RD                            Claim Date: 11/16/2020
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $620.10
REAL PROPERTY MAINTENANCE LLC                   Claim Number: 87
700 EASTERN SHORE DR                            Claim Date: 11/16/2020
SALISBURY, MD 21804                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $883.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 3
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 402 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



REAL PROPERTY MAINTENANCE LLC                   Claim Number: 88
700 EASTERN SHORE DR                            Claim Date: 11/16/2020
SALISBURY, MD 21084                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $541.82
WITT, MISTY                                     Claim Number: 89
1009 GLASOW ST                                  Claim Date: 11/18/2020
MARYVILLE, TN 37801                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $5,758.00
DRAFT DOCTORS LLC                               Claim Number: 163
1885 NEW HOPE RD                                Claim Date: 11/23/2020
JOELTON, TN 37080                               Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                DUPLCIATE OF CLAIM # 463

UNSECURED                  Claimed:                      $294.00
ATLANTIC CITY ELECTRIC COMPANY                  Claim Number: 173
ATTN BANKRUPTCY DIVISION                        Claim Date: 11/16/2020
MAIL STOP 84CP42                                Debtor: RTI HOLDING COMPANY, LLC
5 COLLINS DR, STE 2133
CARNEYS POINT, NJ 08069

UNSECURED                  Claimed:                    $23,285.23
HAL MARANTO INC                                 Claim Number: 181
D/B/A MARANTO REFRIGERATION/HVAC                Claim Date: 11/23/2020
339 SE COUNTRY CLUB RD                          Debtor: RTI HOLDING COMPANY, LLC
LAKE CITY, FL 32025


PRIORITY                   Claimed:                      $350.00
UNSECURED                  Claimed:                       $66.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 4
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 403 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



WILBON, CHARLES                                 Claim Number: 196
C/O CHUCKS TOP TO BOTTOM HANDYMAN SVC           Claim Date: 12/03/2020
244 KNIGHTS LN                                  Debtor: RTI HOLDING COMPANY, LLC
BLACKSTONE, VA 23824


UNSECURED                  Claimed:                    $762.00
PRECISION LAWN CARE & LANDSCAPING               Claim Number: 209
ATTN JACQUELINE L KING                          Claim Date: 12/07/2020
2244 DARK HOLLOW RD                             Debtor: RTI HOLDING COMPANY, LLC
COSBY, TN 37722


UNSECURED                  Claimed:                    $675.00
PRECISION LAWN CARE & LANDSCAPING               Claim Number: 210
ATTN JACQUELINE L KING                          Claim Date: 12/07/2020
2244 DARK HOLLOW RD                             Debtor: RTI HOLDING COMPANY, LLC
COSBY, TN 37722


UNSECURED                  Claimed:                    $250.00
NEW CASTLE SANITATION AUTHORITY                 Claim Number: 211
ATTN ANTHONY CIALELLA                           Claim Date: 12/07/2020
102 E WASHINGTON ST                             Debtor: RTI HOLDING COMPANY, LLC
NEW CASTLE, PA 16101


SECURED                    Claimed:                    $423.00
HORIZON LAWN CARE                               Claim Number: 227
PO BOX 1665                                     Claim Date: 12/07/2020
RADFORD, VA 24143                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 5
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 404 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



HORIZON LAWN CARE                               Claim Number: 228
PO BOX 1665                                     Claim Date: 12/07/2020
RADFORD, VA 24143                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $75.00
HORIZON LAWN CARE                               Claim Number: 229
PO BOX 1665                                     Claim Date: 12/07/2020
RADFORD, VA 24143                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $75.00
CRAVEN COUNTY                                   Claim Number: 232
ATTN TAX COLLECTOR                              Claim Date: 12/08/2020
PO BOX 1128                                     Debtor: RTI HOLDING COMPANY, LLC
NEW BERN, NC 28563-1128


PRIORITY                   Claimed:                    $1,029.71
R&R CARPET CLEANING SERVICES LLC                Claim Number: 236
2215-C W PALMETTO ST, STE 100                   Claim Date: 12/08/2020
FLORENCE, SC 29501                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $500.00
GARNETTO, SIOBHAN                               Claim Number: 239
527 WOODSONG TRAIL, APT 101                     Claim Date: 12/08/2020
SMYRNA, GA 30082                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 6
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 405 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



GREENSFEE LANDSCAPING LLC                       Claim Number: 245
2225 RESERVOIR AVENUE                           Claim Date: 12/08/2020
TRUMBULL, CT 06611                              Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 73


UNSECURED                  Claimed:                    $3,117.60
YORK WATER CO, THE                              Claim Number: 247
130 E MARKET ST                                 Claim Date: 12/08/2020
YORK, PA 17401                                  Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $379.97
STARKEY'S REFRIGERATION AND A/C                 Claim Number: 249
434 BRANNON AVE                                 Claim Date: 12/08/2020
CLARKSBURG, WV 26301-2206                       Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                DUPLCIATE OF CLAIM # 250

UNSECURED                  Claimed:                     $519.62
STARKEY'S REFRIGERATION AND A/C                 Claim Number: 250
434 BRANNON AVE                                 Claim Date: 12/08/2020
CLARKSBURG, WV 26301-2206                       Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 249


UNSECURED                  Claimed:                     $519.62
MORELAND SIGNS INC                              Claim Number: 271
PO BOX 448                                      Claim Date: 12/10/2020
CHATTANOOGA, TN 37401                           Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 48


UNSECURED                  Claimed:                    $2,500.00




Epiq Bankruptcy Solutions, LLC                                                                                                   Page: 7
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 406 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



PLYMOUTH MARKETPLACE LLC                        Claim Number: 272
600 S HWY 169, #1660                            Claim Date: 12/10/2020
SAINT LOUIS PARK, MN 55426                      Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $1,314.34
JAMES, NELSON III                               Claim Number: 295
2923 BALLPARK RD                                Claim Date: 12/11/2020
EFFINGHAM, SC 29541                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $2,000.00
DECICCO, NATALIE                                Claim Number: 298
598 WINDING RIVER RD                            Claim Date: 12/11/2020
BRICK, NJ 08724                                 Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                      $45.62
ADAMS, JAIME                                    Claim Number: 302
1846 7TH AVE SW                                 Claim Date: 12/11/2020
VERO BEACH, FL 32962                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
WITTENBERG, CHRIS                               Claim Number: 305
158 S VILLAGE RD                                Claim Date: 12/11/2020
LOUDON, NH 03307                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $100.00




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 8
Name of proof of claims where to
                                               Case 20-12456-JTD            Doc 876         Filed 01/15/21   Page 407 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



CITY OF LENOIR CITY                             Claim Number: 310
C/O TREASURERS OFFICE                           Claim Date: 12/11/2020
530 HEY 321 N                                   Debtor: RTI HOLDING COMPANY, LLC
LENOIR CITY, TN 37771


PRIORITY                   Claimed:                     $337.00
ALLEY, DESIRAI                                  Claim Number: 316
840-C N 10TH ST                                 Claim Date: 12/11/2020
WYTHEVILLE, VA 24382                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $100.00
PETE'S LANDSCAPING                              Claim Number: 326
ATTN PRESTON M ROBERTS                          Claim Date: 12/11/2020
1399 S ELIZABETH ST EXT                         Debtor: RTI HOLDING COMPANY, LLC
SAINT PAULS, NC 28384


UNSECURED                  Claimed:                       $0.00 UNDET
DAWSON COUNTY TAX COMMISSIONER                  Claim Number: 333
25 JUSTICE WAY, STE 1222                        Claim Date: 12/11/2020
DAWSONVILLE, GA 30534                           Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                Claim Out of Balance Claim out of balance

ADMINISTRATIVE             Claimed:                        $0.00
PRIORITY                   Claimed:                    $1,929.41
SECURED                    Claimed:                    $1,929.41
TOTAL                      Claimed:                    $1,929.41
MARTIN DOWNS BUSINESS PARK ASSOC INC            Claim Number: 334
C/O ROSS EARLE BONAN & ENSOR PA                 Claim Date: 12/11/2020
PO BOX 2401                                     Debtor: RTI HOLDING COMPANY, LLC
STUART, FL 34995


SECURED                    Claimed:                    $4,189.90




Epiq Bankruptcy Solutions, LLC                                                                                                         Page: 9
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 408 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



RAMAGE, KEITH                                   Claim Number: 341
100 MARK DR, APT 4                              Claim Date: 12/14/2020
SMITHFIELD, PA 15478                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
IMAGES LANDSCAPE SERVICE INC                    Claim Number: 353
PO BOX 28024                                    Claim Date: 12/14/2020
CHATTANOOGA, TN 37424                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $3,455.00
BACKFISCH, ROSE (SEMO WINDOW CLEANING)          Claim Number: 366
3633 COLLINS MILL RD                            Claim Date: 12/14/2020
CAPE GIRARDEAU, MO 63701                        Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $360.00
OKALOOSA GAS DISTRICT                           Claim Number: 372
364 VALPARAISO PKWY                             Claim Date: 12/14/2020
VALPARAISO, FL 32580                            Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                      $652.79
UNSECURED                  Claimed:                    $1,114.26
A L GEORGE LLC                                  Claim Number: 375
ATTN DIANE M BLANCHARD                          Claim Date: 12/14/2020
7655 EDGECOMB DR                                Debtor: RTI HOLDING COMPANY, LLC
LIVERPOOL, NY 13088                             Comments: POSSIBLE DUPLICATE OF 376


UNSECURED                  Claimed:                       $0.00




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 10
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 409 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



A L GEORGE LLC                                  Claim Number: 376
D/B/A ONONDAGA BEVERAGE                         Claim Date: 12/14/2020
ATTN DIANE M BLANCHARD                          Debtor: RTI HOLDING COMPANY, LLC
7655 EDGECOMB DR                                Comments:
LIVERPOOL, NY 13088                             DUPLICATE OF CLAIM # 376

UNSECURED                  Claimed:                      $0.00
BRANCATO, LINDA                                 Claim Number: 390
55 THOMPSON ST, #10D                            Claim Date: 12/14/2020
EAST HAVEN, CT 06513                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $180.00
MIDDLE TENNESSEE NATURAL GAS (MTNG)             Claim Number: 391
PO BOX 720                                      Claim Date: 12/14/2020
SMITHVILLE, TN 37166                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $771.68
WASP, RHYAN                                     Claim Number: 394
6405 PONDER RD                                  Claim Date: 12/14/2020
FAIRHOPE, AL 36532                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $0.00 UNDET
STARK COUNTY METROPOLITAN SEWER DISTRICT        Claim Number: 395
PO BOX 9972                                     Claim Date: 12/14/2020
CANTON, OH 44711-0972                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $297.89




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 11
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 410 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MAIETTA, PETER                                  Claim Number: 399
C/O CHARLES P SAPIENZA JR                       Claim Date: 12/14/2020
713 WILMINGTON RD                               Debtor: RTI HOLDING COMPANY, LLC
NEW CASTLE, PA 16161


UNSECURED                  Claimed:                    $300,000.00 UNLIQ
MCFARLAND, CALVIN                               Claim Number: 403
18 PARADISE DR                                  Claim Date: 12/14/2020
SAVANNAH, GA 31406                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $250.00
VILLAGE OF ST BERNARD                           Claim Number: 407
C/O LEIGHANNE HELMES                            Claim Date: 12/14/2020
110 WASHINGTON AVE                              Debtor: RTI HOLDING COMPANY, LLC
SAINT BERNARD, OH 45217


PRIORITY                   Claimed:                         $0.00
BROWNING, BREANNE                               Claim Number: 409
624 TITLOW AVE                                  Claim Date: 12/14/2020
OAK HILL, WV 25901                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                         $0.00 UNDET
GEORGE ALARM CO                                 Claim Number: 412
202 W MAIN ST, STE B                            Claim Date: 12/14/2020
GLEN CARBON, IL 62034                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $240.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 12
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876       Filed 01/15/21   Page 411 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



DRAFT DOCTORS LLC                               Claim Number: 417
1885 NEW HOPE RD                                Claim Date: 12/14/2020
JOELTON, TN 37080                               Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 163


UNSECURED                  Claimed:                     $294.00
MONTGOMERY WATER WORKS & SANITARY               Claim Number: 422
SEWER BOARD                                     Claim Date: 12/14/2020
PO BOX 1670                                     Debtor: RTI HOLDING COMPANY, LLC
MONTGOMERY, AL 36102-1670


UNSECURED                  Claimed:                     $299.37
ALLEN MORGAN TAX COLLECTOR                      Claim Number: 423
101 E MAIN ST, STE 103                          Claim Date: 12/14/2020
STARKVILLE, MS 39759-2927                       Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $4,025.69
NEA CLIENT SERVICES LLC                         Claim Number: 424
ATTN STEVEN SCOTT                               Claim Date: 12/14/2020
PO BOX 16297                                    Debtor: RTI HOLDING COMPANY, LLC
JONESBORO, AR 72403


UNSECURED                  Claimed:                     $629.30
WILLIAMS, RANADA MARIE                          Claim Number: 425
900 INEZ AVE                                    Claim Date: 12/14/2020
NEW IBERIA, LA 70560                            Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLY AMENDED BY 10436


PRIORITY                   Claimed:                    $2,676.52




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 13
Name of proof of claims where to
                                               Case 20-12456-JTD           Doc 876   Filed 01/15/21   Page 412 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



CITY OF CAMBRIDGE UTILITIES                     Claim Number: 426
828 WHEELING AVE                                Claim Date: 12/14/2020
CAMBRIDGE, OH 43725                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $813.68
JOHNSON, MARY B                                 Claim Number: 430
8703 INDIANWOODS DR                             Claim Date: 12/14/2020
CINCINNATI, OH 45251                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                          $0.00 UNDET
DOWLING, SANDRA                                 Claim Number: 432
604 E CUMBERLAND RD                             Claim Date: 12/14/2020
MOBILE, AL 36608                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $130,543.92
GAJE LLC                                        Claim Number: 439
C/O DAVID C SKINNER                             Claim Date: 12/14/2020
1025 23RD ST S, STE 103                         Debtor: RTI HOLDING COMPANY, LLC
BIRMINGHAM, AL 35205


UNSECURED                  Claimed:               $2,535,363.59
REYNOLDS, TARNISHA                              Claim Number: 444
915 SUPERIOR AVE                                Claim Date: 12/15/2020
DAYTON, OH 45406                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $7,680.00




Epiq Bankruptcy Solutions, LLC                                                                                                 Page: 14
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 413 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MONTAGE SEWER DISTRICT (LRBSA)                  Claim Number: 447
PO BOX 280                                      Claim Date: 12/15/2020
OLYPHANT, PA 18447-0280                         Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $7,058.52
BORELLA, DIANE M                                Claim Number: 448
2903 BOWERS LN                                  Claim Date: 12/15/2020
MURFREESBORO, TN 37129                          Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $1,000.00
BENNETT, ALYSON                                 Claim Number: 457
175 S PINE AVE                                  Claim Date: 12/15/2020
ALBANY, NY 12208                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $11,000.00
SMITH, MATTHEW A                                Claim Number: 458
1306 20TH ST                                    Claim Date: 12/15/2020
VIENNA, WV 26105                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
ALDRIDGE & SONS PLUMBING CONTRACTORS            Claim Number: 461
PO BOX 600921                                   Claim Date: 12/15/2020
JACKSONVILLE, FL 32260                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $277.50




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 15
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 414 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



BAPTIST, SIERA                                  Claim Number: 466
182 LODGE ST, APT 8                             Claim Date: 12/15/2020
CRAWFORD, MS 39743                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
T&M LLC                                         Claim Number: 477
PO BOX 1109                                     Claim Date: 12/15/2020
BECKLEY, WV 25802                               Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                    $47,141.33
TRALIANT LLC                                    Claim Number: 492
1600 ROSECRANS AVE, 4TH FL, MEDIA CTR           Claim Date: 12/16/2020
MANHATTAN BEACH, CA 90266                       Debtor: RTI HOLDING COMPANY, LLC
                                                Comments: POSSIBLE DUPLICATE OF 10145


UNSECURED                  Claimed:                     $6,495.00
CITY OF SANFORD                                 Claim Number: 506
225 E WEATHERSPOON ST                           Claim Date: 12/17/2020
SANFORD, NC 27331                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $1,388.58
BEST KITCHEN SERVICE AND PARTS INC              Claim Number: 507
1011 CALVARY ST                                 Claim Date: 12/17/2020
INDIANAPOLIS, IN 46203                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $307.12




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 16
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876   Filed 01/15/21   Page 415 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCDANIEL, CHERYL                                Claim Number: 508
10 SULKY LN                                     Claim Date: 12/17/2020
PINEHURST, NC 28374                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                         $0.00 UNDET
SECURED                    Claimed:                         $0.00 UNDET
ROBERTS, WILLIAM T                              Claim Number: 511
8334 HERITAGE CROSSING CT                       Claim Date: 12/17/2020
MANASSAS, VA 20109                              Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
ALCANTARA, MARIBEL RUIZ                         Claim Number: 513
2737 W WASHINGTON CENTER RD, LOT 229            Claim Date: 12/17/2020
FORT WAYNE, IN 46818                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $49,000.00
FROST BROWN TODD LLC                            Claim Number: 518
PO BOX 70087                                    Claim Date: 12/17/2020
LOUISVILLE, KY 40285                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $11,632.61
OPERATION COMFORT CONTROL LLC                   Claim Number: 539
ATTN ANTONIO FLINT                              Claim Date: 12/17/2020
27 GROVE ST                                     Debtor: RTI HOLDING COMPANY, LLC
HAZLEHURST, GA 31539


PRIORITY                   Claimed:                     $1,742.57




Epiq Bankruptcy Solutions, LLC                                                                                                Page: 17
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 416 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



GOODRIDGES LAWN CARE LLC                        Claim Number: 544
118 CLOVER LEAF CIR                             Claim Date: 12/18/2020
LONDON, AR 72847                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $500.00
FILION, MITCHELL                                Claim Number: 561
32 CROSSLEY RD                                  Claim Date: 12/21/2020
BARRINGTON, NH 03825                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
AGERTON, TIMOTHY                                Claim Number: 562
4637 CHUMUCKLA HWY                              Claim Date: 12/21/2020
PACE, FL 32571                                  Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $2,500.00
JACKSON, YUNAI                                  Claim Number: 568
4804 CLAYTONS PL                                Claim Date: 12/21/2020
LAGRANGE, NC 28551                              Debtor: RTI HOLDING COMPANY, LLC
LENOIR


UNSECURED                  Claimed:                       $0.00 UNDET
LENOIR CITY UTILITIES BOARD                     Claim Number: 570
PO BOX 449                                      Claim Date: 12/21/2020
LENOIR CITY, TN 37771                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $9,095.41




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 18
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 417 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



FROM THE VINE PRODUCE DISTRIBUTORS              Claim Number: 572
ATTN TAMMY SINKHORN                             Claim Date: 12/21/2020
PO BOX 462                                      Debtor: RTI HOLDING COMPANY, LLC
FERGUSON, KY 42533


UNSECURED                  Claimed:                     $202.68
MATOUSEK, CARL                                  Claim Number: 573
1229 SUNSET AVE                                 Claim Date: 12/21/2020
LAKELAND, FL 33801                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $1,400.00
THOMAS COUNTY TAX COMMISSIONER                  Claim Number: 575
225 N BROAD ST                                  Claim Date: 12/21/2020
PO BOX 2175                                     Debtor: RTI HOLDING COMPANY, LLC
THOMASVILLE, GA 31799


PRIORITY                   Claimed:                     $904.57
CLARKSVILLE GAS & WATER                         Claim Number: 576
2215 MADISON ST                                 Claim Date: 12/21/2020
CLARKSVILLE, TN 37043                           Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $2,722.07
CITY OF HICKORY                                 Claim Number: 577
76 N CENTER ST                                  Claim Date: 12/21/2020
HICKORY, NC 28601                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $788.60




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 19
Name of proof of claims where to
                                               Case 20-12456-JTD          Doc 876     Filed 01/15/21   Page 418 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



WELLINGTON, RONNIE LEE JR                       Claim Number: 582
49 SARATOGA AVE                                 Claim Date: 12/21/2020
BATTLE CREEK, MI 49037                          Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $0.00 UNDET
SABER SERVICES LLC                              Claim Number: 586
196 BROUGHTON ST                                Claim Date: 12/21/2020
ORANGEBURG, SC 29115                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $575.00
BRISCO, JOHN                                    Claim Number: 590
3361 SAINT KILDA                                Claim Date: 12/21/2020
SANIBEL, FL 33957                               Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                Claim amount is $2,072.00 Per Month

UNSECURED                  Claimed:                       $0.00 UNLIQ
HERRING, JOY                                    Claim Number: 591
5385 WOMACK RD                                  Claim Date: 12/21/2020
COTTONWOOD, AL 36320                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
JENKINS, DONALD                                 Claim Number: 597
776 FAIRBORN RD                                 Claim Date: 12/21/2020
CINCINNATI, OH 45240                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $8,801.48




Epiq Bankruptcy Solutions, LLC                                                                                                  Page: 20
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 419 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCFEE, AZURE                                    Claim Number: 600
2159 OLD INDIAN RD                              Claim Date: 12/21/2020
RICHMOND, VA 23235                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $2,370.00
SCOTTSBORO ELECTRIC POWER BOARD                 Claim Number: 601
ATTN STACY RADON                                Claim Date: 12/21/2020
404 E WILLOW ST                                 Debtor: RTI HOLDING COMPANY, LLC
SCOTTSBORO, AL 35768


UNSECURED                  Claimed:                    $10,594.55
MIDWEST FIBRE SALES CORPORATION                 Claim Number: 607
ATTN PEGGY WILCOX                               Claim Date: 12/22/2020
PO BOX 1901                                     Debtor: RTI HOLDING COMPANY, LLC
SPRINGFIELD, MO 65801


UNSECURED                  Claimed:                      $407.00
VANOVER, GRACE L                                Claim Number: 611
556 5TH AVE                                     Claim Date: 12/22/2020
CHICKASAW, AL 36611                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
HUNTSVILLE UTILITIES                            Claim Number: 612
ATTN WANDA WALLACE                              Claim Date: 12/22/2020
PO BOX 2048                                     Debtor: RTI HOLDING COMPANY, LLC
112 SPRAGINS ST NW
HUNTSVILLE, AL 35804

UNSECURED                  Claimed:                     $6,544.44




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 21
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 420 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



ST CLAIR COUNTY REVENUE OFFICE                  Claim Number: 613
ATTN KENNETH L CROWE, REV COMMISSIONER          Claim Date: 12/22/2020
1815 COGSWELL AVE, STE 205                      Debtor: RTI HOLDING COMPANY, LLC
PELL CITY, AL 35125


UNSECURED                  Claimed:                    $1,602.72
HARPER, ANTWANNA                                Claim Number: 614
1009 WILCOX ST                                  Claim Date: 12/22/2020
PORTSMOUTH, VA 23704                            Debtor: RTI HOLDING COMPANY, LLC



SECURED                    Claimed:                       $0.00 UNDET
COWLEY, PATRICK                                 Claim Number: 620
2034 RICHELIEU CT                               Claim Date: 12/22/2020
HOOVER, AL 35216                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $0.00 UNDET
DENSON, EARNESTINE                              Claim Number: 621
1022 SUMMIT DR                                  Claim Date: 12/22/2020
ALBANY, GA 31707                                Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $1,500.00
SECURED                    Claimed:                        $0.00
JLC LANDSCAPING INC                             Claim Number: 626
8893 EAST AVE                                   Claim Date: 12/22/2020
MENTOR, OH 44060                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $875.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 22
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 421 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



DAWSON, EBONY                                   Claim Number: 627
B611 E 103RD ST                                 Claim Date: 12/22/2020
CLEVELAND, OH 44105                             Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                CLAIM AMOUNT IS $10.50 PER HOUR

PRIORITY                   Claimed:                       $0.00 UNLIQ
WRIGHT, MICHELE                                 Claim Number: 631
111 MIMOSA CIR                                  Claim Date: 12/22/2020
MARYVILLE, TN 37801                             Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                     $361.68
DOMINION HOPE GAS                               Claim Number: 645
48 COLUMBIA BLVD                                Claim Date: 12/22/2020
CLARKSBURG, WV 26301                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $572.35
DOWN EAST ENTERPRISES INC                       Claim Number: 649
C/O HOBART SALES & SERVICE                      Claim Date: 12/23/2020
1311 E NEW BERN RD                              Debtor: RTI HOLDING COMPANY, LLC
KINSTON, NC 28501


UNSECURED                  Claimed:                    $1,915.88
HOPKINS, SHEILIA I                              Claim Number: 650
293 HEATHERWOOD TRL                             Claim Date: 12/23/2020
MONROE, MI 48161                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $25.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 23
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 422 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



AQUATICS SALES & SERVICE LLC                    Claim Number: 653
11429 CENTER RD                                 Claim Date: 12/23/2020
FENTON, MI 48430                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $628.30
GABREAL BUNETA                                  Claim Number: 657
226 JOE ST                                      Claim Date: 12/24/2020
COLLINSVILLE, IL 62234                          Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                        $0.00 UNDET
TROY ALSTON                                     Claim Number: 660
1826 NORTH GRIMBALL RD                          Claim Date: 12/24/2020
CHES, SC 29412                                  Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $10,000.00
PAT BEAUSANG                                    Claim Number: 665
8 POLAND PLACE                                  Claim Date: 12/24/2020
POLAND, ME 04274                                Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $50.00
JACK WALKER III                                 Claim Number: 670
3920 REBEL RUN #2199                            Claim Date: 12/24/2020
ORLANDO, FL 32822                               Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                    $10,000.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 24
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 423 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



ETOWAH COUNTY REVENUE COMMISSION [MORE] Claim Number: 680
REVENUE COMMISSION PROPERTY TAX         Claim Date: 12/28/2020
800 FORREST AVENUE                      Debtor: RTI HOLDING COMPANY, LLC
ROOM 5
GADSDEN, AL 35901

UNSECURED                  Claimed:                     $2,839.31
APRIL WILKINS                                   Claim Number: 682
2833 CAMPUS POINTE CIR                          Claim Date: 12/28/2020
GAINESVILLE, GA 30504                           Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                Claim Out of Balance

ADMINISTRATIVE             Claimed:                         $0.00
PRIORITY                   Claimed:                     $2,000.00
TOTAL                      Claimed:                     $1,500.00
ANTWAN MAURICE GASKINS                          Claim Number: 683
10072 MOXLEYS FORD LANE                         Claim Date: 12/28/2020
BRISTOW, VA 20136                               Debtor: RTI HOLDING COMPANY, LLC
PRINCE WILLIAM


UNSECURED                  Claimed:                        $0.00 UNDET
JOSHUA R BROWN                                  Claim Number: 687
14509 CRIMSTATION RD                            Claim Date: 12/28/2020
CENTERVILLE, VA 20121                           Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $97.47
ELION LOUIS JONES                               Claim Number: 689
ELISA JONES                                     Claim Date: 12/28/2020
14900 STRATH MOOR ST                            Debtor: RTI HOLDING COMPANY, LLC
DETROIT, MI 48227


PRIORITY                   Claimed:                    $13,650.00
UNSECURED                  Claimed:                     $6,350.00




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 25
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 424 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



GRESHAM'S SEASONAL SERVICES                     Claim Number: 690
JAMES GRESHAM                                   Claim Date: 12/28/2020
18501 HENRY CT                                  Debtor: RTI HOLDING COMPANY, LLC
RAY, MI 48096


UNSECURED                  Claimed:                    $5,556.32
GLENMAURA CORP CENTER ASSOCIATION               Claim Number: 692
GLENMAURA CORP. CENTER ASSOC.                   Claim Date: 12/28/2020
2 GLENMAURA NATL BLVD                           Debtor: RTI HOLDING COMPANY, LLC
MOOSIC, PA 18507


SECURED                    Claimed:                     $400.00
ALLIE POLOHANKI (MAIDEN NAME) [MORE]            Claim Number: 694
ALLIE POLOHANKI SCHWARTZ                        Claim Date: 12/28/2020
620 TULIP COURT                                 Debtor: RTI HOLDING COMPANY, LLC
STEDMAN, NC 28391


UNSECURED                  Claimed:                       $0.00 UNDET
CITY OF NICEVILLE                               Claim Number: 696
208 N PARTIN DR                                 Claim Date: 12/28/2020
NICEVILLE, FL 32578                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $2,749.58
SEBRING GAS SYSTEM, INC                         Claim Number: 699
3515 US HWY 275                                 Claim Date: 12/28/2020
SEBRING, FL 33870                               Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $1,559.68




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 26
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 425 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



SHERMAN O. CROOK                                Claim Number: 703
7370 ALLEN RD                                   Claim Date: 12/28/2020
FAIRHOPE, AL 36532                              Debtor: RTI HOLDING COMPANY, LLC



ADMINISTRATIVE             Claimed:                      $0.00 UNDET
PRIORITY                   Claimed:                      $0.00 UNDET
RODNEY STEVEN DAVIS                             Claim Number: 709
RODNEY DAVIS                                    Claim Date: 12/28/2020
901 EFLAND CEDAR GROVE ROAD                     Debtor: RTI HOLDING COMPANY, LLC
EFLAND, NC 27243


PRIORITY                   Claimed:                     $96.77
SHAWNNA DESERSA                                 Claim Number: 724
9145 OBERON RD APT #212                         Claim Date: 12/30/2020
ARVADA, CO 80004                                Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                Claim Out of Balance

UNSECURED                  Claimed:                      $0.00
TOTAL                      Claimed:                    $400.00
COPLAY WHITEHALL SEWER AUTHORITY                Claim Number: 729
3213 MACARTHUR RD                               Claim Date: 12/31/2020
WHITEHALL, PA 18052                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $370.66
DANIEL CAMPBELL DBA EMERALD CITY [MORE]         Claim Number: 737
DAN CAMPBELL                                    Claim Date: 01/04/2021
6181 THOMPSON ROAD SUITE 802                    Debtor: RTI HOLDING COMPANY, LLC
SYRACUSE, NY 13206


UNSECURED                  Claimed:                    $214.92




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 27
Name of proof of claims where to
                                               Case 20-12456-JTD         Doc 876   Filed 01/15/21   Page 426 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



PASQUOTANK COUNTY TAX COLLECTOR                 Claim Number: 740
203 E MAIN ST                                   Claim Date: 01/04/2021
ELIZABETH CITY, NC 27907                        Debtor: RTI HOLDING COMPANY, LLC
                                                Comments:
                                                Claim Out of Balance

PRIORITY                   Claimed:                     $3,174.62
SECURED                    Claimed:                    $11,100.55
UNSECURED                  Claimed:                     $3,174.62
TOTAL                      Claimed:                    $14,355.17
SCHLECTY PROPERTY MANAGEMENT LLC                Claim Number: 752
BEYOND THE LAWN                                 Claim Date: 01/04/2021
7085 S STATE ROUTE 202                          Debtor: RTI HOLDING COMPANY, LLC
TIPP CITY, OH 45371


UNSECURED                  Claimed:                     $2,147.62
DECHANTE BUCKMON                                Claim Number: 755
DECHANTE BUCKMAN                                Claim Date: 01/04/2021
1103 WOODBURY ST                                Debtor: RTI HOLDING COMPANY, LLC
SHELBYVILLE, TN 37160


UNSECURED                  Claimed:                        $0.00 UNDET
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 757
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $35,416.00
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 758
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $597.21




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 28
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 427 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 759
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $549.86
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 760
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $848.36
MCCLOSKEY MECHANICAL CONTRACTORS INC            Claim Number: 761
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Date: 01/04/2021
445 LOWER LANDING ROAD                          Debtor: RTI HOLDING COMPANY, LLC
BLACKWOOD, NJ 08012


UNSECURED                  Claimed:                    $1,376.44
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 762
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $937.34
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 763
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $2,132.64




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 29
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 428 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 764
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $968.58
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 765
445 LOWER LANDING RD                            Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $4,804.48
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 766
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $335.87
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 767
445 LOWER LANDING RD                            Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                      $24.00
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 768
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $740.75




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 30
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 429 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 769
445 LOWER LANDING ROAD                          Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $1,494.46
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 770
445 LOWER LANDING RD                            Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $545.60
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 771
445 LOWER LANDING RD                            Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                    $1,474.42
MCCLOSKEY MECHANICAL CONTRACTORS                Claim Number: 772
445 LOWER LANDING RD                            Claim Date: 01/04/2021
BLACKWOOD, NJ 08012                             Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                     $882.43
KIM MARIE MONK                                  Claim Number: 773
73 B S EVERGREEN AVE                            Claim Date: 01/05/2021
WOODBURY, NJ 08096                              Debtor: RTI HOLDING COMPANY, LLC



PRIORITY                   Claimed:                       $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 31
Name of proof of claims where to
                                               Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 430 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)



ZAVIER LAMAR SLEDGE                             Claim Number: 774
ZAVIER L. SLEDGE                                Claim Date: 01/05/2021
128 SOUTH SYCAMORE ST APT 301                   Debtor: RTI HOLDING COMPANY, LLC
PETERSBURG, VA 23803


UNSECURED                  Claimed:                     $0.00 UNDET




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 32
Name of proof of claims where to
                                               Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 431 of 433             Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NO CASE)




                                                               Summary Page

               Total Number of Filed Claims:           156                                            Claimed Amount      Allowed Amount

                                                                   Administrative:                          $47,794.12               $0.00
                                                                   Priority:                               $210,693.55               $0.00
                                                                   Secured:                                 $24,809.04               $0.00
                                                                   Unsecured:                             $3,096,872.88              $0.00
                                                                   Total:                                 $3,380,169.59              $0.00
Name of proof of claims where to
                                              Case 20-12456-JTD        Doc 876    Filed 01/15/21   Page 432 of 433   Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-DEBTOR)



BALTIMORE GAS AND ELECTRIC CO                  Claim Number: 289
PO BOX 1475                                    Claim Date: 12/08/2020
BALTIMORE, MD 21201                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                       $7.64
BALTIMORE GAS AND ELECTRIC CO                  Claim Number: 293
PO BOX 1475                                    Claim Date: 12/08/2020
BALTIMORE, MD 21201                            Debtor: RTI HOLDING COMPANY, LLC



UNSECURED                  Claimed:                 $4,346.28




Epiq Bankruptcy Solutions, LLC                                                                                               Page: 1
Name of proof of claims where to
                                               Case 20-12456-JTD     Doc 876         Filed 01/15/21   Page 433 of 433            Date: 01/06/2021
Numerical Claims Register for RUBY TUESDAY (NON-DEBTOR)




                                                               Summary Page

               Total Number of Filed Claims:              2                                           Claimed Amount     Allowed Amount

                                                                   Administrative:                               $0.00              $0.00
                                                                   Priority:                                     $0.00              $0.00
                                                                   Secured:                                      $0.00              $0.00
                                                                   Unsecured:                                $4,353.92              $0.00
                                                                   Total:                                    $4,353.92              $0.00
